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     Name                             Includes Plaintiff's suggested addresses                                              phone            Fax
1    24 HOUR FITNESS                  P.O. BOX 2409                                  CARLSBAD             CA   92018        (760) 918-4575   (760) 931-5984
2    3M CENTER                        3M Center                                      Saint Paul           MN   55119        651-737-3208     651-732-8803
3    441 TOOL REPAIR                  1975-A SOUTH PARK RD                           PEMBROKE PARK        FL   33009        (954) 981-8270   (954) 981-4715
4    4-RENT, INC                      250 SOUTH BROAD STREET                         BREVARD              NC   28712        (828) 884-4440   (828) 884-4446
5    A & M POWER TOOL REPAIR          150-M LOS OBREROS LANE                         SAN CLEMENTE         CA   92672        (949) 492-4920   (949) 492-3360
6    A & W ELECTRIC MOTORS            c/o SUPERIOR ELECTRIC MTR SVCE                 VERNON               CA   90058        (714) 540-3060   (714) 540-3055
7    A 1 TOOL REPAIR                  1851 BLANDING BLVD                             MIDDLEBURG           FL   32068        (904) 782-3707   (904) 282-3707
8    A F DICK MANUFACTURING INC       92640 ABBOT ROAD                               ASTORIA              OR   97103        (503) 458-6292   (503) 458-6299
9    A M ELECTRIC TOOL REPAIR & SUP   325 E GRAND BLVD                               CORONA               CA   92879        (951) 735-3009   (951) 735-4367
10   A O REED & CO *                  P O BOX 85226                                  SAN DIEGO            CA   92186-5226   (858) 565-4131   (858) 292-9263
11   A PRO TOOL INC                   1950 W 13TH AVE UNIT 2                         DENVER               CO   80204        (303) 623-3743   (303) 623-7422
12   A SERVEDIO ELECTRIC MOTOR SV     634 E WASHINGTON STREET                        NEW CASTLE           PA   16101        (724) 658-8041   (724) 657-2075
13   A TO Z RENTER CENTER INC         11900 W COLFAX AVE                             LAKEWOOD             CO   80215        (303) 232-7417   (303) 623-7422
14   A TOTAL RENTAL CENTER *          10700 HANNA ST                                 BELTSVILLE           MD   20705        (301) 572-2929   (301) 572-4473
15   A Z SALES & SERVICE              1554 RIVERSIDE AVE                             FORT COLLINS         CO   80524        (970) 482-9930   (970) 482-9931
16   A&C / FURIA ELECTRIC MOTORS      75 LAFAYETTE AVE.                              NORTH WHITE PLAINS   NY   10603        (914) 949-0585   (914) 949-8034
17   A.V. DIALYSIS CENTER             44203 15TH ST. WEST                            LANCASTER            CA   93534        (661) 949-5811   (661) 919-5821
18   A-1 ELECTRIC MOTOR SV            227 W BERESFORD AVE                            DELAND               FL   32720        (386) 734-3244   (386) 734-3244
19   A-1 RENTAL INC                   1415 CLEVELAND ROAD                            SANDUSKY             OH   44870        (419) 626-4053   (419) 626-1858
20   A-1 RENTAL SERVICE, LTD INC      7080 W 38TH AVENUE                             WHEAT RIDGE          CO   80033        (303) 424-4456   (303) 403-4988
21   A-1 STAPLERS & NAILERS           4204 W DUNLAP AVENUE                           PHOENIX              AZ   85051        (623) 842-1321   (623) 842-1390
22   AAA ELECTRIC CO *                24 S. MAIN STREET                              Longmont             CO   80501        (303) 776-6031   (303) 678-1304
23   AAA ELECTRIC MOTORS              2405 S HARWOOD STREET                          DALLAS               TX   75215        (214) 823-1823   (214) 428-2751
24   AAA ELECTRIC MTR SERVICE *       1346 VENICE BLVD                               LOS ANGELES          CA   90006        (213) 749-2367   (213) 749-2106
25   AAA SAW SHOP                     38644 6TH STREET E                             PALMDALE             CA   93550        (661) 947-5886   (661) 947-4706
26   AAA TOOL & SAW SVCE              1450 S STATE ROAD 7                            HOLLYWOOD            FL   33023        (800) 228-6652   (954) 989-5738
27   AALLEN MEDICAL EQUIPMENT         4826 FANNIN STREET                             HOUSTON              TX   77004        (713) 526-8781   (713) 526-9210
28   AAN RENTOOLS, INC.               DBA AUSTIN RENT WAY                            AUSTIN               TX   78745        (512) 326-8181   (512) 326-3130
29   ABBA MEDICAL SERVICES INC        3348 MERIDIAN AVE                              SAN JOSE             CA   95124        (408) 439-4753   (408) 371-8743
30   ABC ELECTRIC MOTOR REPAIR        6040 BRITTMOORE RD SUITE L                     HOUSTON              TX   77041        (713) 937-7217   (713) 937-6977
31   ABC EQUIPMENT RENTAL AND SALES   29 PEARL ROAD                                  BRUNSWICK            OH   44212        (888) 572-3888   (330) 220-4949
32   ABC RENTAL CENTER                8031 NORRIS LANE                               DUNDALK              MD   21222        (410) 282-2550   (410) 575-7531
33   ABC RENTALS INC                  460 EAST VILLAUME AVENUE                       SOUTH SAINT PAUL     MN   55075        (651) 451-2264   (651) 457-3620
34   ABCO PEERLESS SPRINKLER CORP     50 MIDLAND AVENUE                              HICKSVILLE           NY   11801-1510   (516) 294-6850   (516) 294-6823
35   ABCOMED, INC.                    1334 E CHANDLER BLVD STE 5-D31                 PHOENIX              AZ   85048        (480) 460-8282   (480) 460-8284
36   ABE JANITORIAL SPLY & EQUIP      6015 POWER INN ROAD, STE K                     SACRAMENTO           CA   95824-2320   (916) 381-2222   (916) 381-2335
37   ABEND ELECTRIC                   1120 HURBERT ROAD                              SPRUCE               MI   48762-9606   (989) 471-2445   (989) 471-5440
38   ABILITY ACCESS LLC               IMAGINE THE REALITY                            Hayward              CA   94544-7603   (510) 886-0800   (510) 315-0609
39   ABILITY CENTER                   4797 RUFFNER ST                                SAN DIEGO            CA   92111        (858) 541-0552   (858) 541-1941
40   ABILITY MEDCO                    1300 N. 9TH ST SUITE C                         MODESTO              CA   95350        (209) 572-2273   (209) 572-1625
41   ABLE CARE HEALTH SERVICES        5911 NW BARRY ROAD                             KANSAS CITY          MO   64154        (816) 587-4640   (816) 587-5320
42   ABLE C/O CITY OF COSTA MESA      99 FAIR DRIVE                                  COSTA MESA           CA   92626        (714) 754-5078   (714) 754-5124
43   ABLE EQUIPMENT INC               615 SE CLAY STREET                             PORTLAND             OR   97214        (503) 232-8056   (503) 232-9845
44   ABLE MEDICAL                     1280 MISSOURI AVE. NORTH                       LARGO                FL   33770        (727) 586-2995   (727) 588-0899
45   ABM HEALTH, INC                  ATTN: Accounts Payable                         HOLLISTON            MA   1746         (508) 893-9500   (508) 893-9501
46   ABOUT YOUR HEALTH                5042 LAMAR AVE                                 MISSION              KS   66202        (913) 831-7800   (913) 831-4824
47   ACADIA HOME CARE                 PO BOX 630                                     FORT FAIRFIELD       ME   4742         (800) 660-4132   (207) 472-4142
48   ACCELERATOR SYSTEMS INT'L        2405 QUME DRIVE                                SAN JOSE             CA   95131        (408) 434-6800   (408) 434-6880
49   ACCESS MEDICAL                   PO BOX 53630                                   KNOXVILLE            TN   37950        (423) 693-1514   (423) 693-4530
50   ACCESS MOBILITY INC              5240 ELMWOOD AVENUE                            INDIANAPOLIS         IN   46203        (317) 784-2255   (317) 784-6391
51   ACCO ENGINEERED SYSTEMS          FILE #95031                                    GLENDALE             CA   91201-2214   (818) 244-6571   (818) 247-6533
52   ACCO NORTH AMERICA ****          300 TOWER PARKWAY                              LINCOLNSHIRE         IL   60069-3540   (847) 541-9500   (847) 419-4140
53   ACCO/ AIR CONDITIONING CO, INC   3333 MALT AVENUE                               COMMERCE             CA   90040        (323) 727-7765   (323) 727-9477
54   ACCURATE CIRCUIT ENGINEERING     3019 S. KILSON DRIVE                           SANTA ANA            CA   92707        (714) 546-2162   (714) 546-9676
55   ACCURATE ELECTRIC CO             845 PAYNE AVE                                  ST PAUL              MN   55101        (651) 771-0112   (651) 771-0155
56   ACCURIDE INTERNATIONAL INC.      12311 SHOEMAKER AVENUE                         SANTA FE SPRINGS     CA   90670        (562) 903-0200   (562) 903-0393
57   ACCUTEK PACKAGING EQP CO         1399 SPECIALTY DRIVE                           VISTA                CA   92083-8521   (760) 734-4177   (760) 734-4188
58   ACCUWEB, INC                     PO BOX 7816                                    Madison              WI   53707        (608) 223-0625   (608) 223-0609
59   ACE ELECTRIC SERVICE             5531 STATE FARM DRIVE                          Rohnert Park         CA   94928        (707) 586-4490   (707) 586-4720
60   ACE TOOL RENTAL, INC             P O BOX 28                                     FALLS CHURCH         VA   22040        (703) 532-5600   (703) 237-9021
61   A-CECO                           P O BOX 3008                                   CAMARILLO            CA   93011        (805) 796-2623   (805) 484-2704
62   ACHEM INDUSTRIAL AMERICA, INC    13226 ALONDRA BLVD                             CERRITOS             CA   90703        (562) 802-0998   (562) 802-5069
63   ACME ELECTRIC                    3840 E ROSSER AVE                              BISMARCK             ND   58501-3314   (701) 258-1267   (701) 258-1292
64   ACME ELECTRIC                    700 20TH AVE SE                                MINOT                ND   58701        (701) 839-2263   (701) 839-2253
65   ACME ELECTRIC MTR INC *          P O BOX 13720                                  GRAND FORKS          ND   58208-3720   (701) 746-6481   (701) 839-2253
66   ACME TOOL REPAIR                 293 SO. 598 W                                  HEYBURN              ID   83336        (208) 431-7318   (208) 678-7318
67   ACME TOOL REP/BRAD KAY           2205 MONEDA STREET                             HALTOM CITY          TX   76117        (817) 834-6666   (817) 834-6669
68   ACTION GEAR & BROACHING          1717 MONROVIA AVE.                             COSTA MESA           CA   92627        (949) 645-8212   (949) 645-8215
69   ACTION RENTAL & PARTY TIME       4340 FRANKLIN BLVD                             EUGENE               OR   97403        (541) 726-6517   (541) 726-9665
70   ACTIVE MOBILITY                  102 LIVE OAKS BLVD.                            CASSELBERRY          FL   32707        (407) 331-3303   (407) 331-5484
71   ADA COUNTY CORONER               5550 MORRIS HILL                               BOISE                ID   83706        (208) 287-5556   (208) 287-5579
72   ADAMS ELECTRIC MOTOR SHOP        10134 SUSSEX                                   HOUSTON              TX   77041        (713) 937-0968   (713) 937-0468
73   ADAMSON GLOBAL TECHNOLOGY        P O BOX 6246                                   KINSTON              NC   28501        (805) 748-6453   (804) 796-2037
74   ADAPT INC.                       435 WEST I-30                                  GARLAND              TX   75043        (972) 240-2326   (972) 240-4532
75   ADAPT MEDICAL                    435 W. I-30                                    GARLAND              TX   75043        972/240-2326     972/240-4532
76   ADDISON CONSTRUCTION SUPPLY      5685 SOUTH CAMERON                             LAS VEGAS            NV   89118        (702) 876-9800   (702) 367-8098
77   ADENA HEALTH SYSTEM              272 HOSPITAL RD                                CHILLICOTHE          OH   45601        (740) 779-7419   (740) 779-7720
78   ADVANCE ELECTRIC MOTOR           1915 W. WHITTIER BLVD                          MONTEBELLO           CA   90640        (323) 721-6468   (323) 721-3430
79   ADVANCE ELECTRIC MOTORS          1612 SE BROOKLYN STREET                        Portland             OR   97202        (503) 238-3944   (503) 238-3926
80   ADVANCE ELECTRIC MTR & PUMP      292 ARNOLD DRIVE, UNIT1                        SHEPERDSVILLE        KY   40165        (502) 955-1233   (502) 955-1235
81   ADVANCE FIRE PROTECTION CO       1451 WEST LAMBERT ROAD                         LA HABRA             CA   90631        (562) 691-0918   (562) 691-5482
82   ADVANCED AIR & POWER             1685 MARSHALL AVENUE                           EL CAJON             CA   92020        (619) 562-3373   (619) 562-3450
83   ADVANCED CLINICAL CONSULTING     1478 PROSPECT STREET                           EWING                NJ   8638         (609) 671-1200   (609) 671-1213
84   ADVANCED COMPOSITE PROD & TECH   15602 Chemical Ln, #1507                       Huntington Beach     CA   92649        714-895-5544     714-903-5419
85   ADVANCED ELECTRIC EQUIPMENT SV   2411 LARSON STREET                             LA CROSSE            WI   54603        (608) 781-2627   (608) 781-2628
86   ADVANCED MEDICAL                 1364 KILOU ST.                                 WAILUKU              HI   96793        (808) 242-2676   (808) 242-2292




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      Name                             Includes Plaintiff's suggested addresses                                             phone            Fax
87    ADVANCED MP TECHNOLOGY           1010 CALLE SOMBRA                              SAN CLEMENTE        CA   92673        (949) 492-3113   (949) 492-6480
88    ADVANCED SYSTEMS SERVICES, INC   1082 AIRPORT DRIVE                             UPLAND              CA   91786        (909) 949-9944   (909) 949-2244
89    ADVANCED VACUUM COMPANY, INC     1215 BUSINESS PKWY NORTH                       Westminster         MD   21157        (410) 876-8200   (410) 386-4544
90    ADVOCATE HEALTHCARE              ATTN: ACCOUNTS PAYABLES                        DOWNER GROVE        IL   60515        (630) 929-8107   (630) 929-9825
91    ADVOCATE HEALTHCARE              P.O. BOX 3367                                  DOWNERS GROVE       IL   60515        (930) 929-8107   (630) 929-9825
92    AERO ELECTRIC INC *              P O BOX 3807                                   WICHITA             KS   67201-3807   (316) 943-6100   (316) 943-2917
93    AEROSPACE TURBINE RTBLS          1919 NORTHERN                                  WICHITA             KS   67216        (866) 359-5287   (316) 943-2917
94    AFFILIATED CLINICAL ENG SVCS     2 Electronics Ave., Suite 1                    DANVERS             MA   1923         978/762-8777     978/762-0006
95    AFFILIATED MATERIAL SERVICES     ATT: ACCOUNTS PAYABLE                          BANGOR              ME   4401         (207) 673-6734   (207) 973-6763
96    AFFORDABLE MEDICAL SUPPLIES      5333 NORTH STATE RD. 7                         TAMARAC             FL   33319        (954) 484-7599   (954) 484-9060
97    AG AGRICULTURAL ELECTRIC         301 E. 1ST STREET                              HEREFORD            TX   79045        (806) 360-2000   (806) 364-1602
98    AGILIS MOBILITY SYSTEMS          12405 SLAUSON AVE. SUITE A                     WHITTIER            CA   90606        (562) 789-9611   (562) 789-9711
99    AIR & ELECTRIC TOOL SERVICE      130 WEST 3RD AVENUE                            ROSELLE             NJ   7203         (908) 241-6930   (908) 241-6931
100   AIR & POWER TOOL SPECIALISTS     12025 170TH STREET                             ARTESIA             CA   90701        (714) 475-6690   (714) 475-6692
101   AIR CLEANING SYSTEMS             1966 W. HOLT AVENUE                            POMONA              CA   91768        (800) 998-1974   (909) 629-3236
102   AIR TOOL MAINTENANCE             420 RIVER ROAD                                 EUGENE              OR   97404        (541) 461-1714   (541 461-8865
103   AIR TOOL SERVICE CTR             587 COOL SPRINGS CHURCH RD                     ELKIN               NC   28621        (336) 835-3093   (336) 835-3093
104   AIR-EZE SCIENTIFIC SERVICES      2034 THOMAS ST.                                HOLLYWOOD           FL   33020        (305) 770-3841   (305) 652-6408
105   AIRLINE COMPONENT PARTS LLC      1111 STANLEY DR.                               EULESS              TX   76040        (817) 354-4144   (817) 354-1667
106   AIS INDUSTRIAL CONST. SUP.       P O Box 172169                                 Denver              CO   80217        (303) 355-2391   (303) 355-6572
107   AKHURST MACHINERY INC            2225 NORTH WILLIAMS                            PORTLAND            OR   97227        (503) 249-2900   (503) 249-3874
108   AKRON GENERAL MEDICAL CTR        400 WABASH AVE                                 AKRON               OH   44307        (330) 384-6470   (330) 384-1914
109   ALABAMA CONSTRUCTION SUPPLY*     4900 5TH AVE SOUTH                             BIRMINGHAM          AL   35232        (205) 592-8944   (205) 592-8953
110   ALABAMA JACK CO INC              1140 5TH AVE N                                 BIRMINGHAM          AL   35203        (205) 251-8156   (205) 592-8953
111   ALAMANCE REGIONAL MEDICAL CTR    P.O. BOX 202                                   BURLINGTON          NC   27215        (336) 538-7761   (336) 538-7722
112   ALAMO MEDREP                     9354 BRUSHY POINT                              SAN ANTONIO         TX   78250        (210) 520-6518   (210) 520-6518
113   ALASKA VETERINARY PATHOLOGY      P.O. BOX 773072                                EAGLE RIVER         AK   99577        (907) 696-3704   (907) 696-3706
114   ALCO RENT ALL INC                1505 NW 36TH STREET                            SAN ANTONIO         TX   78228        (210) 674-6950   (210) 674-6954
115   ALCO SALES & SERVICE CO.         6851 HIGH GROVE BLVD.                          BURR RIDGE          IL   60527        (630) 655-1900   (630) 655-7173
116   ALEX INTERNATIONAL               4641 CHARNOCK DRIVE                            IRVINE              CA   92604        (949) 552-7617   (949) 552-6486
117   ALEXANDER PARKER PHARMACEUTICA   2665 LONG LAKE ROAD SUITE 330                  ROSEVILLE           MN   55113        (651) 697-0541   (651) 697-0944
118   ALEXANDERS ELECTRIC MOTOR SHOP   996 NO J ST                                    TULARE              CA   93274        (559) 686-4532   (559) 686-5834
119   ALEXIAN BROTHERS MEDICAL CTR     800 BIESTERFIELD ROAD                          ELK GROVE VILLAGE   IL   60007        (847) 437-5500   (630) 285-1615
120   A-LINE CONCRETE CUTTING LLC      P O BOX 6219                                   VANCOUVER           WA   98668        (503) 227-2580   (503) 227-2743
121   AL-KAR TOOL REPAIR *             1746-F S VICTORIA AVE., STE413                 VENTURA             CA   93003        (805) 650-9003   (805) 650-9023
122   ALL AMERICAN AIR COMPRESSOR CO   5927 KESTER AVENUE                             VAN NUYS            CA   91411        (818) 785-9306   (818) 785-0958
123   ALL AMERICAN PUMP & MACH INC     1310 N BELL ST                                 SAN ANGELO          TX   76903-4705   (800) 688-2323   (325) 653-8714
124   ALL ELECTRIC MOTOR               1452 CANAL STREET                              AUBURN              CA   95603        (530) 888-6211   (530) 888-0869
125   ALL ELECTRIC MOTOR               5507 MILWAUKEE AVE E                           PUYALLUP            WA   98372-3599   (253) 845-1938   253-307-3487
126   ALL IN ONE MOBILITY              12833 N.E. AIRPORT WAY                         PORTLAND            OR   97230        (503) 255-5005   (503) 255-5010
127   ALL MEDICAL, INC.,               2011 HAMPTON ST.                               COLUMBIA            SC   29204        (803) 779-2011   (803) 779-4678
128   ALL METRO TOOL REPAIR            1232A SOUTHWEST BLVD                           KANSAS CITY         KS   66103        (913) 432-3200   (913) 789-8902
129   ALL PHASE MOTOR WORKS INC        1616 MARKET ST                                 SHREVEPORT          LA   71101        (318) 221-8315   (318) 221-8314
130   ALL POWER TOOL                   2130 PALMER DRIVE                              SCHAUMBERG          IL   60173        (847) 301-4000   (847) 301-4040
131   ALL SAFE ELECTRIC INC            7057 CANOGA AVE                                CANOGA PARK         CA   91303        (818) 340-0974   (818) 340-5553
132   ALL STAR RENTS(dba) many locat   FAIRFIELD RENTAL SERVICE                       Fairfield           CA   94533        (707) 429-3884   (707) 429-5285
133   ALL TOOL SERVICE & SUPPLY        2716 S. CHERRY AVE                             FRESNO              CA   93706        (559) 252-2879   (559) 255-7492
134   ALL TRADE INDUSTRIAL SUPPLY      73-5563 MAIAU ST                               KAILUA KONA         HI   96740        (808) 329-0516   (808) 329-0876
135   ALL TRADES SUPPLY                3241 ISABEL AVENUE                             ROSEMEAD            CA   91770        (626) 572-4287   (626) 572-0562
136   ALL TRADES TOOL REPAIR           2420 W 1ST STREET, SUITE 55                    TEMPE               AZ   85281        (480) 894-8976   (480) 894-8990
137   ALLEN ARMATURE & ELECTRIC CO     10 S 18TH ST                                   KANSAS CITY         KS   66102        (913) 371-9999   (913) 371-9998
138   ALLEN EQUIPMENT CO               755 HAMILTON AVE                               MENLO PARK          CA   94025        (650) 323-6155   (650) 323-5814
139   ALLEN INDUSTRIAL SUPPLY          1309 BUSINESS PARK DRIVE                       MISSION             TX   78572        (956) 584-2000   (956) 584-2277
140   ALLEN TOOL COMPANY               14160 LIVE OAK AVE., UNIT F                    BALDWIN PARK        CA   91706        (626) 962-2712   (626) 960-2713
141   ALLENS ELECTRIC MOTOR SERVICE    P O BOX 700                                    OIL CITY            LA   71061        (318) 995-0880   (318) 995-0860
142   ALLIANCE COMMUITY HOSPITAL       264 E. RICE STREET                             ALLIANCE            OH   44601        (330) 829-4011   (330) 829-4198
143   ALLIANCE REHAB SERVICES          14535 Valley View Ave., Suite U                SANTA FE SPRINGS    CA   90670        562/921-0353     562/921-1404
144   ALLIANT HEALTH SYSTEM            PO BOX 35070                                   LOUISVILLE          KY   40232        (502) 629-2154   (502) 629-8247
145   ALLIED ELECTRICAL & POWER INC    2320 INDUSTRIAL PARK ROAD                      VAN BUREN           AR   72956-1245   (501) 474-5271   (501) 474-0193
146   ALLINA-CES                       1895 W COUNTY ROAD C                           ROSEVILLE           MN   55113        (651) 635-4468   (651) 638-0357
147   ALLOY DIE CASTING                P O BOX 5073                                   BUENA PARK          CA   90622-5073   (714) 521-9800   (714) 670-7632
148   ALLSTATE ELECTRIC KINGMAN DIV    4755 INTERSTATE WAY                            KINGMAN             AZ   86401        (928) 757-1252   (928) 757-1254
149   ALLSTATE ELECTRIC MOTOR CO INC   6025 W. MONROE STREET                          PHOENIX             AZ   85043-3513   (602) 233-0500   (602) 233-0563
150   ALLSTATE INDUSTRIAL EQUIPMENT    4534 WEBSTER STREET                            ECORSE              MI   48229-0129   (313) 386-0130   (313) 386-2908
151   ALLTOOL RENTAL CO                KELLER & FAMILY CO                             HOLLYWOOD           FL   33023        (954) 981-1414   (954) 981-0200
152   ALPHA ENTERPRISE CORP            23 MAXWELL STREET                              LODI                CA   95240        (209) 334-2464   (209) 334-4718
153   ALPHA SCIENTIFIC MEDICAL, INC.   1751 YEAGER AVE                                LA VERNE            CA   91750        (909) 596-5400   (909) 398-1522
154   ALPINE POWER EQUIPMENT           2770 LAKE FOREST ROAD                          TAHOE CITY          CA   96145        (530) 583-0600   (530) 583-0189
155   ALS HIGH TECH INC                135 NORTHFIELD ROAD                            BEDFORD             OH   44146        (440) 232-7090   (440) 232-8798
156   ALSAY-TEXAS CORP                 1233 W 34TH STREET                             HOUSTON             TX   77018        (713) 892-8813   (713) 862-3926
157   ALSOP ELECTRIC MOTOR SHOP        805 VERTIN AVENUE                              SALINAS             CA   93901        (408) 422-7447   (408) 422-3860
158   ALTA BATES MEDICAL CTR.          350 HAWTHORNE AVE.                             OAKLAND             CA   94609-3108   (510) 204-1399   (510) 204-4220
159   AL-TAR SERVICES                  740 SIERRA VISTA AVE. SUITE H                  MOUNTAIN VIEW       CA   94043        (650) 968-1905   (650) 968-3866
160   ALTERNATE SOURCE IND TOOL *      P O BOX 710881                                 SANTEE              CA   92072-0881   (619) 224-2720   619-258-2565
161   ALTERNATE TRANSPORTATION         22336 CAMINITO ESCOBEDO                        LAGUNA HILLS        CA   92653        (949) 768-5416   (949) 859-2892
162   ALTERNATIVE CARE PROVIDERS       51 MIDDLESEX ST., UNIT 103                     NORTH CHELMSFORD    MA   1863         (978) 251-7077   (978) 251-7252
163   ALTOONA HOSPITAL                 620 HOWARD AVE                                 ALTOONA             PA   16601        (814) 946-2135   (814) 946-7733
164   ALTURDYNE POWER SYSTEMS, LLC.    660 Steele St.                                 El Cajon            CA   92020        619-440-5531     619-387-1862
165   ALUTIIQ, LLC **                  3909 ARCTIC BLVD, STE 400                      Anchorage           AK   99503        (907) 222-9500   (907) 222-9501
166   AMERICAN APPAREL                 12537 CELISE AVENUE                            HAWTHORNE'          CA   90250        (310) 644-4001   (310) 644-5153
167   AMERICAN ARMATURE & POWER TOOL   2044 TEXAS AVE                                 SHREVEPORT          LA   71103        (318) 222-0746   (318) 222-0724
168   AMERICAN ARMATURE CORP           980 MORGAN AVE                                 TIFFIN              OH   44883        (419) 448-1926   (419) 448-1950
169   AMERICAN AUTOMATED ENGINEERING   dba AAE AEROSPACE                              Huntington Beach    CA   92649        (714) 898-9951   (714) 895-9143
170   AMERICAN CARE EQUIPMENT          8116 NEWTON STREET                             OVERLAND PARK       KS   66204        (913) 383-3456   (913) 383-3797
171   AMERICAN ELECTRIC CO (CED)       510 FUNSTON STREET                             EMPORIA             KS   66801        (620) 343-3821   (620) 343-9051
172   AMERICAN GRANITE RESOURCES, IN   132 N LAS POSAS ROAD, SUITE A                  SAN MARCOS          CA   92069        (760) 591-3503   (760) 591-3561




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      Name                             Includes Plaintiff's suggested addresses                                            phone            Fax
173   AMERICAN HEALTH FOUND            ONE DANA ROAD                                  VALHALLA           NY   10595        (914) 789-7104   (914) 592-6317
174   AMERICAN HOME HEALTH CARE        6710 BROCKTON AVE.                             RIVERSIDE          CA   92506        (909) 686-3980   (909) 686-7911
175   AMERICAN HOMEPATIENT             120 N HIGH ST                                  ANTLERS            OK   74523        (580) 298-3669   (580) 298-6001
176   AMERICAN MEDICAL SERVICES        825 W HURON ST                                 PONITAC            MI   48341        (248) 332-6688   (248) 338-6361
177   AMERICAN MEDTECH SERVICES, INC   P.O. Box 39                                    AUSTELL            GA   30168        770/419-3839     770/792-8181
178   AMERICAN MOBILITY PRODUCTS       124 OLD US 68                                  CAMPBELLSVILLE     KY   42718        (270) 469-1391   (270) 469-1392
179   AMERICAN MONORAIL OF CA          10805 PAINTER AVENUE                           SANTA FE SPRINGS   CA   90670        (562) 906-1655   (562) 906-1654
180   AMERICAN PRESTO CORP             4001 E. SANTA ANA STREET                       ONTARIO            CA   91761        (909) 390-5288   (909) 390-5293
181   AMERICAN RENTAL TOOLS            233 ELEANOR ROOSEVELT STREET                   SAN JUAN           PR   918          (787) 756-6616   (787) 756-8582
182   AMERICAN TOOL & FASTENER         11065 Petal St.                                Dallas             TX   75238        972-801-9909     (972) 801-9920
183   AMERICAN TOOL & SHARPENING SV    132 SO BROADWAY                                LAWRENCE           MA   1843         (978) 683-6207   (978) 683-6207
184   AMERICAN TOOL REPAIR             4235 PACIFIC ST., UNIT E                       Rocklin            CA   95677        (916) 919-3559   (916) 652-8808
185   AMERICO INDUSTRIAL SUPPLY        1070 E DOMINGUEZ ST., UNIT B                   CARSON             CA   90746        (310) 763-5500   (310) 763-5851
186   AMONIX, INC                      1709 APOLLO CT                                 SEAL BEACH         CA   90740        (562) 200-7700   (562) 430-4774
187   AMPAM - LAS VEGAS                5040 SOBB AVENUE                               LAS VEGAS          NV   89118        (702) 939-2336   (702) 261-0522
188   ANCHOR PHARMACY #111             205 WASHINGTON HEIGHTS MED CTR                 WESTMINSTER        MD   21157        (410) 848-8900   (410) 848-5233
189   ANCHORAGE DAILY NEWS             PO BOX 149001                                  ANCHORAGE          AK   99514-9001   (800) 478-4200   (907) 278-2013
190   ANCO FASTENER SALES, INC         2130 W. 6TH AVE.                               EUGENE             OR   97402        (541) 485-2800   (541) 485-7867
191   ANDERSON AREA MEDICAL CTR        800 NORTH FANT STREET                          ANDERSON           SC   29621        (864) 261-1403   (864) 261-1179
192   ANDERSON PUMP COMPANY INC        24719 ROBERTSON BLVD.                          CHOWCHILLA         CA   93610        (559) 665-4477   (559) 665-3212
193   ANDERSON REPAIR                  1524 W 178TH STREET                            GARDENA            CA   90248        (310) 768-1677   (310) 768-1613
194   ANDERSON SUPPLY INC              22107 SOUTH VERMONT AVENUE                     TORRANCE           CA   90502        (310) 320-9700   (310) 212-7101
195   ANDO ELECTRIC MOTORS             1999 W ANAHEIM ST                              LONG BEACH         CA   90813        (562) 437-0445   (562) 437-4795
196   ANDREWS ELECTRIC MOTOR WORKS     1603 MONO DR                                   MODESTO            CA   95354        (209) 521-0030   (209) 524-5945
197   ANDROSCOGGIN VALLEY HOSPITAL     59 Page Hill Rd.                               BERLIN             NH   3570         603/752-2200     603/752-2376
198   ANDY'S TAYLORS RENTAL            J-MAR, INC                                     ST AUGUSTINE       FL   32080        (904) 471-2991   (904) 471-7580
199   ANGELES WELDING SERVICES         9747 S NORWALK BLVD                            SANTA FE SPRINGS   CA   90670        (562) 692-0876   (562) 699-2115
200   ANIMAS ORTHOPEDIC ASSOCIATES     575 RIVERGATE LANE, SUITE 105                  DURANGO            CO   81301        (970) 259-3020   (970) 259-9766
201   ANNE ARUNDEL MEDICAL CENTER      64 FRANKLIN STREET                             ANNAPOLIS          MD   21401        (410) 267-1156   (410) 267-1199
202   ANODYNE CORP.                    1136 ROSE ROAD                                 LAKE ZURICH        IL   60047        (847) 307-4107   (847) 307-4103
203   ANOKA COUNTY dba MIDWEST         MEDICAL EXAMINER'S OFFICE                      Anoka              MN   55303        (763) 324-4400   (763) 324-1042
204   ANSON GENERAL HOSPITAL           ACCOUNTS PAYABLE                               ANSON              TX   79501        (915) 823-3231   (915) 823-2574
205   APEX RENTALS                     11286 I AVENUE                                 HESPERIA           CA   92345        (760) 244-9349   (760) 244-3284
206   APEX SAW WORKS                   570 KIETZKE LANE                               RENO               NV   89502        (775) 329-3076   (775) 329-8981
207   APFFELS FINE COFFEES             12115 Pacific St.                              Santa Fe Springs   CA   90670        562-309-0369     562-309-0410
208   APGUARD MEDICAL INC.             6325 DE SOTO AVE. - UNIT K                     WOODLAND HILLS     CA   91367        (818) 713-1874   (818) 713-0879
209   API SYSTEMS INC                  8031 Avonia Rd.                                Fairview           PA   16415        814-474-2207     814-474-2208
210   APPLIANCE REPAIR CENTER          1807 THIRD STREET NORTH                        Saint Cloud        MN   56303        320-251-6461     320-251-5816
211   APPLIANCE REPAIR EXPRESS         14894 CAMDEN AVENUE                            SAN JOSE           CA   95124        (408) 371-8853   (408) 371-8854
212   AQUA VITAE                       1146 N. CENTRAL AVE. #302                      GLENDALE           CA   91202        (818) 566-7254   (818) 566-7489
213   ARAMARK - WEST HUDSON HOSPITAL   206 BERGEN AVE.                                KEARNY             NJ   7032         201/955-7081     201/955-7747
214   ARAMARK / CTS                    10510 TWIN LAKES PARKWAY                       CHARLOTTE          NC   28269        (704) 948-5737   (704) 948-5778
215   ARAPAHOE COUNTY CORONERS OFF     13101 E. BRONCOS PARKWAY                       ENGLEWOOD          CO   80112        (720) 874-3625   (720) 874-3627
216   ARBUCKLE ELECTRIC INC            7548 SANTA MONICA BLVD                         WEST HOLLYWOOD     CA   90046        (323) 876-7100   (323) 876-1850
217   ARCADE AMUSEMENTS                802 W. WASHINGTON AVE. SUITE E                 ESCONDIDO          CA   92025        (760) 480-6604   (760) 480-6687
218   ARCHBOLD MEDICAL CENTER          P.O. BOX 1018                                  THOMASVILLE        GA   31799        (912) 228-2722   (912) 228-8590
219   ARGONNE NATIONAL LAB             9700 SOUTH CASS AVENUE                         ARGONNE            IL   60439        (630) 252-4525   (630) 252-9843
220   ARIZONA ORTHOPEDIC & FRACTURE    444 WEST OSBORN ROAD STE 200                   PHOENIX            AZ   85013        (602) 230-1400   (602) 230-7676
221   ARKANSAS FASTENING SYSTEMS       417 COLLINS                                    LITTLE ROCK        AR   72202        (501) 372-1493   (501) 372-1495
222   ARLEY CORPORATION                1115 W. CHESTNUT STREET                        BROCKTON           MA   2301         (508) 580-4245   (508) 580-1264
223   ARLINGTON SCIENTIFIC, INC.       1840 NORTH TECHNOLOGY DRIVE                    SPRINGVILLE        UT   84663        (801) 489-8911   (801) 489-5552
224   ARMATURE WORKS INC               130 FRELS LANE                                 HOUSTON            TX   77076        (713) 697-8436   (713) 697-8442
225   ARONSON MEDICAL & RESPIRATORY    7826 WISE AVENUE                               BALTIMORE          MD   21222        (410) 633-6200   (410) 633-7559
226   ARPI OF USA                      140-2 BUSINESS PARK CIRCLE                     STOUGHTON          WI   53589        (608) 873-8659   (608) 873-8897
227   ARROW IMAGING, INC.              1937 FRIENDSHIP DR. #F                         EL CAJON           CA   92020        (619) 448-2512   (619) 448-2164
228   ARROW LABORATORY SPECIALISTS     11315 42ND PLACE NORTH                         PLYMOUTH           MN   55441        (612) 383-0570   (612) 383-0570
229   ARROWHEAD ELECTRIC               13950 ROSECRANS AVE. #. A                      SANTA FE SPRING    CA   90670        (562) 921-8521   (562) 407-5182
230   ARUP LABORATORIES                500 CHIPETA WAY                                SALT LAKE CITY     UT   84108        (801) 583-2787   (801) 583-2712
231   ASHLAN CONCRETE CUTTING          2682 Abels Ln.                                 Las Vegas          NV   89115        702-459-2594     702-459-2571
232   ASSOCIATED ELECTRIC MOTOR SVCS   820 BINFIELD RD                                MARYVILLE          TN   37802        (423) 983-2367   (423) 983-9043
233   ASSOCIATED GEAR                  13650 EAST BORA DR.                            SANTA FE SPRINGS   CA   90670        (562) 921-9938   (562) 921-0439
234   AT HOME MEDICAL SUPPLY           1141 HOLLAND DR. #12.                          BOCA RATON         FL   33487        (561) 998-0558   (561) 241-7060
235   ATCHISON HOSPITAL                1301 N.2ND STREET                              ATCHISON           KS   66002        (913) 367-6600   (913) 367-6658
236   ATHEARN INC                      19010 LAUREL PARK RD                           COMPTON            CA   90220        (310) 631-3400   (310) 885-5296
237   ATK ALLIANT TECHSYSTEMS *****    ACCOUNTS PAYABLE                               MAGNA              UT   84044-0098   (952) 351-3000   (801) 251-5931
238   ATLANTIC ELECTRIC MOTOR / AME    7347 STATE ROAD                                PHILADELPHIA       PA   19136        (215) 624-0800   (215) 333-8662
239   ATLAS ELECTRIC MOTOR SERVICE     76 CUMMINGS DRIVE                              WALTON             KY   41094        (859) 485-7870   (859) 485-7873
240   ATS ADVANCE TECH SVCS***         8201 N. UNIVERSITY                             PEORIA             IL   61615        (309) 693-3400   (309) 693-4164
241   AULTMAN HOSPITAL                 2600 SIXTH STREET S.W.                         CANTON             OH   44710        (330) 438-6331   (330) 453-4457
242   AUSTIN ARMATURE WORKS            304 COMMERCIAL DRIVE                           BUDA               TX   78610        (512) 312-0088   (512) 312-0988
243   AUTO AND TRUCK ELECTRIC., INC    1267 GATOR WAY                                 SPARKS             NV   89431        (775) 359-6584   (775) 359-1783
244   AUTO DIESEL ELECTRIC             N C AUTO PARTS                                 RENO               NV   89502        (775) 329-0707   (775) 329-0447
245   AUTOMATIC TOOL & FASTENER INC    1809 SANTA FE PLACE                            COLUMBIA           MO   65202        (573) 888-9777   (573) 886-0790
246   AUTOMATION SOLUTIONS, INC        5277 Vincent Ave., Unit 45                     Baldwin Park       CA   91706        626-812-7799     626-812-4488
247   AVALON DISTRIBUTING              1701 E EDINGER AVE., BLDG I                    SANTA ANA          CA   92705        (714) 953-5663   (714) 953-5669
248   AZTEC RENTALS INC                6602 UNIVERSITY AVENUE                         SAN DIEGO          CA   92115        (619) 582-2245   (619) 582-2644
249   B & B ELECTRIC CO                501 N TRENTON                                  TULSA              OK   74120        (918) 583-6274   (918) 583-6079
250   B & B ELECTRIC MOTOR CO          332 LULU                                       WICHITA            KS   67211        (316) 267-1238   (316) 267-0599
251   B & B PUMPS AND MOTORS           1153 N. 1100 W. St                             Saint George       UT   84770        435-703-9375     435-703-9376
252   B & B RENTAL INC                 35 NEW CLYDE HWY                               CANTON             NC   28716        (828) 646-0500   (828) 646-0500
253   B & B SALES                      3636 N BUCKNER BLVD                            DALLAS             TX   75228        (214) 321-4111   (214) 321-4169
254   B & G ELECTRIC MOTOR SERVICE     P O BOX 1474                                   PEARLAND           TX   77588-1477   (281) 485-2461   (281) 485-8559
255   B & G INDUSTRIES, INC            501 GRIFFIN AVENUE                             ENUMCLAW           WA   98022        (360) 802-0363   (360) 802-1400
256   B & H ELECTRIC AND SUPPLY        740-C AVENUE                                   SEYMOUR            IN   47274        (812) 522-5607   (812) 522-5313
257   B & H EQUIPMENT                  3300 NW 38 STREET                              MIAMI              FL   33142        (305) 633-5399   (305) 633-5660
258   B & J ELECTRIC MOTOR             30 MAPLE STREET                                ANSONIA            CT   6401         (203) 734-1695   (203) 732-2438




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      Name                             Includes Plaintiff's suggested addresses                                            phone            Fax
259   B & J ELECTRIC MTR/POWER TOOL    712 N KRUGER                                   TRUTH/CONSEQNCS    NM   87901        (575) 894-1061   575 740-0918
260   B & K ELECTRIC WHOLESALE *       17110 E GALE AVE                               INDUSTRY           CA   91744        (818) 965-5040   (818) 965-0542
261   B & R MEDICAL EQUIPMENT          2520 SOUTH FAIRVIEW AVE-STE A1                 SANTA ANA          CA   92704-5334   (714) 850-9326   (714) 850-9816
262   B & W INDUSTRIAL SALES CO INC    1065 HAMILTON ROAD                             DUARTE             CA   91010        (626) 358-1836   (626) 303-5448
263   B & W SUPPLY                     7108 DIXIE HWY                                 FLORENCE           KY   41042        (606) 525-8715   (606) 525-0993
264   B J RENTAL/RENTX                 13044 POWEY ROAD                               POWAY              CA   92064        (619) 748-3722   (619) 748-2663
265   B J RENTALS/RENTX                2055 MAIN STREET                               RAMONA             CA   92065        (760) 789-0931   (760) 789-0814
266   B J s PARTS & SERVICE *          P O BOX 4248                                   KENT               WA   98032        (206) 931-0603   (206) 931-3446
267   B K INDUSTRIAL RESOURCES         939 N ORANGE AVENUE                            AZUSA              CA   91702        (626) 419-6290   (626) 969-8198
268   B.C. WHEEL COMPANY               6134 6TH AVE S.                                SEATTLE            WA   98108-3308   (206) 767-4449   (206) 767-4474
269   B.W. ROGERS CO.                  71 CEDAR STREET                                AKRON              OH   44307        (330) 315-1259   (330) 762-5505
270   BACKS & BONES/HOME MED EQUIP.    917 C. STREET                                  SAN RAFAEL         CA   94901-2805   (415) 456-9210   (415) 456-1828
271   BAILEY FOOD MACHINES             867 VALLEY STREET                              DAYTON             OH   45404        (937) 223-1914   (937) 223-1915
272   BAILEY TOOL & SUPPLY             1338 SO SHELBY STREET                          LOUISVILLE         KY   40217        (502) 635-6348   (502) 635-6470
273   BAKE MARK (WESTCO)               7351 CRIDER AVENUE                             PICO RIVERA        CA   90660        (562) 949-1054   (562) 949-2325
274   BAKER'S ELECTRICAL SUPPLIES      112 SOUTH EDWARDS STREET                       MONTICELLO         AR   71655        (870) 367-8676   (870) 367-1414
275   BAKERSFIELD TOOL REPAIR *        P O BOX 71207                                  BAKERSFIELD        CA   93387        (661) 327-2820   (661) 327-5069
276   BALANCE ORTHOPAEDIC              FOOT AND ANKLE CENTER                          LONG BEACH         CA   90806        (562) 424-9444   (562) 988-0309
277   BALSHOR FLORIST                  2661 RIVERSIDE BLVD.                           SACRAMENTO         CA   95818        (916) 441-3023   (916) 451-0874
278   BAMA POWER TOOL REPAIR SV        11459 DAUPHIN ISLAND PKWY                      THEODORE           AL   36582        (334) 973-2855   (334) 973-0548
279   BANAS SALES & SERVICE            9729 W GRAND                                   FRANKLIN PARK      IL   60131        (708) 455-6855   (708) 455-6860
280   BANNER HOME MEDICAL SUPPLY       2956 CEMETERY RD.                              XENIA              OH   45385-9711   (888) 272-3356   (937) 488-3038
281   BANNER MOBILITY RESOURCES, INC   231C SE 53RD ST                                TOPEKA             KS   66609-1020   (785) 235-3070   (758) 862-1510
282   BANNER TOOL CO                   6741 N 57TH AVE                                GLENDALE           AZ   85301        (623) 842-0800   (623) 842-4808
283   BANNING ELECTRIC                 1963 URBAN RIDGE RD                            WEST BRANCH        MI   48661        (989) 345-3905   (989) 345-4888
284   BAPTIST HEALTH SYSTEM            P.O. BOX 830605                                BIRMINGHAM         AL   35283-0605   (205) 620-8100   (205) 664-1125
285   BAPTIST HOSPITAL                 PO BOX 1788                                    KNOXVILLE          TN   37920        (423) 632-5001   (423) 632-5016
286   BARBARA BROWN & ASSOCIATES       24657 HALSTED ROAD                             FARMINGTON HILL    MI   48335        (810) 471-5400   (810) 471-0560
287   BARBER WELDING & MFG CO          7171 SCOUT AVENUE                              BELL GARDENS       CA   90201        (562) 928-2570   (562) 806-2889
288   BARGAS SALES & SERVICE           4672 ST RT 121                                 GREENVILLE         OH   45331        (513) 548-0772   (513) 548-3487
289   BARNERT HOSPITAL                 680 BROADWAY                                   PATERSON           NJ   7514         (973) 977-6737   (973) 977-6756
290   BARTON MEMORIAL HOSPITAL         P.O. BOX 9578                                  SOUTH LAKE TAHOE   CA   96158        (530) 542-3000   (530) 541-6104
291   BARTON W STONE CHRISTIAN HOME    873 GROVE STREET                               JACKSONVILLE       IL   62650        (217) 479-3400   (217) 243-8553
292   BAS Evansville, inc              10424 Middle Mt. Vernon Road                   Mount Vernon       IN   47620        (812) 985-5900   (812) 985-9103
293   BASIC FIRE PROTECTION, INC       8135 NE MLK JR BLVD                            PORTLAND           OR   97211        (503) 285-1855   (503) 285-0713
294   BATAVIA WOODS MEDICAL COMPLEX    845 W. LA VETA, SUITE 110                      ORANGE             CA   92868        (714) 744-4373   (714) 744-4363
295   BATES COUNTY MEMORIAL            615 W. NURSERY                                 BUTLER             MO   64730        (660) 679-4135   (660) 679-6889
296   BATTLE CREEK HEALTH SYSTEM       P.O. BOX 1595                                  BATTLE CREEK       MI   49016-1595   (616) 966-8012   (616) 966-8437
297   BAXTER REGIONAL MEDICAL CENTER   624 HOSPITAL DR.                               MOUNTAIN HOME      AR   72653        (870) 508-1440   (870) 508-1657
298   BAY AREA FLOOR MACHINE CO        652 B CHARLES ST                               SAN JOSE           CA   95112        (408) 971-1230   (408) 971-1262
299   BAY AREA RENTAL                  1624 W PACIFIC COAST HWY                       HARBOR CITY        CA   90710        (310) 326-5830   (310) 326-2638
300   BAY COUNTRY RENTALS              8017 FORT SMALLWOOD RD                         BALTIMORE          MD   21226        (410) 437-5660   (410) 437-5880
301   BCS SWITCHGEAR, INC              203 E. CHAPMAN DR                              SANGER             TX   76266        (940) 458-4019   (940) 458-4122
302   BEACON LUMBER/RENTAL             1069 SHAWMUT AVE                               NEW BEDFORD        MA   2746         (508) 995-1767   (508) 990-7810
303   BEATRICE STATE DEV CENTER        3000 LINCOLN BLVD                              BEATRICE           NE   68310        402/223-6600     402/223-7589
304   BEAVERTON HONDA YAMAHA           10380 SW CASCADE BLVD                          TIGARD             OR   97223        (503) 684-6600   (503) 684-5084
305   BEAVERTON PHARMACY               12250 S.W. CANYON ROAD                         BEAVERTON          OR   97005        (503) 644-2101   (503) 626-8698
306   BECKYS INDUSTRIAL SALES          10880 COUNTY ROAD 633                          BUCKLEY            MI   49620        (616) 269-3153   (616) 269-3689
307   BEECH SERVICES, LLC              2801 S BEECH DALY ROAD                         DEARBORN           MI   48126        (313) 563-4521   (313) 563-3993
308   BEELINE RENTALS                  3811 PERKIOMEN AVE                             READING            PA   19606        (215) 779-7070   (215) 779-2452
309   BELL PLUMBING AND HEATING        2150 S ABILENE STREET                          AURORA             CO   80014        (303) 757-5661   (303) 758-5104
310   BELLFLOWER ELECTRIC SVCE         10030 ARTESIA PL                               BELLFLOWER         CA   90706        (562) 866-7518   (562) 867-8158
311   BELMONT MEDICAL SUPPLY CO.       185 BELMONT STREET                             BELMONT            MA   2178         (617) 484-3888   (617) 489-5149
312   BENDER CCP, INC                  2150 E. 37TH STREET                            Los Angeles        CA   90058        (323) 232-2371   (323) 232-1790
313   BENEFAST INC.                    470 METROPLEX DRIVE STE.201                    NASHVILLE          TN   37211        (615) 331-3747   (615) 331-3078
314   BENNETT ELECTRIC, INC            211 REPUBLIC STREET                            NORWALK            OH   44857        (419) 668-6136   (419) 668-1960
315   BERGAN MERCY MEDICAL CENTER      7500 MERCY ROAD                                OMAHA              NE   68124        402/398-6025     402/398-6804
316   BERGEN BRUNSWIG MEDICAL          P.O. BOX 14214                                 ORANGE             CA   92863        (800) 562-6530   (425) 254-3243
317   BERLANDS HOUSE OF TOOLS *        1530 CENTRE CIRCLE                             DOWNERS GROVE      IL   60015        (630) 627-9090   (630) 620-8904
318   BEST INTERIORS INC               2100 E VIA BURTON                              ANAHEIM            CA   92806        (714) 637-5550   (714) 637-8550
319   BEST RENTAL CENTERS INC *        1450 E HIGHWAY 436                             ALTAMONTE SPRS     FL   32701-6003   (407) 831-2378   (407) 831-1935
320   BETH ISRAEL DEACONESS M.C.       P.O. BOX 15074                                 BOSTON             MA   2215         (617) 632-1185   (617) 754-2061
321   BETHESDA MEMORIAL HOSPITAL       2815 SOUTH SEACREST BLVD.                      BOYNTON BEACH      FL   33435        (561) 737-7733   (561) 364-8458
322   BEVERLY ORTHOPEDIC LABORATORY    237 E. BEVERLY BLVD                            MONTEBELLO         CA   90640        (323) 727-2887   (323) 727-2854
323   BIEDLER ELECTRIC                 1390 CHARLES TOWN ROAD                         MARTINSBURG        WV   25401        (304) 263-9995   (304) 263-8193
324   BIG D'S POWER EQUIPMENT          41711 IVY STREET                               MURRIETA           CA   92562        (909) 677-5405   (909) 677-8242
325   BIG JOHN'S DISCOUNT TOOLS        52 GLENDALE AVENUE                             SPARKS             NV   89431        (775) 355-5811   (775) 355-5822
326   BIG RAPIDS ORTHOPAEDICS          650 LINDEN                                     BIG RAPIDS         MI   49307        (231) 796-6712   (231) 796-7588
327   BIG RIVER ELECTRIC INC           299 UPPER RIVER RD                             GALLIPOLIS         OH   45631        (614) 446-4360   (614) 446-7384
328   BIGGE CRANE AND RIGGING CO.      10700 BIGGE ST.                                San Leandro        CA   94577        510-638-8100     510-639-4053
329   BILL'S WELDING EQUIP REPAIR      2006 S W 15TH STREET                           OKLAHOMA CITY      OK   73108        (405) 232-4799   (405) 232-5264
330   BINSON'S HOSPITAL SUPPLY         26834 LAWRENCE                                 CENTER LINE        MI   48015        (586) 755-2300   (586) 755-2322
331   BIOACTIVES                       1 DIX ST.                                      WORCESTER          MA   1609         (508) 752-1099   (508) 752-0993
332   BIOMATIC TECHNOLOGIES INC.       292 PAGE STREET UNIT H                         STOUGHTON          MA   2072         (781) 341-1444   (781) 341-4028
333   BIO-MED ENGINEERING, INC.        3080 S. STATE STREET                           SALT LAKE CITY     UT   84115        (801) 474-0900   (801) 474-0901
334   BIOMED SERVICE & MEDICAL PROD.   352 ENGEL ST., STE. B                          ESCONDIDO          CA   92029        (760) 735-3200   (760) 735-9605
335   BIOMED SVCS OF SANTA BARBARA     P.O. BOX 1409                                  LOMPOC             CA   93436        (805) 736-0243   (805) 735-5963
336   BIOMED TECHNOLOGIES, INC         231 ESPANONG ROAD                              Lake Hopatcong     NJ   7849         (973) 663-3969   (973) 663-3976
337   BIOMEDICAL CLINICAL ENG.         1451 SIERRA DR.                                ARROYO GRANDE      CA   93420        (805) 489-6605   (805) 489-8643
338   BIO-MEDICAL EQUIP REPAIR         CALLE ANTONIO R.BARCELO #72                    ARECIBO            PR   612          (787) 879-8155   (787) 879-8155
339   BIOMEDICAL EQUIPMENT SVC         510 JUNEAU AVE                                 FAIRBANKS          AK   99701        (907) 456-3440   (907) 456-3440
340   BIOMEDICAL SERVICES              P.O. BOX 51022                                 AMARILLO           TX   79159        (806) 353-2571   (806) 354-9750
341   BIO-MEDICAL SERVICES INC         4950 SAN BERNARDINO STREET                     Montclair          CA   91763        (909) 625-8256   (909) 625-8318
342   BIO-MEDICAL SERVICES, INC.       P.O. BOX 369                                   SUWANEE            GA   30024        (770) 945-3117   (770) 945-3402
343   BIOMEDICAL SUPPORT SERVICES      P.O. BOX 1303                                  ZACHARY            LA   70791        (225) 658-6455   (225) 658-2381
344   BIOMEDICAL SVCS OF SANTA BARB    P.O. BOX 1409                                  LOMPOC             CA   93438        (805) 736-0243   (805) 735-5963




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      Name                             Includes Plaintiff's suggested addresses                                           phone            Fax
345   BIOMEDICAL TECHNOLOGIES, INC     7317 N. CLASSEN BLVD                           OKLAHOMA CITY     OK   73116        (405) 842-2517   (405) 842-3626
346   BIO-TECH                         703 MARTHA BERRY BL.                           ROME              GA   30165        (706) 802-4669   (706) 624-2845
347   BIOTECHNICAL SERVICES, INC.      9373 ACTIVITY ROAD STE J                       SAN DIEGO         CA   92126        (858) 271-8961   (858) 271-8963
348   BIP CORPORATION                  1605 GRAND AVENUE                              SAN MARCOS        CA   92078        (866) 510-6562   (866) 510-6562
349   BJC CLINICAL ENGINEERING ADM     1537 LARKIN WILLIAMS ROAD                      FENTON            MO   63026        (636) 717-3600   (636) 717-3685
350   BLACK & DECKER                   3630 S CEDAR #C                                TACOMA            WA   98409        (253) 473-6040   (253) 473-9341
351   BLACK & DECKER / DEWALT          11477 PAGE SERVICE DR                          ST LOUIS          MO   63146        (314) 821-8740   (314) 821-5302
352   BLC INDUSTRIES                   P.O. BOX 14187                                 LOUISVILLE        KY   40214-4801   (502) 366-6002   (502) 366-6255
353   BLESSING HOSPITAL                P.O. BOX 7005                                  QUINCY            IL   62305-7005   217-223-8400     217-223-5912
354   BLUE ASH EQUIP RENTAL CTR        8970 BLUE ASH RD                               CINCINNATI        OH   45242        (513) 891-3491   (513) 791-8829
355   BLUE LAKE CASION & HOTEL         P O BOX 1128                                   BLUE LAKE         CA   95525-1128   (707) 668-9770   (707) 668-9753
356   BLUE RIDGE ELECTRIC MTR REP      P O BOX 16557                                  ASHEVILLE         NC   28816        (828) 258-0800   (828) 258-0880
357   BLUE RIDGE REHAB CENTER          P.O. BOX 4904                                  MARTINSVILLE      VA   24115        (540) 638-8701   (540) 638-2017
358   BLUE RIDGE RESPIRATORY & MED     2225 LANGHORNE ROAD                            LYNCHBURG         VA   24501        (434) 316-9115   (434) 455-7166
359   BLUEBONNET TOOL CO INC           P O BOX 541145                                 DALLAS            TX   75354-1145   (214) 358-2363   (214) 358-3768
360   BMA FRAMINGHAM                   4 VERNON STREET                                FRAMINGHAM        MA   1701         (508) 879-4144   (508) 875-8046
361   BMA OF DALLAS SOUTH              ATT: ACCOUNTS PAYABLE                          DALLAS            TX   75208        (214) 942-2900   (214) 942-3249
362   BMA SOUTH OAK CLIFF #1878        WYNNEWOOD VILLAGE CENTER                       DALLAS            TX   75224        (214) 352-3553   (214) 352-2189
363   BMT NORTHWEST LLC/BROWN TANK     100 TOWER BLVD. SUITE 101                      ELMA              WA   98541        (306) 482-1720   (306) 482-1725
364   BOARDMAN MEDICAL SUPPLY          300 N. STATE STREET                            GIRARD            OH   44420        (330) 545-6700   (330) 545-8601
365   BOB NAGEL DISTRIBUTING CO        2101 S E 7TH AVENUE                            PORTLAND          OR   97214        (503) 233-6531   (503) 263-6774
366   BOBS MOTOR SHOP INC              1129 S BROADWAY                                COOS BAY          OR   97420        (503) 267-3821   (503) 263-6774
367   BOCA MEDICAL SUPPLY, LLC         OAKS MEDICAL COMPLEX                           BOCA RATON        FL   33431        (561) 368-7430   (561) 368-8224
368   BODINE ELECTRIC OF DECATUR       1845 N 22ND ST                                 DECATUR           IL   62525        (217) 443-0022   (217) 443-0027
369   BOEDEKER PRECISION, INC          C/O BOEDEKER PLASTICS                          SHINER            TX   77984        (361) 594-2941   (361) 594-2349
370   BOISE PAPER HOLDINGS(Tharco)     P O BOX 990050                                 BOISE             ID   83799-0050   (208) 384-7288   (208) 331-5745
371   BOMEL CONSTRUCTION CO *          1894 N MAIN ST                                 ORANGE            CA   92865        (909) 921-1660   (909) 923-3319
372   BOSTON ROAD EQUIPMENT RENTALS    3211 BOSTON ROAD                               BRONX             NY   10469        (718) 654-8710   (718) 515-5821
373   BOUNTIFUL TOOL REPAIR & SUPPLY   543 W 100 NORTH                                BOUNTIFUL         UT   84010        (801) 292-7331   (801) 296-1703
374   BOWERS COMPANIES                 430 E. PACIFIC COAST HWY                       LONG BEACH        CA   90806        (562) 490-0307   (562) 490-9660
375   BOYDS ELECTRIC MOTOR INC         532 SO "M" STREET                              TULARE            CA   93274        (559) 686-3301   (559) 686-5557
376   BPI INC                          4813 PACIFIC HWY E.                            FIFE              WA   98424        (253) 572-7292   253/883-5041
377   BPI MEDICAL                      4813 PACIFIC HWY E                             FIFE              WA   98424        (253) 883-5040   (253) 883-5041
378   BRADLEY EQUIPMENT RENTALS        1010 S LEE HWY                                 CLEVELAND         TN   37311-5857   (423) 339-0075   (423) 339-0017
379   BRADLEY FASTENER & SUPPLY        3917 66TH ST                                   DES MOINES        IA   50322-2713   (515) 276-4414   (515) 276-5081
380   BRADLEY TOOLS & FASTENERS INC    6250 NW BEAVER DR., #A4                        JOHNSTON          IA   50131        (515) 331-0878   (515) 276-5081
381   BRADLEYS INC                     P O BOX 308                                    Gregory           TX   78359        (361) 882-4381   (361) 882-4385
382   BRAGG CRANE SERVICE *            6251 PARAMOUNT BLVD                            LONG BEACH        CA   90805        (310) 984-2400   (310) 984-2467
383   BRAND APPLIANCE & MICROWAVE      2751 S STAPLES STREET                          CORPUS CHRISTIE   TX   78404        (361) 854-1851   (361) 854-1812
384   BRANDON & CLARK, INC             2475 E. LONG AVENUE                            FORT WORTH        TX   76106        (817) 838-5593   (817) 838-8937
385   BRANDON INTERNATIONAL            5152 COMMERCE DRIVE                            BALDWIN PARK      CA   91706-1450   (626) 960-4981   (626) 337-5075
386   BRANNEN'S, INC. **               P O BOX 339                                    Mc DADE           TX   78650        (512) 273-2282   (512) 273-2921
387   BRASSELER USA                    4837 McGRATH STREET SUITE J                    VENTURA           CA   93003        (805) 650-5209   (805) 289-1099
388   BRASSELER USA                    ONE BRASSELER BLVD                             SAVANNAH          GA   31419        (912) 927-8671   (912) 921-7555
389   BRAVO TECH, INC                  4260 CERRITOS AVENUE                           LOS ALAMITOS      CA   90720        (714) 952-8324   (714) 952-0107
390   BRAWLEY ALL SEASONS POWER EQP    54 MARSHALL HILL ROAD                          WEST MILFORD      NJ   7480         (973) 728-6201   (973) 728-6202
391   BRAYS A TO Z RENTAL INC          507 RIVER BEND DR                              GEORGETOWN        TX   78628        (512) 869-7940   (512) 869-0352
392   BREHOB CORPORATION *             P O BOX 2023                                   INDIANAPOLIS      IN   46206        (317) 231-8080   (317) 231-8082
393   BREHOB ELECTRIC                  PO BOX 2023                                    INDIANAPOLIS      IN   46206        (800) 632-4451   (317) 231-8082
394   BRENCO                           P O BOX 487                                    ROSS              OH   45061-0487   (513) 738-1808   (513) 738-1832
395   BRIAN H. BOWLING                 3265 LAUREL CREEK                              BARTLETT          TN   38134        (901) 448-4119   (901) 448-4084
396   BRIAN'S HARDWOOD FLOORING, INC   2013 ARTESIA BLVD                              Redondo Beach     CA   90278        (310) 318-1191   (310) 937-4293
397   BRIDGEPORT HOSPITAL              P.O. BOX 55110                                 BRIDGEPORT        CT   6610         (203) 384-4599   (203) 384-3587
398   BRITISH AUTO ELECTRIC            2722 E CARNIVAL AVE                            Anaheim           CA   92806        714-348-8689     714-279-8084
399   BROADWAY HOME MEDICAL            808 S. HILLSIDE                                Wichita           KS   67211        (316) 264-8600   (316) 264-1999
400   BROADWAY RENTAL EQUIPMENT CO     6800 W BROADWAY                                MINNEAPOLIS       MN   55428        (763) 533-1680   (763) 533-3227
401   BROCKHOUST SALES & SERVICE       212 CEDAR DRIVE, BOX 167                       CHAPIN            IL   62628        (217) 472-8411   (217) 472-8421
402   BRONX TOOL & EQUIPMENT           4295 THIRD AVENUE                              BRONX             NY   10457        (718) 901-2200   (718) 901-2285
403   BROOKDALE HOSPITAL               P.O. BOX 120321                                BROOKLYN          NY   11212        (718) 240-5175   (718) 240-5290
404   BROOKE RENTAL CENTER             321 Mill St. NE                                Vienna            VA   22180-4525   703-938-4807     703-938-1273
405   BROOKSIDE PODIATRY DR YABUMOTO   THE FOUNTAINS SUITE 203 WEST                   STOCKTON          CA   95219        (209) 478-7847   (209) 956-3514
406   BROOKSTONE EQUIPMENT SV          1600 W KATELLA AVE                             ORANGE            CA   92867        (877) 628-8781   (877) 628-8727
407   BROSSON TOOL / BROTHERS & SONS   10808 MYERS WAY SOUTH                          SEATTLE           WA   98168        (206) 244-3171   (206) 244-5489
408   BROTHERS JANITORIAL SUPPLY CO    16211 BELLFLOWER BLVD                          BELLFLOWER        CA   90706        (562) 920-9090   (562) 920-9596
409   BROWARD ARMATURE AND GENERATOR   340 SW 21ST TERRACE                            FORT LAUDERDALE   FL   33312        (954) 583-9888   (954) 583-9866
410   BROWARD MEDICAL SUPPLY           911 E ATLANTIC BLVD                            POMPANO BEACH     FL   33060        (954) 946-5950   (954) 943-8315
411   BROWN & ROOT                     P O BOX 4906                                   CARSON            CA   90749-4906   (310) 952-7290   (310) 952-7390
412   BROWN RENTAL INC                 2905 OVERLAND ROAD                             BOISE             ID   83705        (208) 344-6581   (208) 344-6586
413   BRUCKNER SUPPLY COMPANY          36 HARBOR PARK DRIVE                           PORT WASHINGTON   NY   11050        (516) 484-6070   (516) 484-1255
414   BRUENEMAN RENTALS INC            1111 TENNESSEE AVE                             CINCINNATI        OH   45229        (513) 242-1236   (513) 641-5308
415   BRUNNER HEALTHCARE               8444 MENTOR AVE                                MENTOR            OH   44060        (800) 422-6786   (440) 255-7949
416   BRUNSWICK HOSPITAL CENTER        366 BROADWAY                                   AMITYVILLE        NY   11701        (631) 789-7050   (631) 789-5614
417   BRYAN TEXAS UTILITIES            205 E 28TH STREET                              BRYAN             TX   77805        (979) 821-5860   (979) 821-5795
418   BS&E COMPANY INC                 6319 DISTRICT BLVD                             Bakersfield       CA   93313        (661) 834-2700   (661) 834-0678
419   BUCHANAN AUTO ELECTRIC           2300 MANDELA PKWY                              OAKLAND           CA   94607        (510) 452-4025   (510) 452-4027
420   BUD & RAYS REPAIR                701 N 5TH ST                                   QUINCY            IL   62301        (217) 223-2955   (217) 223-3143
421   BUFFALO GENERAL HOSPITAL         100 HIGH STREET                                BUFFALO           NY   14203        (716) 887-4101   (716) 887-4373
422   BURESH EAST RENTAL               2901 1ST AVENUE S.E.                           CEDAR RAPIDS      IA   52402        (319) 366-8291   (319) 366-8294
423   BURNEY RENTAL CENTER             37400 MOUNTAIN VIEW RD                         BURNEY            CA   96013        (916) 335-5545   (916) 335-2867
424   BURRELL RENTAL & SALES           3251 LEECHBURG RD                              LOWER BURRELL     PA   15068        (412) 337-3586   (412) 274-6455
425   BURT ELECTRIC                    9763 CR 2285                                   TYLER             TX   75707        (903) 592-1557   (903) 592-4061
426   BUTLER & CO                      128 N BELTLINE HWY                             MOBILE            AL   36607        (334) 471-4455   (334) 471-4510
427   BUZZELL ELECTRIC WORKS           130 8TH STREET                                 SAN FRANCISCO     CA   94103        (415) 431-5526   (415) 431-6430
428   C & D TOOL REPAIR *              aka HARDWARE ELECTRICAL SUPPLY                 FORT WORTH        TX   76117        (817) 834-6633   (817) 429-1135
429   C & G MAINTENANCE                66 SOUTH SOLOMON STREET                        FERRON            UT   84523        (435) 564-8319   (435) 524-3561
430   C & S MOBILE TOOL REPAIR         646 S 215TH ST                                 ELKHORN           NE   68022        (402) 677-9275   (402) 289-2193




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      Name                             Includes Plaintiff's suggested addresses                                            phone            Fax
431   C & W TOOL & EQUIPMENT SUPPLY    1400 S MAIN ST                                 LITTLE ROCK        AR   72202        (501) 376-2310   (501) 376-0336
432   C E D - CONSOLIDATED ELEC DIST   all INVOICES MUST BE                           0                  CO   0            (620) 343-3821   (620) 343-9051
433   C E M SUPPLY, INC                178 W GARFIELD ROAD                            COLDWATER          MI   49036        (517) 278-2611   (517) 278-8766
434   C G ELECTRICAL SERVICES CO       1409 S 1500 E #8                               VERNAL             UT   84078        (435) 789-2170   (435) 789-2175
435   C J RENTALS                      4460 TABLE ROCK ROAD #5                        CENTRAL POINT      OR   97502        (541) 664-4099   (541) 664-6896
436   C J'S TOOLS & FASTENERS, INC     P O BOX 843 (MAIL ONLY)                        ORANGE PARK        FL   32067-0843   (904) 215-0700   (904) 215-0710
437   C T POWER TOOL REPAIR            5440 N COUNTY ROAD 900 E                       BROWNSBURG         IN   46112        (317) 852-7394   (317) 852-7860
438   C. E. SERVICES, INC.             368 REBECCA STREET                             SOMERSET           PA   15501        (814) 443-3194   (814) 445-3894
439   C.E.M.C.                         211 PENNINGTON AVE.                            PASSAIC            NJ   7055         (973) 470-3000   (973) 470-3411
440   CABRINI MEDICAL CENTER           227 E. 20TH STREET                             NEW YORK           NY   10003        (212) 995-7177   (212) 995-7498
441   CACO PACIFIC CORP                813 N. CUMMINGS ROAD                           COVINA             CA   91724-2506   (626) 331-3361   (626) 966-6062
442   CAHILLS RENTAL & SALES INC       2205 LAFAYETTE AVE                             TERRE HAUTE        IN   47805        (812) 466-9841   (812) 466-9842
443   CAJUN ELECTRIC                   P O BOX 2459                                   RED OAK            TX   75154-2459   (972) 247-4440   (972) 247-8991
444   CAL U RENT OF THOUSAND OAKS      661 E THOUSAND OAKS BLVD                       THOUSAND OAKS      CA   91360        (805) 495-2111   (805) 371-9486
445   CALEY & WHITMORE CORP.           ATT: ACCOUNTS PAYABLE                          SOMERVILLE         MA   2143         (617) 623-7430   (617) 776-9393
446   CALHOUN-LIBERTY HOSPITAL         424 BURNS AVE                                  BLOUNTSTOWN        FL   32424        (850) 674-5411   (850) 674-1649
447   CALIFORNIA BIOLOGICALS           16835 ALGONQUIN ST #388                        HUNTINGTON BEACH   CA   92649        (714) 448-1652   (714) 894-5456
448   CALIFORNIA BOX CO                13901 S CARMENITA ROAD                         SANTA FE SPRNGS    CA   90670-4916   (562) 921-1223   (562) 921-3666
449   CALIFORNIA BUTTON CO. LLC        1530 N. Lakeview Ave                           Anaheim            CA   92817        714-777-8383     714-777-8382
450   CALIFORNIA COIL CO               2523 SEAMAN AVE                                SOUTH EL MONTE     CA   91733-1983   (626)569-8171    (626) 455-0010
451   CALIFORNIA DRYWALL CO            390 FLOYD ST                                   SAN JOSE           CA   95110        (408) 292-7500   (408) 292-4252
452   CALIFORNIA ELEC MTR SOURCE       451 S. IRWINDALE AVENUE                        AZUSA              CA   91702        (626) 812-0545   (626) 815-8431
453   CALIFORNIA ELECTRIC SERVCE INC   1170 G BURNETT AVE                             CONCORD            CA   94520        (925) 827-1011   (925) 827-5409
454   CALIFORNIA MEDICAL SUPPLY        2490 ARNOLD INDUSTRIAL WAY                     CONCORD            CA   94520        (925) 689-9860   (925) 933-5031
455   CALIFORNIA SERVICE TOOL INC      3875 BAY CENTER PLACE                          HAYWARD            CA   94545        (510) 751-1513   (510) 782-7164
456   CALIFORNIA STAGE & LIGHTING      3211 WEST MAC ARTHUR BLVD                      SANTA ANA          CA   92704        (714) 966-1852   (714) 966-0104
457   CAL-LIFT INC *                   P O BOX 22000                                  LOS ANGELES        CA   90022        (213) 685-7100   (213) 727-0932
458   CALWESTERN SALES CORP            3344 LEONIS BLVD                               LOS ANGELES        CA   90058        (213) 588-9201   (213) 727-0932
459   CAMERON ELECTRIC MOTOR CO INC    115 WEST RED STREET                            HATTIESBURG        MS   39403-0328   (601) 544-5512   (601) 544-5513
460   CANFIELD MACHINE & TOOL CO       121 HOWARD ROAD                                FULTON             NY   13069        (315) 593-8062   (315) 592-5963
461   CAPITAL MACHINE COMPANY INC      1101 INDUSTRIAL DRIVE                          JEFFERSON CITY     MO   65109        (573) 634-4488   (573) 634-7789
462   CAPITOL CITY SHARPENING & SLS    915 S COURT ST                                 MONTGOMERY         AL   36104        (334) 264-2334   (334) 263-2635
463   CAPO BEACH EQUIPMENT RENTALS     34221 DOHENY PARK RD                           CAPISTRANO BEACH   CA   92624        (949) 240-4085   949-429-6042
464   CARDINAL HEALTH/CATHOLIC HEALT   P O BOX 7052                                   TROY               MI   48007        (714) 572-9900   (714) 572-9985
465   CARDIODENT                       PO BOX 4953 SUITE 2048                         CAGUAS             PR   726          (787) 636-1000   (787) 703-1371
466   CARDIOPUMONARY CARE INC          PO BOX 997                                     LOGAN              OH   43138        (740) 385-6177   (740) 385-0474
467   CARE MEDICAL                     1877 NE SEVENTH AVE                            PORTLAND           OR   97212        (503) 288-8174   (503) 288-8525
468   CARES MEDICAL                    75 MANCHESTER AVE                              KEYPORT            NJ   7735         (732) 739-8900   (732) 739-0316
469   CARLISLE TIRE & WHEEL            P.O. Box 9                                     TRENTON            SC   29847        803/275-4486     803/275-3920
470   CARL'S ELECTRIC, INC             4564 N PECK ROAD                               EL MONTE           CA   91732        (626) 831-9885   (626) 443-8120
471   CARLS RENTALS                    2310 UNIVERSITY AVENUE                         SAN DIEGO          CA   92104        (619) 282-5995   (619) 282-6900
472   CARNEGIE MELLON UNIV - ROBOTIC   FIELD ROBOTICS CENTER                          PITTSBURGH         PA   15213        (412) 268-4670   (412) 268-5895
473   CARNITECH MAREL FOOD SYSTEMS     2001 W. GARFIELD STREET                        SEATTLE            WA   98119        (206) 781-1827   (206) 781-1828
474   CARO COMMUNITY HOSPITAL          PO BOX 71                                      CARO               MI   48723        (517) 673-3141   (517) 673-8471
475   CARO RENTAL                      466 ELLINGTON STREET                           CARO               MI   48723        (517) 673-5518   (517) 673-5016
476   CARONDELET HLTH CARE             PO BOX 5926                                    TUCSON             AZ   85703        (520) 790-5300   (520) 748-2543
477   CARPET EXPRESS                   PO BOX 279                                     ASH FLAT           AR   72513        (870) 994-3535   (870) 994-3545
478   CARPET MILLS SERVICE             800 SOUTH FLOWER STREET                        BURBANK            CA   91502        (818) 843-6886   (818) 840-8107
479   CASA GRANDE ELECTRIC MOTORS      807 E JIMMIE KERR BLVD                         CASA GRANDE        AZ   85222        (520) 421-0222   (520) 421-0444
480   CASCADE ELECTRIC INC             416 COMMERCE RD                                VESTAL             NY   13850        (607) 729-5278   (607) 797-0970
481   CASH SAVER RENTALS, INC          15327 SAN PEDRO                                SAN ANTONIO        TX   78232        (210) 499-4600   (210) 499-4603
482   CASLER HARDWARE INC              125 N JACKSON ST                               JACKSON            MI   49201        (517) 789-8153   (517) 789-8462
483   CASTLEROCK ENVIRONMENTAL,INC     10040 PAINTER AVE                              SANTA FE SPRINGS   CA   90670        (562) 941-9244   (562) 941-9204
484   CATALINA FURNITURE               40 E VERDUGO AVE                               BURBANK            CA   91502-1931   (714) 523-7000   (714) 523-8100
485   CATHOLIC HEALTH INITIATIVE       LOURDES HOSPITAL                               ERLANGER           KY   41018-1099   270-444-2593     (859) 594-3155
486   Catholic Health Initiatives      Lourdes Hospital                               Erlanger           KY   41018        (270) 444-2593   (270) 415-3939
487   CAWVEYS ELECTRIC MOTOR SERVICE   115 E 2ND ST                                   WEST PLAINS        MO   65775        (417) 256-4711   (417) 256-9501
488   CBS SOUTHWEST, INC               3702 E MIAMI STREET                            PHOENIX            AZ   85040        (602) 426-1667   (602) 426-0125
489   CCME, INC.                       105 GARDINERS AVE.                             LEVITTOWN          NY   11756        (516) 735-1204   (516) 735-1985
490   CCN INTERNATIONAL                200 LEHIGH STREET                              GENEVA             NY   14456        (315) 789-4400   (315) 789-0376
491   CDP/CALIFORNIA DIAMOND PRODUCT   2836 REDDING AVENUE                            SACRAMENTO         CA   95820-2121   (916) 454-4725   (916) 454-3961
492   CEDARS-SINAI MEDICAL CENTER      P.O. BOX 48955                                 LOS ANGELES        CA   90048        (310) 423-3194   (310) 385-9043
493   CENTER RENTAL                    1385 UMATILLA ST                               DENVER             CO   80204        (303) 592-3651   (303) 592-3661
494   CENTER RENTAL & SALES *          1301 E MULBERRY                                FORT COLLINS       CO   80524        (303) 482-9999   (303) 592-3661
495   CENTEREACH PHARMACY & SURGICAL   2155 MIDDLE COUNTRY RD                         CENTEREACH         NY   11720        (516) 588-8911   (516) 588-2430
496   CENTERS FOR FOOT & ANKLE CARE    10475 READING ROAD STE. 304                    CINCINNATI         OH   45241        (513) 563-7755   (513) 563-0768
497   CENTRAL ARKANSAS TOOL SUPPLY     5099 HEBER SPRINGS ROAD                        QUITMAN            AR   72131        (501) 589-2553   (501) 589-3313
498   CENTRAL BAPTIST HOSPITAL         1740 NICHOLASVILLE RD                          LEXINGTON          KY   40503        (859) 260-6100   (859) 260-6699
499   CENTRAL COAST ORTHOPEDIC MED G   ATTN: JIM ZELL                                 PISMO BEACH        CA   93449        (805) 466-0979   (805) 293-8777
500   CENTRAL ELEC MTR SPECIALTIES     327 S. WALNUT                                  HUTCHINSON         KS   67501        (620) 669-9000   (620) 669-9006
501   CENTRAL MASS TECH SERVICES       19 MAPLE AVE                                   SHREWSBURY         MA   1545         (508) 842-7280   (508) 842-4865
502   CENTRAL MICHIGAN COMM HOSP       1221 SOUTH DRIVE                               MOUNT PLEASANT     MI   48858        (517) 772-6729   (517) 772-6868
503   CENTRAL TEXAS MEDICAL CENTER     ATT: ACCOUNTS PAYABLE                          SAN MARCOS         TX   78666        (512) 753-3591   (512) 753-3645
504   CENTRAL VALLEY ELECTRIC INC      1625 EAST HIGHWAY 6                            HOLDREGE           NE   68949        (308) 995-2123   (308) 995-5413
505   CENTRE COMMUNITY HOSPITAL        P.O. BOX 1289                                  STATE COLLEGE      PA   16804        (814) 234-6151   (814) 231-7027
506   CENTURUM                         7807 CONVOY COURT SUITE 101                    San Diego          CA   92111        (619) 224-1100   (619) 224-4247
507   CENTURY TOOL & EQUIPMENT         4013 S. OLD HIGHWAY 94,                        SAINT PETERS       MO   63304        (636) 926-9333   (636) 926-9777
508   CERTIFIED SPINDLE PREPARATION    C/O FRANK BRYAN                                BEND               OR   97708        (541) 389-4120   (541) 389-4120
509   CE-TECH, INC.                    800 PRUDENTIAL DR.                             JACKSONVILLE       FL   32207        (904) 202-5878   (904) 202-5030
510   CHAMPION ELECTRIC INC            3950 GARNER ROAD                               RIVERSIDE          CA   92501        (951) 276-9619   (951) 276-1460
511   CHARITY HOSPITAL                 1532 TULANE AVE.                               NEW ORLEANS        LA   70112        (504) 568-3690   (504) 568-2339
512   CHARLES HALLER ENTERPRISES INC   4079 NEW COURT AVENUE                          SYRACUSE           NY   13206        (315) 433-0011   (315) 433-1580
513   CHARLES MEISNER, INC             201-A SOUTH SIERRA PLACE                       UPLAND             CA   91786        (909) 946-6766   (909) 682-0203
514   CHARLESTON ELECTRIC MOTOR SVCE   901 N WYCOFF AVE                               BREMERTON          WA   98310        (360) 377-3400   (360) 373-5822
515   CHARTER BROOKSIDE B.H.S.N.E.     29 NORTHWEST BLVD                              NASHUA             NH   3063         (603) 886-5000   (603) 886-5127
516   CHAS. H. DAY CO                  11405 SE 37th Ave.                             MILWAUKIE          OR   97222        503-972-6773     (503) 232-9821




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      Name                             Includes Plaintiff's suggested addresses                                            phone            Fax
517   CHATFIELD TIME RENTALS           6641 WEST KEN CARYL ROAD                       LITTLETON          CO   80128        (303) 979-4810   (303) 979-7268
518   CHATTANOOGA ARMATURE WKS         1209 E 23RD STREET                             CHATTANOOGA        TN   37408        (423) 267-7665   (423) 756-4404
519   CHELAN COMMUNITY HOSPITAL        P.O. BOX 908                                   CHELAN             WA   98816        (509) 682-6113   (509) 682-3475
520   CHET'S RENT-ALL*                 2616 CROOKS ROAD                               ROCHESTER HILLS    MI   48309        (248) 853-6020   (248) 853-7620
521   CHI - CARITAS MEDICAL CENTER     3900 OLYMPIC BLVD. SUITE 400                   ERLANGER           KY   41018-1099   (502) 361-6000   (859) 594-3145
522   CHICAGO GASKET TEFLON PROD.      1445 KAYWOOD LANE                              GLENVIEW           IL   60025        (847) 729-4211   (847) 729-4262
523   CHICAGO ORTHOPAEDICS AND         SPORTS MEDICINE                                CHICAGO            IL   60603        (312) 726-0271   (312) 726-2136
524   CHICKS ELEC MTR SERVICE          3592 MAIN ST                                   SAN DIEGO          CA   92113        (619) 232-2162   (619) 232-8555
525   CHICO POWER EQUIPMENT            2795 ESPALNADE                                 CHICO              CA   95973        (530) 893-3030   (530) 894-0607
526   CHICO TOOL REPAIR                4616 CODY LANE                                 FOREST RANCH       CA   95942        (530) 891-9041   (530) 891-9041
527   CHIEF ELECTRIC MOTOR SERVICE     2205-B PEACHTREE ROAD                          BALCH SPRINGS      TX   75180        (972) 289-1142   (972) 289-1564
528   CHIEF MEDICAL EXAMINER           2500 SOUTH 35TH STREET                         FT. PIERCE         FL   34981        (561) 464-7378   (561) 464-2409
529   CHILDREN'S HOSPITAL              1600 7TH AVE SOUTH                             BIRMINGHAM         AL   35233        (205) 939-9100   (205) 939-6060
530   CHILDREN'S HOSPITAL              4650 Sunset Blvd. MS #47                       Los Angeles        CA   90027        (323) 361-6315   (323) 361-8759
531   CHILDREN'S HOSPITAL              1056 E 19 TH AVE                               DENVER             CO   80218        (303) 861-6312   (303) 837-2633
532   CHILDREN'S HOSPITAL              34TH ST.& CIVIC CTR. BL                        PHILADELPHIA       PA   19104        (215) 590-1066   (215) 590-1546
533   CHINO RENTALS                    1181 N HWY 89                                  CHINO VALLEY       AZ   86323        (520) 636-2026   (520) 778-7368
534   CHIRON CORPORATION               4560 HORTON STREET                             EMERYVILLE         CA   94608        (510) 923-4868   (510) 923-7561
535   CHOICE TECHNICAL SERVICES        17517 FABRICA WAY #K                           CERRITOS           CA   90701        (714) 522-8123   (714) 522-8558
536   CHRIS SUPPLY COMPANY, INC        1640 SOUTH SAUNDERS ST                         RALEIGH            NC   27603        (919) 833-4499   (919) 833-6816
537   CHRISTIANA CARE HLTH SVCS        PO BOX 2653                                    WILMINGTON         DE   19805        (302) 733-4616   (302) 733-4640
538   CINCINNATI ELECTRIC              9709 READING ROAD                              CINCINNATI         OH   45215        (513) 563-6150   (513) 563-6120
539   CINCINNATI ELECTRIC REPAIR       2023 ELM ST                                    CINCINNATI         OH   45202-4910   (513) 621-2183   (513) 621-1910
540   CINCINNATI MACHINE, LLC          13900 LAKESIDE CIRCLE                          STERLING HEIGHTS   MI   48313        (818) 678-2276   (818) 678-2313
541   CIRCUIT BREAKER SALES & REP.     POST OFFICE BOX 1179                           DEER PARK          TX   77536        (281) 479-4555   (581) 479-4566
542   CISCO AIR SYSTEMS INC            214 27TH STREET                                SACRAMENTO         CA   95816        (916) 444-2525   (916) 444-7619
543   CISCO CONSTRUCTION & IND SPLY    1901 MC GEE ST                                 KANSAS CITY        MO   64108        (816) 842-7777   (816) 842-1601
544   CITY ELECTRIC MOTOR SHOP         631 Kennedy Rd.                                LEXINGTON          KY   40511        859-254-5581     859-253-0121
545   CITY MACHINE TECHNOLOGIES INC*   773 WEST RAYEN AVENUE                          YOUNGSTOWN         OH   44501-1466   (330) 747-2639   (330) 747-3205
546   CIVISTA MEDICAL CENTER           P.O. BOX 1070                                  LA PLATA           MD   20646        (301) 609-4355   (301) 609-4185
547   CJI PROCESS SYSTEMS              12000 Clark St.                                SANTA FE SPRINGS   CA   90670        562-907-1100     562-907-1105
548   CLACKAMAS ELECTRIC MOTOR & TL    22011 S. BEAVERCREEK ROAD                      BEAVERCREEK        OR   97004        (503) 632-2053   (503) 632-2054
549   CLARA MAASS MEDICAL CENTER       1 CLARA MAASS DRIVE                            BELLVILLE          NJ   7109         (973) 450-2173   (973) 844-4924
550   CLARE GENERATOR SERVICE          801 N 10TH                                     SALINA             KS   67402-0543   (800) 748-8321   (785) 823-7614
551   CLARK MEMORIAL HOSPITAL          PO BOX 69                                      JEFFERSONVILLE     IN   47130        (812) 283-2040   (812) 283-2194
552   CLARK REGIONAL MEDICAL CENTER    1107 W. LEXINGTON AVE.                         WINCHESTER         KY   40392        (859) 745-3548   (859) 745-3450
553   CLARK-FOWLER ELECTRIC*           510 WEST HENRY STREET                          WOOSTER            OH   44691        (800) 569-8011   (330) 262-9126
554   CLARKLIFT OF CALIFORNIA          10620 SPRINGDALE AVE                           SANTA FE SPRINGS   CA   90670        (562) 941-2225   (562) 941-2373
555   CLARKS ORTHOPEDIC                513 FIRST AVE. SOUTH                           GREAT FALLS        MT   59401        (406) 452-8428   (406) 452-8741
556   CLARKS TOOL                      2907 W BROADWAY                                SEDALIA            MO   65301        (816) 826-3100   (816) 826-4597
557   CLAY COUNTY ELECTRIC MTRS, INC   129 S GALLATIN                                 LIBERTY            MO   64068        (816) 781-0700   (816) 781-4233
558   CLEANING EQUIPMENT MAINT CORP    9502 DITMAS AVE                                BROOKLYN           NY   11236        (718) 501-0160   (718) 501-0162
559   CLEANSOURCE, INC                 650 BRENNAN STREET                             SAN JOSE           CA   95131-1204   (213) 721-3800   (213) 721-4142
560   CLECO CORPORATION                Attn: Accounts Payable                         PINEVILLE          LA   71361        (318) 484-7177   (318) 484-7191
561   CLEVELAND CLINIC HEALTH SYSTEM   6801 BRECKSVILLE ROAD                          INDEPENDENCE       OH   44131        (216) 444-2552   (216) 445-1829
562   CLEVELAND PUNCH AND DIE CO       P O BOX 769                                    RAVENNA            OH   44266        (330) 296-4342   (330) 296-6877
563   CLEVELAND REG. MED. CNTR         ATT: ACCOUNTS PAYABLE                          CLEVELAND          TX   77327        (281) 593-2198   (281) 593-8357
564   CLIFFCOR MEDICAL                 1211-1215 MISHAWAK AVE.                        SOUTH BEND         IN   46615        (219) 233-7918   (219) 233-7992
565   CLINICAL EQUIPMENT SVCS INC      368 REBECCA STREET                             SOMERSET           PA   15501        (814) 443-3194   (814) 445-3894
566   COALINGA REGIONAL MEDICAL CTR    1191 PHELPS AVE.                               COALINGA           CA   93210        (559) 935-4203   (559) 935-4207
567   COAST CRANE COMPANY              8250 5TH AVENUE S                              SEATTLE            WA   98108        (206) 622-1151   (206) 282-6651
568   COASTAL COMMUNITY HOSPITAL       2701 S. BRISTOL STREET                         SANTA ANA          CA   92704        (714) 754-5595   (714) 549-3185
569   COBHAM MISSIONS SYSTEMS dba      2801 75th Street North                         Saint Petersburg   FL   33710        0                (727) 345-0325
570   COBRA MEDICAL EQUIPMENT          4514 SW 74TH AVE                               MIAMI              FL   33155        (305) 267-0072   (305) 261-5999
571   COEUR DALENE POWER TOOL & HDWR   451 CHERRY LANE & HWY 95                       COEUR D'ALENE      ID   83815        (208) 667-1158   (208) 765-1818
572   COLES BATTERY & IGNITION         555 W 5TH ST                                   SAN PEDRO          CA   90731        (310) 832-4581   (310) 832-4583
573   COLLIS TRUE VALUE HARDWARE       104 N MAIN ST                                  HERKIMER           NY   13350        (315) 866-0826   (315) 866-8069
574   COLOR ART INC                    10300 WATSON RD                                ST LOUIS           MO   63127-1187   (314) 966-2000   (314) 966-4725
575   COLORADO BRAKE & SUPPLY          5001 E. 52ND AVENUE                            COMMERCE CITY      CO   80022        (303) 289-1011   (303) 289-5430
576   COLORADO DEPT OF CORRECTIONS     ACCOUNTS PAYABLE DEPT.                         CANYON CITY        CO   81212-1010   (719) 269-4042   (719) 269-4129
577   COLORADO FLATWORK, INC           2330 WAYNOKA ROAD                              COLORADO SPRINGS   CO   80915        (719) 550-0700   (719) 550-0706
578   COLORADO SPRINGS                 INDEPENDENCE CENTER                            COLORADO SPRINGS   CO   80903        (719) 471-8181   (719) 471-7829
579   COLUMBIA UNIVERSITY              622 WEST 168TH ST / P.O BOX 51                 NEW YORK           NY   10032        (212) 305-9424   212-305-9474
580   COMDISCO LAB/SCIENTIFIC          50 SHAWMUT RD.                                 CANTON             MA   2021         (718) 575-7118   (781) 575-0084
581   COMMONWEALTH SERVICE SLS         5455 OAKMAN BLVD                               DEARBORN           MI   48126        (313) 581-8050   (313) 581-8292
582   COMMUNITY HOSP OF WILLIAMS CNT   433 W. HIGH STREET                             BRYAN              OH   43506        (419) 636-1131   (419) 636-3100
583   COMPANION PET CLINIC             162 GOLF COURSE ROAD                           HAMILTON           MT   59840        (406) 363-6802   (406) 363-6803
584   COMPART                          13263 YORBA AVE                                CHINO              CA   91710        (909) 591-6546   (909) 590-1348
585   COMPASS CONTRACTOR SUPPLY        26531 VIA JUANITA                              Mission Viejo      CA   92691        (949) 235-1815   (949) 600-7278
586   COMPLETE INDUSTRIAL REPAIR       7403 TELEGRAPH ROAD                            Montebello         CA   90640        323-278-0885     323-278-0856
587   COMPLETE REPAIR SERVICES LLC     7242 LITTLEROCK ROAD S.W.                      TUMWATER           WA   98512        (360) 570-2210   (360) 943-1961
588   COMPLETE WELDERS SUPPLY          101 CAMINO DORADO                              Napa               CA   94558        (707) 258-0885   (707) 855-5465
589   COMPOSITE FORGINGS LTD           2300 WEST JEFFERSON AVENUE                     DETROIT            MI   48216        (800) 521-0420   (313) 496-9069
590   COMPUTERIZED MACHINERY           11733 95TH AVE. NORTH                          MAPLE GROVE        MN   55369        (612) 493-0099   (612) 493-0093
591   CONCEPTS IN MILLWORK INC         1490 TUSKEGEE PLACE                            COLORADO SPRGS     CO   80915        (719) 570-7333   (719) 570-7610
592   CONCO CEMENT CO                  5151 PORT CHICAGO HIGHWAY                      CONCORD            CA   94520-1216   (925) 685-6799   (925) 685-6851
593   CONCORD HOSPITAL                 250 PLEASANT STREET                            CONCORD            NH   3301         (603) 225-2711   (603) 228-7023
594   CONCRETE CLINIC INC              13089 MAIN STREET                              LEMONT             IL   60439        (630) 257-5440   (630) 257-7566
595   CONDENSER & CHILLER SERVICES     13382 Benson Ave.                              Chino              CA   91710        909-613-9000     909-590-3446
596   CONNECTORS FOR CONSTRUCTION      1996 WEST 4600 SOUTH                           ROY                UT   84067        (801) 627-8156   (801) 731-7234
597   CONSOLIDATED MEDICAL INC         29 PROSPECT ST.                                NEWBURGH           NY   12550        (845) 565-5820   (845) 565-4242
598   CONSOLIDATED PARTS INC           555 QUIVAS ST                                  DENVER             CO   80204        (303) 623-5313   (303) 493-0638
599   CONSTRUCTION PRODUCTS & CNSLT    P O BOX 84433                                  SIOUX FALLS        SD   57118-4433   (605) 332-4994   (605) 332-4993
600   CONSTRUCTION RENTAL INC *        P O BOX 68                                     SCANDIA            KS   66966        (913) 335-2224   (913) 335-2301
601   CONSTRUCTION TOOL & SUPPLY       DIV OF WESTERN PNEUMATIC TOOL                  PHOENIX            AZ   85040        (602) 323-2807   (602) 323-2810
602   CONSTRUCTION TOOL REPAIR         806 C PANNELL STREET                           COLUMBIA           MO   65202        (573) 499-1808   (573) 499-1808




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      Name                             Includes Plaintiff's suggested addresses                                             phone            Fax
603   CONSTRUCTION TOOL SERVICE INC    3500 LIBERTY AVENUE                            PITTSBURGH          PA   15201        (412) 681-6673   (412) 681-9185
604   CONSUMERS AIRCRAFT COMPANY       16842 HALE AVENUE                              IRVINE              CA   92714        (949) 863-1411   (949) 852-1527
605   CONTINENTAL HOSP. SUPPLY         320 WEST CERRITOS AVE.                         GLENDALE            CA   91204        (818) 242-4171   (818) 637-5016
606   CONTINENTAL HOSPITAL SUPPLY      320 W. Cerritos Ave.                           GLENDALE            CA   91204        818-242-4171     818-637-5016
607   CONTINENTAL SERVICE GROUP        1300 N.W. 36TH STREET                          MIAMI               FL   33142        (305) 633-7700   (305) 633-7707
608   CONTRA COSTA REG. MED CTR        ATTN: ACCOUNTS PAYABLE                         MARTINEZ            CA   94553        (925) 370-5200   (925) 370-5423
609   CONTRACTOR SALES AND SERVICE     P O BOX 21733                                  KEIZER              OR   97307-1733   (503) 469-0331   (503) 793-7676
610   CONTRACTORS CHOICE, INC          2070 SCHAPPELLE LANE                           CINCINNATI          OH   45240        (513) 851-9070   (513) 851-9017
611   CONTRACTORS EQUIPMENT, INC       201 SOUTH STONE STREET                         FREMONT             OH   43420        (419) 334-3505   (419) 332-4112
612   CONTRACTORS MAINTENANCE SV       3440-B SACRAMENTO DRIVE                        SAN LUIS OBISPO     CA   93401        (805) 543-4558   (805) 543-4472
613   CONTRACTORS WAREHOUSE *          WESTERN DIVISION                               SACRAMENTO          CA   95821-0321   (916) 331-6934   (916) 331-8732
614   CONTROL TECHNICIANS, INC         102 TRADE CENTER DR                            SAINT PETERS        MO   63376        (636) 474-3188   (636) 474-3195
615   CONTROLS AND ELECTRIC MTR CO     P O BOX 1651                                   JOPLIN              MO   64802        (417) 623-3602   (417) 623-3707
616   CONWAY ELECTRIC MOTOR SERVICE    402 LEWIS STREET                               CONWAY              SC   29526        (843) 248-5302   (843) 248-4758
617   COOK MOWER SERVICE               613 CAMELLIA AVENUE                            PANAMA CITY         FL   32404        (850) 763-9679   (850) 763-9679
618   COOKEVILLE REGIONAL MED CTR      142 WEST FIFTH ST.                             COOKEVILLE          TN   38501        (931) 520-2590   (931) 520-2490
619   COOPER FIRE PROTECTION SERVICE   P O BOX 15039                                  FARMINGTON          NM   87401        (702) 565-3728   (702) 565-2608
620   COPPER STATE BOLT & NUT CO****   3622 N 34TH AVENUE                             PHOENIX             AZ   85017        (602) 455-9141   (602) 269-3142
621   CORDOVA & SON INC                13901 NAUTILUS DR                              GARDEN GROVE        CA   92843        (714) 265-9411   (714) 265-9413
622   CORE-MARK INTERNATIONAL          395 OYSTER POINT BLVD #415                     SOUTH SAN FRANCISCO CA   94080        (650) 589-9445   (650) 589-2815
623   CORONA CLIPPER CO                1540 EAST 6TH STREET                           CORONA              CA   91718        (951) 737-6515   (951) 737-8657
624   CORPUS CHRISTI POWER TOOL        3701 AGNES ST                                  CORPUS CHRISTI      TX   78405        (361) 883-1117   (361) 883-7365
625   CORTES INDUSTRIAL ORGANIZAION    P O BOX 41264                                  SANTURCE            PR   907          (787) 724-0041   (787) 724-7211
626   COTT BEVERAGES USA               499 E. MILL STREET                             SAN BERNARDINO      CA   92408        (909) 890-9311   (909) 890-9368
627   COUNTRY HEALTH LLC               ATT: ACCOUNTS PAYABLE                          FARGO               ND   58103        (701) 235-0175   (701) 235-1444
628   COUNTY LINE FAMILY MED CLINIC    1551 E. COUNTY LINE RD.                        JACKSON             MS   39211        (601) 957-2273   (601) 977-0508
629   COUNTY LINE TOOL REP. & CONST    2517 Franklin Dr.                              Mesquite            TX   75150        972-289-8665     972-288-9984
630   COUNTY OF INYO - CORONER         P.O. BOX 1175                                  BISHOP              CA   93515        (760) 873-4266   (760) 873-1137
631   COVENANT HEALTH SYSTEM           3345 MICHELSON DRIVE, STE. 100                 IRVINE              CA   92612        (989) 583-4093   (989) 583-4782
632   COX MEDICAL CENTER               1423 N JEFFERSON AVE                           SPRINGFIELD         MO   65802        (417) 269-7994   (417) 269-4493
633   COYOTE RENTALS & SALES, INC      32420 CENTRAL AVENUE                           WILDOMAR            CA   92595        (951) 678-9902   (951) 678-9952
634   CPE INC                          3330 STOVALL STREET                            IRVING              TX   75061        (972) 313-1133   (972) 313-1341
635   CRAFTSMEN TOOL RENTAL INC        131 MISSOURI STREET                            SAN FRANCISCO       CA   94107-2424   (415) 863-8383   (415) 863-2424
636   CRAIG & GREEN                    1595 FAIRFAX AVENUE                            SAN FRANCISCO       CA   94124        (415) 642-8698   (415) 285-1455
637   CRANE- PACIFIC VALVE **mny loc   3201 walnut avenue                             SIGNAL HILL         CA   90755        0                99460014
638   CRANE PACIFIC VALVE GROUP        3201 WALNUT AVENUE                             LONG BEACH          CA   90807        (562) 426-2531   (562) 424-5043
639   CRANE PRO SERVICES               ATTN: ACCOUNTS PAYABLE                         ABINGDON            MD   21009        (800) 554-6235   (410) 679-8141
640   CRANK N CHARGE                   531 NORTH JEFFERSON STREET                     MILLEDGEVILLE       GA   31061        (912) 452-2926   (912) 452-1451
641   CRANSTON MACHINERY CO., INC      2251 S.E. OAK GROVE BLVD                       OAK GROVE           OR   97267        (503) 654-7751   (503) 654-6172
642   CRAVEN COUNTY DIALYSIS CTR       813 KENNEDY AVE.                               NEW BERN            NC   28560        (252) 633-3378   (252) 633-3472
643   CRESCO EQUIPMENT RENTAL          197 HOWE ROAD                                  MARTINEZ            CA   94553        (510) 228-9811   (510) 229-0112
644   CREST SERVICES                   2296 ROCKBROOK DRIVE #200                      LEWISVILLE          TX   75067        (888) 476-1536   (214) 488-9299
645   CRESTLAND COOPERATIVE            300 OSAGE                                      CRESTON             IA   50801-0329   (515) 782-6411   (515) 782-6869
646   CRIME POINT                      1560 LOMA DRIVE                                CAMARILLO           CA   93010        (805) 890-6569   (805) 388-3374
647   CRIMSON ELECTRIC INC             LEE JOYAL ROAD                                 GREER               SC   29652        (803) 877-3357   (803) 877-9011
648   CRISP REGIONAL HOSPITAL          PO BOX 5007                                    CORDELE             GA   31010        (912) 276-3392   (912) 276-3134
649   CROSBY MEMORIAL HOSPITAL         PO BOX 909                                     PICAYUNE            MS   39466        (601) 798-4711   (601) 799-3668
650   CROWN AIR*                       1486 E CEDAR ST                                ONTARIO             CA   91761        (800) 282-1229   (877) 778-8102
651   CROWN POLY, INC. *               4160 BANDINI BLVD                              LOS ANGELES         CA   90023        (323) 268-1298   (323) 268-6558
652   CROWN RENTAL                     1014 W COLUMBIA STREET                         SOMERSET            KY   42503        (606) 679-4267   (606) 679-7997
653   CSA MEDICAL ORTHO EQUIPMENT      PO BOX 9973                                    ALEXANDRIA          VA   22304        (703) 212-6700   (703) 212-6705
654   CSM FITNESS EQUIPMENT            7441 VINCENT CIRCLE                            HUNTINGTON BEACH    CA   92647        (800) 260-0274   (714) 848-7977
655   CUBBY'S ELECTRIC                 1716 WEST A ST                                 PASCO               WA   99301        (509) 544-9317   (509) 544-9519
656   CUPERTINO ELECTRIC INC *         2659 COLLIER CANYON ROAD                       LIVERMORE           CA   94550        (408) 808-8000   (408) 279-6214
657   CURIO ELECTRIC REPAIR            825 S 5TH ST                                   ALLENTOWN           PA   18103        (610) 432-9923   (610) 437-6422
658   CURLEY ELECTRIC                  1118 E. INDEPENDENCE                           TULSA               OK   74106        (918) 584-6757   (918) 584-1641
659   CURLEY ELECTRIC MOTOR SV         6707 E. 12TH ST                                TULSA               OK   74112-5694   (918) 584-6757   (918) 584-1641
660   CURWOOD, INC                     2200 BADGER AVE                                Oshkosh             WI   54903-2968   (920) 303-7300   (920) 303-7309
661   CUSTOM MOBILITY INC              7199 BRYAN DAIRY                               LARGO               FL   33777        (800) 622-5151   (855) 834-7315
662   CVC HOME MEDICAL, INC.           P.O. BOX 10731                                 WILMINGTON          NC   28404        (910) 686-3599   (910) 686-3499
663   CVJ AXLES, INC                   4101 BRIGHTON BLVD                             Denver              CO   80216        (800) 292-2953   (303) 297-0650
664   CYTOMETRY ASSOCIATES             201 SUMMIT VIEW DRIVE STE 100                  BRENTWOOD           TN   37027        (800) 392-2986   (888) 392-0205
665   D & D ELECTRIC MOTOR CO          717 S BRIDGE ST                                VISALIA             CA   93277        (559) 734-2887   (559) 734-5712
666   D & D ELECTRIC MOTORS LLC        2676 CASS ROAD SUITE D                         TRAVERSE CITY       MI   49684        (616) 946-7942   (616) 946-7996
667   D & D INDUSTRIAL WELDING SPLY    P O BOX 2245                                   KILGORE             TX   75663        (903) 984-1764   (903) 984-5468
668   D & D TOOL & SUPPLY*             1028 BUENOS AVE                                SAN DIEGO           CA   92110        (619) 276-9100   (619) 276-9108
669   D & T TOOL, INC                  11395 N. SAGINAW                               CLIO                MI   48420        (810) 687-6810   (810) 687-0860
670   D C INTERNATIONAL                2729 TILLAR                                    FORT WORTH          TX   76107        (800) 373-2541   (817) 332-6963
671   D ELECTRIC MOTOR INC             P O BOX 2367                                   Vineland            NJ   8360         (800) 992-2553   (856) 696-5959
672   D F RIOS CONSTRUCTION INC        45847 WARM SPRINGS                             FREMONT             CA   94539        (510) 226-7467   (510) 226-0919
673   DAART ENGINEERING CO., INC       1598 NORTH "H" STREET                          SAN BERNARDINO      CA   92405        (909) 888-8696   (909) 888-9626
674   DAHL-BECK ELECTRIC               2775 GOODRICK AVENUE                           RICHMOND            CA   94801        (510) 237-2325   (510) 237-0608
675   DALE HARDWARE INC                P O BOX 7120                                   FREMONT             CA   94537-7120   (510) 797-3700   (510) 797-0324
676   DALE MEDICAL CENTER              100 HOSPITAL AVE                               OZARK               AL   36360        (334) 774-2601   (334) 774-0258
677   DALTON MEDICAL PACIFIC CORP      9881 6TH ST., #201                             RANCHO CUCAMONGA CA      91730        (909) 948-1262   (909) 948-6862
678   DAMAR MACHINE CO., INC           P O BOX 9                                      MONROE              WA   98272        (360) 794-4448   (360) 794-8144
679   DAN BEALES COMPANY               9200 E HAMPDEN AVE                             DENVER              CO   80231        (303) 221-8665   (303) 221-2246
680   DANBURY HEALTH SYSTEMS           ATT: ACCOUNTS PAYABLE                          DANBURY             CT   6810         (203) 797-7342   (203) 731-8074
681   DANKOFF SOLAR PRODUCTS, INC      2810 INDUSTRIAL ROAD                           SANTA FE            NM   87505        (505) 473-3800   (505) 473-3830
682   DANNY PAYTON ELECTRIC            27484 S. BASS BLVD                             HARLINGEN           TX   78552        (956) 425-4091   (956) 428-4998
683   DAPCO LTD                        P O BOX 947                                    Mountain Home       NC   28758        (828) 693-8567   (828) 697-9126
684   DARBY ELECTRIC CO., INC          P O BOX 1266                                   ANDERSON            SC   29622-1266   (864) 224-2131   (864) 224-8344
685   DARREL JOHNSON ENTERPRISES INC   P O BOX 752548                                 HOUSTON             TX   77275        (713) 724-9035   (713) 943-1764
686   DART DRUGS & SURGICAL            1101 MEMORIAL DR.                              DALTON              GA   30720        (706) 278-1900   (706) 275-6655
687   DATRON DYNAMICS                  115 EMERSON ROAD                               MILFORD             NH   3055         (603) 672-8890   (603) 672-8067
688   DAVE NANNA TOOL REPAIR           6105 BLUE GRASS AVENUE                         LINGLESTOWN         PA   17112        (717) 657-1595   (717) 657-6161




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      Name                             Includes Plaintiff's suggested addresses                                            phone            Fax
689   DAVES TOOL SERVICE & SUPPLY      780 A SO. MILLIKEN AVENUE                      ONTARIO            CA   91761        (909) 605-6558   (909) 608-6578
690   DAVE'S WHEELCHAIR, INC           548 VIOLET AVE                                 HYDE PARK          NY   12538        (914) 452-5490   (914) 452-5470
691   DAVIS ELECTRIC MOTOR SERVICE     616 N FOREST AVE                               INDEPENDENCE       MO   64054-1152   (816) 842-8314   (816) 842-9890
692   DaVita                           P O Box 2037                                   Tacoma             WA   98401-2037   (253) 272-1916   (866) 442-0342
693   DAWN CHEM INC                    30510 LAKELAND BLVD                            WILLOWICK          OH   44095        (440) 943-3332   (440) 943-5644
694   DAWSON'S TRUE VALUE              50 ENON ST                                     BEVERLY            MA   1915         (978) 927-1320   (978) 922-9796
695   DC MEDICAL                       15 BAYFIELD RD                                 WAYLAND            MA   1778         (508) 655-5440   (508) 655-6211
696   DE ANZA CONTRACTORS INC.         5881 El Palomino Dr.                           Mira Loma          CA   91752        951-360-1432     951-360-1484
697   DE WITT TOOL REPAIR & FASTENER   107 CENTER STREET                              TREMONT CITY       OH   45372        (937) 605-1624   (937) 969-8466
698   DEKALB PHARMACARE                1314 E. 7TH STREET                             AUBURN             IN   46706        (219) 925-8000   (219) 925-9500
699   DEKO FACTORY SERVICE             3048 BLOOMINGTON AVE S                         MINNEAPOLIS        MN   55407        (612) 721-6651   (612) 721-3077
700   DEL RIO WELDERS EQUIPMENT *      310 AVENUE F                                   DEL RIO            TX   78852        (830) 773-1157   (830) 773-7871
701   DELAWARE CNTY MEMOR. HOSP.       PO BOX 359                                     MANCHESTER         IA   52057        (319) 927-3232   (319) 927-7337
702   DELCREST MEDICAL                 800 RTE. 38                                    CHERRY HILL        NJ   8002         (856) 665-7676   (856) 663-3223
703   DELCREST MEDICAL SERVICES        100 COMMERCE DR.                               IVYLAND            PA   18974        (215) 675-4444   (215) 675-1128
704   DELTA ELECTRIC MOTORS INC        10831 E. MARGINAL WAY S                        TUKWILA            WA   98168        (206) 767-9506   (206) 767-0556
705   DELTA ELECTRO POWER INC          215 NIANTIC AVE                                CRANSTON           RI   2907         (401) 944-8350   (401) 944-8380
706   DELTA RIGGING & TOOL, INC        6938 EXCHEQUER DRIVE                           Baton Rouge        LA   70809        (800) 264-0815   (225) 752-4824
707   DEMARIA ELECTRIC                 7048 MARCELLE STREET                           PARAMOUNT          CA   90723        (562) 663-9000   (562) 663-9100
708   DEMTECH SERVICES, INC            P O BOX 2165                                   PLACERVILLE        CA   95667        (530) 621-3200   (530) 621-0150
709   DENMAN BIOMEDICAL                P.O. BOX 40                                    QUINCY             IL   62306        (217) 223-8400   (217) 222-9685
710   DENNYS ELECTRIC & MOTOR REPAIR   2592 4TH ST EAST                               DICKINSON          ND   58602-1406   (701) 227-0601   (701) 227-0712
711   DESERT DIALYSIS CENTER           2022 E. PRINCE ROAD                            TUCSON             AZ   85719        (520) 327-0007   (520) 327-6902
712   DESIGN-ABLE INC                  65 RYAN DR. #2F                                RAYNHAM            MA   2767         (508) 823-6922   (508) 823-6922
713   DESIGNING MOBILITY , INC.        16624 EDWARDS ROAD                             CERRITOS           CA   90703        (562) 921-0258   (562) 921-3730
714   DEWALT POWERSHOP                 6980 OVERLAND ROAD                             BOISE              ID   83709        (208) 378-8878   (208) 378-9105
715   DHC SUPPLIES, INC (DON HOBAN)    3790 OMEC CIRCLE                               RANCHO CORDOVA     CA   95742        (800) 233-6967   (916) 383-2602
716   DIAGNOSTIC CLINIC OF LONGVIEW    707 HOLLYBROOK DRIVE                           LONGVIEW           TX   75605        (903) 232-8209   (903) 232-8219
717   DIAGNOSTIC EQUIP SVC CORP        P.O. BOX 303                                   NORFOLK            MA   2056         (508) 520-0040   (508) 520-7055
718   DIAMOND CONCRETE CUTTING         80 Corporate Park Dr.,                         Henderson          NV   89014        702-567-2700     702-567-2732
719   DIAMOND MARKETING SOLUTIONS      280 MADSEN DRIVE SUITE 100                     BLOOMINGDALE       IL   60108        (630) 523-5250   (630) 523-5298
720   DIAMOND RENTAL & SALES *         4518 SOUTH 500 WEST                            SALT LAKE CITY     UT   84123        (801) 262-2229   (801) 284-5999
721   DIAMOND TOOL COMPANY             8051 PENN RANDALL PLACE                        UPPER MARLBORO     MD   20772        (301) 967-2844   (301) 967-0218
722   DIESEL MARINE ELECTRIC, INC      415 E 14TH ST                                  SAN LEANDRO        CA   94577        (510) 638-2279   (510) 638-8956
723   DIESELTRON INC                   4150 EAST WASHINGTON BLVD                      LOS ANGELES        CA   90023        (213) 263-7441   (213) 263-4936
724   DIGITAL MACHINING SYSTEMS        929 RIDGE ROAD                                 Duson              LA   70529        337-984-6013     337-988-0148
725   DIOCESAN TELECOMMUNICATIONS CO   1200 LANTANA STREET                            CORPUS CHRISTI     TX   78407-1112   (361) 289-6437   (361) 289-1420
726   DIRECT EDGE INC                  1480 ARROW HWY                                 LA VERNE           CA   91750        (714) 392-1646   (714) 392-1651
727   DIRECT TOOLS & FASTENERS         1000 N. LAKE STREET                            BURBANK            CA   91502        (818) 736-5100   (818) 859-7346
728   DISCOUNT MEDICAL SUPPLY          2045 12TH STREET                               SARASOTA           FL   34237        (941) 954-9066   (941) 952-1910
729   DISCOVER RENTAL CENTER           707 WALNUT STREET                              THE DALLES         OR   97058        (541) 296-2531   (541) 298-1639
730   DISTRICT 19 MEDICAL EXAMINER     2500 S. 35th St.                               FORT PIERCE        FL   34981        772-464-7378     772-464-2409
731   DISTRICT TWENTY MED EXAMINER     3838 DOMESTIC AVE.                             NAPLES             FL   34104        (941) 434-5020   (941) 434-5027
732   DIVERSIFIED FACILITIES, INC *    9877 40TH AVE., SOUTH                          SEATTLE            WA   98118-5687   (206) 767-8864   (206) 764-8865
733   DIVERSIFIED INST SVCS INC        6724 E MORGAN AVE, STE. B                      EVANSVILLE         IN   47715        (812) 401-7767   (812) 401-7798
734   DIXIE FASTENING SYSTEMS *        3401 SIRIUS AVE #21                            LAS VEGAS          NV   89102        (702) 251-5474   (702) 251-8232
735   DIXIE INDUSTRIAL SERVICE INC     2108 E. Main St.                               Chattanooga        TN   37404-3645   423-698-8063     423-698-8065
736   DIXIE PAPER CO, INC              P O BOX 130729                                 TYLER              TX   75713-0729   (903) 597-4000   (903) 593-2959
737   DMH ****use 43400******          2701 HEWITT AVE.                               Everett            WA   98201        425-259-3124     425-339-8427
738   DMH INDUSTRIAL ELECTRIC          2701 HEWITT AVENUE                             EVERETT            WA   98201        (425) 259-3124   (425) 339-8427
739   DMS CUSTOM COUNTER               1620 PAONIA STREET                             COLORADO SPRINGS   CO   80915        (719) 574-1250   (719) 574-1338
740   DMS ELECTRIC APPARATUS SERV      P O BOX 50644                                  KALAMAZOO          MI   49005        (616) 349-7000   (616) 349-5533
741   DOC'S VACUUM & SEWING            256 E. ROWLAND                                 Covina             CA   91723        (626) 339-7376   (626) 967-0001
742   DOCTOR'S HOSPITAL MEDICAL CTR    5000 SAN BERNARDINO STREET                     MONTCLAIR          CA   91763        (909) 625-8390   (909) 625-8155
743   DOMS ELECTRIC MOTORS             551 S. STATE HWY 59                            MERCED             CA   95341        (209) 383-1980   (209) 384-1950
744   DON ABEL BUILDING SUPPLY, INC    9999 GLACIER HWY                               JUNEAU             AK   99801        (907) 789-2155   (907) 789-4146
745   DON ABNEY, INC                   P O BOX 2222                                   PATTERSON          LA   70392        (504) 395-5131   (504) 395-5139
746   DONS ELECTRIC & REWIND, INC      P O BOX 14                                     ELLIS              KS   67637        (785) 726-3455   (785) 726-4246
747   DOTY BROS EQUIPMENT CO           11232 E. FIRESTONE BLVD                        NORWALK            CA   90650-2201   (562) 864-6566   (562) 864-6052
748   DOUBLE K INDUSTRIES              9711 MASON AVE                                 CHATSWORTH         CA   91311        (818) 345-8078   (818) 886-0218
749   DOUBLE L MANUFACTURING           2698 LAKEVIEW RD                               AMERICAN FALLS     ID   83211        (208) 226-5592   (208) 226-5934
750   DOUBLE R RENTAL                  5844 S KRAMER RD                               LANGLEY            WA   98267        (206) 321-4440   (206) 321-6115
751   DOVER ELEVATOR CO                590 LAURELWOOD RD                              SANTA CLARA        CA   95054        (408) 980-5150   (408) 988-5330
752   DOYLE ELECTRIC, INC              1421 DELL AVENUE                               WALLA WALLA        WA   99362        (509) 529-2500   (509) 525-1685
753   DR. LANCY ALLYN & ASSOCIATES     470 N GREENFIELD AVE., STE. 35                 HANFORD            CA   93230        (209) 584-3000   (209) 583-8456
754   DRAKE AIR, INC                   4085 SOUTHWEST BLVD                            TULSA              OK   74107        (918) 445-3545   (918) 445-5106
755   DSM PTG, INC                     2810 7TH STREET                                BERKELEY           CA   94710        (510) 841-8800   (510) 841-7800
756   DT RENTAL CENTER                 dba DECKER TOOL RENTAL CTR                     HAWTHORNE          NY   10532        (914) 769-6800   (914) 769-0901
757   DUBUQUE ELECTRIC MOTOR INC       1170 E 12TH STREET                             DUBUQUE            IA   52001        (319) 583-2442   (319) 583-3072
758   DUKE ENERGY FIELD SVCS, LLC*     370 17TH ST, SUITE 2500                        DENVER             CO   80202        (303) 595-3331   (303) 595-0480
759   DUKES MEMORIAL HOSPITAL          P.O. BOX 11708                                 FORT WAYNE         IN   46860        (260) 435-6832   (260) 479-3450 A/
760   DUKES MEMORIAL HOSPITAL          275 W. 12TH STREET                             PERU               IN   46970        (765) 475-2347   (765) 472-9078
761   DUNCUM REPAIR SVCE               3403 E 5TH ST                                  AUSTIN             TX   78702        (512) 385-2785   (512) 442-0060
762   DUNN AMICS, INC.                 3502 FAIRVIEW WAY                              WEST LINN          OR   97068        (503) 699-8824   (503) 699-0549
763   DUNN MEMORIAL HOSPITAL           1600 23RD STREET                               BEDFORD            IN   47421        (812) 275-3331   (812) 276-1261
764   DUO FAST DIXIE INC *             140 LAITRAM LANE                               HARAHAN            LA   70123        (504) 734-0334   (504) 734-0446
765   DURA PLASTIC PRODUCTS, INC       533 E. THIRD STREET                            BEAUMONT           CA   92223        (951) 845-3161   (951) 845-7644
766   DURAMED                          861 MERIDIAN ST.                               DUARTE             CA   91010        (626) 357-6109   (626) 357-6706
767   DURAMED, INC.                    285 SOUTHLAND DRIVE                            LEXINGTON          KY   40503        (606) 278-2858   (606) 278-2858
768   DYKSTRA ELECTRIC INC             1603 LOCUST STREET                             YANKTON            SD   57078        (605) 665-6719   (605) 665-8757
769   DYNACARE LABORATORIES            3221 3RD AVE. SOUTH                            BIRMINGHAM         AL   35222        (205) 251-4191   (205) 251-4250
770   DYNAMIC INDUSTRIAL ELEC MTR, I   140 E ALONDRA BLVD                             GARDENA            CA   90248        (310) 323-7310   (310) 323-1149
771   DYNAX                            4109 SPRING GROVE AVE                          CINCINNATI         OH   45250        (513) 681-3800   (513) 921-5220
772   E & H REPAIR / ELDERFIELD HALL   N 222 MAPLEWOOD                                CHICAGO            IL   60612        (312) 829-6770   (312) 930-9499
773   E A H SAN ANTONIO INC            6646 SAN PEDRO                                 SAN ANTONIO        TX   78216        (210) 822-9393   (210) 822-9158
774   E K F LIFE SCIENCES              1814 Leer Dr.                                  Elkhart            IN   46514        574-264-7384     574-266-0062




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      Name                             Includes Plaintiff's suggested addresses                                            phone            Fax
775   E M SERVICE INC                  600 LOWELL STREET                              ELYRIA             OH   44035        (440) 323-3260   (440) 323-3271
776   EAGLE ELECTRIC MACHINERY *       P O BOX 1053                                   SULPHUR            LA   70664        (337) 625-2070   (337) 625-5730
777   EAGLEWARE MFG. CO., INC          12683 Corral Place                             Santa Fe Springs   CA   90670        562-320-3100     562-320-0484
778   EAST COAST LAZER & MEDICAL, IN   115 WOODLAND AVENUE                            MULLICA HILL       NJ   8062         (856) 582-0125   (856) 582-2299
779   EAST COAST POWER TOOL REPAIR     ONE SOURCE                                     SOUTHAMPTON        NY   11968        (631) 283-7365   (631) 283-7367
780   EAST JEFFERSON GENERAL HOSP      4200 HOUMA BLVD.                               METAIRIE           LA   70006        (504) 454-4953   (504) 456-8060
781   EAST L.A. DOCTOR'S HOSPITAL      ATT: BIOMED/JESSE LOPEZ                        LOS ANGELES        CA   90023        (323) 268-5514   (323) 266-1145
782   EAST ORANGE GENERAL HOSPITAL     300 CENTRAL AVE.                               EAST ORANGE        NJ   7019         (973) 414-3418   (973) 414-3417
783   EAST PALMDALE DIALYSIS           1007 W. AVENUE M SUITE B                       PALMDALE           CA   93551        (661) 456-1500   (661) 456-1525
784   EAST PASCO MEDICAL CENTER        7050 GALL BLVD.                                ZEPHYRHILLS        FL   33541        (813) 788-0411   (813) 783-6198
785   EASTERN CAROLINA INTERNAL MED    P.O. BOX 68                                    POLLOCKSVILLE      NC   28573        252/635-3847     252/224-3071
786   EASTERN ELECTRIC                 18020 S SANTA FE AVE                           RNCHO DOMINGUEZ    CA   90221        (310) 885-9503   (310) 885-9405
787   EASTERN IOWA SUPPLY INC          4625 6TH ST SW                                 CEDAR RAPIDS       IA   52404        (319) 366-8993   (319) 366-4027
788   EASTERN MAINE MED CNTR           ATT: ACCOUNTS PAYABLE                          BANGOR             ME   04402-04     (207) 973-7231   (207) 945-5183
789   EASTLAND INDUSTRIES INC          4115 W WASHINGTON BLVD                         HILLSIDE           IL   60162        (708) 547-6500   (708) 547-9059
790   EASTSIDE ELECTRIC                3712 N FLORA RD                                SPOKANE VALLEY     WA   99216        (509) 922-2112   (509) 928-7984
791   EATON METAL PRODUCTS COMPANY**   P O BOX 16405                                  DENVER             CO   80216-2237   (303) 296-4800   (303) 296-5749
792   EBIOSCIENCE INC.                 10255 SCIENCE CENTER DRIVE                     SAN DIEGO          CA   92121-1117   (888) 999-1371   (858) 642-2046
793   EBUS, INC                        9250 WASHBURN ROAD                             Downey             CA   90242-2909   (562) 904-3474   (562) 904-3468
794   ECHO GROUP (CORPORATE 1) ****    3426 2ND AVENUE                                COUNCIL BLUFFS     IA   51501        (712) 322-4120   (712) 322-3856
795   ECONOMY RENTALS                  649 S MAIN                                     MADISONVILLE       KY   42431        (502) 821-2015   (502) 821-5003
796   ED MEDICAL                       106 FREEHILL ROAD                              HENDERSONVILLE     TN   37075        (615) 822-8888   (615) 822-8280
797   EDDIE RENTS                      95 THREE RIVERS DRIVE NE                       ROME               GA   30161-4998   (706) 291-0222   (706) 291-1062
798   EDDIE RENTS INC                  1263 CURTIS PARKWAY SE                         CALHOUN            GA   30703        (706) 629-2929   (706) 629-3003
799   EDDY ELECTRIC MOTOR CO INC       115 WATER STREET                               SOUTHINGTON        CT   6489         (860) 621-7335   (860) 621-9514
800   EDELBROCK CORPORATION            A DELAWARE CORPORATION                         TORRANCE           CA   90503        (310) 781-2222   (310) 782-3828
801   EDGAR H. PIERCE, JR. M.D.        2305 CHAMBLISS AVE.                            CLEVELAND          TN   37311        (423) 559-6198   (423) 559-6678
802   EDGE CONSTRUCTION SUPPLY         P O BOX 3437                                   SPOKANE            WA   99220        (509) 535-9841   (509) 534-3139
803   EDM TOOL REPAIR                  2028 COUNTY ROUTE 8                            Oswego             NY   13126        (315) 342-1671   (315) 342-1671
804   EDMOND WHEELCHAIR REPAIR & SUP   1608 APIAN WAY                                 EDMOND             OK   73003        (888) 343-2969   (405) 359-5006
805   EDRO ENGINEERING, INC.           20500 Carrey Rd.                               Walnut             CA   91789        909-594-5751     909-598-2632
806   EEMSCO ELECTRICAL & MECHANICAL   600 W. EICHEL AVENUE                           EVANSVILLE         IN   47724        (800) 262-1952   (812) 421-4158
807   EGLESTON ELEC                    1208 E MAIN ST                                 MARSHALLTOWN       IA   50151        (641) 752-4678   (641) 752-4679
808   EIS / H A HOLDEN INC             2018 POWERS FERRY RD #500                      ATLANTA            GA   30339        (404) 487-3600   (404) 487-3752
809   EL CAMINO RENTAL*                5701 EL CAMINO REAL                            CARLSBAD           CA   92008        (760) 438-7368   (760) 438-2575
810   EL DORADO NATIONAL, A THOR CO    9670 GALENA ST                                 RIVERSIDE          CA   92509        (909) 591-9557   (909) 591-5285
811   ELBERT MEMORIAL HOSPITAL         4 MEDICAL DRIVE                                ELBERTON           GA   30635        (706) 213-2532   (706) 213-2579
812   ELECTRIC & MAGNETO               24 1ST AVENUE EAST                             WILLISTON          ND   58801        (701) 572-3736   (501) 423-6812
813   ELECTRIC 3 WHEELERS, INC.        P.O. BOX 2019                                  FORT WORTH         TX   76113        (817) 336-1066   (817) 336-1069
814   ELECTRIC BOAT CORPORATION HSI    dba HSI ELECTRIC BOAD                          Honolulu           HI   96819        (808) 845-5555   (808) 847-7777
815   ELECTRIC DRIVES, INC             8065 W CYPRESS ROAD                            DOS PALOS          CA   93620        (209) 387-4700   (209) 387-4122
816   ELECTRIC ENTERPRISE OF STRATFD   1410 STRATFORD AVENUE                          STRATFORD          CT   6497         (203) 378-7311   (203) 377-4960
817   ELECTRIC MACHINE CONTROL SYS**   P O BOX 83067                                  PORTLAND           OR   97283-0067   (503) 286-4461   (503) 286-4495
818   ELECTRIC MOTOR & CONTROL INC     549 CLAIRE STREET                              HAYWARD            CA   94545        (510) 881-4413   (510) 881-5355
819   ELECTRIC MOTOR & MACHINE CO      1005 12TH ST SE                                SALEM              OR   97302        (503) 363-3919   (503) 363-0342
820   ELECTRIC MOTOR & SERVICE CO      218 ADAM STREET                                ZANESVILLE         OH   43701        (740) 453-0527   (740) 453-5087
821   ELECTRIC MOTOR AND REPAIR INC    P O BOX 806                                    COLUMBIA           SC   29202        (803) 791-9000   (803) 791-9198
822   ELECTRIC MOTOR CENTER            P O BOX 1373                                   RUSSELVILLE        AR   72811        (479) 968-2532   (501) 968-2052
823   ELECTRIC MOTOR CENTER INC        1231 S 11TH                                    FORT SMITH         AR   72902-0166   (501) 785-2536   (501) 968-2052
824   ELECTRIC MOTOR CO                2300 MARKET ST                                 HANNIBAL           MO   63401        (573) 221-4434   (573) 221-4434
825   ELECTRIC MOTOR CO                3701 S. BRYANT                                 OKLAHOMA CITY      OK   73155        (505) 619-7000   (505) 619-0009
826   ELECTRIC MOTOR SERVICE           200 E 5TH ST                                   OXNARD             CA   93030        (805) 483-4233   (805) 483-2259
827   ELECTRIC MOTOR SERVICE           HWY 13 SOUTH                                   AHOSKIE            NC   27910        (252) 332-5622   (252) 332-2930
828   ELECTRIC MOTOR SERVICE & SALES   1514 E COMMERCE ST                             SAN ANTONIO        TX   78205        (210) 226-3462   (210) 226-8228
829   ELECTRIC MOTOR SERVICE AND SLS   15 PROGRESS AVENUE                             Westfield          MA   1085         (413) 568-2311   (413) 568-0916
830   ELECTRIC MOTOR SERVICE CO        P O BOX 892                                    SULPHUR SPRINGS    TX   75483        (903) 885-2332   (903) 885-7590
831   ELECTRIC MOTOR SERVICE INC       43331 OSGOOD RD                                FREMONT            CA   94539        (510) 651-2706   (510) 651-1725
832   ELECTRIC MOTOR SERVICE, INC      PO BOX 1224                                    Saint Cloud        MN   56302        (320) 251-8691   (320) 251-7992
833   ELECTRIC MOTOR SV & CONTROLS     1928 MILWAUKEE WAY                             TACOMA             WA   98421        (253) 383-5453   (253) 383-4965
834   ELECTRIC MOTOR WORKS - Bakersf   P O BOX 3349                                   BAKERSFIELD        CA   93385        (661) 327-4271   (661) 327-8455
835   ELECTRIC MOTORS DAYTON PRODUCT   815 N GULF BLVD                                FREEPORT           TX   77541        (409) 239-1717   (409) 239-2825
836   ELECTRIC MTR RWDG/111 PHASE EL   130 HARRISON                                   AMERICAN FALLS     ID   83211        (208) 226-2226   (208) 226-2258
837   ELECTRIC MTR SV OF HASTINGS      1569 S M-37 HIGHWAY                            HASTINGS           MI   49058        (269) 945-5113   (616) 945-5160
838   ELECTRIC PARTS CENTER            700-A BOTELLO ROAD                             GOLETA             CA   93117        (805) 967-9392   (805) 967-2460
839   ELECTRIC SALES & ENGINEERING     15755 W ROGERS DRIVE                           NEW BERLIN         WI   53151-0816   (800) 242-8700   (262) 782-5384
840   ELECTRIC SWITCHES INC            P O BOX 1868                                   TEHACHAPI          CA   93581-1868   (800) 421-8855   (800) 401-9499
841   ELECTRIC TOOL & SUPPLY CO        7910 NW MARKET ST                              PEORIA             AZ   85345        (623) 878-0777   (623) 878-0577
842   ELECTRIC TOOL REPAIR             5699 SE INTERNATIONAL WAY #H                   MILWAUKIE          OR   97222        (503) 652-1261   (503) 652-1798
843   ELECTRIC TOOL REPAIR / AETR      437 HENDERSON AVENUE                           EUREKA             CA   95501        (707) 442-4267   (707) 443-7850
844   ELECTRIC TOOL SERVICE            8601-A WEST MARKHAM STREET                     LITTLE ROCK        AR   72205        (501) 217-0022   (501) 217-0033
845   ELECTRICAL & MECHANICAL RES.     P O BOX 50100                                  RICHMOND           VA   23250-0100   (804) 226-1600   (804) 222-2144
846   ELECTRICAL CONSTRUCTION & CRLS   10621 BLOOMFIELD AVE., #38                     LOS ALAMITOS       CA   90720        (562) 795-5810   (562) 795-5813
847   ELECTRICAL EQUIP(do not use th   1290 Holm Rd.                                  PETALUMA           CA   94954        707/762-2883     707/765-6998
848   ELECTRICAL EQUIPMENT CO/RICHMD   P O BOX 37339                                  RALEIGH            NC   27627        (919) 828-5411   (919) 832-2688
849   ELECTRICAL MAINTENANCE CONSULT   5400 FRONT STREET                              ROCKLIN            CA   95677        (916) 624-7977   (916) 624-0680
850   ELECTRO MEC INC / IPS INDIANA    4470 LUCERNE ROAD                              INDIANA            PA   15701        (724) 479-9066   (724) 479-0531
851   ELECTRO MECHANICAL SYSTEMS GRP   8635 PACKARD RD                                NIAGARA FALLS      NY   14304        (716) 297-8484   (716) 297-1412
852   ELECTRO MOTOR INC                465 S MAIN ST                                  Vidor              TX   77662-5747   (409) 769-5402   (409) 769-3166
853   ELECTRO MOTOR SERVICES INC       239 KALANIKOA STREET                           Hilo               HI   96720-4689   (808) 961-6767   (808) 969-3181
854   ELECTRO SALES CO INC             100 FELLSWAY WEST                              SOMERVILLE         MA   02145-2007   (617) 666-0500   (617) 620-2800
855   ELECTRO-COATINGS OF CALIFORNIA   893 CARLETON STREET                            BERKELEY           CA   94710        (510) 849-4075   (510) 849-1817
856   ELECTROMEX SUPPLY LTD*           16810 BARKER SPRINGS RD #203                   HOUSTON            TX   77084-5040   (281) 398-5665   (281) 398-8668
857   ELECTROPOWER INC                 3736 GILMORE AVENUE                            BAKERSFIELD        CA   93308-6210   (661) 322-1586   (661) 322-4609
858   ELEKTRIK MOTOR REPAIRS INC       79 N MAIN STREET                               WHARTON            NJ   7885         (973) 361-5114   (973) 361-5853
859   ELIZABETH GENERAL M.C.           925 E JERSEY ST.                               ELIZABETH          NJ   7201         (908) 629-8471   (908) 629-8137
860   ELLIOTT'S MAXCARE PHARMACY       4825 EL CAMINO REAL                            ATASCADERO         CA   93422        (805) 466-0286   (805) 928-1066




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      Name                             Includes Plaintiff's suggested addresses                                             phone            Fax
861   ELMEN RENT ALL / UNITED RNTL *   1701 W 12TH ST                                 SIOUX FALLS         SD   57117-5103   (605) 338-1800   (605) 338-9511
862   ELMORE MEDICAL CENTER            PO BOX 1270                                    MOUNTAIN HOME       ID   83647        (208) 587-8401   (208) 587-8406
863   ELMS EQUIPMENT RENTAL, INC **    ATTN: YVETTE LOPEZ A/P                         BRAWLEY             CA   92227        (760) 344-3780   (760) 344-0371
864   EMPIRE CONTAINER                 1161 EAST WALNUT STREET                        CARSON              CA   90746        (310) 537-8190   (310) 604-4880
865   EMPIRE INSULATION                8864 CYPRESS AVENUE                            FONTANA             CA   92335        (909) 357-9414   (909) 357-9414
866   EMPIRE STAPLE CO*                1710 PLATTE STREET                             DENVER              CO   80202        (303) 433-6803   (303) 433-4015
867   EMPIRE STEEL MFG CO              P O BOX 2565                                   BILLINGS            MT   59103        (406) 252-0101   (406) 252-9922
868   EMPIRE TOOL TRADERS              6327 W 34TH ST.                                HOUSTON             TX   77092        (713) 957-8665   (713) 957-8664
869   EMR ELECTRIC MOTOR REP CO        700 EAST 25TH STREET                           BALTIMORE           MD   21218        (410) 467-8080   (410) 467-2512
870   EMR REPAIR INC                   1518B NW VIVION ROAD                           KANSAS CITY         MO   64118        (816) 587-3930   (816) 587-3933
871   EMS, INC NEW MEXICO              EQUIPMENT MAINT SERVICES                       FARMINGTON          NM   87401        (505) 327-6055   (505) 326-3402
872   EMS-EQUIPMENT MAINTENANCE SVS    2575 SOUTH 3270 WEST                           SALT LAKE CITY      UT   84119        (801) 972-8423   (801) 977-9821
873   EMTECH INC. (GRAND JUNCTION)     ROCKY MOUNTAIN ELEC MTRS, INC                  GRAND JUNCTION      CO   81502        (970) 242-9980   (970) 242-9903
874   EMTECH, INC (CRAIG)              CRAIG ELECTRIC MTR & MACHINE                   CRAIG               CO   81626        (970) 824-7023   (970) 824-3621
875   ENCINO HOSPITAL                  ACCOUNTS PAYABLE                               Encino              CA   91436        (818) 995-5090   (818) 995-5454
876   ENCORE SYSTEMS, INC              90 MOISIER PARKWAY                             BROOKVILLE          OH   45309        (937) 833-4469   (937) 833-2746
877   ENERGY LTD                       4714 UPSHUR ST                                 BLADENSBURG         MD   20710        (301) 699-1144   (301) 699-8107
878   Energy Management                535 W 700 SOUTH                                SALT LAKE CITY      UT   84101        (801) 366-4100   (801) 487-7437
879   ENGILITY CORPORATION/L3 CORP     11000 COMMERCIAL PARKWAY                       MOUNT LAUREL        NJ   8054         (856) 439-4700   (856) 914-1349
880   ENGINEERED PRODUCTS, INC.        12202 MISSOURI BOTTOM RD.                      HAZELWOOD           MO   63042        314/731-1220     314/731-5744
881   ENGLEWOOD MERIDIAN, LLP          3455 SOUTH CORONA                              ENGLEWOOD           CO   80110        (303) 761-0300   (303) 762-2154
882   ENNIS REGIONAL MEDICAL CENTER    803 WEST LAMPASAS                              ENNIS               TX   75119        (972) 875-0965   (972) 875-3601
883   ENTERPRISE ELECTRIC MOTOR REP    P O BOX 461060                                 ESCONDIDO           CA   92046-1060   (760) 745-6011   (760) 745-6015
884   ENVIROCON INC.,                  11022 WINNERS CIRCLE, STE 200                  LOS ALAMITOS        CA   90720-2898   (562) 799-7015   (562) 594-2898
885   ENVIRONMENTAL TECHNOLOGIES INC   6750 BRYAN DAIRY ROAD                          LARGO               FL   33777        (727) 541-3531   (727) 544-9284
886   ENVIROTECH SYSTEMS, INC.         1665 S. Meridan St.                            INDIANAPOLIS        IN   46225        800-700-8994     317-236-8921
887   ENXCO SERVICE CORP/ENXCO INC     P O BOX 1043                                   NORTH PALM SPRINGS CA    92258        (760) 329-1437   (760) 329-1503
888   ENYART ELECTRIC                  1313 PRAIRE AVENUE                             SOUTH BEND          IN   46613        (219) 288-4731   (219) 282-4860
889   EP RADIOLOGICAL SERVICES, INC.   ATTN: SEAN MORGAN                              CANOGA PARK         CA   91304        (818) 313-9729   (818) 313-8360
890   EPApplications, inc              EROSION CONTROL APPL, INC                      ORANGE              CA   92868-1221   (714) 921-9848   (866) 475-1225
891   EPHRAIM McDOWELL R.M.C.          217 SOUTH THIRD STREET                         DANVILLE            KY   40422        (859) 239-2323   (859) 239-6733
892   EQUIPMED                         ATTN: ACCOUNTS PAYABLE                         Fullerton           CA   92833        (714) 535-8421   (714) 535-8451
893   EQUIPMENT GROUP INVESTMENTS      P O BOX 478                                    SOUTH HOUSTON       TX   77587        (800) 341-0577   (713) 944-2891
894   EQUIPMENT SERVICE INC - ESI      P O BOX 5139                                   LAKELAND            FL   33807-5139   (941) 646-2941   (941) 646-2632
895   EQUIPMENT SUPPLY CO              1603 ROUTE 130                                 BURLINGTON          NJ   8016         (609) 387-4645   (609) 387-7465
896   ERIE COUNTY MEDICAL CENTER       462 GRIDER STREET                              BUFFALO             NY   14215        (716) 898-3250   (716) 898-5203
897   ESB (EQUIP SERVICE BIOMEDICAL)   235 ROBBINS LANE                               SYOSSET             NY   11791        (516) 937-9819   (516) 937-9819
898   ESE ELECTRICAL SYSTEM ENG        12156 FRONT STREET                             NORWALK             CA   90652-0179   (562) 929-1871   (562) 864-9672
899   ESKEW ENTERPRISES INC            1375 W 16TH ST                                 INDIANAPOLIS        IN   46202        (317) 264-9028   (317) 264-9031
900   ESSEX GROUP INC *                1601 WALL STREET                               FORT WAYNE          IN   46801        (908) 248-7103   (908) 248-7086
901   ETCO ELECTRIC SUPPLY INC         2310 N. 3RD ST                                 WAUSAU              WI   54403-3297   (715) 848-2955   (715) 842-0679
902   ETOX - EAST TEXAS OXYGEN         3338 SSW LOOP 323                              TYLER               TX   75701        (903) 984-8691   (903) 983-1666
903   ETS - EQUIPMENT TECHNICIAN SVC   2980 FIRST STREET STE. E                       LA VERNE            CA   91750        (909) 392-7762   (909) 392-7781
904   EUGENE POWER TOOL REPAIR LLC     2880 CHESHIRE AVENUE                           EUGENE              OR   97402        (541) 232-5081   (541) 302-4529
905   EVANSVILLE ARMATURE SERVICE      1811 N. KENTUCKY AVENUE                        EVANSVILLE          IN   47711        (812) 428-9034   (812) 428-9034
906   EVER JOY RENT ALL CORP           20425 JOY RD                                   DETROIT             MI   48228        (313) 846-3130   (313) 846-3133
907   EVERGREEN HEALTHCARE             2222 N. HARBOR BLVD.                           FULLERTON           CA   92635        (714) 333-1548   (714) 526-4884
908   EVERYTHING MEDICAL, LLC          1811 W CHARLESTON BLVD                         LAS VEGAS           NV   89102        (702) 366-1111   (702) 366-1532
909   EXCEL APPARATUS SERVICES INC     1865 AVENUE B NORTH BLDG 177                   N CHARLESTON        SC   29405        (843) 747-7644   (843) 747-0137
910   EXPERT FITNESS SERV INC          2171 S TRENTON WAY #210                        DENVER              CO   80231        (303) 337-4821   (303) 337-4839
911   EXPERT FITNESS SERVICE, INC.     2171 S TRENTON WAY #210                        DENVER              CO   80231        (303) 337-4821   (303) 337-4839
912   EXPRESS TOOL RENTAL              6671 ASHFORD MILL CT                           CORONA              CA   92880        (562) 480-1964   (951) 738-0039
913   EXTREME PACKAGING MACHINERY      22831 AVENIDA EMPRESA                          RANCHO STA MARGARITACA   92688        (949) 888-7221   (949) 888-7112
914   EYLANDERS                        3601 EVERETT AVE                               EVERETT             WA   98201        (425) 259-2161   (425) 252-2459
915   EZ RENT ALL AND SALES            3950 NINE MILE ROAD                            CINCINNATI          OH   45255        (513) 943-8000   (513) 943-8005
916   E-Z RENT-IT/BAKER ENGINE SV      801 HIGHWAY 61 NORTH                           NATCHEZ             MS   39120        (601) 442-2799   (601) 446-5453
917   E-Z TOOL GRINDING                16224 GUNDRY AVENUE                            PARAMOUNT           CA   90723        (562) 529-8441   (562) 634-6285
918   F & L ELECTRIC MOTOR SERVICE     2221 CRISMAN ROAD                              PORTAGE             IN   46368        (219) 763-2181   (219) 762-6814
919   F & M MAFCO ***                  P O BOX 11013                                  CINCINNATI          OH   45211-1113   (800) 333-2151   (513) 367-0363
920   F & R ELECTRIC INC               ROUTE 2 BOX 496                                NORTH TAZEWELL      VA   24630        (540) 326-3973   (540) 326-3973
921   F D F ARMATURE                   220 GERRI LANE                                 ADDISON             IL   60101        (630) 458-0452   (630) 458-0887
922   F T T MANUFACTURING INC          112 RIVERSIDE DR                               GENESEO             NY   14454        (716) 243-0300   (716) 243-1520
923   F. GAVINA & SONS INC             2369 E. 51ST STREET                            LOS ANGELES         CA   90058        (323) 582-0671   (323) 581-1127
924   FABRICATED GLASS SPECIALTIES     101 E RAPP ROAD                                TALENT              OR   97540        (541) 535-1581   (541) 535-2910
925   FABRITEC PRECISION INC           SHEET METAL FAB JOB SHOP                       MODESTO             CA   95351-1176   (209) 529-8504   (209) 576-0688
926   FACILITATE, INC.                 P.O. BOX 50125                                 MIDWEST CITY        OK   73140        (405) 971-4223   (405) 971-4225
927   FACTORY AUTHO MED SCOPE REPAIR   2859 WEST McNAB ROAD                           POMPANO BEACH       FL   33069        (954) 984-1844   (954) 984-0229
928   FACTORY PIPE                     150 PARDUCCI ROAD                              UKIAH               CA   95482        (707) 463-1322   707-4631384
929   FAIRFIELD UNIVERSITY             1073 NORTH BENSON ROAD                         FAIRFIELD           CT   6824         (203) 939-7467   (203) 707-3731
930   FAIRVIEW UNIVERSITY HOSPITAL     P.O. BOX 59318                                 MINNEAPPOLIS        MN   55459        (612) 924-7075   (612) 924-7035
931   FALCON REHABILITATION PRODS      4404 E 60TH AVE                                COMMERCE CITY       CO   80022        (303) 287-6808   (303) 287-6436
932   FALCONITE INC *                  P O BOX 8048                                   PADUCAH             KY   42002-8048   (502) 442-4754   (502) 442-1417
933   FAMILY HEALTHCARE SUPPLY         3672 WEBBER STREET                             SARASOTA            FL   34232        (941) 923-7556   (941) 921-7392
934   FARIBAULT RENTAL                 504 WILSON AVE                                 FARIBAULT           MN   55021        (504) 334-8440   (504) 334-0170
935   FARNHAM & PFILE RENTAL INC       4306 STATE ROUTE 51 SOUTH                      BELLE VERNON        PA   15012        (724) 929-3181   (724) 929-8919
936   FARRELS HOME HEALTH              2326 WHEATON WAY                               BREMERTON           WA   98310        (360) 377-0164   (360) 377-8782
937   FASTENING SYSTEMS INC *          11417 SAINTS ROAD                              JACKSONVILLE        FL   32246        (904) 641-6909   (904) 641-0773
938   FASTSERV - ANAHEIM               8811 1/2 KATELLA AVE.                          ANAHEIM             CA   92804        (714) 761-0673   (714) 761-0783
939   FASTSERV - INDIANA               P.O. BOX 86                                    ANDERSON            IN   46015        (317) 895-7987   (317) 898-1224
940   FASTSERV WESTERN SCIENTIFIC      5231 OLIVE DRIVE                               CONCORD             CA   94521        (925) 827-3092   (925) 680-8507
941   FASTSERV-SAN ANTONIO             PO BOX 700145                                  SAN ANTONIO         TX   78270        (210) 496-8033   (210) 496-8033
942   FEATHER RIVER HOSPITAL           1289 Billie Rd.                                Paradise            CA   95969        530-891-9200     530-891-8142
943   FEDERAL HEATING & SUPPLY, INC    175 S. FEDERAL BLVD                            DENVER              CO   80219        (303) 934-7832   (303) 936-2920
944   FEITER'S INSTANT SUPPLY WHEELC   7811 N 86TH ST                                 MILWAUKEE           WI   53224        (414) 355-7575   (414) 355-4090
945   FIBERGLASS HAWAII                1377 COLBURN STREET                            Honolulu            HI   96817        (808) 847-3951   (808) 841-2108
946   FINCHS MACHINERY & TOOL SERV     4600 MONTEREY OAKS APT1123                     AUSTIN              TX   78749-4332   (407) 256-7647   (407) 328-8345




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       Name                             Includes Plaintiff's suggested addresses                                            phone            Fax
947    FIRST BIOMEDICAL, INC.           1129 W. DENNIS AVENUE                          OLATHE             KS   66061        (913) 764-5065   (913) 764-5282
948    FISHER SCIENTIFIC                P.O. 1768                                      PITTSBURGH         PA   15230        (412) 490-6604   (412) 490-8835
949    FITZGIBBON HOSPITAL              2305 S. 65 HWY                                 MARSHALL           MO   65340        (660) 886-7431   (660) 886-9001
950    FITZSIMMONS SURGICAL SUPPLY      PO BOX 310                                     WORTH              IL   60482        (708) 396-8900   (708) 636-2841
951    FITZSIMMONS SURGICAL SUPPLY      ATTN: ACCOUNTS PAYABLE                         TINLEY PARK        IL   60477        708-532-1199     708-532-4488
952    FIVE-R REPAIR INC.               15590 W COLFAX AVENUE                          GOLDEN             CO   80401        (303) 278-1830   (303) 278-3431
953    FIX-IT TOOL REPAIR INC           10715 CHERRY HILL AVE                          BATON ROUGE        LA   70816-4119   (504) 756-8300   (504) 756-2900
954    FKS RENTALS & SALES *            663 KAKOI ST                                   HONOLULU           HI   96819        (808) 836-2961   (808) 833-0976
955    FLAMBEAU, INC.                   377 Kansas Street                              Redlands           CA   92373        909-335-6337     909-335-9816
956    FLANDERS ELECTRIC (#173) *       BILL TO: 8101 BAUMGART RD.                     WHITE OAK          TX   0            (903) 759-9439   (903) 297-9939
957    FLANDERS ELECTRIC MTR SV         1000 N COURT ST                                MARION             IL   62959        (618) 993-2681   (618) 997-9228
958    FLANDERS ELECTRIC MTR SV #73 *   8101 BAUMGART ROAD                             EVANSVILLE         IN   47724        (812) 867-7421   (812) 867-2687
959    FLEX PRODUCTS, INC               1402 MARINER WAY                               SANTA ROSA         CA   95407-7370   (707) 525-9200   (707) 547-6606
960    FLICKINGER MACHINE**             405 NEBRASKA                                   South Houston      TX   77587        (281) 481-0389   (281) 481-0865
961    FLORIDA HOSPITAL FISH MEMORIAL   1055 SAXON BLVD.                               ORANGE CITY        FL   32763        (386) 917-5027   (386) 917-5018
962    FLOW TECH SUPPLY                 3850 PHEASANT                                  ORANGE             TX   77630        (409) 882-0306   (409) 882-0254
963    FLOYD'S ACE HARDWARE             1201 S LOOP ROAD                               PAHRUMP            NV   89048        (775) 727-4440   (775) 727-5637
964    FMC DIALYSIS SVC OF CUMBERLAND   254 EAST HIGH STREET                           CARLISLE           PA   17013        (717) 240-2944   (717) 240-2949
965    FMC NEW HAMPSHIRE KIDNEY CTR     248 PLEASANT STREET SUITE G400                 CONCORD            NJ   3301         (603) 224-9996   (603) 224-4896
966    FMF RACING                       18033 S SANTA FE AVE                           RANCHO DOMNIGUEZ   CA   90221        (310) 631-4343   (310) 900-5699
967    FOCUS PACKAGING & SUPPLY CO      2789 N ARGYLE                                  FRESNO             CA   93727        (559) 485-1261   (559) 485-1265
968    FONTE SURGICAL SUPPLY            1165 PORTLAND AVE.                             ROCHESTER          NY   14621        (716) 338-1000   (716) 338-7578
969    FOODPHARMA, LLC                  11012 S, PAINTER AVE                           SANTA FE SPRINGS   CA   90670        (562) 944-7821   (562) 944-1308
970    FORT JONES LUMBER YARD INC       12325 MARBLEVIEW AVE                           FORT JONES         CA   96032        (530) 468-5505   (530) 468-5509
971    FORT SANDERS REG. M.C.           ATT: ACCOUNTS PAYABLE                          KNOXVILLE          TN   37916        (423) 541-2430   (423) 541-2049
972    FORWARD TECHNOLOGY LLC           260 JENKS AVENUE                               COKATO             MN   55321        (320) 286-2578   (320) 286-2467
973    FORX RENTALL                     3901 SOUTH WASHINGTON STREET                   GRAND FORKS        ND   58201        (701) 772-7259   (701) 772-9314
974    FOSTER ELECTRIC MOTOR SVCE       dba ARIZONA PUMP & EQUIP                       CHANDLER           AZ   85225        (480) 963-5416   (480) 899-0523
975    FOSTER RENTALS \ MEYER ENT       5100 SE FOSTER RD                              PORTLAND           OR   97206        (503) 774-3291   (503) 774-8563
976    FOTOART                          760D WEST 16TH STREET                          COSTA MESA         CA   92627        (949) 645-3686   (949) 645-3689
977    FOUNTAIN VALLEY ORTH & PROSTHE   16520 HARBOR BLVD. SUITE G                     FOUNTAIN VALLEY    CA   92708        (714) 557-4645   (714) 557-3249
978    FOUR CORNERS WELDING & GAS *     600 E HWY 66                                   GALLUP             NM   87301        (505) 722-3845   (505) 722-2645
979    FRANCIS B WHITMAN & SONS INC     207 WALNUT ST                                  WINSTEAD           CT   6098         (203) 379-5073   (203) 738-0811
980    FRANK J. ENGELMANN               9324 JAMES STREET UNIT D                       PHILADELPHIA       PA   19114        (215) 637-5162   (215) 637-5162
981    FRANKLIN COUNTY RESPIRATORY      1135 FRANKLIN STREET                           ROCKY MOUNT        VA   24151        (540) 483-3333   (540) 483-9753
982    FRANKLIN MEMORIAL HOSPITAL       ONE HOSPITAL DR                                FARMINGTON         ME   4938         (800) 398-6031   (207) 779-2548
983    FRANKS HARDWARE CO INC           5444 HWY 10E                                   STEVENS POINT      WI   54481        (715) 344-4191   (715) 344-4194
984    FRANKS SALES N RENTALS INC       P O BOX 580                                    DORAN              VA   24612        (703) 935-7976   (703) 935-7976
985    FRANKS SUPPLY COMPANY INC *      3311 STANFORD DRIVE N.E.                       ALBUQUERQUE        NM   87107        (505) 884-0000   (505) 884-0244
986    FRESENIUS - QUALITY CARE         6811 PARKER RD                                 FLORISSANT         MO   63033        (314) 653-6100   (314) 653-6111
987    FRESENIUS MED CARE - NEW BERN    3650 NEUSE BLVD                                NEW BERN           NC   28560        (252) 633-6303   (252) 633-9436
988    FRESENIUS MEDICAL CARE           #7 EASTGATE PLAZA RTE 3                        EAST ALTON         IL   62024        (618) 254-1117   (618) 254-1194
989    FRESENIUS MEDICAL CTR            1079 BESSEMER AVE                              PRICHARD           AL   36610        (334) 452-9941   (334) 452-9944
990    FRINKE POWER TOOL SERVICE        1322 E AVE NORTH                               SARASOTA           FL   34237        (941) 365-3442   (941) 365-3442
991    FRONTIER FORENSICS, P.A.         320 S. KANSAS AVE SUITE400                     TOPEKA             KS   66603        (785) 368-2353   (785) 368-2388
992    FRONTIER SYSTEMS, INC            15320-A BARRANCA PKWY                          IRVINE             CA   92618        (949) 623-2222   (949) 623-4444
993    FRY REGLET CORPORATION           14013 Marquardt Ave.                           Santa Fe Springs   CA   90670        562-903-9500     562-941-5404
994    FTC EQUIPMENT, LLC               5238 WINNER ROAD                               Kansas City        MO   64127        (816) 833-7200   (816) 833-1074
995    FULLER ELECTRIC MOTOR SVCE       1341 HIGH ST                                   LINCOLN            NE   68502        (402) 423-9739   (402) 423-9743
996    FULTON-DEKALB HOSPITAL           100 EDGEWOOD AVE 14TH FLOOR                    ATLANTA            GA   30303        (404) 616-3939   (404) 616-3205
997    FWB ENTERPRISES, INC.            P O BOX 1777                                   SNOHOMISH          WA   98290        (360) 568-5764   (360) 568-5832
998    G & S TOOL CLINIC                916 CHAMBERS AVE                               EAGLE              CO   81631        (970) 328-6282   (970) 328-6283
999    G E JONES ELECTRIC CO            200 N POLK                                     Amarillo           TX   79105        (806) 372-5505   (806) 372-9586
1000   G P ELECTRIC                     1020 PRICE ST.                                 POMONA             CA   91767        (909) 865-2366   (801) 366-4100
1001   G.I.A. MEDICAL LLC               7015 N. RIVER ROAD                             RIVER HILLS        WI   53217-3731   (909) 863-2900   (414) 351-5887
1002   G.W. CORMICK                     15629 CASCADIAN WAY                            MILL CREEK         WA   98012        (425) 745-0832   (425) 743-6103
1003   GALCO INDUSTRIAL ELECTRONICS     26010 PINEHURST DRIVE                          Madison Heights    MI   48071        (248) 542-9090   (248) 414-5993
1004   GARBERS ELECTRIC MOTOR REP       1975 OLSON DRIVE                               Chippewa Falls     WI   54729        (888) 882-7012   (715) 720-7212
1005   GARFIELD MEDICAL CENTER          525 N. GARFIELD AVE.                           MONTEREY PARK      CA   91754        (626) 307-2086   (626) 307-2189
1006   GARICK ELECTRIC MOTOR SERVICE    PO BOX 2187                                    LAUREL             MS   39442        (601) 649-1422   (601) 425-1344
1007   GARY VOLLENWEIDER, M.D.          6053 MAIN STREET SUITE 130                     THE COLONY         TX   75056        (972) 625-7000   (972) 625-8727
1008   GATEWAY CONCRETE, INC            6511 COLUMBUS AVENUE                           RIVERSIDE          CA   92504        (951) 687-0711   (951) 687-3753
1009   GATEWAY PRESS, INC               4500 ROBARDS LANE                              LOUISVILLE         KY   40218        (502) 454-0431   (502) 459-7930
1010   GATEWAY RENTAL CENTER INC        2505 OLYMPIC HWY N #200                        SHELTON            WA   98584        (360) 426-1091   (360) 427-2561
1011   GATEWAY TRUCK & REFIGERATION     8745 WEST 82ND PLACE                           JUSTICE            IL   60458-1770   (708) 563-7090   (708) 563-1408
1012   GATEWAY TRUCK & REFRIGERATION    921 FOURNIE LANE                               COLLINSVILLE       IL   62234        (618) 345-0123   (618) 345-2955
1013   GCS SUPPLY, LLC                  ALL POWER TOOL SERVICE                         LEMONT             IL   60439        (630) 343-6400   (630) 343-6401
1014   GE MEDICAL SYS / CLINICAL SVCS   P.O. BOX 909994                                MILWAUKEE          WI   53209        (800) 552-3249   (615) 309-6695
1015   GEAUGA HOSPITAL                  13207 RAVENNA RD.                              CHARDON            OH   44024        (440) 285-6499   (440) 286-6205
1016   GEHR INDUSTRIES/MILSPEC**        7400 E. SLAUSON AVE                            LOS ANGELES        CA   90040        (800) 688-6606   (323) 728-5558 PH
1017   GEISINGER MEDICAL CENTER         NORTH ACADEMY AVE.                             DANVILLE           PA   17822        (570) 271-6993   (570) 271-6698
1018   GEISINGER MEDICAL CENTER         NORTH ACADEMY AVE.                             DANVILLE           PA   17822        (570) 271-6993   (570) 271-6698
1019   GEM STATE ELECTRIC               112 E 45TH STREET                              BOISE              ID   83714        (208) 344-5461   (208) 344-6182
1020   GEMASCO/ ARON CORP               BOX 1408 (RD 149 KM 66.8)                      JUANA DIAZ         PR   795          (787) 837-7030   (787) 837-2043
1021   GENERAL AUTOMATION               35444 MOUND RD                                 STERLING HTS       MI   48310        (810) 268-0300   (810) 268-1741
1022   GENERAL GRINDING CO              11034 FOREST PLACE                             SANTA FE SPRNGS    CA   90670        (562) 906-5282   (562) 941-5601
1023   GENERAL MOTOR REPAIR & SV INC    2206 WESTBROOK STREET                          GREENSBORO         NC   27407        (336) 292-1715   (336) 292-1027
1024   GENERAL RENTAL CENTER            216 SANDBERG ROAD                              MONTICELLO         MN   55362        (763) 295-2300   (763) 295-3444
1025   GENERAL RENTAL CENTER            1606 SUNSET BLVD                               STEUBENVILLE       OH   43952        (614) 282-9588   (614) 282-0331
1026   GENERAL RENTAL CENTER *          TIRE KINGDOM PLAZA                             BOYNTON BEACH      FL   33426        (561) 736-8777   (561) 736-1218
1027   GENERAL RENTAL CO / RENTALMAX    2625 OGDEN AVE                                 DOWNERS GROVE      IL   60515        (708) 964-1850   (708) 964-1902
1028   GENERATOR STARTER SERVICE        50 EAST CENTER STREET                          AURORA             UT   84620        (435) 529-7875   (435) 529-7875
1029   GENE'S TRUCK & VAN OUTFITTERS    2406 W. 2ND AVE.                               INDIANOLA          IA   50125        (515) 961-0575   (515) 961-4433
1030   GENESIS MEDICAL SUPPLY           7255 ENVOY COURT                               DALLAS             TX   75247        (214) 638-3057   (214) 630-1071
1031   GENESIS TECHNOLOGY PARTNERS      MASTERPLAN / ATTN: A/P                         CHATSWORTH         CA   91311        (818) 773-2647   (818) 709-0319
1032   GENEX / JESCO WHSLE ELEC SPLY    1420 N 7TH                                     BEATRICE           NE   68310        (402) 228-3363   (402) 228-1544




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       Name                             Includes Plaintiff's suggested addresses                                           phone              Fax
1033   GENPAK LLC                       505 E. Cotton St.                              CARTHAGE          TX   75633        903-693-7151X213   (903) 690-0846
1034   GEORGE S. BUCKNER, M.D.          309 PARKS AVE.                                 SCOTTSBORO        AL   35768        (256) 259-8818     (256) 259-0506
1035   GEORGES ELECTRIC                 139 CANDACE DRIVE                              MAITLAND          FL   32751        (407) 830-6557     (407) 830-6482
1036   GEORGES ELECTRIC SVCE            1336 SANTA ANA AVE                             SACRAMENTO        CA   95838        (916) 922-4277     (916) 922-0332
1037   GEORGES TOOL RENTAL              3224-A BETHLELHEM PIKE                         HATFIELD          PA   19440-9809   (215) 723-5337     (215) 723-3571
1038   GET REPAIR                       P O BOX 611838                                 SAN JOSE          CA   95161-1838   (408) 947-1930     (408) 947-1933
1039   GEZON TOOL SVCE *                322 RUMSEY S.W.                                GRAND RAPIDS      MI   49503        (616) 451-2725     (616) 451-2728
1040   GHX --USE HOUMA 73888            DO NOT USE SEE HOUMA ARM WKS                   HOUSTON           TX   77230-0109   (713) 222-8768     (713) 741-8021
1041   GIBSON TOOL REPAIR               P O BOX 1563                                   PASCAGOULA        MS   39581        (228) 762-7850     (228) 762-7820
1042   GIRARD MACHINE CO INC            700 DOT ST                                     GIRARD            OH   44420        (216) 545-9731     (216) 545-6164
1043   GKN RENTAL CENTER - PURCHASNG*   265 JASON COURT                                CORONA            CA   91719        (951) 736-7070     (951) 736-7069
1044   GLENNS ELECTRIC MOTOR SVCE       501 NO MAIN ST                                 LOGAN             UT   84321        (435) 752-4178     (435) 752-4214
1045   GLENS FALLS HOSP RENAL CENTER    83-85 PARK STREET                              GLENS FALLS       NY   12801        (518) 926-6731     (518) 926-6727
1046   GLENWOOD REGIONAL HOSPITAL       ATT: ACCOUNTS PAYABLE                          WEST MONROE       LA   71294        (318) 329-4545     (318) 329-4834
1047   GLIDE PRODUCTS                   1609 E. Mc FADDEN AVE, SUITE F                 SANTA ANA         CA   92705        (714) 862-2303     (714) 754-0107
1048   GLOBAL AMERICAN INDUSTRIAL       12821 WESTERN AVENUE SUITE A                   GARDEN GROVE      CA   92641        (714) 379-6134     (714) 379-6138
1049   GLOBAL PET INC                   353 E. Ellis Ave.                              Perris            CA   92570        951-657-5466       951-657-3385
1050   GM TOOL & FASTENER               2634 TAFT AVE                                  ORLANDO           FL   32804        (407) 425-2919     (407) 422-2860
1051   GMS FLOORING TOOLS               1939 E HOLLAND AVE., UNIT B                    FRESNO            CA   93726        (559) 226-4842     (559) 226-2785
1052   GOLDEN ERA PRODUCTIONS           6331 HOLLYWOOD BLVD, STE 1305                  LOS ANGELES       CA   90028        (323) 960-3569     (323) 960-3518
1053   GOLDEN STATE LUMBER, INC         38801 CHERRY STREET                            NEWARK            CA   94560        (510) 818-1000     (510) 494-4922
1054   GOLDEN WEST MEDICAL CENTER       915 E. KATELLA AVE.                            ANAHEIM           CA   92801        (714) 634-4884     (714) 634-9259
1055   GOLDMAN ELECTRIC MOTOR REPAIR    17 N 10TH ST                                   TEMPLE            TX   76501        (254) 778-1843     (254) 778-4888
1056   GOLF N STUFF/GNS DEVELOPMENT     10555 E. FIRESTONE BLVD                        NORWALK           CA   90650        (562) 868-9956     (562) 863-6709
1057   GOOD SAMARITAN CHRONIC DIALYSI   929 SURISE HIGHWAY                             Bay Shore         NY   11706        (631) 224-8500     (631) 224-8503
1058   GOOD SAMARITAN HOSPITAL          375 DIXMYTH AVE.                               CINCINNATI        OH   45220        (513) 872-1501     (513) 861-5112
1059   GOOD SHEPERD MEDICAL CTR         700 E MARSHALL AVE                             LONGVIEW          TX   75601        (903) 315-2185     (903) 236-2244
1060   GOOD SHEPHERD COMM.HOSP          610 NW 1TH STREET                              HERMISTON         OR   97838        (541) 567-4391     (541) 567-4393
1061   GOODALL-WITCHER HEALTHCARE       P.O. BOX 549                                   CLIFTON           TX   76634        (254) 675-8322     (254) 675-2246
1062   GOPHER MEDICAL SUPPLY            2250 DELWARE STREET SE                         MINNEAPOLIS       MN   55414        (612) 623-7706     (612) 623-7607
1063   GORDON LN. CONVALECENT HOSP      1821 E. CHAPMAN                                FULLERTON         CA   92831        (714) 879-7301     (714) 447-8169
1064   GOULD'S DISCOUNT MEDICAL         4014 BARDSTOWN ROAD                            LOUISVILLE        KY   40218        (502) 491-2000     (502) 495-2476
1065   GRABBER/JOHN WAGNER ASSOC        P O BOX 4060                                   CONCORD           CA   94524        (925) 687-6606     (925) 687-6261
1066   GRAND RENTAL STATION             100 SALTPOINT TURNPIKE                         POUGHKEEPSIE      NY   12603        (914) 488-7368     (914) 485-7371
1067   GRANDMAR INC.                    1311 63RD ST.                                  EMERYVILLE        CA   94608        (510) 428-0441     510-428-1330
1068   GRAPHIC ELECTRIC                 6644 E 26TH ST                                 COMMERCE          CA   90040-3216   (323) 728-4277     (323) 728-5399
1069   GRAPHIC RESEARCH INC             9334 MASON AVE                                 CHATSWORTH        CA   91311        (818) 886-7340     (818) 772-8809
1070   GRATING PACIFIC INC              3651 SAUSALITO STREET                          LOS ALAMITOS      CA   90720        (562) 598-4314     (562) 598-2740
1071   GREAT EXPECTATIONS OF GRAND JU   dba ALL SEASONS RENTAL                         GRAND JUNCTION    CO   81504        (970) 241-4368     (970) 314-2352
1072   GREAT LAKES AVIATION             1022 AIRPORT PARKWAY                           CHEYANNE          WY   82001        (307) 432-7053     (307) 432-7051
1073   GREAT MACHINERY, INC             72 AVENUE U                                    BROOKLYN          NY   11223        (718) 266-5808     (718) 266-5808
1074   GREAT RIVER MEDICAL CENTER       P.O. BOX 640                                   WEST BURLINGTON   IA   52655        (319) 768-1000     (319) 768-3524
1075   GREAT WESTERN BUILDING MAT.      OXNARD BUILING MATERIALS                       OXNARD            CA   93030        (805) 278-4474     (805) 278-4667
1076   Greater Pittsburgh Orthpaedic    5820 Centre Avenue                             Pittsburgh        PA   15206        (412) 661-5522     (412) 661-4760
1077   GREEN BAY HOME MEDICAL EQUIP     2020 S. WEBSTER AVE.                           GREEN BAY         WI   54301        (920) 465-3000     (920) 465-3003
1078   GREEN COUNTY ELECTRIC            P O BOX 458                                    MONROE            WI   53566        (608) 558-5337     (608) 325-3268
1079   GREEN VALLEY RENT ALLS           P O BOX 130                                    LOW MOOR          VA   24457        (540) 862-5754     (540) 862-5755
1080   GREENVILLE INDUSTRIAL SUPPLY     P O BOX 1149                                   GREENVILLE        SC   29605        (864) 277-9400     (864) 277-0004
1081   GREENWICH HOSPITAL ASSOC         5 PERRYRIDGE RD                                GREENWICH         CT   6830         (203) 863-3365     (203) 863-3813
1082   GRIERS ELECTRICAL CO             507 SO WEBSTER AVENUE                          SCRANTON          PA   18505        (717) 347-0188     (717) 969-9534
1083   GRIFFITH AIR TOOL                13609 E. ROSECRANS AVE.                        SANTA FE SPRING   CA   90670        (562) 863-4811     (562) 483-0548
1084   GRITTERS ELECTRIC, INC           210 S E 14TH STREET                            PELLA             IA   50219        (515) 628-3816     (515) 628-2878
1085   GROGAN'S HEALTHCARE SUPPLY       1016 S. BROADWAY                               LEXINGTON         KY   40504        (606) 254-6661     (606) 254-6666
1086   GROVER C. DILS MEDICAL CTR       PO BOX 38                                      CALIENTE          NV   89008        (775) 726-3171     (775) 726-3286
1087   GROVES RENTWAY INC               3828 RYAN STREET                               LAKE CHARLES      LA   70605        (337) 478-4992     (337) 478-8701
1088   GRYMES DRUG STORE                P.O. BOX 189                                   ORANGE            VA   22960        (540) 672-1241     (540) 672-1686
1089   GSE LINING TECHNOLOGY, INC       19103 GUNDLE ROAD                              HOUSTON           TX   77073        (800) 435-2008     (281) 230-5891
1090   GSH HOME MED CARE                301 SCHNEIDER DRIVE                            LEBANON           PA   17046        (717) 272-2057     (717) 272-0796
1091   G-SHERMAN EC TOOL REPAIR         5532 SKYRIDGE DRIVE                            FRISCO            TX   75035        (949) 646-7664     (949) 646-7664
1092   GULF COAST RENTAL CO             215 E MAIN ST                                  PORT LAVACA       TX   77979        (512) 552-2123     (512) 552-6876
1093   GULF COPPER & MFG                5700 PROCTOR STREET                            PORT ARTHUR       TX   77642        (409) 983-1691     (409) 960-7048
1094   GUST ELECTRIC INC                1123 GREAT BASIN BLVD                          ELY               NV   89301        (775) 289-6272     (775) 289-3919
1095   GUTHRIE HEALTHCARE SYSTEM        GUTHRIE SQUARE                                 SAYRE             PA   18840        (570) 882-5338     (570) 882-5348
1096   H & H TOOL SERVICE               2307 McALLISTER                                HOUSTON           TX   77092        (713) 682-8665     (713) 682-8624
1097   H & N ELECTRIC-BUTTE dont use    P O BOX 11813                                  SPOKANE           WA   99211-1813   509) 547-1691      (509) 547-1004
1098   H & R TOOLS                      51 Porter Dr.                                  Royal Oaks        CA   95076        831-768-7127       831-768-7127
1099   H & S MACHINERY CORP             1941 INDUSTRIAL BLVD                           HARVEY            LA   70058        (504) 347-5707     (504) 347-3411
1100   H C STROUD ELECTRIC MOTOR SERV   1811 1ST ST                                    SAN FERNANDO      CA   91340-2608   (818) 361-5213     (818) 361-5213
1101   H P ELECTRIC                     17210 SUNBURST STREET                          NORTHRIDGE        CA   91325        (818) 786-8226     (818) 786-8227
1102   H&N ELECTRIC INC. PASCO (Timke   ATTN: Accts.Pay/Darryl                         PASCO             WA   99301-6418   (509) 547-1691     (509) 547-1004
1103   HACKENSACK UNIV MED CNTR         30 PROSPECT AVE                                HACKENSACK        NJ   7601         (201) 996-3391     201-996-2940
1104   HAHN SUPPLY INC                  2101 MAIN ST                                   LEWISTON          ID   83501        208-743-1577       208-748-1592
1105   HAITAI GLOBAL, INC.              7227 TELEGRAPH RD.                             MONTEBELLO        CA   90640        (323) 724-7337     (323) 724-7373
1106   HALIFAX COUNTY PUBLIC SCHOOL     P O BOX 1849                                   HALIFAX           VA   24558        (434) 476-2171     (434) 476-5311
1107   HALL TOOL CO                     1724 SE GRAND AVE                              PORTLAND          OR   97214-3510   (503) 233-7634     (503) 233-7638
1108   HALPRIN INC.                     66 WEST AVE                                    CANANDAIGUA       NY   14424        (716) 396-9900     (716) 396-9979
1109   HAMILTONS ELECTRIC               684 PONDEROSA AVE                              SEASIDE           CA   93955        (831) 394-6411     (831) 394-7108
1110   HAMMERWELD INDUSTRIES            184 COMMERCIAL COURT                           ALABASTER         AL   35007        (205) 620-0991     (205) 620-1514
1111   HAMMOND ELECTRIC MOTORS, INC     811 CONCORD ROAD                               ALBEMARLE         NC   28001        (704) 983-3178     (704) 982-2728
1112   HAMMOND STARTER & ALTERNATOR     2850 W CHURCH ST                               HAMMOND           LA   70401        (504) 542-7418     (504) 355-6063
1113   HANDICAP UNLIMITED               5640 SUMMER AVE SUITE 3                        MEMPHIS           TN   38134        (901) 373-0095     (901) 388-0901
1114   HANDICAPABLE VANS & MOBILITY     5516 NORTH STATE STREET                        JACKSON           MS   39206        (601) 981-0042     (601) 981-7722
1115   HANDLING SYSTEMS INC             2659 E. Magnolia St.                           Phoenix           AZ   85034        602-275-2228       602-275-2424
1116   HANES SUPPLY OF SC, INC          dba Coastal Construction Ind S                 Myrtle Beach      SC   295773       (888) 224-7269     (843) 238-8337
1117   HANGER PROSTHETIC & ORTHOTIC     4129 MAYFIELD ROAD                             SOUTH EUCLID      OH   44121        (216) 381-1717     (216) 381-5756
1118   HANNIBAL REG. HOSPITAL           P O Box 1257                                   HANNIBAL          MO   63401        (573) 248-1300     (573) 248-5417




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       Name                             Includes Plaintiff's suggested addresses                                            phone            Fax
1119   HANNON ELECTRIC ***              2940 DUSS AVENUE                               AMBRIDGE           PA   15003        (330) 456-4728   (330) 456-3323
1120   HANSEN SCAFFOLDING               dba HI-LO CLIMBERS                             CINCINNATI         OH   45246        (513) 574-9000   (513) 574-5322
1121   HARDWARE SPECIALTY CO., INC      1701 OAKBROOK DRIVE                            NORCROSS           GA   30093        (770) 449-3000   (770) 449-6257
1122   HARMAR CONTRACTORS EQUIPMENT     23 WERNER CAMP ROAD                            HARMARVILLE        PA   15238        (412) 828-3646   (412) 828-1413
1123   HARMCO                           428 STATE STREET                               ROCHESTER          NY   14608        (585) 546-1650   (585) 546-2195
1124   HARMON MEDICAL SUPPLY            415 VIGO STREET                                VINCENNES          IN   47591        (812) 882-3636   (812) 882-6688
1125   HARRI PLUMBING & HEATING INC     809 W. 12TH STREET                             JUNEAU             AK   99801        (907) 586-3190   (907) 586-4129
1126   HARRIS ELECTRIC MOTOR *          4020 23RD AVE WEST                             SEATTLE            WA   98199        (206) 782-6668   (206) 784-8296
1127   HARRIS METHODIST FT. WORTH       P.O. BOX 789                                   FT. WORTH          TX   76101        (817) 882-4607   (817) 878-5142
1128   HARRIS METHODIST H.E.B.          P.O. BOX 669                                   BEDFORD            TX   76095        (817) 685-4070   (817) 685-4994
1129   HARRISON RENT IT CENTER          1434 HARTNELL AVENUE                           REDDING            CA   96002        (530) 222-2000   (530) 222-0411
1130   HARTEL INDUSTRIES, INC           9449 MALTBY ROAD                               BRIGHTON           MI   48116        (810) 220-2121   (810) 220-2135
1131   HATTEN ELECTRIC SV & BAK-VOL     P O BOX 843                                    HASTINGS           NE   68902-0843   (402) 463-4596   (402) 462-5247
1132   HAUSER ELECTRIC                  105 E CANAL STREET                             BROOKFIELD         MO   64628        (660) 258-3314   (660) 258-3650
1133   HAWAIIAN RENT-ALL                1946 S BERETANIA ST                            HONOLULU           HI   96826        (808) 949-3961   808-949-1338
1134   HAWK DRIVELINE ELECTRIC          2490 THOMPSON AVENUE                           KINGMAN            AZ   86401        (520) 757-5153   (520) 757-1363
1135   HAYDEN ELECTRIC                  4109 OLD SEWARD HWY SUITE 300                  ANCHORAGE          AK   99503        (907) 561-1073   (907) 561-5867
1136   HAZLETON ST. JOSEPH MED CTR      687 N. CHURCH                                  HAZLETON           PA   18201        (570) 501-6180   (570) 501-6183
1137   HCS - CUTLER                     10411 26TH ST                                  RANCHO CUCAMONGA   CA   91729-1149   (909) 987-0094   (909) 987-7465
1138   HEALTH & HOME                    2202 E. UNIVERSITY DRIVE                       PHOENIX            AZ   85034        (602) 274-4452   (602) 293-5509
1139   HEALTH PLUS                      24310 MULTON PARK WAY STE G                    LAGUNA WOODS       CA   92653        (949) 859-4440   (949) 580-1723
1140   HEALTHCARE BIOMEDICAL SVC        7732 CENTRAL PARK DRIVE                        WACO               TX   76712        (254) 772-7924   (254) 772-7926
1141   HEALTH-N-HOME                    3250 E. 19TH ST.                               LONG BEACH         CA   90804        (800) 339-9456   (562) 986-1868
1142   HEATING & PLUMBING ENGINEERS     P O BOX 7285                                   COLORADO SPRINGS   CO   80933        (719) 633-5414   (719) 633-4031
1143   HEAVY MACHINES, INC **           3926 EAST RAINES ROAD                          MEMPHIS            TN   38118-6936   (800) 238-5591   (901) 260-2276
1144   HECKMAN HEALTHCARE               677 W. IMBODEN DRIVE                           DECATUR            IL   62521        (217) 428-1306   (217) 428-2732
1145   HEIGHTS ARMATURE WORKS           12250 TAYLOR ROAD                              HOUSTON            TX   77041        (713) 937-7676   (713) 937-1955
1146   HELENA REGIONAL MEDICAL CTR      PO BOX 788                                     HELENA             AR   72342        (870) 338-5800   (570) 338-5998
1147   HEMACARE CORP.                   4954 VAN NUYS BLVD. 2ND FLOOR                  SHERMAN OAKS       CA   91403        (818) 986-3883   (818) 986-1417
1148   HEMET VALLEY TOOL                777 W ESPLANADE AVE                            San Jacinto        CA   92582        (951) 654-1034   (951) 654-4054
1149   HEMODIALYSIS, INC.               710 W. WILSON AVE                              GLENDALE           CA   91203        (818) 500-8736   (818) 500-9452
1150   HEMPS POWER TOOL REPAIR INC      13407 GRACEHAM RD                              THURMONT           MD   21788        (301) 898-9916   (301) 271-3610
1151   HENRY COUNTY HOSPITAL            11-600 STATE ROUTE 424                         NAPOLEON           OH   43545        (419) 592-4015   (419) 592-4017
1152   HENRY MAYO NEWHALL MEMORIAL      P.O. BOX 55279                                 VALENCIA           CA   91355        (661) 295-5310   (661) 295-5431
1153   HEROLD & MIELENZ INC *           3531 51ST AVE                                  SACRAMENTO         CA   95822        (916) 422-7493   (916) 422-7689
1154   HI SPEED DIVISION OF MOCK *      6812 LINDSEY ROAD                              LITTLE ROCK        AR   72206        (501) 375-9178   (501) 375-4254
1155   HI TECH TOOL & FASTENERS, INC    204 SAUL DRIVE                                 SCOTT              LA   70583        (337) 232-3795   (337) 264-9704
1156   HIALEAH HOSPITAL                 ATT: ACCOUNTS PAYABLE                          HIALEAH            FL   33013        (305) 835-4546   (305) 835-4709
1157   HIGH COUNTRY GAS                 1039 PITKIN AVENUE                             Grand Junction     CO   81501        (970) 245-2113   (970) 245-0411
1158   HIGH DESERT DIALYSIS             1007 W. AVENUE M SUITE B                       PALMDALE           CA   93551        (661) 265-7810   (661) 265-8762
1159   HIGH SIERRA SUPPLY               2003 E MAIN ST                                 QUINCY             CA   95971        (916) 283-3214   (916) 283-1433
1160   HIGHLINE COMMUNITY HOSPITAL      16251 SILVESTER RD. SW                         SEATTLE            WA   98166        (206) 431-5374   (206) 244-1686
1161   HIGHLINE MEDICAL CENTER          12844 MILITARY RD. S.                          SEATTLE            WA   98168        (206) 244-9970   (206) 243-9934
1162   HIGHPOINT ORTHOPAEDIC & SPORTS   611 LINDSAY ST. SUITE 200                      HIGH POINT         NC   27262        (336) 841-6262   (336) 841-6360
1163   HILLCREST BAPTIST MEDICAL CTR    P.O. BOX 5100                                  WACO               TX   76708        (254) 202-8036   (254) 202-5610
1164   HOBART CORP                      5584 BANDINI ROAD                              BELL               CA   90201        (323) 260-7321   (323) 262-5804
1165   HOBELMANN & CO.                  1160 CHESS DR #3                               FOSTER CITY        CA   94404        (650) 571-5886   (650) 571-6856
1166   HODGE ELECTRIC                   attn: Accounts Payable                         GREENSBURG         PA   15601        (724) 834-8420   (724) 837-8616
1167   HODGE ELECTRIC MOTOR SVCE        524 TREMONT AVE                                GREENSBURG         PA   15601        (724) 834-8420   (724) 837-8616
1168   HOLLAND ELECTRIC MTR & SUP       DBA WALLIES ENTERPRISES                        HOLLAND            MI   49424        (616) 392-1115   (616) 392-7270
1169   HOLLAND MEDICAL EQUIPMENT, INC   947 WOODLAND STREET                            NASHVILLE          TN   37206        (615) 650-8000   (615) 345-9010
1170   HOLLOWAY ELECTRIC                426 MAIN                                       ROCHESTER          IN   46975        (574) 223-6825   (574) 226-2521
1171   HOLMES PARTY & TOOL RENTAL       643 BLOOMFIELD AVENUE                          VERONA             NJ   7044         (201) 239-1722   (201) 239-3270
1172   HOLT MACHINERY OF NEW YORK       319 W SUNRISE HWY                              FREEPORT           NY   11520        (516) 378-2300   (516) 867-3938
1173   HOLY CROSS HOSPITAL              PO BOX DD                                      TAOS               NM   87571        (505) 751-5722   (505) 751-5707
1174   HOLY CROSS MEDICAL GROUP         4725 N FEDERAL HIGHWAY                         FORT LAUDERDALE    FL   33308        (954) 776-3245   (954) 938-1247
1175   HOLY FAMILY CONVENT              ONE MONTOUR STREET                             DANVILLE           PA   17821        (717) 275-3141   (717) 275-3141
1176   HOME HEALTH SERVICES, INC        4506 L.B. MCLEOD ROAD - STE F                  ORLANDO            FL   32811        (800) 542-5511   (515) 456-4718
1177   HOME INFUSION ASSOCIATES         4473 PAHEE STREET SUITE 1                      LIHUE              HI   96766        (808) 245-3787   (808) 245-1700
1178   HOME MEDIX, INC                  3811 ATLANTIC AVE                              LONG BEACH         CA   90807        (800) 403-1010   (562) 595-9810
1179   HOMECARE MEDICAL                 11300 N. CENTRAL EXPWY #100                    DALLAS             TX   75243        (214) 696-2525   (214) 369-4259
1180   HOMECARE OF MICHIGAN             1633 FAIRLANE CIRCLESUITE 200                  ALLEN PARK         MI   48101        (313) 271-8120   (313) 271-0276
1181   HOOVER ELECTRIC                  12701 TOWNSHIP ROAD 205                        KENTON             OH   43326        (330) 482-3906   (330) 482-3906
1182   HOPE MEDICAL                     1116 E. HOUSTON                                SAN ANTONIO        TX   78205        (210) 226-1486   (210) 299-1670
1183   HOSPITAL DRUG STORE              200 LOYOLA AVE.                                NEW ORLEANS        LA   70112        (504) 524-2254   (504) 528-9310
1184   HOSPITAL SHARED SERVICES         1395 PLATTE RIVER DR.                          DENVER             CO   80223        (303) 871-7109   (303) 733-0253
1185   HOUMA ARMATURE WORKS             P O BOX 841602                                 PEARLAND           TX   77584        (713) 748-0702   (713) 749-9620
1186   HOUSE EAR INSTITUTE              2100 WEST THIRD STREET                         LOS ANGELES        CA   90057        (213) 353-7079   (213) 483-8789
1187   HOWELLS FAB INC                  P O BOX 267                                    HOWELLS            NE   68641        (402) 986-1085   (402) 986-1086
1188   HOW-GAN ELECTRIC                 1300 EAST ANSON                                MARSHALLTOWN       IA   50158        (641) 752-7592   (641) 752-8469
1189   HOWLAND ELECTRIC / HEWCO         P O BOX 4338                                   EL MONTE           CA   91734        (626) 444-0503   (626) 444-1738
1190   HPM BUILDING SUPPLY              16-166 MELEKAHIWA STREET                       KEAAU              HI   96749        (808) 935-0875   (808) 934-4219
1191   HPM BUILDING SUPPLY HILO BRNCH   380 KANOELEHUA AVENUE                          HILO               HI   96720        (808) 935-0875   (808) 934-4219
1192   HRUBY MECHANICAL, INC            8915 RIVERWOOD LANE                            GAINESVILLE        GA   30506        (770) 539-3244   (678) 455-8058
1193   HUB CONSTRUCTION SPECIALTIES*    379 S. I. St.                                  SAN BERNARDINO     CA   92410        800-229-2482     (909) 889-6511
1194   HUBBARD MACHINE                  3494 CITRUS STREET                             LEMON GROVE        CA   91945        (619) 697-0998   (619) 697-1005
1195   HUDSON HOME HEALTH CARE          72 PANE ROAD                                   NEWINGTON          CT   6111         (800) 321-4442   (860) 666-2714
1196   Hudson Tool & Die Co. dba        Hudson Tecnologies                             Ormond Beach       FL   32174        386-672-2000     386-672-0388
1197   HUESTIS MEDICAL                  597 WINTHROP STREET                            TAUNTON            MA   2780         (508) 824-8628   (508) 824-8629
1198   HUFFS WHOLESALE DIST INC         HWY 6 PO BOX 139                               KNOX CITY          MO   63446        (816) 434-5535   (816) 434-5210
1199   HUNTERDON MILL & MACHINE SPLY    289 ROUTE 22 EAST                              LEBANON            NJ   8833         (201) 534-2221   (201) 534-9494
1200   HUNTINGTON HOSPITAL              270 PARK AVE                                   HUNTINGTON         NY   1174         (516) 351-2493   (516) 351-2360
1201   HUNTINGTON MEMORIAL HOSP         P.O. BOX 7013                                  PASADENA           CA   91109-7013   (626) 397-5000   (626) 397-3855
1202   HUTCHINSON CLINIC                2101 N. WALDRON                                HUTCHINSON         KS   67502        (800) 779-6979   (316) 669-2528
1203   HYDRAFLOW EQUIPMENT CO           8125 BRENTWOOD INDUSTRIAL DR                   SAINT LOUIS        MO   63144        (800) 444-0423   (314) 644-6652
1204   HYDRANAUTICS                     401 JONES RD                                   OCEANSIDE          CA   92054        (619) 901-2500   (619) 901-2578




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       Name                             Includes Plaintiff's suggested addresses                                            phone            Fax
1205   HYDRAULIC SERVICE COMPANY INC    3215 VICTORY BLVD                              PORTSMOUTH         VA   23702        (757) 487-2513   (757) 487-4381
1206   HY-KO PRODUCTS CO                60 MEADOW LANE                                 Northfield         OH   44067-1415   (800) 292-0550   (330) 467-7442
1207   HYPERGRAVITY FIT "N" FLEX        6845 LANKERSHIM BLVD                           NORTH HOLLYWOOD    CA   91605        (818) 670-8122   (818) 205-1248
1208   HYRE ELECTRIC CO/JWP HYRE        2655 GARFIELD ST                               HIGHLAND           IN   46322        (219) 923-6100   (219) 838-3631
1209   I MAX ELECTRIC                   16805 BROADWAY                                 LOWELL             IN   46356        (219) 696-3725   (219) 696-3725
1210   I.T. TOOLING                     3440 9TH STREET                                OWATONNA           MN   55060        (507) 455-2144   (507) 455-3193
1211   IDAHO LUMBER                     921 AIRPORT WAY                                HAILEY             ID   83333        (208) 788-3333   (208) 788-3337
1212   IDAHO TOOL & EQUIPMENT           452 CALDWELL BLVD                              NAMPA              ID   83651        (208) 465-7533   (208) 788-3337
1213   IDEAL AEROSMITH, INC             1510 GATEWAY DRIVE NE                          EAST GRAND FORKS   MN   56721-2611   (218) 773-2455   (218) 773-7665
1214   IDEAL INDUSTRIAL HARDWARE INC/   760 W BROADWAY                                 IDAHO FALLS        ID   83405-1595   (208) 522-7082   (208) 529-5456
1215   IDEAL TOOL & EQUIP SVCE          456 N 8TH STREET                               PHILADELPHIA       PA   19123        (215) 925-0672   (215) 440-9786
1216   III PHASE INC/THREE PHASE INC    P O BOX 886                                    PINSON             AL   35126-0886   (205) 680-3155   (205) 681-3155
1217   IKOR COMPANY INC                 P O BOX 1580                                   BELTSVILLE         MD   20704        (301) 210-3000   (301) 210-4567
1218   IMA TOOL DISTRIBUTOR *           211 E OAKLAND PARK BLVD                        FORT LAUDERDALE    FL   33334        (954) 566-2117   (954) 568-5332
1219   IMAGING DIAGNOSTICS, INC.        176B MOLLY WALTON DRIVE                        HENDERSONVILLE     TN   37075        (615) 822-8884   (615) 822-1604
1220   IMPERIAL ELECTRIC                1503 EXETER ROAD                               AKRON              OH   44306        (330) 734-3600   (330) 734-3601
1221   IMPERIAL IRRIGATION DISTRICT     235 EAST BARIONI BLVD                          IMPERIAL           CA   92251-0937   (760) 339-9470   (760) 339-9017
1222   IMS Internationa Medication Sy   1886 Santa Anita Avenue                        South El Monte     CA   91733        (877) 651-2674   (626) 443-2481
1223   IN HOME PRODUCTS                 12015 SHILOH ROAD, SUITE 158B                  DALLAS             TX   75228        (214) 319-7772   (214) 319-9411
1224   INDEPENDENT MEDICAL SERVICE      PO BOX 1677                                    CULLMAN            AL   35056        (800) 739-9171   (256) 739-9356
1225   INDUSPAC CALIFORNIA, INC         1550 CHAMPAGNE AVENUE                          Ontario            CA   91761        (909) 390-4422   (909) 390-9859
1226   INDUSTRIAL APPARATUS SERVICE     1320 EAST FLORIDA                              BEAUMONT           TX   77705        (409) 833-9477   (409) 838-4033
1227   INDUSTRIAL CUTTERS CO/ INCUTCO   501 SUMNER STREET UNIT 101                     Honolulu           HI   96817-5331   (808) 538-3545   (808) 524-1290
1228   INDUSTRIAL DISTRIBUTION GROUP*   ACCOUNTS PAYABLE                               MARIETTA           GA   30068-0040   (714) 994-6960   (714) 521-0208
1229   INDUSTRIAL ELEC MTRS             1420 N 7TH ST                                  BEATRICE           NE   68310        (402) 228-3363   (402) 228-1544
1230   INDUSTRIAL ELECTRIC MOTOR        5209 INDUSTRIAL WAY                            ANDERSON           CA   96007        (530) 365-3381   (530) 365-5037
1231   INDUSTRIAL ELECTRIC MOTORS       9770 SO. 142ND STREET                          OMAHA              NE   68138        (402) 342-1191   (402) 342-7950
1232   INDUSTRIAL ELECTRIC REP          P O BOX 21897                                  WACO               TX   76702        (254) 772-1899   (254) 772-9461
1233   INDUSTRIAL ELECTRIC SUPPLY       dba ELECTRIC MOTORS & CONTROL                  CALEXICO           CA   92231        (760) 357-6747   (760) 357-6967
1234   INDUSTRIAL ELECTRIC SV           405 EAST I HWY-10                              SEGUIN             TX   78155        (830) 372-5215   (830) 379-5461
1235   INDUSTRIAL ELECTRICAL (FRESNO    1417 COLDWELL AVE                              Modesto            CA   95350        (559) 292-4714   (559) 292-5939
1236   INDUSTRIAL ELECTRONIC REPAIR     3006 LAWRENCE EXPRESSWAY                       SANTA CLARA        CA   95051        (408) 245-4343   (408) 245-0117
1237   INDUSTRIAL ENGINE REBUILDERS     923 RANDOLPH AVENUE SECTION II                 SAINT PAUL         MN   55102        (651) 292-1556   (651) 298-8958
1238   INDUSTRIAL EQUIPMENT REPAIR      310 KRESGE LN                                  SPARKS             NV   89431        (775) 331-1032   (775) 331-6109
1239   INDUSTRIAL MACHINE & FAB., iNC   P O BOX 181242                                 MEMPHIS            TN   38181-1242   (901) 365-1400   (901) 368-1203
1240   INDUSTRIAL MOTOR & ELECTRICAL    60282 COUNTY ROAD 21                           GOSHEN             IN   46528        (574) 534-8282   (571) 564-8282
1241   INDUSTRIAL MOTOR REWINDING CO    107 31ST STREET PLACE S E                      HICKORY            NC   28602        (828) 324-9932   (828) 324-6689
1242   INDUSTRIAL MOTOR SERVICES        1038 MATZINGER ROAD                            Toledo             OH   43612        (419) 727-9145   (419) 727-9179
1243   INDUSTRIAL PULLEY PULLER/        MARION MIXERS                                  MARION             IA   52302        (319) 377-6371   (319) 344-1204
1244   INDUSTRIAL REPAIR SERVICE        1113 CAMINA ENTRADA                            FARMINGTON         NM   87401        (505) 327-6363   (505) 325-7515
1245   INDUSTRIAL SUPPLY OF OWASSO      325 S DELANEY ROAD                             OWASSO             MI   48867-0286   (517) 725-7185   (517) 725-8665
1246   INDUSTRIAL TEST, INC             3223 LUYUNG DRIVE                              RANCHO CORDOVA     CA   95742        (916) 859-5959   (916) 859-5950
1247   INDUSTRIAL TOOL DIE & ENGINEER   4765 S. OVERLAND DRIVE                         TUCSON             AZ   85714        (520) 745-8771   (520) 571-0894
1248   INDUSTRIAL TOOLS SALES & SERV    1040 3RD AVENUE                                JASPER             IN   47546        (812) 482-7895   (812) 482-4236
1249   INFINEON TECHNOLOGIES AMERICAS   101 N SEPULVEDA BLVD                           EL SEGUNDO         CA   90245        (310) 726-8000   (310) 322-3332
1250   INLAND JANITOR SUPPLY            516 E SIXTH STREET                             CORONA             CA   92879        (951) 734-5240   (951) 734-1929
1251   INLAND SURGICAL SUPPLY CO.       436 N. CENTRAL AVE.                            UPLAND             CA   91786        (909) 946-4449   (909) 946-5951
1252   INLAND TOOL SOLUTIONS            534 S WELLINGTON ROAD                          ORANGE             CA   92869        (714) 771-7184   (909) 354-3444
1253   INLAND VALLEY MEDICAL CENTER     36485 INLAND VALLEY DR.                        WILDOMAR           CA   92595        (909) 696-2615   (909) 677-9711
1254   INNOVATIVE TOOLING SERVICES      2506 W. MARSHALL                               GRAND PRAIRIE      TX   75051        (972) 647-0800   (972) 660-5491
1255   INTEGRATED MEDICAL SYSTEMS       1823 27TH AVE SOUTH                            BIRMINGHAM         AL   35209        (800) 783-9251   (205) 879-3842
1256   INTEGRATED POWER SERVICES        Power Services Holding Company                 0                  CO   0            (303) 935-4615   (303) 935-0129
1257   INTEGRATED POWER SERVICES (WY)   Attn: Accounts Payable                         Denver             CO   80223        (303) 935-4615   (303) 935-0129
1258   INTEGRITY AIR SERVICES, INC      63 TOM HARVEY ROAD                             Westerly           RI   2891         (401) 348-0018   (401) 348-7077
1259   INTEGRITY DME REPAIR CNTR        1212 SOUTH FIFTH AVE - STE A                   MONROVIA           CA   91016        (626) 447-3071   (626) 447-1749
1260   INTELLAMED, INC.                 5151 MITCHELLDALE B1                           HOUSTON            TX   77092        (877) 682-8400   (979) 260-1895
1261   INTER BIO LAB INC.               4203 S.W. 34TH STREET                          ORLANDO            FL   32811        (407) 648-5010   (407) 426-7114
1262   INTER ISLAND SOLAR SUPPLY        761 AHUA ST                                    HONOLULU           HI   96819        (808) 523-0711   (808) 536-5586
1263   INTERCOMMUNITY DIALYSIS SVCS     12291 WASHINGTON BLVD STE. 410                 WHITTIER           CA   90606        (562) 696-1841   (562) 696-9953
1264   INTERLIFT INC DIV OF CMS INC     8433 S CHETLE AVE                              SANTA FE SPRNGS    CA   90670        (562) 945-7043   (562) 945-7063
1265   INTERLINK ASSOCIATES INC         11930 HERITAGE OAK PLACE STE 4                 AUBURN             CA   95603        (530) 889-8833   (530) 889-8824
1266   INTERMOUNTAIN BIOMEDICAL         537 WEST 9460 SOUTH                            SANDY              UT   84070        (800) 237-9943   (801) 565-8191
1267   INTERNATIONAL ENZYMES, INC.      1432-B SOUTH MISSION ROAD                      FALLBROOK          CA   92028        (760) 728-5205   (760) 728-2902
1268   INTERNATIONAL MEDICATION SYS     PHARMACEUTICAL MFG                             Rancho Cucamonga   CA   91730        (877) 651-2674   (626) 443-2481
1269   INTERNATIONAL MI/SS              509 W. BATEMAN CIRCLE                          CORONA             CA   91720        (909) 272-8494   (909) 272-8495
1270   INTERNATIONAL TOOL SALES & SV    2109 CATALINA                                  PASADENA           TX   77503        (713) 930-1977   (713) 930-8077
1271   INTERNATIONAL WINDING            729 N HARVARD AVE                              VILLA PARK         IL   60181        (630) 832-8240   (630) 532-8264
1272   INTERSTATE ELECTRIC MOTOR *      9770 SO 142nd STREET                           OMAHA              NE   68138        (800) 319-6005   (402) 331-0704
1273   IOWA FALLS MACHINE WORKS, INC    516 E ROCKSYLVANIA                             IOWA FALLS         IA   50126        (515) 648-3021   (515) 648-2611
1274   IRA M. BAUM, DPM                 8940 N. KENDALL DR. SUIT 801-E                 MIAMI              FL   33176        (305) 598-9454   (305) 598-2884
1275   IRN                              14144 FIRESTONE BLVD                           Santa Fe Springs   CA   90670        (800) 910-4476   (562) 799-9668
1276   IRVINE REGIONAL HOSPITAL         16200 SAND CANYON AVE.                         IRVINE             CA   92618        (949) 753-2384   (949) 753-2498
1277   ISC SERVICE, LLC                 P O BOX 77858                                  Baton Rouge        LA   70879        (225) 756-8001   (225) 753-0768
1278   ISLAND CHAIN RENTALS             P O BOX 183                                    EASTSOUND          WA   98245        (360) 376-2586   (360) 376-2586
1279   ISLAND COMPONENTS GROUP          101-4 COLIN DRIVE                              Holbrook           NY   11741-4332   (631) 563-4224   (631) 563-4363
1280   ISLAND HEALTH CARE SVC           PO BOX 548                                     LEVITTOWN          NY   11756        (516) 731-0400   (516) 731-0986
1281   ISOM MITCHELL CO INC             362 MONTELLO STREET                            BROCKTON           MA   2301         (508) 586-1271   (508) 559-0578
1282   J & B EQUIPMENT REPAIR           3818 E LASALLE #1                              PHOENIX            AZ   85040        (602) 437-2950   (602) 470-1892
1283   J & B MEDICAL EQUIP.SVCS, INC    4645 N. ELSTON AVE                             CHICAGO            IL   60630        (773) 685-0144   (773) 685-0959
1284   J & J RENT-ALL AND REPAIR        524 E HWY 20                                   VALENTINE          NE   69201        (402) 376-2942   (402) 376-2942
1285   J & J SALES & SERVICE            817 LAFAYETTE ROAD                             MEDINA             OH   44256        (330) 764-9211   (330) 764-3295
1286   J & L RENTAL CENTER              3408 N GARFIELD AVE                            LOVELAND           CO   80538        (303) 667-3966   (303) 663-2932
1287   J & R HYDRAULIC                  3616 S ARCHER AVENUE                           CHICAGO            IL   60609        (773) 247-6107   (773) 247-8681
1288   J & S TOOL REPAIR                1309 HODGES ST                                 RALEIGH            NC   27604        (919) 856-0050   (919) 856-0051
1289   J & SONS ELECTRIC                5124 HEINTZ ST. SUITE 2                        BALDWIN PARK       CA   91706        (626) 813-2091   (626) 813-6846
1290   J A FREEMAN & SON, INC           2034 N W 27TH AVENUE                           PORTLAND           OR   97210        (503) 222-1971   (503) 228-9668




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       Name                            Includes Plaintiff's suggested addresses                                             phone            Fax
1291   J A PLACEK CONSTRUCTION CO      12771 E. IMPERIAL HWY                          Santa Fe Springs    CA   90670        (562) 944-7985   (562) 941-4231
1292   J D ELECTRIC & IND SPLY         1545 TIDELANDS AVE SUITE C                     NATIONAL CITY       CA   91950        (619) 474-7853   (619) 474-2346
1293   J D MACHINE CO INC              106 E GIBSON ST                                HAUBSTADT           IN   47639        (812) 768-6236   (812) 768-5206
1294   J J MC GLOTHLIN                 4521 BRYAN                                     DALLAS              TX   75204        (214) 821-2062   (214) 821-2616
1295   J M MCKINNEY CO                 12710 YUKON AVE                                HAWTHORNE           CA   90250        (310) 978-9650   (310) 978-2795
1296   J R TOOLS & EQUIPMENT           7610 WOODMAN AVENUE                            Panorama City       CA   91402        (818) 780-3025   (818) 780-7770
1297   J S CHRISTIANSON INC            2170 SMITHTOWN AVE                             RONKONKOMA          NY   11779        (631) 981-7844   (631) 981-9203
1298   J T REPAIR, INC.                P O BOX 991                                    PEARLAND            TX   77588-0991   (281) 489-3180   (281) 489-3849
1299   J T THORPE & SON, INC           1060 HENSLEY STREET                            RICHMOND            CA   94801        (510) 233-2500   (510) 236-9675
1300   J V MACHINERY & TOOLS           1160-AIRWAY SUITE DA 2                         EL PASO             TX   79925        (915) 778-4659   (915) 778-3247
1301   J W HOIST & CRANE, INC          3701 E ANAHEIM STREET                          LONG BEACH          CA   90804        (562) 498-6738   (562) 498-6531
1302   JACKS AND ACCESSORIES, INC      15080 SILICON AVE                              Montclair           CA   91763        (909) 447-4500   (909) 447-5504
1303   JACKSON MEDICAL EQUIP, INC.     982 THOMAS AVE                                 ST.PAUL             MN   55104        (651) 645-6221   (651) 645-9083
1304   JACKSONS HARDWARE *             435 DU BOIS                                    SAN RAFAEL          CA   94912        (415) 454-3740   (415) 453-9295
1305   JAMES BUILDERS HARDWARE, INC    710 S BEACH BLVD                               LA HABRA            CA   90631        (714) 526-3338   (714) 691-1711
1306   JAMES E FITCH & ASSOC.          28715 PORTSMOUTH DR                            SUN CITY            CA   92586-2626   (888) 646-8062   (866) 665-0407
1307   JANDA MOTOR SERVICES            P O BOX 10045                                  CEDAR RAPIDS        IA   52410-0045   (319) 393-1230   (319) 393-6911
1308   JARROW INDUSTRIES               12246 HAWKINS ST                               Santa Fe Springs    CA   90670        (562) 906-1919   (562) 906-1979
1309   JAY ALEXANDER ELECTRIC          25336 HUNTER ROAD                              VENETA              OR   97487        (541) 935-3095   (541) 935-3095
1310   JAY ELECTRIC CO INC             600 6TH AVENUE                                 DOCENA              AL   35060        (205) 791-1360   (205) 791-2908
1311   JAY ELECTRIC CO, INC****        P O BOX 2384                                   TUSCALOOSA          AL   35403        (205) 349-3170   (205) 349-5307
1312   JAYS FIX IT                     351 W. 740 SOUTH                               BOUNITFUL           UT   84010        (801) 365-5000   (801) 365-5100
1313   JEMCO/MAXAIR SERVICE CTRS ***   1805 EAST MAIN AVENUE                          WEST FARGO          ND   58078        (701) 282-2842   (701) 282-2842
1314   JEPSON POWER TOOLS              20333 S WESTERN AVE.                           TORRANCE            CA   90501        (310) 320-3890   (310) 320-1318
1315   JERRY'S DRUG & SURGICAL SPLY.   445 BROADWAY                                   BAYONNE             NJ   7002         (201) 339-1992   (201) 585-1714
1316   JERSEY CITY MEDICAL CENTER.     391 GRAND ST                                   JERSEY CITY         NJ   7304         (201) 915-2015   (201) 915-2056
1317   JESCO / GENEX *                 P O BOX 230                                     SIOUX CENTER       IA   51250        (712) 722-3737   (712) 722-3700
1318   JESCO INC                       637 CARNATION STREET                           TUPELO              MS   38801-4796   (601) 842-5582   (601) 680-8185
1319   JET FITTING & SUPPLY            810 S GRAND AVE                                SANTA ANA           CA   92705        (714) 558-9381   (714) 541-4491
1320   JFK MEDICAL CENTER              P.O. BOX 4229                                  METUCHEN            NJ   8840         (732) 321-7523   (732) 744-5513
1321   JIFFY RENTAL CENTER             1406 WEST MAIN                                 RIVERTON            WY   82501        (307) 856-7368   (307) 856-8500
1322   JIM KLIPPEL TOOL REPAIR         725 EAST HALEY STREET                          SANTA BARBARA       CA   93101        (805) 963-0020   (805) 966-5544
1323   JIM REYNOLDS                    2724 E. GROVE AVE.                             ORANGE              CA   92867        (714) 998-0466   (714) 997-9440
1324   JIMS ELECTRIC MOTOR CO., INC    8811 TELEGRAPH ROAD                            LORTON              VA   22079        (703) 550-8624   (703) 550-8630
1325   JIMS ELECTRIC SERVICE           515 S. MOORE LANE                              BILLINGS            MT   59101        (800) 608-5683   (406) 252-0558
1326   JIMS INDUSTRIAL MOTOR SV        1116 MALVERN AVE, STE A                        HOT SPRINGS         AR   71901        (501) 623-4862   (501) 624-7324
1327   JIMS TOOL SERVICE INC           2215 ENGINEERS ROAD SUITE A                    BELLE CHASE         LA   70037        (504) 394-7590   (504) 394-7590
1328   JOHN DAVIS COMPANY              1450 EXPO PARKWAY                              SACRAMENTO          CA   95815-4230   (800) 339-3287   (916) 614-9043
1329   JOHN F. KRAMER                  1321 SAND CASTLE RD.                           SANIBEL ISLAND      FL   33957        (941) 395-0868   (941) 395-0838
1330   JOHN GRINNON CO INC             761 AHUA ST                                    HONOLULU            HI   96819        (808) 523-0711   (808) 536-5586
1331   JOHN MARTIN                     3924 HUNTING CREEK CHURCH RD                   HAMPTONVILLE        NC   27020        (336) 468-4434   (336) 468-8868
1332   JOHN'S AUTO ELECTRIC            600 1ST                                        EUREKA              CA   95501        (707) 442-3626   (707) 442-9325
1333   JOHNS AUTOMOTIVE ELECTRICAL     51 BRESCIANI LANE                              QUINCY              CA   95971        (530) 283-5555   (530) 283-5596
1334   JOHN'S INCREDIBLE PIZZA CO      22342 AVENIDA EMPRESA,                         R SANTA MARGARITA   CA   92688        (949) 916-2000   (949) 916-2600
1335   JOHNS SAW SVCE                  3277 LAKE WORTH RD, SUITE A                    LAKE WORTH          FL   33461        (561) 965-0477   (561) 965-9054
1336   JOHNSON CITY MEDICAL CTR        400 N.STATE OF FRANKLIN RD                     JOHNSON CITY        TN   37604        (423) 431-6752   (423) 431-6123
1337   JOHNSON ELECTRIC INC            2212 TENTH ST                                  GREAT BEND          KS   67530-0066   (620) 792-3597   (620) 792-4726
1338   JOHNSON ELECTRIC MOTOR          2925 S COMMERCE WAY                            OGDEN               UT   84401        (801) 621-3853   (801) 621-3858
1339   JOHNSON ENGINEERING             2250 HOLDEN AVENUE UNIT A                      OCEANO              CA   93445        (805) 489-0832   (805) 473-4419
1340   JOHNSTON ORTHOPEDIC & MED       2801 SHATTUCK AVE.                             BERKELY             CA   94705        (510) 843-2488   (510) 841-7573
1341   JOHNSTONE SUPPLY                1840 INDUSTRIAL BLVD.                          MUSKEGON            MI   49442        (231) 777-2727   (231) 777-1730
1342   JOLIET EQUIPMENT CORP           P O BOX 114                                    Joliet              IL   60434        (815) 727-6606   (815) 727-6644
1343   JON DONAIRE DESSERTS            6297 BALL ROAD                                 CYPRESS             CA   90630        (714) 527-5903   (714) 527-6288
1344   JONES ELECTRIC CO               1965 SANFORD                                   MUSKEGON            MI   49441        (231) 726-5001   (231) 722-4761
1345   JONES TOOL SERVICE              1314 MADISON                                   MEMPHIS             TN   38104        (901) 726-0191   (901) 725-5545
1346   JONS RENTAL                     11106 BEACH ROAD                               LEANDER             TX   78641        (512) 331-1212   (512) 331-6682
1347   JONS RENTAL                     13280 POND SPRINGS RD                          AUSTIN              TX   78729        (512) 331-1212   (512) 331-6822
1348   JORDAN VALLEY HOSPITAL          P.O. BOX 458                                   WEST JORDAN         UT   84088        (801) 561-8888   (801) 569-8723
1349   JPS HEALTH NETWORK              1500 SOUTH MAIN STREET                         FORT WORTH          TX   76104        (817) 927-1264   (817) 926-1935
1350   JR INDUSTRIES                   2117 S. Hathaway St.                           Santa Ana           CA   92705        714-557-9598     714-557-9599
1351   K & N ELECTRIC MOTORS INC *     P O BOX 303                                    SPOKANE             WA   99210        (509) 535-8751   (509) 534-2936
1352   K & S SERVICES                  15677 NOECKER WAY                              SOUTHGATE           MI   48195        (734) 374-0400   (734) 374-5620
1353   K J ELECTRIC *                  5894 E. MALLOY ROAD                            Syracuse            NY   13211        (315) 454-5595   (315) 454-5564
1354   K P McNAMARA OF CA, INC         10672 "A" CALABASH AVE                         FONTANA             CA   92337        (909) 350-1488   (909) 574-0566
1355   K. TORO GARRATON, INC.          P.O. BOX 8629                                  SANTURCE            PR   910          (787) 760-7610   (787) 760-1590
1356   K-119 OF CALIFORNIA INC         925 SAN MATEO AVE                              SAN BRUNO           CA   94066        (650) 588-0160   (650) 588-8842
1357   KAISER FOUNDATION HOSPITAL                                                   0 FONTANA             CA   92335        (909) 427-7788   (909) 427-5181
1358   KAISER PERMANENTE                                                            0 LOS ANGELES         CA   90034        (323) 857-2221   (323) 857-2270
1359   KAISER PERMANENTE               P O BOX 12929                                  OAKLAND             CA   0            (510) 559-5367   (510) 559-5454
1360   KAISER PERMANENTE                                                            0 BERKELEY            CA   94710        510/559-5367     510/559-5085
1361   KAISER WAILUKU CLINIC                                                        0 WAILUKU             HI   96793        (808) 242-2676   (808) 242-2292
1362   KALMAN ELECTRIC MOTORS INC      471 PAGE STREET                                STOUGHTON           MA   2072         (781) 341-4900   (781) 344-1099
1363   KAMAN IND TECHNOLOGIES CORP*    P O BOX 2536                                   Fort Wayne          IN   46801-2536   (626) 961-4444   (626) 333-2904
1364   KANE COMMUNITY HOSPITAL         NORTH FRALEY STREET                            KANE                PA   16735        (814) 837-4518   (814) 837-4348
1365   KANSAS RENTAL INC *             5966 W 29TH                                    TOPEKA              KS   66614        (913) 272-1232   (913) 273-4869
1366   KAY DEE AIR & ELEC TOOL REP     5466 LAKE COURT                                CLEVELAND           OH   44114        (216) 881-2565   (216) 881-2566
1367   KAY ELECTRIC                    1101 W. Broadway St.                           Altus               OK   73522        580-482-1757     580-477-0088
1368   KEEP ' EM ROLLIN                10 HORSESHOE DR                                POUGHKEEPSIE        NY   12603        (914) 471-1074   (914) 471-6644
1369   KEITH BLACK RACING ENGINES      11120 SCOTT AVE                                SOUTH GATE          CA   90280        (562) 869-1518   (562) 869-2544
1370   KELGO INTERNATIONAL INC         5121 BUFORD HWY                                NORCROSS            GA   30071        (404) 447-9450   (404) 447-1373
1371   KELLER ELECTRICAL INDUSTRIES    1881 E. UNIVERSITY DRIVE                       PHOENIX             AZ   85034        (602) 437-3015   (602) 437-8163
1372   KEMPS PHARMACY & HOMECARE       107 S. DUVAL STREET / HWY 301S                 CLAXTON             GA   30417        (912) 739-3235   (912) 739-1125
1373   KENNEDY EQUIPMENT CO INC        748 N LEMON ST                                 ORANGE              CA   92867        (714) 771-7324   (714) 771-2363
1374   KENNEDY KRIEGER INSTITUTE       attn: ACCOUNTS PAYABLE                         BALTIMORE           MD   21205        (443) 923-2782   (443) 923-2781
1375   KENNETHS MOTOR REWIND SHOP      500 ALAKAWA ST #210                            HONOLULU            HI   96817        (808) 845-3519   (808) 847-1290
1376   KENNEWICK GENERAL HOSP          900 S. AUBURN                                  KENNEWICK           WA   99336        (509) 586-5879   (509) 586-5893




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       Name                             Includes Plaintiff's suggested addresses                                            phone            Fax
1377   KENNY INDUSTRIAL SALES           1020 NORTHGATE ST., UNIT A                     RIVERSIDE          CA   92507        (951) 682-7105   (951) 928-7110
1378   KENS TOOL & SUPPLY               1751 MARLBOROUGH AVE                           RIVERSIDE          CA   92507-2055   (951) 686-2542   (951) 686-8517
1379   KENT INDUSTRIAL USA INC          1231 EDINGER AVENUE                            TUSTIN             CA   92680        (714) 258-8526   (714) 258-8530
1380   KEPNER PRODUCTS COMPANY          995 N. ELLSWORTH AVENUE                        VILLA PARK         IL   60181        (630) 279-1550   (630) 279-9669
1381   KERN ENGINEERING & MFG. CORP     13912 MOUNTAIN AVENUE                          CHINO              CA   91710-9018   (909) 664-2440   (909) 664-2474
1382   KERN SURGICAL SUPPLY             2823 GIBSON STREET                             BAKERSFIELD        CA   93308        (800) 582-3939   (800) 582-4415
1383   KERR HARDWARE, INC               dba KERRS ACE HARDWARE                         BROOKINGS          OR   97415        (541) 569-3139   (541) 569-1853
1384   KETT TOOL / Endurrance Tool      5055 MADISON ROAD                              CINCINNATI         OH   45227        (513) 271-0333   (513) 271-5318
1385   KEYSTONE ELECTRIC                2807 ANNAPOLIS ROAD                            BALTIMORE          MD   21230-3594   (410) 539-1730   (410) 685-9022
1386   KIDNEY CENTER, INC.              20946 DEVONSHIRE BLVD.                         CHATSWORTH         CA   91311        (818) 341-0488   (818) 341-3315
1387   KIEWIT INFRASTRUCTURE WEST CO    P O BOX 452500                                 OMAHA              NE   68145-2500   (402) 938-4300   (402) 271-2918
1388   KIMBALL HEALTHCALL INC.          3401 W. FULLERTON                              CHICAGO            IL   60647        (773) 235-6311   (773) 235-6351
1389   KIMBALL MEDICAL CENTER           600 RIVER AVE                                  LAKEWOOD           NJ   8701         (732) 363-1900   (732) 886-4544
1390   KIMMERLE BROS INC *              12060 FLORENCE AVE                             SANTA FE SPRING    CA   90670        (562) 946-6771   (562) 944-3473
1391   KINETIC BIOMEDICAL SERVICES      4509 WEST RIDGE RD.                            ERIE               PA   16506        (814) 836-9800   (814) 836-5916
1392   KING EQUIPMENT                   1690 ASHLEY WAY                                COLTON             CA   92324        (909) 986-5300   (909) 986-5331
1393   KING PRECISION MACHINE, INC      1369 N. 47TH AVE                               SWEET HOME         OR   97386        (541) 367-8085   (541) 367-1855
1394   KINGSBROK JEWISH MEDICAL CENTE   585 SCHENECTADY AVE.                           BROOKLYN           NY   11203        (718) 604-5573   (718) 604-5635
1395   KINGSPORT ARMATURE & ELEC        323 E MARKET STREET                            KINSPORT           TN   37660        (423) 247-7189   (423) 247-6394
1396   KITZ & PFEIL INC                 427 N. MAIN STREET                             OSHKOSH            WI   54901        (920) 236-3340   (920) 236-3348
1397   KLAU-MED, INC.                   8160 S.W. NIMBUS AVE                           BEAVERTON          OR   97008        (503) 644-6747   (503) 644-8077
1398   KLAVINE MOTOR CO                 119 S CENTER ST                                GENESEO            IL   61254-1337   (309) 944-3319   (309) 944-5396
1399   KNAPP ELECTRIC                   1900 E 4TH ST                                  NORTH PLATTE       NE   69101        (308) 532-4840   (308) 532-6084
1400   KNIGHT & CARVER YACHTCENTER      1313 BAY MARINA DRIVE                          NATIONAL CITY      CA   91950        (619) 336-4141   (619) 336-4050
1401   KNOTEK SALES & SERVICE'          1661 ROGERS AVENUE                             SAN JOSE           CA   95112        (831) 539-1514   (408) 453-2934
1402   KNUEPPEL HEALTHCARE SERVICES     8405 W. LISBON AVENUE                          MILWAUKEE          WI   53222-3789   (414) 462-0550   (414) 462-2354
1403   KODIAK SERVICE CO., INC          1819 MILL BAY ROAD                             KODIAK             AK   99615        (907) 486-6556   (907) 486-6022
1404   KOMATSU/KEC RENTS                2465 W. CALIFORNIA AVE                         SALT LAKE CITY     UT   84104        (801) 887-7110   (801) 887-7563
1405   KOPF ELECTRIC / UNITED ELEC      48 EMPIRE DR                                   BELLEVILLE         IL   62220        (618) 233-4424   (618) 527-1564
1406   KRIEGER SPECIALTY PRODUCTS       4880 GREGG ROAD                                PICO RIVERA        CA   90660        (562) 695-0645   (562) 692-0146
1407   KRIS-COMPACTION RENTALS          6800 BINGLE ROAD                               HOUSTON            TX   77092        (713) 462-5470   (713) 462-4853
1408   KRYAH ENTERPRISES dba DNR Elec   636 B KEMROW AVE                               Wooster            OH   44691        330-263-1300     330-263-1301
1409   KRYSTAL ENTERPRISES              2701 E IMPERIAL HWY                            BREA               CA   92821        (714) 986-1200   (714) 986-1241
1410   KYOCERA AMERICA, INC             8811 BALBOA AVENUE                             SAN DIEGO          CA   92123-1580   (858) 576-2600   (858) 576-9412
1411   L & M PRECISION RUBBER GRNDG *   725 N BENSON #E                                UPLAND             CA   91786        (909) 985-5505   (909) 946-3623
1412   L & M TOOL AND INDUSTRIAL SUP    26800 FARGO AVENUE, SUITE D                    BEDFORD HEIGHTS    OH   44146-1341   (216) 464-1314   (216) 464-1962
1413   L A BEST SHARPENING              14617 CARMENITA ROAD                           NORWALK            CA   90650        (562) 404-5222   (562) 404-6577
1414   L A SLEEVE CO                    12051 RIVERA ROAD                              SANTA FE SPRINGS   CA   90670        (562) 945-7578   (562) 945-1116
1415   L A UNIFIED SCHOOL DISTRICT *    CENTRAL/ELECTRIC SHOP                          LOS ANGELES        CA   90021        (213) 745-1516   (213) 745-3387
1416   L G ISAACSON CO                  P O BOX 1516                                   LONGVIEW           WA   98632        (360) 425-3620   (360) 425-9265
1417   LA COUNTY SHERRIFS DEPT          1060 N EASTERN                                 LOS ANGELES        CA   90063        (323) 267-3058   (323) 881-4597
1418   LAB EQUIPMENT TECHNOLOGY         12037 NE SUMMER STREET                         PORTLAND           OR   97220        (503) 256-2025   (503) 256-2027
1419   LAB PERFORMANCE SPECIALISTS      PO BOX 3575                                    REDMOND            WA   98073        (425) 882-3670   (425) 869-6940
1420   LABORATORY ALLIANCE OF CNY       PO BOX 399                                     LIVERPOOL          NY   13088        (315) 453-7200   (315) 461-3030
1421   LABORATORY EQUIP SPECIALIST      P.O. BOX 340                                   JERICHO            VT   5465         (802) 899-4910   (802) 899-3585
1422   LAC+USC MEDICAL CENTER           PO BOX 866001                                  LOS ANGELES        CA   90086-6001   (323) 226-3906   (323) 226-7000
1423   LAFAYETTE COUNTY HOSPITAL        PO BOX 70                                      DARLINGTON         WI   53530        (608) 776-4466   (608) 776-4363
1424   LAIRD MEMORIAL HOSPITAL          1612 S. HENDERSON BLVD.                        KILGORE            TX   75662        (903) 984-3505   (903) 983-4388
1425   LAKE CITY COMMUNITY COLLEGE      RT 19 BOX 1030                                 LAKE CITY          FL   32055        (386) 754-4325   (386) 755-0906
1426   LAKE TAYLOR HOSPITAL             1309 KEMPSVILLE RD.                            NORFOLK            VA   23502        (757) 461-5001   (757) 461-4282
1427   LAKEVIEW SUBACUTE CARE CTR       130 TERHUNE DR.                                WAYNE              NJ   7470         (973) 839-4500   (973) 616-3409
1428   LANDER VALLEY MEDICAL CTR        1520 BISHOP RANDALL DR.                        LANDER             WY   82520        (307) 335-6334   (307) 332-3548
1429   LAREDO MEDICAL CENTER            P.O. BOX 2068                                  LAREDO             TX   78044-2068   (956) 796-3665   (956) 796-3666
1430   LARRY FERGUSON                   13109 SILVERBOW AVE                            NORWALK            CA   90650        (714) 331-9471   (562) 406-2653
1431   LATAM MEDICAL                    400 BELLEVILLE AVENUE                          BLOOMFIELD         NJ   7003         (973) 259-1400   (973) 259-1711
1432   LAUREL HEALTHCARE                75 APRILL DRIVE                                ANN ARBOR          MI   48114        (734) 769-7139   (734) 769-6684
1433   LAWRENCE PRESBYTERIAN MANOR      1429 KASOLD DR.                                LAWRENCE           KS   66049        (785) 841-4262   (785) 841-0923
1434   LEE BIOSOLUTIONS, INC.           2924 MARY AVENUE                               SAINT LOUIS        MO   63144        (314) 968-1091   (314) 968-9851
1435   LEE COUNTY COMMUNITY HOSPITAL    P.O. BOX 70                                    PENNINGTON GAP     VA   24277        (540) 546-1440   (540) 546-2775
1436   LEE MEMORIAL HEALTH SYSTEM       P.O. BOX 151247                                CAPE CORAL         FL   33915-1247   (888) 881-2682   (941) 336-6862
1437   LENAWEE HEALTH ALLIANCE          818 Riverside Ave.                             ADRIAN             MI   49221        517/265-0455     517/265-0108
1438   LEONARD J. CHABERT MED CT        1978 INDUSTRIAL BLVD.                          HOUMA              LA   70363        (504) 873-2200   (504) 873-1374
1439   LERMAN & SON ORTHOPEDIC          8710 WILSHIRE BLVD                             BEVERLY HILLS      CA   90211        (310) 659-2290   (310) 659-1601
1440   LEWIS WHEELCHAIR                 3289 INDUSTRY DRIVE                            LONG BEACH         CA   90806        (562) 597-1026   (562) 949-6895
1441   LEXINGTON DIALYSIS CENTER        239 ANNA LEWIS DR.                             LEXINGTON          NC   27292        (336) 248-6808   (336) 248-8160
1442   LIBERTY HEALTH SUPPLIES          150 MAIN STREET                                MONROE             CT   6468         (203) 452-5599   (203) 459-2860
1443   LIFE MEDICAL HOME CARE SVCS.     8051 IMPERIAL HIGHWAY                          DOWNEY             CA   90242        (562) 904-1000   (562) 940-0101
1444   LINCOLN CNTY HOSPITAL DIST.      PO BOX 38                                      CALIENTE           NV   89008        (775) 726-3121   (775) 726-3797
1445   LINCOLN MEDICAL SUPPLY           1226 ATLANTIC AVE.                             ATLANTIC CITY      NJ   8401         (609) 348-3111   (609) 344-6374
1446   LINCOLN MEDICAL SUPPLY           913 N. MAIN                                    PLEASANTVILLE      NJ   8232         (609) 641-2674   (609) 641-8933
1447   LINCOLN MEDICAL/MENTAL HEALTH    234 EAST 149TH STREET                          BRONX              NY   10451        (718) 579-5532   (718) 579-4788
1448   LISTER RENTS - OAKHURST          P O BOX 1455                                   OAKHURST           CA   93644        (559) 683-4427   (559) 658-2364
1449   LITTLE FALLS HOSPITAL            140 BURWELL ST                                 LITTLE FALLS       NY   13365        (315) 823-5329   (315) 823-2516
1450   LOCAL JANITORIAL & VAC SUP       34295 DOHENY PARK RD                           CAPISTRANO BEACH   CA   92624-1132   (949) 489-8790   (323) 278-6446
1451   LOGAN & WHALEY CO                P O BOX 1089                                   MARSHALL           TX   75671        (903) 938-4377   (903) 927-2562
1452   LOGAN ELECTRIC                   208 EAST BROAD                                 TEXARKANA          AR   71854        (870) 772-1332   (870) 774-8106
1453   LOGAN SUPPLY                     7515 TELEGRAPH RD.                             Montebello         CA   90640        (323) 724-4330   (323) 725-3930
1454   LONDON ROAD RENTAL CENTER        1710 LONDON ROAD                               DULUTH             MN   55812        (218) 728-2940   (218) 724-4392
1455   LONGS ELECTRIC MOTOR SERVICE     2345 W CENTRAL                                 EL DORADO          KS   67042-0463   (316) 321-5350   (316) 321-1883
1456   LONNIES ELECTRIC MTR & S.H. IN   2485 E. JOHNSON AVENUE                         PENSACOLA          FL   32514        (850) 479-1515   (850) 494-9317
1457   LORAIN ARMATURE MOTOR REP INC    960 SUNNYSIDE ROAD                             VERMILION          OH   44089        (404) 967-2620   (404) 967-2806
1458   LORETTO HOSPITAL                 645 S. CENTRAL AVE.                            CHICAGO            IL   60644        (773) 854-5279   (773) 854-5217
1459   LOUIS W. KANG M.D.               12522 EAST LAMBERT RD.                         WHITTIER           CA   90606        (562) 693-8253   (562) 696-8675
1460   LOWELL GENERAL HOSPITAL          295 VARNUM AVE.                                LOWELL             MA   1854         (978) 937-6484   (978) 937-6906
1461   LOYOLA UNIV. HEALTH SYSTEM       PO BOX 282                                     MAYWOOD            IL   60153        (708) 216-4314   (708) 216-8340
1462   LTM SERVICES                     481 MOHOULI STREET                             HILO               HI   96720        (808) 935-9635   (808) 933-1571




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       Name                             Includes Plaintiff's suggested addresses                                            phone            Fax
1463   LUBBOCK ELECTRIC CO              1108 34TH ST                                   LUBBOCK            TX   79405        (806) 744-2336   (806) 744-5690
1464   LUCAS TECHNOLOGIES, INC          631 GIGUERE CT. A-T                            SAN JOSE           CA   95133        (408) 258-8885   (408) 258-0388
1465   LUCENT TECHNOLOGIES              9 AIRPORT HANGER #2                            MORRISTOWN         NJ   7960         (201) 606-4200   (201) 606-3001
1466   LURA ENTERPRISE INC              1016 5 AVENUE N E UNIT #1                      WEST FARGO         ND   58078        (701) 281-8989   (701) 281-8995
1467   LYNNS ELECTRIC MOTOR SVCE        P O BOX 626                                    MALVERN            AR   72104        (501) 337-0018   (501) 337-0018
1468   M & I ELECTRIC INDUSTRIES *      4775 M L KING JR PKWY                          BEAUMONT           TX   77704-1792   (409) 838-0441   (409) 838-1066
1469   M & M TOOL SALES                 18275 PARTHENIA ST.                            Northridge         CA   91325        (818) 989-7514   (818) 989-7562
1470   M & M ELECTRIC MOTOR REPAIR      213 GEORGIA ST                                 CLOVIS             NM   88101        (505) 763-3088   (505) 763-3088
1471   M & M ELECTRIC MOTOR SV          505 E JOURDAN                                  NEWTON             IL   62448        (618) 783-5252   (618) 783-5252
1472   M & M MEDICAL EQUIPMENT          518 JEFFERSON AVENUE                           BEAVERDALE         PA   1592         (800) 223-8363   (814) 487-4500
1473   M & M PRECISION TOOL             293 S. EAST END AVENUE                         POMONA             CA   91766        (909) 620-1534   (909) 620-7773
1474   M & M REPAIR                     625 E FOSTER RD                                ORCUTT             CA   93455        (805) 937-4827   (805) 937-4837
1475   M & M TOOL MACHINERY             3362 SOUTH MAIN ST.                            Salt Lake City     UT   84115        801-485-8200     (801) 485-4288
1476   M & R ELECTRIC MOTOR SERVICE,I   1516 E 5TH ST                                  DAYTON             OH   45403        (937) 222-6282   (937) 222-1901
1477   M & S REPAIR SHOP                303 HILLTOP DRIVE                              ELMA               NY   14059-9410   (716) 652-0311   (716) 652-0311
1478   M & W PUMP INC                   1223 WEST MAIN STREET                          SANTA MARIA        CA   93454        (805) 925-1147   (805) 928-6286
1479   M C ELECTRIC INC                 326 Degravelle Rd.                             Amelia             LA   70340        985-631-2851     985-631-3536
1480   M G ELECTRIC INC/TAW MIAMI SV*   P O BOX 521950                                 MIAMI              FL   33152-1950   (305) 884-1717   (305) 863-5751
1481   M GLOSSER AND SONS INC           72 MESSENGER STREET                            JOHNSTOWN          PA   15902        (800) 452-0225   (800) 772-2450
1482   M J CONSTRUCTION                 18649 VINCENNES                                NORTHRIDGE         CA   91324        (818) 701-5770   (818) 701-5770
1483   M T MOTOR REPAIR                 5721 E WASHINGTON BLVD                         COMMERCE           CA   90040        (818) 642-5530   (323) 727-9539
1484   MACHINERY COMPONENT SALES/SVC    326 E. SECOND AVE P.O. BOX 609                 LA HABRA           CA   90633-0609   (562) 694-8888   (562) 690-8946
1485   MACHINERY SALES CO.              17253 CHESTNUT STREET                          CITY OF INDUSTRY   CA   91748        (626) 581-9211   (626) 581-9277
1486   MACS POWER TOOL REPAIR           5023 FLOURNOY LUCAS RD                         SHREVEPORT         LA   71129        (318) 688-7474   (318) 687-1847
1487   MAD RIVER COMMUNITY HOSPITAL     P.O. BOX 1115                                  ARCATA             CA   95518        (707) 822-3621   (707) 826-8212
1488   MADIGAN ARMY MEDICAL CTR         BLDG 9040 FITZSIMMONS DR.                      TACOMA             WA   98431        (253) 968-2545   (253) 968-1048
1489   MAG INSTRUMENT, INC              2001 S HELLMAN AVENUE                          Ontario            CA   91761        (909) 947-1006   (909) 947-5469
1490   MAGNA PRODUCTS CORP              777 MT READ BLVD                               ROCHESTER          NY   14606-2129   (585) 647-2280   (585) 647-2155
1491   MAGNA-WIND, INC                  130 SOUTH TURNPIKE ROAD                        WALLINGFORD        CT   6492         (203) 265-2304   (203) 269-1469
1492   MAINTENANCE SERVICE              1511 RIVERSIDE AVE                             PASO ROBLES        CA   93446        (805) 238-7188   (805) 238-3343
1493   MAJOR ARMATURE CO *              P O BOX 369159                                 CHICAGO            IL   60636-1996   (773) 737-0200   (773) 737-2022
1494   MAJOR TOOL & MACHINE, INC.       1458 E 19TH ST                                 INDIANAPOLIS       IN   46218        317/636-6433     317/634-9420
1495   MAJOR TOOL REPAIR & SUPPLY       900 MARINA BLVD #1                             BULLHEAD CITY      AZ   86442        (928) 758-1997   (928) 758-6042
1496   MAJORS MEDICAL SUPPLY            211 ROCK HILL ROAD                             BALA CYNWYD        PA   19004        (610) 617-7800   (610) 667-8850
1497   MAKE-A-WAY CORPORTATION          315 WHITEHEAD ROAD                             ATHENS             GA   30606        (706) 353-1099   (706) 613-2755
1498   MAKO EQUIPMENT                   10859 S NORWALK BLVD                           SANTA FE SPRINGS   CA   90670        (562) 944-5351   (818) 402-5308
1499   MALONEY ENTERPRISES              80790 HAMMOND HWY                              MADELIA            MN   56062        (507) 642-3543   (507) 642-8075
1500   MANNESMANN SACHS AUTOMOTIVE      15 SPIRAL DRIVE                                FLORENCE           KY   41042        (606) 647-5144   (606) 371-4823
1501   MANTHE EQUIPMENT, INC            1039 CALIFORNIA WAY                            LONGVIEW           WA   98632        (360) 423-7130   (360) 423-7138
1502   MARDI GRAS GAMING/HARTMAN ANOT   831 N. FEDERAL HWY                             HALLANDALE         FL   33009        (954) 924-3200   (954) 457-4229
1503   MARIAN HEALTH CENTER             801 5TH STREET                                 SIOUX CITY         IA   51101        (712) 279-2150   (712) 279-2568
1504   MARK BACKES                      207 MESQUITE AVE.                              RIDGECREST         CA   93555        (760) 939-5094   (760) 446-4172
1505   MARK'S MOBILITY                  3006 N.E. EVERETT STREET                       PORTLAND           OR   97232        (503) 720-6184   (503) 234-2736
1506   MARLING LUMBER CO INC            634 S RIVER ST                                 JANESVILLE         WI   53547        (608) 754-7784   (608) 754-1839
1507   MARRAS HOMECARE EQUIPMENT        P O BOX 27                                     KINGSVILLE         MD   21087        (315) 788-8280   (315) 185-9515
1508   MARSH POWER TOOLS INC            20579 MIDDLEBELT RD                            LIVONIA            MI   48152        (248) 476-7744   (248) 476-1090
1509   MARSHALL ENTERPRISES             P O BOX 60935                                  SACRAMENTO         CA   95860        (916) 447-0455   (916) 447-0455
1510   MARSHALL HOSPITAL                P.O. BOX 872                                   PLACERVILLE        CA   95667        (530) 626-2600   (530) 626-2768
1511   MARTECH/MECHANICAL ANALYSIS      142 NORTH CLUFF AVENUE                         LODI               CA   95240        (209) 333-8478   (209) 333-8479
1512   MARTIN MEDICAL EQUIPMENT         7215 CAMPBELL BLVD                             NO. TONAWANDA      NY   14120        (716) 694-3542   (716) 694-3610
1513   MARTIN SUPPLY COMPANY, INC       200 APPLETON AVENUE                            SHEFFIELD          AL   35660        (256) 383-3131   (256) 383-3136
1514   MARYWOOD CONVALESCENT CENTER     1821 NORTH FOURTH AVE.                         WAUSAU             WI   54401        (715) 675-9451   (715) 675-4051
1515   MASCO INTERNATIONAL CORP *       51 HERITAGE DRIVE                              FREEHOLD           NJ   7728         (732) 761-9857   (732) 761-9858
1516   MASH MEDICAL                     P.O. BOX 384                                   ALABASTER          AL   35007        (205) 664-2059   (205) 663-4144
1517   MASONS SUPPLY COMPANY / MASCO*   ATTN: BOOKKEEPING                              PORTLAND           OR   97202        (503) 234-4321   (503) 232-3541
1518   MAST PHARMACY                    338 FARNSWORTH AVE.                            BORDENTOWN         NJ   8505         (609) 298-7773   (609) 298-1504
1519   MASTER INDUSTRIAL SUPPLY         12997 LOS NIETOS ROAD                          SANTA FE SPRINGS   CA   90670        (562) 946-0183   (562) 946-0184
1520   MASTER REPAIR & SUPPLY           RT 1 BOX 125-B                                 GREAT BEND         KS   67530        (316) 792-1976   (316) 792-1976
1521   MASTER SERVICE CORP              DBA BREEZER EQUIPMENT & SPLY                   ANAHEIM            CA   92806        (714) 238-6101   (714) 238-6043
1522   MASTER TOOL REPAIR               2430 N. BROADWAY ST. STE.300                   Boulder            CO   80304-4118   (757) 410-2879   (757) 410-4837
1523   MASTER WHOLESALE INC             520 S. FRONT ST.                               SEATTLE            WA   98108        (206) 767-6771   (206) 767-6772
1524   MASTERMIND INC                   32155 JOSHUA DR                                WILDEMAR           CA   92595-8463   (951) 674-0509   (951) 974-0509
1525   MATCHMASTER, INC                 3700 S. BROADWAY                               LOS ANGELES        CA   90007        (323) 233-4281   (323) 233-3277
1526   MATERIAL HANDLING SUPPLY, INC    12900 FIRESTONE BLVD                           SANTA FE SPRINGS   CA   90670        (562) 921-7715   (562) 921-7615
1527   MATTCO FORGE INC.                16443 MINNESOTA AVENUE                         PARAMOUNT          CA   90723        (562) 634-8635   (562) 531-3776
1528   MATTHEWS INTERNATIONAL CORP***   TWO NORTHSHORE CENTER                          PITTSBURGH         PA   15212-5851   (412) 442-8200   (412) 442-8291
1529   MAUI MEMORIAL HOSPITAL           ATT: ACCOUNTS PAYABLE                          WAILUKI            HI   96793        (808) 242-2676   (808) 242-2292
1530   MAYTAG CORPORATION               403 W 4TH STREET N                             NEWTON             IA   50208-3100   (641) 792-7000   (641) 787-8118
1531   MC AULIFFE BROS., INC            1299 WEST FIFTH STREET                         MARYSVILLE         OH   43040        (937) 642-2891   (937) 642-4019
1532   MC CALLA CO                      6856 VAN NUYS BLVD                             VAN NUYS           CA   91405        (818) 786-2125   (818) 782-6731
1533   MC CLAMROCH MACHINERY            939 LOUISIANA AVE                              SHREVEPORT         LA   71101-3761   (318) 222-9249   (318) 222-6334
1534   MC CORD PUMP & SUPPLY            3801 NORTH COUNTY ROAD WEST                    ODESSA             TX   79764        (432) 362-4611   (432) 363-0132
1535   MC CROMETER, INC                 3255 W. STETSON AVENUE                         HEMET              CA   92545        (909) 652-6811   (909) 652-3078
1536   MC MANUS RENTALS CO., INC        41-43 LINDEN STREET                            HACKENSACK         NJ   7601         (201) 342-1008   (201) 342-0993
1537   McCABE BROTHERS INC *            411 N WRIGHT STREET                            CHAMPAIGN          IL   61824-0562   (217) 352-5620   (217) 352-5937
1538   McCULLEY ENTERPRISES INC         P O BOX 1391                                   SALEM              VA   24153        (540) 342-5348   (540) 345-8227
1539   McCUNE BROOKS HOSPITAL           627 W. CENTINIAL AVE.                          CARTHAGE           MO   64836        (417) 358-8121   (417) 237-7221
1540   MCDANIEL MACHINERY INC           3405 LORNA LANE                                BIRMINGHAM         AL   35216        (205) 979-9770   (205) 979-9705
1541   McDONOUGH DISTRICT HOSPITAL      525 EAST GRANT STREET                          MACOMB             IL   61455        (309) 836-1554   (309) 836-1506
1542   MCKEE & STRUB CO                 778 NATOMA ST                                  SAN FRANCISCO      CA   94103        (415) 431-6463   (415) 431-6482
1543   McKENZIE MEMORIAL HOSPITAL       120 DELAWARE STREET                            SANDUSKY           MI   48471        (810) 648-3770   (810) 648-4814
1544   McKENZIE WILLAMETTE HOSPITAL     1460 G STREET                                  SPRINGFIELD        OR   97477        (541) 726-4450   (541) 744-6163
1545   McKINLEY EQUIPMENT CORP          17611 ARMSTRONG AVENUE                         IRVINE             CA   92714        (714) 261-9222   (714) 250-7301
1546   MCLAIN'S SURGICAL SUPPLY, INC    205 BROAD ST                                   CHARLESTON         WV   25301        (304) 343-4384   (304) 343-4385
1547   McMURPHY ELECTRIC MOTOR          1702 LANCASTER CIRCLE                          NORMAN             OK   73069        (405) 292-6701   405-292-0038
1548   MCRAE EQUIPMENT                  1403-A W. 12TH                                 LITTLE ROCK        AR   72202        (501) 378-0241   (501) 378-0020




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       Name                             Includes Plaintiff's suggested addresses                                            phone            Fax
1549   MEAD SUPPLY INC                  1415 NIAGARA ST                                BUFFALO            NY   14213        (716) 883-6200   (716) 883-2766
1550   MEADOWS REGIONAL MEDICAL CTR     P.O. BOX 1048                                  VIDALIA            GA   30474        (912) 537-5835   (912) 538-5568
1551   MEAR SERVICES, INC               302 SOUTH HUDSON STREET                        BUCKNER            MO   64016        (816) 650-4030   (816) 650-4061
1552   MECHANICAL DRIVES CO             3015 LEONIS BLVD                               LOS ANGELES        CA   90058        (213) 587-7901   (213) 587-8236
1553   MECHANICAL SEAL TECHNOLOGY INC   3600 OSUNA N E, SUITE 401                      ALBUQUERQUE        NM   87109-4428   (505) 345-5122   (505) 344-7234
1554   MECO / MASTERPIECE ENGINEERING   2281 CROSSWIND DR                              PRESCOTT           AZ   86301        (602) 771-2040   (602) 771-1319
1555   MED CENTRAL HEALTH SYSTEM        335 GLESSNER AVE.                              MANSFIELD          OH   44903        (419) 526-8589   (419) 526-8832
1556   MED REHAB INC                    4184 E. SHIELDS                                FRESNO             CA   93726        (559) 248-2600   (559) 248-2606
1557   MEDALLION CABINETRY OREGON*      180 INDUSTRIAL WAY                             WACONIA            MN   55387        (503) 838-4004   (503) 838-4003
1558   MEDCARE CORPORATION              3101 EMMONS AVE.                               BROOKLYN           NY   11235        (718) 646-8732   (718) 646-0795
1559   MEDCENTRE LABORATORIES           555 WEST COURT STREET                          KANKAKEE           IL   60901        (815) 937-2190   (815) 937-2194
1560   MED-EQUIP, INC.                  2515 EAST OZARK AVE.                           GASTONIA           NC   28054        (704) 868-2123   (704) 868-3133
1561   MEDEX LABORATORIES, INC.         P.O. BOX 119                                   KINGSPORT          TN   37662-0119   (423) 224-6793   (423) 224-6742
1562   MEDI COMFORT                     3100 N.STONE AVE STE A102                      TUCSON             AZ   85705        (800) 279-3550   (520) 882-6990
1563   MEDICAL EQUIP.& SUP. DISC. CTR   6570 MAGNOLIA AVE.                             RIVERSIDE          CA   92504        (909) 680-9181   (909) 680-9182
1564   MEDICAL EXAMINER DISTRICT 14     3737 FRANKFORD AVE.                            PANAMA CITY        FL   32405        (850) 747-5740   (850) 747-5745
1565   MEDICAL HOME CARE                32 STONY HILL RD                               BETHEL             CT   6801         (203) 792-6872   (203) 798-8640
1566   MEDICAL HOME CARE SERVICE        1160 OLIVEWOOD DR.                             MERCED             CA   95348        (209) 726-9511   (209) 725-2082
1567   MEDICAL HOME CARE SERVICES       3124 MCHENRY AVE STE B                         MODESTO            CA   95350        (209) 726-9511   (209) 725-2082
1568   MEDICAL INVENTORY CONTROL        12400 N. SANTA FE                              OKLAHOMA CITY      OK   73114        (800) 226-6876   (405) 755-1009
1569   MEDICAL MART OF POCATELLO        773 YELLOWSTONE                                POCATELLO          ID   83201        (208) 523-0402   (208) 529-0979
1570   MEDICAL PARK HOMECARE, INC       139 SE KATHERINE                               BARTLESVILLE       OK   74006        (918) 335-1881   (918) 355-1881
1571   MEDICAL SERVICE OF MIDLANDS      1523 SUNSET BLVD.                              WEST COLUMBIA      SC   29169        (803) 791-9934   (803) 791-7601
1572   MEDI-TEK, INC.                   45114 TREVOR AVE., STE. 105                    LANCASTER          CA   93534        (661) 940-0030   (661) 940-3447
1573   MED-PRODUCTS HEALTHCARE          10776 TRENTON AVENUE                           SAINT LOUIS        MO   63132        314/423-1226     314/423-1226
1574   MEGGITT (NH), INC                2616 RESEARCH DRIVE                            CORONA             CA   92882        (951) 734-0070   (951) 734-2594
1575   MEIER TRANSMISSION*              1845 E. 40TH ST                                CLEVELAND          OH   44103        (216) 881-0444   (216) 881-6093
1576   MELO MACHINE & MFG/C B HAY CO    103 NORTH FIRST STREET                         PATTERSON          CA   95363        (209) 892-2661   (209) 892-2543
1577   MELS INDUSTRIAL SUPPLY*          AN IDG COMPANY                                 BELMONT            NC   28012        (909) 683-0801   (909) 683-0822
1578   MEMORIAL COMMUNITY HOSPITAL      313 STOUGHTON ROAD                             EDGERTON           WI   53534        (608) 884-1620   (608) 884-1656
1579   MEMORIAL HEALTHCARE CENTER       826 W. KING STREET                             OWOSSO             MI   48867        (517) 723-5211   (517) 725-2541
1580   MEMORIAL HOSP & MEDICAL CTR      600 MEMORIAL AVE                               CUMBERLAND         MD   21502        (301) 723-3806   (301) 723-4050
1581   MEMORIAL HOSPITAL                2525 DE SALES AVENUE                           CHATTANOOGA        TN   37404        (423) 495-8652   (423) 495-6157
1582   MEMORIAL HOSPITAL ASSOC.         PO BOX 942                                     MODESTO            CA   95353        (209) 572-7240   (209) 569-7552
1583   MEMORIAL HOSPITAL LABORATORY     1 HOSPITAL DRIVE                               TOWANDA            PA   18848        (570) 268-2250   (570) 268-2399
1584   MEMORIAL HOSPITAL PASADENA       906 E. SOUTHMORE                               PASADENA           TX   77502        (713) 776-5380   (713) 776-4168
1585   MEMORIAL MEDICAL CTR             2450 S. TELSHOR BL                             LAS CRUCES         NM   88011        (505) 521-5240   (505) 521-5057
1586   MENTOR HARDWARE                  8701 MENTOR AVE                                MENTOR             OH   44060        (216) 255-2281   (216) 255-5483
1587   MERCED PATHOLOGY MEDICAL GRP     625 W. OLIVE AVE. #310                         MERCED             CA   95348        (209) 723-5451   (209) 723-5360
1588   MERCER COUNTY HOSPITAL           409 N.W. NINTH AVE                             ALEDO              IL   61231        (309) 582-5301   (309) 582-3737
1589   MERCY HEALTH PARTNERS            2200 Jefferson Ave                             TOLEDO             OH   43603-1689   419-251-1862     419-251-0965
1590   MERCY HEALTH SERVICES NORTH      C/O NOVARE SERVICES INC                        CADILLAC           MI   49601        (231) 876-7316   (231) 876-7905
1591   MERCY MED CNTR/NORTH IOWA        1000 4TH STREET SW                             MASON CITY         IA   50401        (800) 433-3883   (515) 424-7827
1592   MERCY MEDICAL CENTER             345 St. Paul Pl.                               BALTIMORE          MD   21202        410/332-9490     410/244-0821
1593   MERCY MEDICAL CENTER             345 St. Paul Pl.                               CANTON             OH   44708        (330) 489-1398   (330) 430-6918
1594   MERCY MEDICAL CTR - REDDING      ATTN: ACCOUNTS PAYABLE                         Rancho Cordova     CA   95670        (530) 225-6206   (530) 244-4255
1595   MESA BEARING LLC *               15622 COMPUTER LANE                            HUNTINGTON BEACH   CA   92649        (714) 901-2223   (714) 901-9514
1596   MESA UNIFIED SCHOOL DISTRICT 4   PURCHASING /CSC                                MESA               AZ   85210        (480) 472-0150   (480) 472-0144
1597   METAL CONTAINER CORP/ANHEUSER    3636 S GEYER ROAD SUITE 400                    ST LOUIS           MO   63127-1218   (314) 984-4894   (314) 984-4843
1598   METEVIER'S ELECTRIC MTR SV       226 NORTH AVENUE                               BURLINGTON         VT   5401         (802) 864-4365   (802) 658-9504
1599   METHODIST HOSPITAL               5025 N. Paulina St.                            CHICAGO            IL   60640        773/989-1418     773/989-1317
1600   METHODIST HOSPITAL               5025 N. Paulina St.                            HOUSTON            TX   77230-0528   (713) 793-7183   (713) 790-4526
1601   METHODIST HOSPITAL - LUBBOCK     PO BOX 1201                                    LUBBOCK            TX   79410        (806) 792-1011   (806) 784-5025
1602   METHODIST LEBONHEUR HEALT        P.O. BOX 41058                                 MEMPHIS            TN   38174        (901) 726-7565   (901) 726-2396
1603   METHODIST SPECIALTY & TRANSPLA   PO BOX 40048                                   SAN ANTONIO        TX   78229        (210) 575-8110   (210) 575-2888
1604   METRO INDUSTRIAL SUPPLY          435 COGGESHALL STREET                          NEW BEDFORD        MA   2746         (508) 996-8400   (508) 336-8470
1605   METRO WEST MEDICAL CENTER        115 LINCOLN STREET                             FRAMINGHAM         MA   1701         (508) 383-1432   (508) 383-1452
1606   M-I SWACO                        ACCOUNTS PAYABLE                               LAFAYETTE          LA   70505        (832) 295-2628   (832) 295-2639
1607   MICHAEL W. GERRING               9365 CARDIFF LOOP RD.                          RICHMOND           VA   23236        (804) 745-7040   (804) 745-8911
1608   MICRO CRAFT, INC.                400 DULEY ROAD                                 EL SEGUNDO         CA   90245        (310) 335-1585   (310) 640-1056
1609   MID AMERICA AVIATION/ MOOG       FAA REPAIR STATION VMDR806L                    WEST FARGO         ND   58078        (701) 282-7782   (701) 282-4041
1610   MID AMERICA ELECTRIC INC *       315 MECHANIC                                   EMPORIA            KS   66801        (620) 342-2965   (620) 342-2988
1611   MID CAL ELECTRICAL SUPPLY        5176 G HWY 49 NORTH                            MARIPOSA           CA   95338        (209) 966-2904   (209) 966-2914
1612   MID CENTRAL MEDICAL INC          dba AMERICAN MEDICAL SUP & SV                  Virden             IL   62690        (217) 965-3734   (217) 965-3371
1613   MID SOUTH MEDICAL EQUIP          P O BOX 1067                                   Wynne              AR   72396        (870) 238-4242   (870) 238-4035
1614   MID-AMERICA TECHNOLOGY CENTER    P O BOX H                                      WAYNE              OK   73095        (405) 449-3391   (405) 449-7321
1615   MIDDLE TENNESSEE MEDICAL CTR     423 N. UNIVERSITY DR.                          MURFREESBORO       TN   37130        (615) 849-4514   (615) 849-4692
1616   MIDLANDS BIOMEDICAL SERVICE      P.O. BOX 622                                   BLYTHEWOOD         SC   29016        (803) 786-5579   (803) 786-6651
1617   MIDLANDS ELECTRIC MOTOR SERV     4425 SOUTH 87TH STREET                         OMAHA              NE   68127        (402) 331-0700   (402) 331-0704
1618   MID-STATE MANUFACTURING CORP     1015 5TH STREET NORTH                          MINNEAPOLIS        MN   55411        (800) 752-0580   (612) 337-0800
1619   MIDWEST ELECTRIC MOTOR INC       2734 MILLER DRIVE                              KALAMAZOO          MI   49001        (616) 343-7090   (616) 343-2918
1620   MIDWEST MEDICAL EQP & SUP        4418 HAINES ROAD, STE 1200                     DULUTH             MN   55811        (218) 722-3420   (218) 720-6158
1621   MIDWEST MEDICAL INSTRUMENT INC   4082 CATES STREET SE                           PRIOR LAKE         MN   55372        (612) 440-4769   (612) 440-9428
1622   MIDWEST REGIONAL MED CTR         2825 PARKLAWN DRIVE                            MIDWEST CITY       OK   73110        (405) 610-4411   (405) 610-8222
1623   MIDWEST REHAB                    P.O. BOX858                                    ROCK FALLS         IL   61071        (815) 626-8110   (815) 625-2180
1624   MIDWEST RENTALS INC              506 BROWN ST                                   LAFAYETTE          IN   47901        (317) 423-5541   (317) 742-8051
1625   MIDWEST SERVICE & INSTALLATION   480 SNIPE RUN DR.                              BONFIELD           IL   60913        (815) 929-0722   (815) 929-0742
1626   MIKES TOOL REPAIR                3540 N E WALDO ROAD                            GAINESVILLE        FL   32609        (352) 377-1051   (352) 335-9582
1627   MILLCREEK, INC                   601 INDUSTRIAL ROAD                            HICKSVILLE         OH   43526        (519) 542-9933   (519) 542-9944
1628   MILLER ELECTRIC MOTOR SV/A&W     4623 HAMPTON STREET                            VERNON             CA   90058        (714) 895-1330   (714) 373-3851
1629   MILLER INDUSTRIES INC            3337 W 10TH STREET                             INDIANAPOLIS       IN   46222        (317) 972-7300   (317) 972-7310
1630   MILLERS RENTAL & SALES           2023 ROMIG ROAD                                AKRON              OH   44320-3819   (866) 572-2609   (330) 753-9990
1631   MILLERS RENTALAND INC            1696 GLENDALE AVE                              HANFORD            CA   93230        (559) 584-3355   (559) 584-4058
1632   MILLS ELECTRIC CO, INC.          4828 CALUMET AVENUE                            HAMMOND            IN   46327        (219) 931-3114   (219) 931-9431
1633   MILNE POWER TOOL REPAIR          1303 W. LEWIS ST.                              PASCO              WA   99301        (509) 547-7834   (509) 547-4559
1634   MILNE SUPPLY CO INC              538 RIDGE ROAD                                 MUNSTER            IN   46321        (219) 836-9006   (219) 836-5150




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       Name                             Includes Plaintiff's suggested addresses                                             phone            Fax
1635   MINEO ELECTRIC                   480 HORIZON HILLS DR                           EL CAJON            CA   92020        (619) 442-6992   (619) 442-6992
1636   MINERS MEMORIAL MEDICAL CENTER   360 WEST RUDDLE STREET                         COALDALE            PA   18218        (570) 645-8193   (570) 645-8874
1637   MINIT TOOL CO                    4170 E. WASHINGTON BLVD                        LOS ANGELES         CA   90023-4415   (323) 264-7006   (323) 264-2309
1638   MINSON CORPORATION               1441 PEERLESS WAY                              MONTEBELLO          CA   90640        (323) 513-1041   (323) 513-1047
1639   MISSION HOSPITAL                 900 SOUTH BRYAN RD.                            MISSION             TX   78572        (956) 580-9197   (956) 580-9495
1640   MISSISSIPPI VALLEY CONTRACTORS   2809 LARSON STREET                             LA CROSSE           WI   54603        (608) 781-7671   (608) 781-7681
1641   MISSMAN ELECTRIC CO              7292 W. AIRWAY CT.                             BOISE               ID   83709        (208) 322-5822   (208) 375-1928
1642   MISTRAS GROUP INC                195 CLARSVILLE ROAD                            Princeton Junction  NJ   8550         (609) 716-4150   (609) 716-4145
1643   MIT SERVICES                     10065 MESA RIDGE COURT STE. A                  SAN DIEGO           CA   92121        (619) 546-0405   (619) 546-0470
1644   MITCHELL MANUFACTURING           3150 WEST HAVENS                               Mitchell            SD   57301        (605) 996-1121   (605) 996-8946
1645   MITCHELL POWER TOOL SERVICE      1402 W PINE ST                                 HATTIESBURG         MS   39401        (601) 582-3308   (601) 582-3374
1646   MITCHELL-McKINNEY SUPPLY CO      610 GREENLAWN AVENUE                           COLUMBUS            OH   43223-2615   (614) 444-6732   (614) 444-6850
1647   MITSUBISHI ELECTRIC              5665 PLAZA DRIVE                               CYPRESS             CA   90630        (714) 220-4800   (714) 220-4812
1648   MJB WELDING SUPPLY               ATTN: BOB BERGER                               CHICO               CA   95927        (530) 342-3589   (530) 342-1715
1649   MK GAVLICK INC                   P O BOX 163                                    ASHLEY              PA   18706        (717) 823-3398   (717) 823-1404
1650   MK MEDICAL CORPORATION           3253 SHIELDS AVE                               FRESNO              CA   93726        (559) 221-6444   (209) 557-0512
1651   MMI PRECISON TECHNOLOGY          7360 S KYRENE ROAD                             TEMPE               AZ   85283        (480) 897-7100   (480) 897-7118
1652   MMS MEMPHIS, INC                 5285 ELMORE ROAD                               MEMPHIS             TN   38124        (800) 944-4103   (901) 388-7397
1653   MMS WINSTON SALEM, INC           6311A STADIUM DRIVE                            CLEMMONS            NC   27012        (336) 712-1040   (336) 712-0260
1654   MOBILE HEALTHCARE INC.           622 WADE HAMPTON BLVD.                         GREENVILLE          SC   29609        (864) 370-9773   (864) 370-0374
1655   MOBILITY CONNECTION              1416 N. MAIN ST.                               ROCKFORD            IL   61103        (815) 965-8090   (815) 965-8061
1656   MOBILITY EQUIPMENT INC.          955 E. SAN CARLOS AVENUE                       SAN CARLOS          CA   94070        (650) 596-7358   (650) 596-7335
1657   MOBILITY EXPRESS                 449 CORTEZ RD W.                               BRADENTON           FL   34207        (800) 829-6930   (941) 739-5717
1658   MOBILITY SOLUTIONS               7895 CONVOY COURT #11                          SAN DIEGO           CA   92111        (858) 278-0591   (858) 278-0933
1659   MOBILITY XPERTS                  PO BOX 699                                     BOUNTIFUL           UT   84011-0699   (801) 294-6717   (801) 294-6718
1660   MODERN BIOMEDICAL & IMAGING      1950 STEMMONS FWY., STE 2066                   DALLAS              TX   75207        (214) 800-3700   (214) 800-3715
1661   MODERN MEDICAL SYSTEMS           170 FINN COURT, SUITE 1                        FARMINGDALE         NY   11735        (908) 994-5292   (908) 994-5446
1662   MODERN MFG CO INC                680 DAVISVILLE RD                              WILLOW GROVE        PA   19090        (215) 659-4820   (215) 659-6889
1663   MODERN TOOL SERVICE              15638 GRAHAM AVE                               HUNTINGTON BCH      CA   92649        (714) 898-3425   (714) 897-4420
1664   MOHAWK VALLEY MACHINE            dba ROME POWER & MACHINE                       ROME                NY   13440        (315) 337-4450   (315) 337-3241
1665   MOHLER TECHNOLOGY INC            2355 EBY ROAD                                  BOONVILLE           IN   47601        (812) 897-2900   (812) 897-2686
1666   MONACO COACH CORP*               91320 COBURG INDUSTRIAL WAY                    COBURG              OR   97408        (541) 686-8011   (541) 434-8530
1667   MONSTER TOOL                     2470 Ash St., Suite 1                          VISTA               CA   92081        888CARBIDE       (760) 477-1112
1668   MONTEREY-SALINAS TRANSIT         ONE RYAN RANCH ROAD                            MONTEREY            CA   93940        (831) 899-2558   (831) 899-3954
1669   MOOREHEAD ELECTRIC               4910 FLEMINGSBURG ROAD                         MOOREHEAD           KY   40351        (606) 784-9320   (606) 764-7619
1670   MORE MOBILITY, INC.              333 W. BLAINE STREET                           MCADOO              PA   18237        (570) 929-1456   (570) 929-1478
1671   MORIARTY HOME MEDICAL SUPPLY     70 MAPLE STREET                                FLORENCE            MA   1062         (419) 584-0523   (413) 584-6020
1672   MORRIS COUNTY HOSPITAL           PO BOX 275                                     COUNCIL GROVE       KS   66846        (316) 767-6811   (316) 767-5611
1673   MORRIS INC                       P O BOX 1162                                   PIERRE              SD   57501        (605) 223-2585   (605) 223-2006
1674   MORROW MEADOWS CORP              231 BENTON COURT                               WALNUT              CA   91789        (909) 598-7700   (909) 598-5326
1675   MORROW SERVICE, INC.             385 OYSTER POINT BLVD. #7                      SOUTH SAN FRANCISCO CA   94080        (650) 873-1933   (650) 873-1936
1676   MORSE ENGINEERING INC.           1510 INDUSTRIAL DR.                            NEW SMYRNA BEACH FL      32168        (904) 424-0030   (904) 424-0031
1677   MORSE MEDICAL, INC.(dba) LINC    2310 130TH AVE. NE, STE. B-200                 BELLEVUE            WA   98005        (425) 284-7070   (425) 284-7069
1678   MORTECH MFG.                     attn: ACCOUNTS PAYABLE                         AZUSA               CA   91702        (626) 334-1471   (626) 447-0051
1679   MOSS ELECTRIC CO INC             13878 STATE HWY 164                            HORNERSVILLE        MO   63855        (573) 737-2834   (573) 737-2454
1680   MOSS REGIONAL MEDICAL CTR        1000 WALTERS STREET                            LAKE CHARLES        LA   70607        (318) 475-8100   (318) 475-8109
1681   MOTION INDUSTRIES, INC           PO BOX 24335                                   DAYTON              OH   45424        (937) 236-7711   (937) 236-1765
1682   MOTO CARRERA                     10424 BURBANK BLVD                             NORTH HOLLYWOOD     CA   91601        (818) 761-9040   (818) 761-1801
1683   MOTOR & GEAR ENGINEERING, INC    3545 McCALL PLACE SUITE B                      DORAVILLE           GA   30340        (770) 454-9001   (770) 454-9092
1684   MOTOR MAINTENANCE                5205 E UNION                                   SPOKANE             WA   99212        (509) 534-7266   (509) 534-7266
1685   MOTOR MART / TOOL MART           150 MARR                                       WENATCHEE           WA   98801        (509) 664-6606   (509) 663-2001
1686   MOTOR PARTS & PARTNERSHIP        905 SOUTH WASHINGTON                           KAUFMAN             TX   75142        (972) 932-4030   (972) 962-4199
1687   MOTOR POWER INC                  1505 LISBON STREET                             LEWISTON            ME   4240         (207) 782-7017   (207) 782-0616
1688   MOTOR PUMP & SERVICES            126 JACKSON STREET                             RED BUD             IL   62278        (618) 282-6262   (618) 282-6898
1689   MOTOR TECHNOLOGY AND SERVO       216 DEAN ROAD                                  ANDERSON            SC   29625        (564) 287-4687   (564) 287-4687
1690   MOTOR TECHNOLOGY, INC            515 Willow Springs Ln.                         YORK                PA   17406        717-266-4045     717-266-7448
1691   MOTORES Y CONTROLES ELECTRICOS   LUIS F MEDINA                                  Chula Vista         CA   91910        (619) 384-5943   (619) 425-2993
1692   MOTORS AND CONTROLS OF WI        1077 MEEHAN DRIVE                              PLOVER              WI   54467        (715) 344-0010   (715) 344-1219
1693   MOTORS, HOISTS & CONTROLS        179 RAILROAD STREET                            WOONSOCKET          RI   2895         (401) 767-4563   (401) 767-4567
1694   MOUNT NITTANY MEDICAL CENTER     P.O. BOX 1289                                  STATE COLLEGE       PA   16804        (814) 234-6151   (814) 231-7027
1695   MOUNT ST. FRANCIS                7665 ASSISI HEIGHTS                            COLORADO SPRINGS    CO   80919        (719) 598-5486   (719) 598-1578
1696   MOUNTAIN AIRGAS INC *            P O BOX 271070                                 FORT COLLINS        CO   80527-1070   (907) 490-7700   (907) 490-7750
1697   MOUNTAIN FASTENER SUPPLY, INC*   P O BOX 3924                                   OGDEN               UT   84409        (801) 392-1867   (801) 392-0743
1698   MOUNTAIN RESPIRATORY SVC INC     23 HAMILTON STREET                             ASHVILLE            NC   28801        (828) 253-2805   (828) 253-9581
1699   MOUNTAIN TOOL & SUPPLY           1220 E DOUCE OF CLUBS                          SHOW LOW            AZ   85901        (520) 537-1431   (520) 537-1435
1700   MOUNTAIN VALLEY PUMP             1444 N 300 W                                   LOGAN               UT   84321        (435) 753-0916   (435) 753-0916
1701   MPM PRODUCTS, INC.               1718 E. GREVILLEA CT.                          ONTARIO             CA   91761        (909) 947-8464   (909) 947-3257
1702   MR SWEEPER                       400 NORTHSIDE DRIVE                            ATLANTA             GA   30318        (404) 524-4200   (404) 522-4268
1703   MT SHASTA ELECTRIC INC           1108 N MT. SHASTA BLVD                         MT SHASTA           CA   96067        (530) 926-4653   (530) 926-4653
1704   MT SHASTA RENTAL CENTER          5024 SUMMIT DRIVE                              MT SHASTA           CA   96067        (560) 926-5225   (560) 926-5672
1705   MT VERNON ELECTRIC INC           P O BOX 1548                                   MOUNT VERNON        IL   62864        (800) 233-8830   (618) 244-2755
1706   MT. DIABLO MEDICAL CENTER P619   2540 EAST ST                                   CONCORD             CA   94520        (925) 674-2154   (925) 674-2159
1707   MT. SINAI MEDICAL CENTER         ATT: ACCTS PAY - BOX 7000                      NEW YORK            NY   10029        (212) 659-8838   (212) 996-8931
1708   MULLIN RENTAL SERVICE            2528 E MICHIGAN ST                             INDIANAPOLIS        IN   46201        (317) 632-3456   (317) 637-7374
1709   MULTICARE MEDICAL CENTER         402 SOUTH J STREET                             TACOMA              WA   98405        (253) 403-1001   (253) 403-4731
1710   MURATEC/ MURATA OF AMERICA       2120 INTERSTATE 85 SOUTH                       CHARLOTTE           NC   28266        (704) 394-8331   (704) 392-6541
1711   MURPHY'S CONTRACTORS EQP         2420 N RIVER ROAD                              River Grove         IL   60171        (708) 456-6900   (708) 452-4901
1712   MUSCULAR DYSTROPHY ASSOC.        attn: BLANCA                                   SANTA MONICA        CA   90405        (310) 452-1698   (310) 450-8063
1713   MV CORP.                         P.O. BOX 826                                   SOLDATNA            AK   99669        (907) 262-9695   (907) 260-7695
1714   MWM ASSOCIATES                   ATT: ACCOUNTS PAYABLE                          CHATSWORTH          CA   91311        (818) 718-2613   (818) 718-6918
1715   MX SOLUTIONS                     5211 E. WASHINGTON BLVD.,                      COMMERCE            CA   90040        (323) 725-1012   (323) 725-1062
1716   N C AUTO PARTS                   1150 MATLEY LANE                               RENO                NV   89502        (775) 329-0707   (775) 329-0447
1717   NAAB ELECTRIC INC                P O BOX 1112                                   GARDEN CITY         KS   67846        (316) 276-8101   (316) 276-6120
1718   NAPLES ARMATURE WORKS            1101 5TH AVENUE SOUTH                          Naples              FL   34102        (239) 262-4554   (239) 262-6969
1719   NARCO MEDICAL SERVICES           7667 CAHILL RD.                                MINNEAPOLIS         MN   55439-2750   (612) 941-6550   (701) 235-5308
1720   NASCO GOURMET FOODS, INC         1151 OLYMPIC DRIVE                             CORONA              CA   92881        (951) 279-7533   (951) 279-9533




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       Name                             Includes Plaintiff's suggested addresses                                              phone            Fax
1721   NATIONAL CITY REPAIR, LLC        2439 NATIONAL CITY BLVD                        National City        CA   91950        (619) 856-4564   (519) 856-4746
1722   NATIONAL CONCRETE CUTTING, INC   7715 PACIFIC HWY E                             MILTON               WA   98354        (253) 854-2171   (253) 735-6777
1723   NATIONAL GYM SUPPLY              8511 STELLER DRIVE                             CULVER CITY          CA   90232        (310) 280-0931   (310) 280-0937
1724   NATIONAL HARDWOOD FLOORING       14959 DELANO ST                                VAN NUYS             CA   91411        (818) 988-9663   (818) 988-4955
1725   NATIONAL OILWELL VARCO           P O BOX 6626                                   ORANGE               CA   92863-6626   (714) 978-1900   (714) 937-5029
1726   NATIONAL POWER EQUIPMENT         5400 WEST 161TH STREET                         BROOKPARK            OH   44142        (800) 647-0815   (216) 898-2684
1727   NATIONAL SEATING & MOBILITY      4980 E. UNIVERSITY STE 114                     FRESNO               CA   93727        (559) 252-4396   (559) 252-4507
1728   NATIONAL SEATING & MOBILITY      743 N MAIN STREET                              ORANGE               CA   92868        (714) 289-4455   (714) 289-4456
1729   NATIONAL SEATING & MOBILITY      1125 EAST STANFORD COURT                       ANAHEIM              CA   92805        (714) 939-9322   (714) 939-9323
1730   NATIONAL SEATING & MOBILITY      21807 PLUMMER STREET                           CHATSWORTH           CA   91311        (818) 718-1771   (818) 718-1662
1731   NATIONAL SEATING & MOBILITY      9275 TRADE PLACE, SUITE B                      SAN DIEGO            CA   92126        (858) 689-7070   (858) 689-7071
1732   NATIONAL SEATING & MOBILITY      5959 SHALLOWFORD ROAD SUITE443                 CHATTANOOGA          TN   37421        (423) 756-2268   (423) 266-9690
1733   NATIONAL SEATING / MOBILITY      2474 WIGWAM DRIVE SUITE E.                     STOCKTON             CA   95205        (209) 546-1799   (209) 546-1797
1734   NATIONWIDE INDUSTRIAL SUPPLY     8414 SOUTH AVENUE                              YOUNGSTOWN           OH   44514        (330) 758-9593   (330) 758-3561
1735   NATIONWIDE WHEELCHAIR, SCOOTER   1536 CYPRESS AVE.                              MELBOURNE            FL   32935        (321) 255-5549   (321) 255-5692
1736   NAVIGATOR CONSTRUCTION SUP       9523 SLAUSON AVENUE                            PICO RIVERA          CA   90660        (562) 949-9305   (562) 949-9892
1737   NC SERVO TECHNOLOGY              38422 WEBB DR                                  WESTLAND             MI   48185        (734) 326-6666   (734) 326-6669
1738   NEIGHBORCARE                     9070 JUNCTION ROAD                             ANNAPOLIS JUNCTION   MD   20701        (301) 362-7627   (301) 362-7497
1739   NETMERCURY                       46840 LAKEVIEW BLVD                            FREMONT              CA   94538        (510) 249-9299   (510) 249-9399
1740   NETWORK MEDICAL SUPPLY           4201-K STUART ANDREW BLVD.                     CHARLOTTE            NC   28217        (800) 688-9765   (704) 527-7303
1741   NEUS BUILDING CENTER INC         P O BOX 665                                    MENOMONEE FALLS      WI   53052-0665   (414) 251-6550   (414) 251-1562
1742   NEW ENGLAND MEDICAL SYSTEMS      5 A DAVID DRIVE                                ESSEX JUNCTION       VT   5452         (802) 872-8888   (802) 879-5334
1743   NEW PHOENIX AEROSPACE, INC       6008 TRIANGLE DR. SUITE 101                    RALEIGH              NC   27617        (919) 380-8500   (919) 380-8501
1744   NEW YORK METHODIST HOSPITAL      PO BOX 159008                                  BROOKLYN             NY   11215        (718) 780-3000   212-297-4576 A/P
1745   NEW YORK PRESBYTERIAN            525 E. 68TH STREET                             NEW YORK             NY   10021        (212) 297-4343   (212) 297-4576
1746   NEWARK BETH ISRAEL MED CTR       201 LYONS AVE                                  NEWARK               NJ   7112         (973) 926-7000   (973) 705-9767
1747   NEWCO PRODUCTS                   20361 PRAIRIE STREET, UNIT #10                 CHATSWORTH           CA   91311-8109   (818) 341-9216   (818) 341-9229
1748   NEWMANS ELECTRIC MOTOR           3930 N BROADWAY                                ADA                  OK   74820        (580) 310-0151   (580) 310-0151
1749   NIAGARA FALLS MEMORIAL MED       PO BOX 708                                     NIAGARA FALLS        NY   14302        (716) 278-4000   (716) 278-4055
1750   NICL LABORATORIES                715 W. JUDD STREET                             WOODSTOCK            IL   60098        (815) 206-5693   (815) 338-6972
1751   NIOBRARA VALLEY HOSPITAL         BOX 118                                        LYNCH                NE   68746        (402) 569-2451   (402) 569-2474
1752   NIX MEDICAL CENTER               414 NAVARRO SUITE 705                          SAN ANTONIO          TX   78205        210/271-2100     210/271-2040
1753   NOBEL BIOCARE USA, INC           22715 SAVI RANCH PARKWAY                       YORBA LINDA          CA   92887        (714) 282-4800   (714) 998-9236
1754   NOBEL EQUIPMENT & SUPPLIES INC   1920 U.S. HIGHWAY #1                           LINDEN               NJ   7036         (908) 925-1211   (908) 925-9095
1755   NORDIC SAW & TOOL MFRS INC       2114 DIVANIAN DRIVE                            TURLOCK              CA   95382        (209) 634-9015   (209) 634-9010
1756   NORTH AMERICAN IMAGING           924 VIA ALONDRA                                CAMARILO             CA   93012        (805) 383-2200   (805) 383-2212
1757   NORTH CANTON REPAIR SHOP INC.    1555 N MAIN STREET                             CANTON               OH   44720        (330) 499-3529   (330) 499-3529
1758   NORTH COAST POWER TOOL           1920 SCRANTON ROAD FRONT                       CLEVELAND            OH   44113-2429   (216) 574-4800   (216) 574-9939
1759   NORTH COUNTRY HEALTH SERVICE     1100 38TH STREET N.W.                          BEMIDJI              MN   56601        (218) 751-5430   (218) 759-5799
1760   NORTH COUNTRY HOSPITAL           189 PROUTY DRIVE                               NEWPORT              VT   5855         (802) 334-3284   (802) 334-3585
1761   NORTH COUNTRY REGIONAL HOSP      1300 ANNE STREET NW                            BEMIDJI              MN   56601        (218) 333-5900   (218) 333-5799
1762   NORTH OAKLAND MEDICAL CTR        461 W. HURON STREET                            PONITAC              MI   48341        (248) 857-6874   (248) 857-6839
1763   NORTH SHORE MEDICAL CENTER       1100 NW 9th St.                                MIAMI                FL   33150-2098   0                (561) 988-4692
1764   NORTH SHORE REGIONAL HOSP        100 MEDICAL CENTER DRIVE                       SLIDELL              LA   70461        (504) 646-5176   (504) 646-5687
1765   NORTH WEST ELECTRIC              P O BOX 651                                    HEALDSBURG           CA   95448        (707) 433-9668   (707) 433-6168
1766   NORTHEAST BIO-TECH, INC.         624 MAIN ST.                                   HOLDEN               MA   01520-1800   (508) 829-9094   (508) 829-9379
1767   NORTHEAST MOTORS AND CONTROLS    8301 TORRESDALE AVENUE                         Philadelphia         PA   19149        (215) 331-9003   (215) 331-4390
1768   NORTHEAST TOOL SUPPLY            157 THORNTON DRIVE                             HYANNIS              MA   2601         (508) 778-4552   (508) 790-8329
1769   NORTHERN ILLINOIS CLINICAL LAB   620 S. RTE 31 STE #2                           McHENRY              IL   60050        (815) 344-1600   (815) 344-9842
1770   NORTHERN ILLINOIS MED CTR        4201 MEDICAL CENTER DR.                        McHENRY              IL   60050        (815) 759-8024   (815) 759-8029
1771   NORTHERN ILLINOIS TOOL REPAIR    P O BOX 794                                    PARK RIDGE           IL   60068        (847) 518-6789   (847) 632-0533
1772   NORTHERN INYO HOSPITAL           150 PIONEER LANE                               BISHOP               CA   93514        (760) 872-2181   (760) 873-6734
1773   NORTHERN MEDICAL SYSTEMS         318 S. WASHINGTON ST.                          NEWPORT              WA   99156        (509) 447-5332   (509) 447-2814
1774   NORTHERN REHAB EQUIPMENT         3048 S. MARKET STREET                          REDDING              CA   96001        (530) 221-8040   (530) 243-8704
1775   NORTHERN VIRGINIA DISTRICT       9797 BRADDOCK SUITE 100                        FAIRFAX              VA   22032        (703) 764-4640   (703) 764-4645
1776   NORTHSHORE MEDICAL SUPPLY        505 MAXEY RD - STE G                           HOUSTON              TX   77013        (713) 451-5977   (713) 451-8330
1777   NORTHSTAR POWER DIST., INC       2059 PAXTON STREET                             HARVEY               LA   70058        (504) 328-0050   (504) 328-0054
1778   NORTHWEST BIOMEDICAL ASSOCIATE   4917 EVERGREEN WAY #273                        EVERETT              WA   98203        (425) 355-8754   (425) 259-6800
1779   NORTHWEST CIRCUIT BREAKERS       206 FRONTAGE ROAD NORTH                        PACIFIC              WA   98047        (253) 735-0192   (253) 735-3110
1780   NORTHWEST ELECTRIC MTR SV        609 OMAHA AVE                                  NORFOLK              NE   68701        (402) 371-3192   (402) 371-1661
1781   NORTHWEST HANDLING               9708 E. MONTGOMERY DRIVE                       SPOKANE VALLEY       WA   99206        (509) 922-0500   (509) 922-6040
1782   NORTHWEST HOME MEDICAL           10502 E. MONTGOMERY SUITE 1                    SPOKANE              WA   99206        (509) 926-5640   (509) 927-4682
1783   NORTHWEST MAGNET INC             508 NORTH TILLAMOOK STREET                     PORTLAND             OR   97227-1826   (503) 282-1441   (503) 282-5858
1784   NORTHWEST MECHANICAL INC         5885 TREMONT AVE                               DAVENPORT            IA   52809        (563) 391-1344   (563) 391-2733
1785   NORTHWEST RENTAL CENTER          225 WELLSIAN WAY                               RICHLAND             WA   99352        (509) 946-5116   (509) 943-5636
1786   NORTHWEST SALES GROUP            5718 1ST AVE S                                 SEATTLE              WA   98108        (206) 762-5111   (206) 762-5546
1787   NORTHWEST TOOL REPAIR            1000 BAKER AVE                                 WHITEFISH            MT   59937        (406) 862-6275   (406) 862-6280
1788   NORTHWESTERN RENTAL CENTER*      828 SOUTH CENTRAL AVE                          MARSHFIELD           WI   54449        (715) 387-8417   (715) 387-0673
1789   NORTON HEALTHCARE                ATTN: ACCOUNTS PAYABLE                         Louisville           KY   40232-4600   (502) 629-2000   (502) 629-8247
1790   NORWALK ELECTRIC MOTR REPAIR     41 COMMERCE STREET                             NORWALK              CT   6850         (203) 853-7235   203-855-9926
1791   NOVAMED CORPORATION              30 NUTMEG DRIVE                                TRUMBULL             CT   6611         (203) 380-6682   (401) 769-7895
1792   NOVARE SERVICES                  P.O. BOX 40                                    CADILLAC             MI   49601        (616) 876-7316   (616) 876-7905
1793   NOVARE SERVICES - KY             100 MEDICAL CENTER DRIVE                       HAZARD               KY   41701        (606) 435-1331   (606) 436-6806
1794   NSM - ATLANTIC REHAB INC.        P.O. BOX 3660                                  NATICK               MA   01760-0029   (508) 647-8100   (508) 647-8121
1795   NTN-BCA CORPORATION              P O BOX 1400                                   LITITZ               PA   17543-7020   (717) 627-3623   (717) 627-4560
1796   NUELL, INC                       312 E. Van Buren                               WARSAW               IN   46581        574-453-4900     574-453-3797
1797   NYPRO AMERICAS                   ATTN: ACCOUNTS PAYABLE                         CHULA VISTA          CA   91911        (619) 621-2645   (619) 482-7033
1798   OAK PARK HOSPITAL                520 S. MAPLE AVE.                              OAK PARK             IL   60304        (708) 660-5680   (708) 660-5696
1799   OBICI HOSPITAL                   1900 N. MAIN STREET                            SUFFOLK              VA   23434        (757) 934-4779   (757) 934-4373
1800   OCEAN MEDICAL CENTER             425 JACK MARTIN BLVD.                          BRICK                NJ   8724         (732) 840-3264   (732) 206-8331
1801   OCEAN SHORE CO                   111 MAIN STREET                                HALF MOON BAY        CA   94019        (650) 726-5505   (650) 726-7525
1802   OCEANIC                          2002 DAVIS ST                                  SAN LEANDRO          CA   94577        (510) 562-0500   (510) 569-5404
1803   OCECO                            445 W. Beaver St                               HELLAM               PA   17406-1205   717-755-3597     717-600-8777
1804   OCONEE MEMORIAL HOSPITAL         298 MEMORIAL DRIVE                             SENECA               SC   29672        (864) 885-7635   (864) 885-7788
1805   OGS TECHNOLOGIES, INC            1855 PECK LANE                                 CHESHIRE             CT   6410         (203) 271-9055   (203) 271-9280
1806   O'HAIR SHUTTERS                  P O BOX 2764                                   LUBBOCK              TX   79408        (806) 765-5791   (806) 765-9253




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       Name                             Includes Plaintiff's suggested addresses                                             phone            Fax
1807   OHIO POWER TOOL                  999 GOODALE BLVD                               COLUMBUS            OH   43212        (614) 481-2111   (614) 481-2112
1808   OHIO STATE UNIV HEALTH SYSTEM    660 ACEKERMAN RD.                              COLUMBUS            OH   43218-3104   (614) 293-2120   (614) 293-2170
1809   OIL WELL PERFORATORS INC         P O BOX 399                                    MILLS               WY   82644        (307) 473-9206   (307) 473-2153
1810   OKLAHOMA INSTALLATION CO *       P O BOX 740                                    OWASSO              OK   74055        (918) 835-1974   (918) 272-2064
1811   OLD HAMILTON SUNDSTRAND          P O BOX 61930                                  Phoenix             AZ   85082        (262) 947-2220   (262) 947-2221
1812   OLD MASTER PRODUCTS*             7751 HAYVENHURST AVE.                          VAN NUYS            CA   91406        (800) 300-5158   (818) 901-2179
1813   OLSON & SONS ELECTRIC, INC       19 SANDBERG ROAD                               MONTICELLO          MN   55362        (763) 295-2690   (763) 295-2691
1814   OLYMPIC FIRE PROTECTION          414 E. CENTRAL AVE.                            MEDFORD             MN   55049        (507) 455-1150   (507) 455-1651
1815   OMEGA ELECTRIC                   13900 SHOEMAKER AVE #G                         NORWALK             CA   90650        (562) 404-3412   (562) 404-3824
1816   OMEGA EXTRUDING/SIGMA/EPSILON    9614 LUCAS RANCH ROAD                          RANCHO CUCAMONGA    CA   91730        (909) 941-2800   (909) 941-2070
1817   OMH MEDICAL CENTER INC.          PO BOX 1038                                    OKMULGEE            OK   74447        (918) 756-4233   (918) 758-3133
1818   OMRON IDM CONTROLS INC *         9510 N HOUSTON ROSALYN ROAD                    HOUSTON             TX   77088        (713) 849-1900   (713) 849-4666
1819   ONE SOURCE TOOL SUPPLY, INC      341 COUNTY ROAD 39A, SUITE 1                   SOUTHAMPTON         NY   11968        (631) 283-8700   (631) 287-1415
1820   O'NEILL ELECTRIC MOTOR SERVICE   400 S 4TH STREET                               ONEILL              NE   68763        (402) 336-1700   (402) 336-4065
1821   ONEILLS TOOLS, INC               7133 N.E. GLISAN                               PORTLAND            OR   97213        (503) 254-6805   (503) 254-2247
1822   OPELOUSAS GENERAL HEALTH CTR     ATT: ACCOUNTS PAYABLE                          OPELOUSAS           LA   70571        (318) 948-5156   (318) 943-7116
1823   OPT BRUSH CO                     705 SOUTH US ROUTE 224                         NOVA                OH   44859        (419) 736-3010   (419) 736-3011
1824   OPTIMUM FLOORCARE                295 BROADWAY                                   CHULA VISTA         CA   91910        (619) 422-7233   (619) 422-3466
1825   ORANGE COUNTY METAL WORKS        341 WEST COLLINS AVENUE                        ORANGE              CA   92667-5597   (714) 532-6321   (714) 532-4126
1826   ORANGE COUNTY REGISTER           1701 S LEWIS ST                                ANAHEIM             CA   92805        (714) 937-9332   (714) 385-1935
1827   ORANGE HYDRAULICS & ELECT        2545 WOODLAND DR                               ANAHEIM             CA   82801        (714) 527-6520   (714) 527-6530
1828   OREGON HEALTH & SCIENCE UNIV     P.O. BOX 572                                   PORTLAND            OR   97207        (503) 494-1500   (503) 494-3098
1829   OREGON ICE CREAM                 13115 N E 4TH STREET                           VANCOUVER           WA   98684        (360) 823-2472   (360) 823-2457
1830   OREGON STATE UNIVERSITY          147-GILBERT HALL                               CORVALLIS           OR   97331-4003   (541) 737-6722   (541) 737-2062
1831   ORONDO FRUIT CO., INC            P O BOX 399                                    ORONDO              WA   98843        (509) 784-8000   (509) 784-1981
1832   OROVILLE HOSPITAL                2767 OLIVE HIGHWAY                             OROVILLE            CA   95966        (530) 532-8510   (530) 532-8435
1833   OROVILLE TOOL SUPPLY             1535 MYERS ST                                  OROVILLE            CA   95965        (916) 534-8969   (916) 739-8579
1834   ORRCO INCORPORATED               P O BOX 147                                    ORRVILLE            OH   44667-0147   (330) 683-5015   (330) 683-0738
1835   ORTHOPAEDIC & TRAUMA SPECIALIS   237 ROUTE 108                                  SOMERWORTH          NH   3878         (603) 742-2007   (603) 749-4605
1836   OSCO INDUSTRIES, INC *****       P O BOX 1388                                   Portsmouth          OH   45662        (740) 354-3183   (740) 353-1504
1837   OTT ELECTRIC SERVICE             190 PELESKY ROAD                               BOSWELL             PA   15531        (814) 629-6909   (814) 629-5183
1838   OTTO DUKES                       P O BOX 5487                                   CORPUS CHRISTI      TX   78465        (361) 883-0921   (361) 883-0519
1839   OUACHITA ELECTRIC SVCE           122 WASSAN                                     WEST MONROE         LA   71292        (318) 323-2525   (318) 325-5351
1840   OUR LADY OF BELLEFONTE HOSP.     100 ST. CHRISTOPHER DR                         ASHLAND             KY   41101        (606) 833-3167   (606) 833-3150
1841   OUR LADY OF LOURDES M.C.         1600 HADDON AVE                                CAMDEN              NJ   8103         (856) 757-3525   (856) 968-2591
1842   OUR LADY OF MERCY MEDICAL        600 E. 233RD STREET                            BRONX               NY   10466        (718) 920-1625   (718) 920-1629
1843   OUR LADY OF THE LAKE REG.MED     5000 HENNESSY BLVD                             BATON ROUGE         LA   70808        (225) 765-8931   (225) 767-1159
1844   OUTLET FASTENERS                 2742 CLOVIS AVENUE, SUITE 103                  CLOVIS              CA   93612        (559) 348-1230   (559) 348-9438
1845   OVERLAND TOOL INC                7905 NIEMAN RD                                 LENEXA              KS   66214        (913) 599-4044   (913) 599-3995
1846   OWENHOUSE HARDWARE CO            P O BOX 1187                                   BOZEMAN             MT   59715-1187   (406) 587-5401   (406) 587-5406
1847   OXARC INC *                      P O BOX 2605                                   SPOKANE             WA   99220        (509) 535-7794   (509) 535-0368
1848   OZARK BIOMEDICAL INC.            1001 COMMERCE PL.                              BEEBE               AR   72012        (800) 457-7576   (501) 882-2122
1849   P A HICKS + SONS INC             153 MAIN STREET                                COLEBROOK           NH   3576         (603) 237-5531   (603) 237-4190
1850   P J STOFANAK INC                 176 NAZARTH PIKE                               BETHLEHEM           PA   18020        (610) 759-9311   (610) 759-9350
1851   PACIFIC EXCHANGE PARTS REBUILD   7442 DEERING AVENUE                            Canoga Park         CA   91303        (818) 703-0865   (818) 703-0892
1852   PACIFIC INDUSTRIAL SUPPLY        1231 S DIRECTOR STREET                         SEATTLE             WA   98108-4802   (800) 622-3434   (206) 623-2173
1853   PACIFIC MEDTECHS                 12035 BURKE STREET, SUITE 9                    SANTA FE SPRINGS    CA   90670        (562) 946-4962   (562) 906-1657
1854   PACIFIC MOBILITY CENTER, INC.    1355 GRAND AVE , SUITE 102                     SAN MARCOSN         CA   92078        (760) 471-8884   (760) 471-4791
1855   PACIFIC NAIL & STAPLE            P O BOX 2774                                   KIRKLAND            WA   98083        (425) 828-6694   (425) 822-1667
1856   PACIFIC RESEARCH LABORATORIES    10221 SW 188TH ST                              VASHON ISLAND       WA   98070        (206) 463-5551   (206) 623-2173
1857   PACIFIC STEEL & RECYCLING        ATTN: A/P 901566                               GREAT FALLS         MT   59404        (406) 727-6222   (406) 453-4269
1858   PACIFIC SUPPLY CO                10900 S VERMONT AVE                            LOS ANGELES         CA   90044        (323) 757-3164   (323) 757-3164
1859   PACIFIC TOOL & EQUIPMENT         29505 S MERIDIAN RD                            HUBBARD             OR   97032        (503) 651-2011   (503) 651-2688
1860   PALMER WEST COLLEGE OF CHIRO     90 E. TASMAN DRIVE                             SAN JOSE            CA   95134-1617   (408) 944-6063   (408) 944-1617
1861   PALMETTO BAPTIST MED CTR         1330 TAYLOR AT MARION STREET                   COLUMBIA            SC   29220        (803) 296-5215   (803) 296-5157
1862   PALOS COMMUNITY HOSPITAL         12251 S. 80TH AVE                              PALOS HEIGHTS       IL   60463        (708) 923-4180   (708) 923-4197
1863   PANTUR INC                       P O BOX 6471                                   AUSTIN              TX   78762        (512) 385-6232   (512) 385-6253
1864   PARADAPT SERVICES                232 EAST BELT BOULEVARD                        RICHMOND            VA   23224        (804) 233-8267   (804) 233-8284
1865   PARADISE EQUIPMENT SERVICES      228 SE 8TH STREET                              MOORE               OK   73160        (405) 793-7381   (405) 793-0259
1866   PARADISE VALLEY HOSPITAL 00      ATT: TONY AYALA IN BIOMED                      SAN DIEGO           CA   91950        (619) 470-4401   (619) 472-4501
1867   PARAQUAD                         5240 OAKLAND AVENUE                            SAINT LOUIS         MO   63110        (314) 289-4272   (314) 289-4346
1868   PARIS PRIMARY CARE GROUP         1128 CLARKSVILLE #100                          PARIS               TX   75460        (903) 737-3130   (903) 739-7720
1869   PARK RIDGE HOSPITAL              PO BOX 1569                                    FLETCHER            NC   28732        (828) 681-2733   (828) 681-2138
1870   PARKER HUGHES INSTITUTE          2665 LONG LAKE ROAD STE 200                    ST PAUL             MN   55113        (651) 628-9988   (651) 628-9891
1871   PARKVIEW MEDICAL CENTER          400 W. 16th ST                                 PUEBLO              CO   81003        719/584-4680     719/584-4716
1872   PARKWAY REGIONAL MEDICAL CNTR    160 NW 170TH ST                                NORTH MIAMI BEACH   FL   33169        (305) 654-5038   (305) 654-5058
1873   PARTSSOURCE                      ATTN: ACCOUNTS PAYABLE                         AURORA              OH   44202        (330) 963-7030   (330) 963-7075
1874   PAS MRO, INC                     17791 SKY PARK CIRCLE, STE. A                  IRVINE              CA   92614        (949) 224-1507   (949) 224-1509
1875   PASCO REGIONAL MEDICAL CENTER    13100 FORT KING ROAD                           DADE CITY           FL   33525        (352) 521-1190   (352) 521-1542
1876   PASSAIC ELECTRICAL MOTOR SV      1317 MAIN AVENUE                               CLIFTON             NJ   7011         (973) 772-9355   (973) 772-1622
1877   PAT ROSS (THE SAKET CO)          7249 ATOLL AVENUE                              NORTH HOLLYWOOD     CA   91605-4105   (818) 764-0110   (818) 764-1305
1878   PATIENTS AIDS AND ACCESSORIES    4717 CRENSHAW BLVD.                            LOS ANGELES         CA   90043        (323) 292-0741   (323) 292-4479
1879   PATRIOT MEDICAL                  7100 COMMERCE WAY, SUITE 280                   BRENTWOOD           TN   37027        (615) 844-8800   (615) 844-8843 AP
1880   PAULISON RENTALS                 1390 MAIN AVE                                  CLIFTON             NJ   7011         (201) 546-0244   (201) 546-9211
1881   PCA AEROSTRUCTURES               17800 GOTHARD STREET                           HUNTINGTON BEACH    CA   92647        (714) 841-1750   (714) 841-1760
1882   PCX, INC                         17912 GOTHARD STREET                           Huntington Beach    CA   92647        (714) 374-3070   (714) 274-1123
1883   PDQ RENTALS                      10826 SHOEMAKER RD                             SANTA FE SPRING     CA   90670        (562) 944-3206   (562) 946-0847
1884   PEAK FASTENERS, INC              P O BOX 95845                                  SOUTH JORDAN        UT   84095        (801) 597-3222   (801) 571-1299
1885   PEAK SUPPLY & SERVICE CO.        504 CAMPUS DR.                                 WILLIAMSTOWN        NJ   8094         (856) 728-8382   (856) 728-8389
1886   PEARSON EQUIPMENT CO             P O BOX 10128                                  LYNCHBURG           VA   24506        (804) 845-5981   (804) 845-5982
1887   PENETRATIONS, INC                P O BOX 17367                                  SALEM               OR   97305        (800) 522-2673   (503) 743-3516
1888   PENINSULA MARINE & ELECTRIC      2916 NW BUCKLIN HILL ROAD #113                 SILVERDALE          WA   98368        (360) 271-5105   (360) 692-5250
1889   PERRYS ELECTRIC MTRS & CNTRLS    414 S WESTERN                                  Santa Maria         CA   93458        (805) 925-8761   (805) 925-8762
1890   PERSKIE PHOTOGRAPHICS            7718 BELAIR RD.                                BALTIMORE           MD   21236        (410) 663-9000   (410) 668-6640
1891   PETERSEN AUTO ELECTRIC           1750 INGRAM STREET                             SPRINGDALE          AR   72764        (479) 751-6720   (479) 872-2581
1892   PETRO BUILDERS, INC              10609 PAINTER AVENUE                           SANTA FE SPRINGS    CA   90670        (562) 946-2285   (562) 946-5395




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       Name                             Includes Plaintiff's suggested addresses                                            phone            Fax
1893   PFIZER INC*                      NORTH AMERICAN SHARED SVCS                     BARTLETT           TN   38184        (212) 573-2974   (212) 573-3240
1894   PHASOR ENGINEERING SERVICES      14 INDUSTRIAL PARK PLACE                       Middletown         CT   6457         (860) 635-9777   (860) 635-9888
1895   PHELPS MEMORIAL HOSPITAL         701 N. BROADWAY                                SLEEPY HOLLOW      NY   10591        (914) 366-3230   (914) 366-1316
1896   PHILIPS HEALTHCARE               GS&S USA, FUNLOC 149316                        PORTLAND           OR   97204        (615) 472-2258   (615) 472-2272
1897   PHILIPS MEDCARE                  3101 EMMONS AVE.                               BROOKLYN           NY   11235        (718) 646-8732   (718) 646-0795
1898   PHILIPS MEDCARE                  595 MINER ROAD                                 CLEVELAND          OH   44143        (212) 241-4523   (212) 828-4207
1899   PHILLIPS TOOL REPAIR             22950 KINGS HIGHWAY                            RANDOLPH           VA   23962        (434) 735-8229   (434) 735-8335
1900   PHOENIX ELECTRIC                 1623 WILSON AVENUE                             YOUNGSTOWN         OH   44506        (330) 744-8441   (330) 744-8446
1901   PHOENIX TOOL REPAIR              1300 17TH STREET                               RACINE             WI   53403        (414) 635-0101   (414) 635-0222
1902   PHOENIX WELDING SUPPLY           701 S. 7TH STREET                              PHOENIX            AZ   85034        (602) 253-1108   (602) 258-3187
1903   PHOENIXVILLE HOSPITAL            140 NUTT ROAD                                  PHOENIXVILLE       PA   19460        (610) 983-1472   (610) 983-1703
1904   PHYSICIANS FORMULA               1055 W. 8TH STREET                             AZUSA              CA   91702        (626) 334-3395   (626) 812-6009
1905   PICATTI BROS                     P O BOX 9576                                   YAKIMA             WA   98909        (509) 248-2540   (509) 248-1450
1906   PICKER INTERNATIONAL             FROM PARTNER # 10005954                        MAYFIELD VILLAGE   OH   44143        (505) 272-2251   (847) 821-1065
1907   PIEDMONT ELECTRIC REPAIR CTR     P O BOX 1732                                   LINCOLNTON         NC   28093        (704) 736-4368   (704) 736-4369
1908   PIEDMONT POWER MACHINE SERVICE   4994-C INDIANA AVE                             WINSTON-SALEM      NC   27106        (336) 759-2022   (336) 759-2290
1909   PIKE COMMUNITY HOSPITAL          100 DAWN LANE                                  WAVERLY            OH   45690        (740) 947-2186   (740) 947-6369
1910   PIKEVILLE METHODIST HOSPITAL     911 S. Bypass Rd.                              PIKEVILLE          KY   41501        606-218-3500     606-437-7560
1911   PINPOINT CORPORATION             1124 SOUTH LEWIS AVE                           TULSA              OK   74104        (918) 584-6500   (918) 584-6150
1912   PKP REHAB, INC.                  1600 PROVIDENCE HWY                            WALPOLE            MA   2081         (508) 660-2105   (508) 660-9015
1913   PLACER EQUIPMENT RENTALS         305 GRASS VALLEY HWY                           AUBURN             CA   95603        (916) 885-7085   (916) 885-4725
1914   PLAINS ELECTRIC LTD CO           OUT OF BUSINESS DO NOT USE****                 HELENA             MT   59604        (406) 449-3385   (406) 449-6877
1915   PLAINS TOOL REPAIR               1305 ORANGE AVENUE                             HELENA             MT   59601        (406) 443-2686   (406) 495-1063
1916   PLATINUM SURGICAL                6217 CHERMONT ST. NW                           CANTON             OH   44718        (330) 244-8939   (330) 966-1344
1917   PMA SERVICES INC.                2098 2ND STREET                                Norco              CA   92860        (800) 334-1159   (909) 270-0393
1918   PME REPAIRS & SALES              44-19 VERNON BLVD                              LONG ISLAND CITY   NY   11101        (718) 786-6737   (718) 786-6734
1919   PNEUMATIC NAILERS AKA PROF ENG   495 W MAIN STREET                              CANFIELD           OH   44406        (330) 533-6636   (330) 533-5235
1920   PORTEOUS FASTENER COMPANY        1040 WATSON CENTER ROAD                        CARSON             CA   90745        (310) 549-9180   (310) 834-0871
1921   POSNER INDUSTRIES INC            8641 EDGEWORTH DRIVE                           CAPITOL HEIGHTS    MD   20743-3798   (301) 350-1000   (301) 350-1050
1922   POTTER ROEMER LLC                17451 HURLEY STREET                            CITY OF INDUSTRY   CA   91744        (626) 855-4890   (626) 937-4728
1923   POTTSTOWN MEMORIAL MED CTR       1600 EAST HIGH STREET                          POTTSTOWN          PA   19464-5093   (610) 327-7440   (610) 970-3136
1924   POUSSONS TOOL & FASTENERS CO*    P O BOX 6473                                   LAKE CHARLES       LA   70606        (318) 477-9401   (318) 477-2425
1925   POWELL VALLEY HEALTH CARE        777 AVE. H                                     POWELL             WY   82435        (307) 754-2267   (307) 754-1245
1926   POWER ELECTRIC MOTORS            4446 Live Oak Ave                              ARCADIA            CA   91006        626-447-1298     (626) 447-0534
1927   POWER TOOL EQUIP RENTAL          919 MAIN STREET                                WOBURN             MA   1801         (781) 933-1902   (781) 935-3297
1928   POWER TOOL REPAIR                6819 S 3RD ST. RD.                             WACO               TX   76706        (254) 662-5969   (254) 662-5949
1929   POWER TOOL SERVICE               P O BOX 2004                                   MECHANICSBURG      PA   17055        (717) 766-7636   (717) 766-1101
1930   POWER TOOL SERVICE *             16511 BURKE LANE                               HOUSTON            TX   77223-0506   (713) 228-0100   (713) 228-0619
1931   POWER TOOL SERVICE CTR           660 E 19TH STREET, UNIT 100                    TUCSON             AZ   85719        (520) 884-8974   (520) 882-2939
1932   POWER TRANSMISSION SPECIALTIES   8803 SORENSEN AVENUE                           SANTA FE SPRINGS   CA   90670        (562) 907-7650   (562) 907-7666
1933   POWERHOUSE DISTRIBUTING, INC     11011 "I" STREET                               OMAHA              NE   68137        (888) 809-4749   (402) 715-5998
1934   POWERITE ELECTRIC MOTOR CO       513 E OAKLAND AVE                              AUSTIN             MN   55912        (507) 437-4311   (507) 437-4311
1935   POWERS RENTALS & SALES           210 W MARKET STREET                            SALINAS            CA   93901        (408) 424-2968   (408) 753-9530
1936   PRAIRIE MOUNTAIN ELEC MTR        HIGHWAY 12                                     BOWMAN             ND   58623        (701) 523-5792   (701) 523-5792
1937   PRECISION DRIVE & CONTROL *      504 11TH ST                                    MONROE             WI   53566        (815) 233-5000   (815) 233-5006
1938   PRECISION FABRICATION, INC       1009 11TH COURT WEST                           BIRMINGHAM         AL   35204        (205) 252-0699   (205) 252-2627
1939   PRECISION INTERNATIONAL, INC     305 PALM BLVD                                  BROWNSVILLE        TX   78520        (956) 982-2083   (956) 982-2085
1940   PRECISION PARTS                  P O BOX 2279                                   RANCHO CUCAMONGA   CA   91729-2279   (909) 989-5889   (909) 989-7304
1941   PRECISION PLUMBING INC.          P O BOX 216                                    GOLDSBORO          NC   27533        (919) 736-3773   (919) 736-3319
1942   PRECISION SHARPENING & REPAIR    11697 N TONGASS HWY                            KETCHIKAN          AK   99901        (907) 247-8732   (907) 247-8732
1943   PRECISION WATERJET & LASER       880 W. CROWTHER AVE                            Placentia          CA   92870        (888) 538-9287   (714) 289-4449
1944   PREFERRED DIAGNOSTIC EQUIP SVC   1241 CARBIDE DRIVE                             CORONA             CA   92881        (800) 340-0760   (951) 272-4241
1945   PREFERRED FREEZER SV OF LA       3100 E WASHINGTON BLVD                         LOS ANGELES        CA   90023        (323) 526-4134   (323) 526-4148
1946   PREFERRED INDUSTRIAL CONTROLS    9404 PICO VISTA ROAD                           DOWNEY             CA   90240        (562) 222-2215   (562) 222-2215
1947   PREMIER                          ATTN: CTS / ACCOUNTING DEPT.                   CHARLOTTE          NC   28217        (704) 733-5564   (704) 529-5434
1948   PREMIER MAILING SERVICE          14522 GARFIELD AVE                             Paramount          CA   90723        (562) 408-2134   (562) 408-2168
1949   PREMIUM LIFT TRUCK               1361 N. HUNDLEY STREET                         Anaheim            CA   92806        (714) 632-5339   (714) 632-5340
1950   PRESHERS SERVICE CENTER INC      785 NE 19TH PLACE UNIT B                       CAPE CORAL         FL   33909-5196   (239) 574-2540   (239) 574-2519
1951   PRIDE EQUIPMENT CORP             150 NASSAU AVENUE                              ISLIP              NY   11751-3220   (631) 224-5000   (631) 224-2693
1952   PRIEST ELECTRIC SERVICE *        P O BOX 935                                    CALDWELL           ID   83605        (208) 459-6351   (208) 459-6586
1953   PRIME ELECTRIC MOTORS, INC       72 SANFORD DRIVE                               Gorham             ME   4038         (207) 591-7800   (207) 591-7803
1954   PRIME HEALTHCARE SVCS LLC        dba Garden CIty Hospital                       GARDEN CITY        MI   48135        (734) 421-3300   734-422-0273
1955   PRINTCO GRAPHICS, INC            2943 SUPPLY AVENUE                             LOS ANGELES        CA   90040        (323) 727-6868   (323) 727-6878
1956   PRIOR REMANUFACTURING, INC       P O BOX 462167                                 GARLAND            TX   75046        (972) 494-4254   (972) 276-2729
1957   PRIORITY ONE/WSS INC             204 N FRONT STREET                             ROANOKE            TX   76262        (800) 548-5289   (817) 491-8732
1958   PRL GLASS SYSTEMS, INC           14760 DON JULIAN ROAD                          CITY OF INDUSTRY   CA   91746        (626) 961-5890   (626) 923-1986
1959   PRO RENTALS / UNITED RENTALS *   P O BOX 3010                                   BREMERTON          WA   98310        (360) 373-1234   (360) 373-1696
1960   PRO TECH ELECTRIC SVCE           711 W FOOTHILL BLVD                            UPLAND             CA   91786        (909) 920-9772   (909) 920-9881
1961   PRO TOOL SERVICE *               P O BOX 2248                                   BYRON              GA   31008        (478) 825-3268   (478) 825-7106
1962   PRO TOOLS INC                    126 CALVARY ST                                 WALTHAM            MA   2454         (617) 899-0790   (617) 899-2482
1963   PROCESSING TOMATO ADVISORY BOA   1947 Galileo Ct., Suite #102                   Davis              CA   95617-1800   530-759-7501     530-759-7504
1964   PROFESSIONAL CLINICAL LABS       ATT: ACCOUNTS PAYABLE                          LOS ANGELES        CA   90048        (310) 360-0333   (310) 360-0666
1965   PROFESSIONAL ELECTRIC MTR RPR    1106 E BELL STREET                             BLOOMINGTON        IL   61701        (309) 829-3552   (309) 829-1362
1966   PROFESSIONAL HOME HEALTH CARE    24706 MICHIGAN AVE                             DEARBORN           MI   48124        (313) 277-2160   (313) 277-3079
1967   PROFESSIONAL POWER TOOL REP      P O BOX 484                                    GRESHAM            OR   97030        (503) 491-0646   (503) 667-9538
1968   PROGRESSIVE ELEC SV              10621 BLOOMFIELD AVE., #19                     LOS ALAMITOS       CA   90720        (562) 493-0904   (562) 493-0905
1969   PRONTO DRILLING, INC             9501 SANTA FE SPRINGS                          SANTA FE SPRINGS   CA   90670        (562) 777-0900   (562) 777-0901
1970   PROTEX INTERNATIONAL CORP        180 KEYLAND COURT                              BOHEIMIA           NY   11716        (631) 563-4250   (631) 563-4206
1971   PROVENA ST.JOSEPH'S MED CTR.     333 MADISON STREET                             JOLIET             IL   60435        (815) 725-7133   (815) 741-7156
1972   PROVIDENCE CENTRAILIA HOSPITAL   P.O. BOX 1507                                  CHEHALIS           WA   98532        (360) 330-8635   (360) 330-8552
1973   PROVIDENCE GEN MED CENTER        PO BOX 1227                                    EVERETT            WA   98206        (425) 258-7494   (425) 258-7337
1974   PROVIDENCE HOSPITAL              1150 VARNUM STREET N.E.                        WASHINTON          DC   20017        (202) 269-7779   (202) 269-7669
1975   PROVIDENCE MEDICAL CENTER        8929 Parallel Pkwy.                            KANSAS CITY        KS   66112        913/596-4000     913/596-5017
1976   PROVIDENCE MEMORIAL HOSP         PO BOX 981019                                  EL PASO            TX   79998-1019   (915) 577-6691   (915) 577-6558
1977   PROVIDENCE WASH SVC CTR (PCH)    A/P CENTRALIA HOSPITAL                         SEATTLE            WA   98138        (360) 330-8581   (360) 330-8552
1978   PROVIDENT HOSP OF COOK COUNTY    500 EAST 51ST STREET                           CHICAGO            IL   60615        (312) 572-1344   (312) 572-1357




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       Name                             Includes Plaintiff's suggested addresses                                            phone            Fax
1979   PRUDENTIAL LIGHTING              1774 E 21ST ST                                 LOS ANGELES        CA   90058        (213) 746-0360   (213) 467-1022
1980   PUGET SOUND BLOOD CENTER         921 TERRY AVE.                                 SEATTLE            WA   98104        (206) 292-6561   (206) 292-2532
1981   PUGET SOUND SURGICAL, INC        920 CENTER STREET                              TACOMA             WA   98409        (253) 572-3827   (253) 572-0428
1982   PUGET SOUND SURGICAL,INC.        920 CENTER STREET                              TACOMA             WA   98409        (253) 572-3827   (253) 572-0428
1983   PUSH PEDAL PULL / GET FIT, INC   9401 73rd Ave. N., #100                        Brooklyn Park      MN   55428        763-398-0777     703-230-7616
1984   PYRAMED INC                      2085 SPERRY AVE #A                             VENTURA            CA   93003        (805) 289-1090   (805) 289-1099
1985   PYRAMED, INC.                    2085 SPERRY AVE STE A                          VENTURA            CA   93003        (805) 289-1090   (805) 289-1099
1986   Q TECH CORPORATION               10150 W JEFFERSON BLVD                         CULVER CITY        CA   90232-3502   (310) 836-7900   (310) 836-2157
1987   QUALITY CRAFT MOLDS, INC         6424 WOODWARD DR.                              Magalia            CA   95954-8709   (530) 873-7790   (530) 873-7792
1988   QUALITY AIRCRAFT ACCESSORIES     5746 E. Apache St.                             Tulsa              OK   74115        918-835-6948     918-835-2804
1989   QUALITY ARMATURE, INC.           5259 W. GRAND AVENUE                           CHICAGO            IL   60639        (773) 622-3951   (773) 622-3952
1990   QUALITY ELECTRIC CO              P O BOX 207                                    EL DORADO          AR   71731        (501) 862-9958   (501) 862-9957
1991   QUALITY RENTAL & REPAIRS         1680 EVANS AVENUE                              SAN FRANCISCO      CA   94124        (415) 285-1123   (415) 285-1455
1992   QUALITY SAW WORKS                1 LOOMIS ST                                    SAN FRANCISCO      CA   94124        (415) 282-3060   (415) 285-1455
1993   QUALITY SERVICE & REPAIR         17983 STRAWBERRY LANE #A                       ANDERSON           CA   96007        (530) 365-5505   (530) 365-5449
1994   QUALITY TEAM, INC.               3740 Sillect Ave., Unit 1B                     Bakersfield        CA   93308        661-327-5500     661-327-5503
1995   QUALITY TOOL REPAIR              39 WEDGEWOOD DR, SUITE K                       JEWETT CITY        CT   6351         (860) 376-5634   (860) 376-5639
1996   QUALITY TOOL REPAIR              2960 MAYWOOD DRIVE #12                         KLAMATH FALLS      OR   97603        (541) 883-5870   (541) 883-2831
1997   QUEST DIAGNOSTICS                6600 S.W. HAMPTON STREET                       PORTLAND           OR   97223        (503) 306-1292   (503) 306-1294
1998   QUINN LABEL PRINTING SYSTEMS     5530 TECH CIRCLE                               MOORPARK           CA   93021        (805) 531-8933   (805) 531-8935
1999   R & A ELECTRIC SERVICE INC       571 N CHICAGO STREET                           JOLIET             IL   60432        (815) 727-4964   (815) 727-4929
2000   R & D DYNAMICS CORP.             49 WEST DUDLEY TOWN                            BLOOMFIELD         CT   6002         (860) 726-1204   (860) 726-1206
2001   R & G ELECTRONIC SPECIALTY INC   ATTN: ROY SAPP                                 THOUSAND OAKS      CA   91362-2140   (912) 384-0242   (805) 449-2052
2002   R & H ELECTRIC MOTOR REPAIR      200 WEST LOOP 340                              WACO               TX   76712        (254) 741-1868   (254) 741-1897
2003   R & L ELECTRIC MTR & HAND TOOL   14584 OAKWOOD CT                               SONORA             CA   95370        (209) 532-3042   (209) 532-7745
2004   R & M ELECTRIC MOTOR SERVICE     5715 SOUTHFRONT ROAD, BLDG A-1                 LIVERMORE          CA   94551        (925) 449-3414   (925) 449-3555
2005   R & R ELECTRIC SERVICE INC       2034 GRIFFITH BLVD                             GRIFFITH           IN   46319        (219) 923-1400   (219) 923-1834
2006   R C SERVICES                     13280 RIVER OAKS BLVD                          BEAUMONT           TX   77713-9433   (409) 753-2239   (409) 753-1223
2007   R J ELECTRIC                     1851 AYERS WAY                                 BURBANK            CA   91501        (818) 848-6761   (818) 567-4120
2008   R L SOHOL CARPENTER CONTR, INC   P O BOX 2135                                   NAPERVILLE         IL   60567        (815) 436-3233   (815) 436-7555
2009   R S SERVICE                      1043 KNOLLCREST                                COVINA             CA   91724        (626) 966-9433   (626) 331-7508
2010   R W SUPPLIES                     952 GOODE LANE N E                             SILVERTON          OR   97381-9512   (503) 873-8124   (503) 873-9524
2011   R.J. REYNOLDS HOSPITAL           18688 JEB STUART HWY.                          STUART             VA   24171        (276) 694-8645   (276) 694-8660
2012   RACE INDUSTRIES INC              1961-A MIRALOMA                                PLACENTIA          CA   92670        (714) 993-1060   (714) 993-1088
2013   RADABAUGH ELECTRIC CO            189 2ND STREET NW                              BARBERTON          OH   44203        (330) 745-2151   (330) 745-9496
2014   RADIO RESEARCH, LTD.             611 N LAURA STREET                             LA HABRA           CA   90631        (562) 691-7015   (562) 697-3230
2015   RADIOGRAPHIC EQUIPMENT SVCS      ATTN: ACCOUNTS PAYABLE                         SAN DIEGO          CA   92126        (858) 586-9375   (858) 586-9380
2016   RAILWAY DISTRIBUTING INC         264 RAILWAY AVE                                CAMPBELL           CA   95008        (408) 374-5349   (408) 866-9266
2017   RAINBOW RENTAL INC               6-105-A ELECTRONIC DRIVE                       SPRINGFIELD        VA   22151        (703) 916-0800   (703) 916-8013
2018   RAKAR, INC                       1700 EMERSON AVENUE                            Oxnard             CA   93033        (805) 487-2721   (805) 483-2778
2019   RAM INDUSTRIAL SERVICES, INC *   2850 APPLETON ST., STE D                       CAMP HILL          PA   17011        (610) 916-8000   (610) 916-0156
2020   RAMCAR BATTERIES INC             2700 CARRIER AVE                               COMMERCE           CA   90040        (213) 726-1212   (213) 722-2140
2021   RAMSING ELECTRIC REPAIR INC      914 EMERSON AVE                                SYRACUSE           NY   13204        (315) 468-1712   (315) 468-0408
2022   RANDYS MOBILITY                  211 E. Tillman Ave.                            LAKE WALES         FL   33859        863/679-1550     863/679-8570
2023   RAPID CITY REGIONAL HOSP         P.O. BOX 6000                                  RAPID CITY         SD   57709        (605) 341-7230   (605) 399-4703
2024   RAPID MANUFACTURNING             1044 W. GROVE AVENUE                           ORANGE             CA   92865        (714) 974-2432   (714) 279-1935
2025   RAPID TOOL & EQUIPMENT           1128 BATAVIA CT                                TULARE             CA   93274-6670   (209) 625-8665   (209) 685-0622
2026   RAPID TOOL REPAIR                211 ORCHARDVIEW CIRCLE                         CENTRAL POINT      OR   97502        (541) 664-2594   (541) 665-0712
2027   RATNIK INDUSTRIES, INC.          670 PHILLIPS RD.                               VICTOR             NY   14564        (716) 924-9111   (716) 924-4936
2028   RAYMOND HANDLING SOLUTIONS **    9939 NORWALK BLVD                              SANTA FE SPRINGS   CA   90670        (562) 944-8067   (562) 941-7907
2029   RAYTHEON SUPPORT SERVICE CO      HAGERMEYER Attn: Accounting                    ALPHARETTA         GA   30022        (619) 571-1555   (619) 571-1038
2030   RBC MFG-LEESON                   3750 SOLUTIONS CENTER                          CHICAGO            IL   60677-3007   (715) 675-3311   (715) 675-8057
2031   RBS ENGINEERING LLC              8200 E. PACIFIC PLACE #202                     DENVER             CO   80231        (303) 597-1888   (303) 597-1890
2032   RCR COMPANIES                    5040 SOBB AVENUE                               LAS VEGAS          NV   89139        (702) 261-0510   (702) 261-0522
2033   RCR COMPANIES-SACRAMENTO         8351 VALDEZ AVENUE                             SACRAMENTO         CA   95828        (916) 669-2700   (916) 669-2711
2034   READY RENT-ALL INC               4400 SNAPFINGER WOODS DR                       DECATUR            GA   30035        (770) 987-5500   (770) 987-5680
2035   RECCO TOOL & SUPPLY              8805 JOLIET ROAD                               MC COOK            IL   60525        (708) 442-7850   (708) 442-7871
2036   RED BLUFF INDUSTRIAL ELECTRIC    455 MONROE                                     RED BLUFF          CA   96080        (530) 527-5104   (530) 527-2430
2037   REDDING MEDICAL CENTER           P.O. BOX 491810                                REDDING            CA   96049        (530) 244-8343   (530) 244-5351
2038   REDDING TOOL & EQUIPMENT         4305-A CATERPILLER #1                          REDDING            CA   96003        (530) 241-7969   (530) 241-7653
2039   REDHAWK INDUSTRIAL SUPPLY        fna E & W TOOL AND SUPPLY INC                  MULBERRY           FL   33860-1004   (863) 425-3077   (863) 425-4523
2040   REDLANDS COMMUNITY HOSPITAL      P.O. BOX 3391                                  REDLANDS           CA   92373-0742   (909) 335-5549   (909) 335-6405
2041   REDMED                           9330 JERSEY BLVD                               RANCHO CUCAMONGA   CA   91730        (909) 930-5166   (909) 980-3898
2042   REDS ELECTRIC MOTORS, INC        2300 6TH STREET                                BREMERTON          WA   98312        (360) 377-3903   (360) 377-2234
2043   REDSIL SALES & SERVICE           14372 OLD HUNTER ROAD                          BROOKSVILLE        FL   34601        (352) 796-4379   (352) 796-4379
2044   REED ELECTRIC & FIELD SV         5375 LOUIE LANE                                RENO               NV   89511        (775) 824-7333   (775) 824-7344
2045   REED ELECTRIC MOTOR SHOP         710 S MC CLELLAN STREET                        WARSAW             IN   46580        (219) 267-6631   (219) 267-6633
2046   REGAL MARINE INDUSTRIES          2300 JETPORT DR                                ORLANDO            FL   32809-7895   (407) 851-4360   (407) 855-5948
2047   REHAB HEALTH CARE                2135 STAPLES MILL ROAD                         RICHMOND           VA   23230        (804) 353-7244   (804) 353-5976
2048   REHAB MOBILITY SERVICE           1319 CENTRAL AVE # A                           SANTA ROSA         CA   95401        (707) 523-0516   (707) 523-2849
2049   REHAB SPECIALISTS, INC.          2557 WYANDOTTE STREET                          MOUNTAIN VIEW      CA   94043        (650) 965-8282   (650) 966-8108
2050   REHABILITATION DESIGNS           6307 DESOTO AVE. STE E                         WOODLAND HILLS     CA   91367        (818) 713-9720   (818) 713-1278
2051   REHABILITATION EQUIP PROFFESIO   5130 DUKE STREET, SUITE 12                     ALEXANDRIA         VA   22304        (703) 370-2100   (703) 370-7985
2052   REHOBOTH McKINLEY HOSPITAL       1901 RED ROCK DRIVE                            GALLUP             NM   87301        (505) 863-7161   (505) 863-7224
2053   RELIABLE CONTAINER CORP          9206 SANTA FE SPRINGS ROAD                     Santa Fe Springs   CA   90670        (562) 861-6226   (562) 861-3969
2054   RELIABLE MEDICAL REPAIR          7346 TROTTER ROAD                              CAMBY              IN   46113        (317) 856-3820   (317) 856-3820
2055   RELIABLE TOOL SVCE               91-B Moffitt Blvd.                             Bay Shore          NY   11706        631-581-8180     631-581-0924
2056   RELIANCE ELECTRIC                573 SOUTH CANAL STREET                         HOLYOKE            MA   1040         (413) 533-3557   (413) 536-9939
2057   RELIANCE ELECTRIC                320 RELIANCE DRIVE                             WASHINGTON         PA   15301-6196   (724) 225-2900   (724) 225-4309
2058   RELIANCE ELECTRIC CO             Subsidiary of Baldor Company                   FORT SMITH         AR   72902-2400   (479) 646-4711   (479) 648-5894
2059   REM ELECTRIC, INC                716 S 6TH STREET                               NEBRASKA CITY      NE   68410        (402) 314-2576   (402) 874-9054
2060   REMOTE SOLUTIONS, LLC            2540 N. JACKRABBIT AVENUE                      TUCSON             AZ   85745        (520) 628-4378   (520) 628-4568
2061   RENAL CARE GROUP, INC            5215 N. O'CONNOR BLVD, STE 490                 IRVING             TX   75039        (713) 774-1508   (713) 774-3804
2062   RENO HARDWARE & SUPPLY *         2901 THORNTON                                  BURBANK            CA   91504        (818) 842-3667   (818) 842-3668
2063   RENT ALL STORE INC               2510 DODDS AVE                                 CHATTANOOGA        TN   37407        (615) 698-2531   (615) 698-7835
2064   RENT RITE                        P O BOX 4158                                   DUNELLEN           NJ   8812         (908) 752-6400   (908) 752-9119




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       Name                             Includes Plaintiff's suggested addresses                                            phone            Fax
2065   RENTAL CENTER USA, INC           2229 S CHURCH STREET                           BURLINGTON         NC   27215        (910) 570-1742   (910) 570-1232
2066   RENTAL CITY INC *                130 S MAIN                                     LONGMONT           CO   80501        (303) 776-0797   (303) 776-0509
2067   RENTAL LAND INC                  1922 INDEPENDENCE                              CAPE GIRARDEAU     MO   63703        (573) 334-7186   (573) 334-8440
2068   RENTAL MAX LLC /GENERAL RNTL *   908 E. ROOSEVELT RD                            WHEATON            IL   60187        (630) 221-1133   (630) 221-1144
2069   RENTAL SOLUTIONS, LLC            5505 BROADWAY (HWY29)                          AMERICAN CANYON    CA   94503        (707) 251-9953   (707) 251-9779
2070   RENTAL WORKS-LANHAM              9361 LANHAM SEVERN RD                          LANHAM             MD   20706        (301) 459-6200   (301) 574-4731
2071   RENTAL WORLD, LLC                1020 E BUSINESS 83                             MC ALLEN           TX   78501        (956) 630-5222   (956) 630-3566
2072   RENTALEX OF MICHIGAN, INC        3928 S WESTNEDGE                               KALAMAZOO          MI   49008        (269) 978-9700   (269) 978-9701
2073   RENTALEX OF PASCO INC            11031 SR 52                                    HUDSON             FL   34669        (727) 819-0606   (727) 379-8640
2074   RENTALEX TOOLS & EQUIPMENT       1022 SKIPPER ROAD                              TAMPA              FL   33613        (813) 971-9990   (813) 971-8640
2075   RESEARCH LABORATORIES INC.       6209 DISCOUNT DRIVE                            FORT WAYNE         IN   46818        (260) 489-2551   (260) 489-9834
2076   RESIDUAL MATERIALS INC           222 RED DOT                                    GRAND FORKS        ND   58203        (701) 746-9381   (701) 772-2008
2077   REULAND ELECTRIC CO              17969 E RAILROAD STRET                         CITY OF INDUSTRY   CA   91748        (626) 964-6411   (626) 964-3360
2078   REX ELECTRIC MOTORS              100 NEW YORK AVE                               HUNTINGTON         NY   11743-2781   (516) 421-4480   (516) 421-4480
2079   REXEL UNITED ELECTRICAL SPLY *   1530 FAIRVIEW                                  ST LOUIS           MO   63132        (314) 427-3333   (314) 427-3618
2080   REYNOLDS ARMY COMMUNITY HOSP.    4301 MOW WAY ROAD                              FORT SILL          OK   73503        (580) 458-2128   (580) 458-2465
2081   RG TOOL                          1160 COLLIER ROAD                              AKRON              OH   44320        (330) 836-9650   (330) 777-5689
2082   RIALTO MEDICAL SUPPLIES INC.     1517 SOUTH RIVERSIDE AVE.                      RIALTO             CA   92376-7725   (909) 874-4111   (909) 874-4112
2083   RICE ELECTRIC CO                 P O BOX 429                                    EIGHTY FOUR        PA   15330        (724) 225-4180   (724) 222-6591
2084   RICHARD KOWALEWSKI               13 LUSK AVENUE                                 HALLSTEAD          PA   18822        (570) 879-2897   (570) 879-2897
2085   RICON CORPORATION                7900 NELSON RD                                 PANORAMA CITY      CA   91402        (818) 267-3000   (818) 267-3001
2086   RICON INC/TAYLOR RENTAL          337 BELMONT STREET                             BROCKTON           MA   02401-4989   (508) 584-0024   (508) 580-5761
2087   RISSER ORTHOPAEDIC GROUP         2627 EASET WASHINGTON BLVD.                    PASADENA           CA   91107        (626) 797-2002   (626) 798-0567
2088   RITE KUT SAW & TOOL              P O BOX 73808                                  LOS ANGELES        CA   90003        (323) 971-2004   (323) 971-2742
2089   RITE WAY ELECTRIC                261 SIXTH ST                                   SAN FRANCISCO      CA   94103        (415) 882-4444   (415) 882-9314
2090   RIVER CITY ELECTRONICS CO        4261 BLUE STAR HWY                             HOLLAND            MI   49423        (616) 393-2100   (616) 722-0641
2091   RIVER CITY ELECTRONICS CO        418 W HACKLEY AVE                              MUSKEGON           MI   49444        (616) 722-2002   (616) 722-0641
2092   RIVER CITY REPAIR *              P O BOX 428                                    Walcott            IA   52773-0428   (563) 529-4508   (563) 284-9200
2093   RIVERSIDE COUNTY REG. M.C.       26520 CACTUS AVE.                              MORENO VALLEY      CA   92555        (909) 486-4075   (909) 486-4105
2094   RNR INC dba RUBEY ENGINE & ELC   P O BOX 220430                                 ANCHORGE           AK   99522-0430   (907) 336-5152   (907) 336-5153
2095   ROBERSON RENT ALL                700 KNICKERBOCKER RD                           SAN ANGELO         TX   76903        (800) 447-4051   (915) 653-4471
2096   ROBERT WOOD JOHNSON UNIV         ATTN: ACCOUNTS PAYABLE                         NEW BRUNSWICK      NJ   8901         (732) 828-3000   (732) 937-8941
2097   ROBERT'S HOME MEDICAL, INC.      ATTN:ACCOUNTS PAYABLE                          ROCKVILLE          MD   20855        301-353-0300     301-916-2659
2098   ROBERT'S WHEELCHAIR, INC.        367 E. ALONDRA BLVD.                           GARDENA            CA   90248        (310) 527-6930   (310) 527-2949
2099   ROBINSON MEMORIAL HOSPITAL       PO BOX 1204                                    RAVENNA            OH   44266        (330) 297-0811   (330) 297-2793
2100   ROBISONS INC                     1440 N MAIN ST                                 CEDAR CITY         UT   84720        (435) 586-0222   (435) 586-1338
2101   ROCHESTER GENERAL HOSPITAL       1425 Portland Ave                              ROCHESTER          NY   14610        0                (585) 922-5793
2102   ROCKLIN TOOL REPAIR              4235 PACIFIC ST., SUITE C                      ROCKLIN            CA   95677        (916) 660-9783   (916) 660-9784
2103   ROCKWELL AUTOMATION              RELIANCE ELECTRIC ATTN: A/P                    MILWAUKEE          WI   53201        (219) 934-5260   (219) 934-5103
2104   ROCKY MOUNTAIN ELECTRIC MOTORS   ROCKY MOUNTAIN ELECTRIC MOTORS                 GRAND JUNCTION     CO   81502        (970) 242-9980   (970) 242-9903
2105   ROCKY MOUNTAIN EQUIPMENT         2295 BUSCH AVE., UNIT 4                        COLORADO SPRINGS   CO   80904        (719) 577-9228   (719) 448-9861
2106   ROD'S ELECTRIC MTR REPAIR        157 IVY STREET                                 RUTLAND            VT   5701         (802) 773-9146   (802) 786-0953
2107   ROGERS ELECTRIC CO., INC         312 INDUSTRIAL ROAD                            EL DORADO          AR   71730        (870) 862-3322   (870) 862-3344
2108   ROGERS ELECTRIC MOTOR SERVICE    205 EAST 22ND AVENUE                           MILBANK            SD   57252        (605) 432-6990   (605) 432-4840
2109   RON ANDREWS MEDICAL CO., INC.    117 CARLOS DR.                                 SAN RAFAEL         CA   94903        (415) 492-1770   (415) 492-0781
2110   RON PIEARCY'S PUMP & MTR         PO BOX 4004                                    SALINAS            CA   93912-4004   (831) 443-3998   (831) 809-1615
2111   RONCO TECHNICAL SERVICE          1132 PARK AVE.                                 PLAINFIELD         NJ   7060         (800) 635-2006   (908) 753-0024
2112   ROSEMEAD DIALYSIS CENTER         7403 HELLMAN AVE.                              ROSEMEAD           CA   91770        (626) 280-6161   (626) 280-7887
2113   ROTEK SERVICES                   955 N. MOSLEY STREET                           Wichita            KS   67214        (316) 263-3131   (216) 201-4170
2114   ROUTE 12 RENTAL CO INC           1306 EAST RAND ROAD                            ARLINTON HEIGHTS   IL   60004        (847) 253-4404   (847) 577-0731
2115   ROYAL ELECTRICAL                 820 W 2ND STREET                               PUEBLO             CO   81003        (719) 546-0442   (719) 546-0462
2116   ROYAL SEWING MACHINE CO., INC.   2304 S. MAIN ST.                               Los Angeles        CA   90007        213-745-6600     213-745-7080
2117   RPM SCOOTERS SALES & SERVICE     1416 W. 4TH ST.                                ONTARIO            CA   91762        (909) 984-8323   (800) 715-4431
2118   RUDDELLS TOOL REPAIR             21140 COUNTRY PARK ROAD                        SALINAS            CA   93908        (408) 455-1374   (408) 455-8438
2119   RUDY'S REPAIR SERVICE            509 MARBURY STREET                             PEARL              MS   39208        (601) 954-5641   (601) 939-5598
2120   RUNYON EQUIPMENT RENTAL          410 W CARMEL DRIVE                             CARMEL             IN   46032        (317) 691-7278   (317) 846-2361
2121   RUSSELL'S CRANE SERVICE INC      1645 W ORANGEWOOD AVE                          ORANGE             CA   92868        (714) 771-8522   (714) 771-7083
2122   S & G ELECTRIC MOTOR REPAIR      P O BOX 881                                    BLACKFOOT          ID   83221        (208) 785-5121   (208) 785-5172
2123   S & S ELECTRIC MOTOR SV., INC    1120 OMAR STREET                               MEXICO             MO   65265        (573) 581-7667   (573) 581-0033
2124   S & S TOOL & SUPPLY              2700 MAXWELL WAY                               FAIRFIELD          CA   94534        (707) 747-0168   (707) 428-1856
2125   S B ELECTRIC MOTORS & IND SPLY   8841 BAYWOOD DR                                HUNTINGTON BCH     CA   92646        (714) 962-2780   (714) 962-4904
2126   S B POWER TOOL                   4191 POWER INN RD                              SACRAMENTO         CA   95826        (916) 451-8473   (916) 455-5612
2127   S B POWER TOOL                   24405 HALSTEAD RD                              FARMINGTON HILL    MI   48335        (810) 476-7788   (810) 476-2259
2128   S B POWER TOOL                   4203 SOUTH BLVD                                CHARLOTTE          NC   28209        (704) 630-3244   (704) 527-3746
2129   SABINA ELEC/ MOTORS & CONTROLS   MOTORS & CONTROLS WAREHOUSE                    ANAHEIM            CA   92806-1296   (714) 956-0480   (714) 956-0486
2130   SABINE MEDICAL CENTER            240 HIGHLAND DRIVE                             MANY               LA   71449        (318) 256-5691   (318) 256-6451
2131   SABRELINER CORPORATION           1390 HWY H                                     PERRYVILLE         MO   63775-7319   (573) 543-2212   (573) 543-5494
2132   SACRED HEART HOSPITAL            P.O. BOX 539                                   CUMBERLAND         MD   21501        (301) 723-3806   (301) 723-4050
2133   SACRED HEART HOSPITAL            501 SUMMIT STREET                              YANKTON            SD   57078        (605) 668-8318   (605) 665-0170
2134   SACRED HEART HOSPITAL            900 W. CLAIREMONT AVE.                         EAU CLAIRE         WI   54701        (715) 839-4434   (715) 839-8417
2135   SAFEWORKS                        365 UPLAND DRIVE                               TUKWILA            WA   98188        (206) 575-6445   (206) 575-6240
2136   SAINT JOHN HOSPITAL              8929 PARALLEL PKWY                             KANSAS CITY        KS   66112        (913) 596-4934   (913) 596-4522
2137   SAINT PETER'S UNIVERSITY HOSP    254 EASTON AVE.                                NEW BRUNSWICK      NJ   08903-0591   (732) 745-8694   (732) 249-6443
2138   SAINT VNCENT HEALTH CENTER       232 WEST 25TH STREET                           ERIE               PA   16544        (814) 452-5592   (814) 451-8020
2139   SALAM INTERNATIONAL, INC.        ATTN: ACCOUNTS PAYABLE                         LAGUNA HILLS       CA   92653        (949) 699-3663   (949) 699-3650
2140   SALEM KIDNEY CENTER              2705 BOULDER PARK COURT                        WINSTON-SALEM      NC   27101        (336) 761-8808   (336) 761-8864
2141   SALINAS VLY MEMORIAL HOSP.       P.O. BOX 3827                                  SALINAS            CA   93912        (831) 759-1816   (831) 753-6362
2142   SAMARITAN HLTH SYS DBA/ ENTECH   2504 W. SOUTHERN AVE                           TEMPLE             AZ   85282        (800) 451-0591   (602) 437-9082
2143   SAMARITAN HOSPITAL               310 S. LIMESTONE ST.                           LEXINGTON          KY   40508        (859) 226-7053   (859) 226-7056
2144   SAN ANTONIO COMM HOSPITAL        8109 FREDRICKSBURG RD.                         SAN ANTONIO        TX   78229        (210) 692-8160   (210) 692-8322
2145   SAN FRANCISCO PROSTHETIC         ORTHOTIC SERVICES, INC.                        SAN FRANCISCO      CA   94117        (415) 861-4146   (415) 861-0653
2146   SAN JOSE CONSTRUCTION CO., INC   1210 COLEMAN AVENUE                            SANTA CLARA        CA   95050-4397   (408) 986-8711   (408) 986-0278
2147   SAN JUAN REGIONAL MED CTR        801 WEST MAPLE STREET                          FARMINGTON         NM   87401        (505) 324-6804   (505) 324-6802
2148   SAN LORENZO LUMBER CO INC *      P O BOX 1808                                   SANTA CRUZ         CA   95061        (831) 426-1020   (831) 986-0278
2149   SAN LUIS POWERHOUSE              798 FRANCIS                                    SAN LUIS OBISPO    CA   93401        (805) 543-4643   (805) 543-4673
2150   SAN RAMON REGIONAL M.C.          6001 NORRIS CANYON                             SAN RAMON          CA   94583        (925) 275-8311   (925) 275-8348




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       Name                             Includes Plaintiff's suggested addresses                                             phone            Fax
2151   SANCO LUMBER, INC                115 SOUTH MAIN                                 GROVE               OK   74344        (918) 786-2658   (918) 786-3175
2152   SANCON ENGINEERING II, INC       5841 ENGINEER DRIVE                            HUNTINGTON BEACH    CA   92649        (714) 891-2323   (714) 891-2524
2153   SANDEN VENDO AMERICA             10710 SANDEN DRIVE                             DALLAS              TX   75238        (214) 765-9066   (214) 341-0142
2154   SANI - TEC                       4021 E ANAHEIM STREET                          LONG BEACH          CA   90804        (562) 986-5225   (562) 986-5227
2155   SANTA ANA ELECTRIC MOTOR 00      P O BOX 3217                                   Santa Ana           CA   92703-0217   (714) 543-9401   (714) 543-0103
2156   SANTA ANA HOSPTIAL MEDICAL CTR   1901 N. FAIRVIEW STREET                        SANTA ANA           CA   92706        (714) 265-3479   (714) 265-3478
2157   SANTA ANITA FAMILY YMCA          501 S. MOUNTAIN AVE.                           MONROVIA            CA   91016        (626) 359-9244   (626) 359-9247
2158   SANTA FE ELECTRIC                7433 LAMPSON AVE                               Garden Grove        CA   92841        (714) 660-6011   (714) 277-3652
2159   SANTA MARTA HOSPITAL             319 N. HUMPHREYS AVE                           LOS ANGELES         CA   90022        (323) 260-8679   (323) 260-8675
2160   SANTIAM MEDICAL EQUIPMENT        865 MAIN ST.                                   LEBANON             OR   97355        (541) 451-1512   (541) 451-1628
2161   SANTO DOMINGO HEALTH CLINIC      P O BOX 340                                    SANTO DOMING PUEBLONM    87052        (505) 465-1165   (505) 465-1155
2162   SARASOTA MEMORIAL HOSPITAL       1700 S. Tamiami Trail                          SARASOTA            FL   34239        941/917-2413     239/368-0735
2163   SAVAGE BROS ELECTRIC             426 E. 2ND ST.                                 ROSWELL             NM   88201        (505) 622-3070   (505) 622-3070
2164   SAVANT MEDICAL INC               1215 SO. HARLEM AVE                            FOREST PARK         IL   60130        (708) 771-2000   (773) 626-1504
2165   SCEC, INC. DBA: SPACE CONCEPTS   11929 Hamden Place                             Santa Fe Springs    CA   90670        562-949-9911     562-949-9919
2166   SCHAFFER GRINDING CO             848 S MAPLE AVE                                MONTEBELLO          CA   90640        (323) 724-4476   (323) 724-2635
2167   SCHELEN GRAY AUTO ELECTRIC       1592 MARSHALL AVENUE                           ST PAUL             MN   55104        (612) 644-9449   (612) 645-5366
2168   SCHERER INDUSTRIAL GROUP *       INDIANAPOLIS DIVISION                          INDIANAPOLIS        IN   46225        (317) 231-2363   (317) 808-1202
2169   SCHEURER HOSPITAL                170 N. CASEVILLE RD.                           PIGEON              MI   48755        (517) 453-3223   (517) 453-2411
2170   SCHINDLER ELEVATOR CORPORATION   16450 Foothill Blvd., #200                     Sylmar              CA   91342        818-336-3000     818-336-3082
2171   SCHOENS MOTORS INC               2400 PACIFIC BLVD SW                           ALBANY              OR   97321        (541) 926-0054   (541) 926-0022
2172   SCHOOL TECH                      P O BOX 732133                                 PUYALLUP            WA   98373-0075   (253) 864-3483   (253) 770-0676
2173   SCIENTIFIC EQUIPMENT REPAIR *    950 N. RENGSTORFF AVE #F                       Mountain View       CA   94043        (650) 938-3169   (650) 390-9758
2174   SCIENTIFIC INSTRUMENT CENTER     1616 TRANSAMERICA COURT                        COLUMBUS            OH   43228-9332   (800) 686-8965   (614) 771-8684
2175   SCIENTIFIC REFRIGERATION         16511 BURKE LANE                               HUNTINGTON BEACH    CA   92647        (714) 596-8642   (714) 596-8652
2176   SCL HEALTH SYSTEMS/EXEMPLA HC    2803 Roslyn St.                                Denver              CO   80211        0                (913) 895-8188
2177   SCOOTER CITY                     815 HARBOUR WAY SOUTH #18                      RICHMOND            CA   94804        (510) 237-9366   (510) 237-3904
2178   SCOTTSDALE HEALTHCARE            P.O. BOX 1270                                  SCOTTSDALE          AZ   85252        (480) 675-4746   (480) 675-4555
2179   SCR PARTS, INC                   9829 CARMENITA, SUITE F                        WHITTIER            CA   90605        (562) 693-7748   (562) 693-1724
2180   SCRIPPS HOSP EAST COUNTY         1688 EAST MAIN ST.                             EL CAJON            CA   92021        (619) 593-5749   (619) 593-5748
2181   SCRIPPS MEMORIAL HOSPITAL        10150 SORRENTO VALLEY RD                       SAN DIEGO           CA   92121        (619) 691-7135   (619) 691-7124
2182   SCRIPPS MEMORIAL HOSPITAL        435 H STREET, CV12                             CHULA VISTA         CA   91910        (619) 961-7554   (619) 961-7124
2183   SCS TOOLS                        912 W. TYLER STREET                            La Porte            TX   77571        281-352-2964     (281) 471-7690
2184   SDS COMPANY                      6712 N. CUTTER CIRCLE                          PORTLAND            OR   97217        (503) 283-6712   (503) 283-1393
2185   SEA BEE SERVICE CO               2639 BOILING SPRINGS ROAD                      OHATCHEE            AL   36271        (256) 892-0599   (256) 892-0599
2186   SEA WORLD PARKS & ENTERTAINMNT   6675WESTWOOD BLVD, STE. 300                    ORLANDO             FL   32821        (407) 226-5073   (407) 351-3278
2187   SEELEY MEDICAL                   104 PARKER DR.                                 ANDOVER             OH   44003        (440) 293-6600   (440) 293-7394
2188   SENTARA NORFOLK GENERAL HOSP     600 GRESHAM DRIVE                              NORFOLK             VA   23507        (757) 668-2984   (757) 668-2490
2189   SENTINEL POWER SERVICES, INC     7517 E. PINE STREET                            TULSA               OK   74115        (918) 359-0350   (918) 359-0357
2190   SEPAC                            1580 LAKE STREET                               ELMIRA              NY   14901-1248   (800) 331-3207   (607) 732-0273
2191   SEQUOIA HOSPITAL                 P.O. BOX 7707                                  SAN FRANCISCO       CA   94120-7707   (650) 367-5510   (650) 482-6122
2192   SEQUOIA SAW & SUPPLY             P O BOX 26                                     EUREKA              CA   95502        (707) 445-8888   (707) 445-8574
2193   SERVICE MASTER @ GOOD SAMARITA   235 N PEARL ST                                 BROCKTON            MA   2301         (508) 427-2261   (508) 427-3205
2194   SERVICE ORIENTED CORP.           1134 LACHMAN LANE                              PACIFIC PALISADES   CA   90272-2226   (310) 454-0163   (310) 454-0163
2195   SERVICEMASTER                    1 HOSPITAL DRIVE                               FARMINGTON          ME   4938         (207) 779-2219   (207) 779-2549
2196   SERVICEMASTER                    BOX 3661 - DUMC                                DURHAM              NC   27710        (919) 681-3890   919-681-7361
2197   SERVICEMASTER COMPANY            5000 W. CHAMBERS STREET                        MILWAUKEE           WI   53210        (414) 447-2550   (414) 447-2082
2198   SERVICEMASTER COMPANY LP         ONE SERVICEMASTER WAY                          DOWNERS GROVE       IL   60515        (630) 271-1300   (630) 271-5871
2199   SERVICEMASTER WHH                C/0 WEST HUDSON HOSPITAL                       KEARNY              NJ   7032         (201) 955-7081   (201) 955-7747
2200   SERVICEMASTER/FOREST PK HOSP     6150 OAKLAND AVE                               SAINT LOUIS         MO   63139        (314) 768-3106   (314) 768-3691
2201   SERVO REPAIR INTERNATIONAL       3812 ROUTE 8, BLDG #7                          ALLISON PARK        PA   15101        (412) 492-8116   (412) 492-8126
2202   SESCO SCAFFOLDING *              2100 E 4TH ST                                  SIOUX CITY          IA   51101        (712) 255-8041   (714) 238-1146
2203   SETON HEALTH SYSTEM              1300 MASSACHUSETTS AVE.                        TROY                NY   12180        (518) 268-4954   (518) 238-0356
2204   SETON HOSPITAL                   1201 W. 38TH STREET                            AUSTIN              TX   78705        (512) 324-1783   (512) 324-1587
2205   SETZER FOREST PRODUCTS INC       2555 THIRD STREET, STE.200                     Sacramento          CA   95818        (916) 442-2555   (916) 442-4239
2206   SHANDON, INC.                    171 INDUSTRY DR.                               PITTSBURGH          PA   15275        (800) 245-6212   (412) 788-1138
2207   SHANDS UNIV OF FLORIDA           P.O. BOX 100336                                GAINESVILLE         FL   32610        (352) 265-7961   (352) 395-0209
2208   SHANNON MEDICAL CENTER           P O BOX 1879                                   SAN ANGELO          TX   76902        (325) 657-5039   (325) 657-5712
2209   SHARKAN SUPPLY COMPANY, INC      1825 WEAVERSVILLE ROAD                         ALLENTOWN           PA   18109        (610) 264-4501   (610) 264-3094
2210   SHARON REGIONAL HEALTH SYSTEM    740 E. STATE STREET                            SHARON              PA   16146        (724) 983-3903   (724) 983-3908
2211   SHEEDY HOIST div of Sheedy Dra   34301 7th STREET                               UNION CITY          CA   94587        (510) 441-7300   (510) 441-7373
2212   SHORE MEMORIAL HOSPITAL          1 EAST NEW YORK AVE                            SOMERS POINT        NJ   8244         (609) 653-3799   (609) 653-3928
2213   SHORTYS MOTOR & PUMP             2700 W 2ND                                     THE DALLES          OR   97058        (541) 296-6400   (541) 298-1416
2214   SHREVEPORT ELECTRIC MOTOR        1701 LAKESHORE DR                              SHREVEPORT          LA   71103        (318) 227-8023   (318) 227-8023
2215   SHRINER'S HOSPITAL - HOUSTON     6977 MAIN STREET                               HOUSTON             TX   77030        (713) 793-3856   (713) 793-3869
2216   SHUNT ELECTRIC                   4520 E WASHINGTON BLVD                         COMMERCE            CA   90040        (323) 768-9925   (323) 768-9930
2217   SIEMENS MOBILITY, INC            P O BOX 4356-MC-IMA084                         Portland            OR   97208-4356   (847) 215-1000   (847) 215-1093
2218   SIERRA BIOMEDICAL RESEARCH       1000 LOCUST STREET (131)                       RENO                NV   89520        (775) 328-1487   (775) 328-1816
2219   SIERRA KINGS DISTRICT HOSPITAL   372 W. CYPRESS AVE.                            REEDLEY             CA   93654        (559) 638-8155   (559) 637-7555
2220   SIERRA VISTA REGIONAL MED CTR    P.O. BOX 659                                   SAN LUIS OBISPO     CA   93406        (805) 546-7864   (805) 546-7857
2221   SIMI MEDICAL                     2375 SYCAMORE DRIVE UNIT 2                     SIMI VALLEY         CA   93065        (805) 581-1849   (805) 581-1478
2222   SIR SPEEDY PRINTING #92          11410 BURBANK BLVD STE. #9                     NORTH HOLLYWOOD     CA   91601        (818) 769-3401   (818) 761-7493
2223   SISTERS OF CHARITY HOSP.**       2157 MAIN STREET                               BUFFALO             NY   14214        (716) 891-2926   (716) 862-1717
2224   SISTERS OF HOLY NAMES JESUS      W. 2911 FORT WRIGHT DR.                        SPOKANE             WA   99224        (509) 328-4310   (509) 328-9824
2225   SISTERS OF PROVIDENCE            1 SISTERS OF PROVIDENCE                        ST MARY-OF-THE-WOODSIN   47876        (812) 535-3131   (812) 535-4511
2226   SKYLINE ELECTRIC CO *            P O BOX 26666                                  SALT LAKE CITY      UT   84125        (801) 972-3656   (801) 973-9287
2227   SLIMS PWR TOOLS INC *            1626 REPUBLICAN ST                             HONOLULU            HI   96819        (808) 841-0902   (808) 847-5193
2228   SLOAN ELECTRIC                   3520 MAIN ST                                   SAN DIEGO           CA   92113        (619) 239-5174   (619) 239-5086
2229   SMALL ENGINE REPAIR OF EL PASO   3621 WYOMING                                   EL PASO             TX   79903        (915) 562-7233   (915) 562-5030
2230   SMITH ELECTRIC MOTOR             174 POPLER STREET                              CROSSVILLE          TN   38555        (931) 484-3347   (931) 707-8682
2231   SMITH HAMILTON SHOP, INC         4401 NW 37TH AVE.                              Miami               FL   33142        305-663-6372     305-635-1213
2232   SMITHKLINE BEECHAM CLIN LABS     P.O. BOX 5001                                  COLLEGEVILLE        PA   19426-0901   (770) 621-7555   (770) 621-7565
2233   SOLANO COUNTY CORONER            520 CLAY STREET                                FAIRFIELD           CA   94533        (707) 421-7500   (707) 421-7504
2234   SOLARIS PAPER                    6700 ARTESIA BLVD                              Buena Park          CA   90620        (562) 653-1680   (714) 684-3841
2235   SONOBOND ULTRASONICS, INC        1191 McDERMOTT DRIVE                           WEST CHESTER        PA   19380        (610) 696-4710   (610) 692-0674
2236   SONORA COMMUNITY HOSPITAL        ONE SOUTH FOREST RD                            SONORA              CA   95370        (209) 532-3161   (209) 533-3073




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       Name                             Includes Plaintiff's suggested addresses                                            phone            Fax
2237   SORENSON BIOSCIENCE              6507 S 400 W                                   SALT LAKE CITY     UT   84107        (801) 266-9334   (801) 892-0465
2238   SOUTH BAY ELECTRIC MOTOR         1900 W ROSECRANS AVENUE                        GARDENA            CA   90249        (310) 327-1768   (310) 327-7951
2239   SOUTH EAST SWITCHGEAR, LLC       P O BOX 1329                                   BURLINGTON         NC   27216        (877) 343-6490   (866) 611-6015
2240   SOUTH SHORE HOSPITAL             630 ALTON ROAD                                 MIAMI BEACH        FL   33139        (305) 672-2100   (305) 672-5115
2241   SOUTH SHORE HOSPITAL             8012 S. CRANDON AVE                            CHICAGO            IL   60617        (773) 356-5360   (773) 768-8154
2242   SOUTH SHORE HOSPITAL             55 FOGG RD.                                    SOUTH WEYMOUTH     MA   2190         781/340-8866     781/340-8509
2243   SOUTHEAST CONSTRUCTION PROD      11029 E WEAVER AVE                             SO EL MONTE        CA   91733        (626) 443-9333   (626) 443-2752
2244   SOUTHEAST TEXAS INDUSTRIAL SV    P O BOX 1284                                   BRIDGE CITY        TX   77611        (409) 697-3350   (409) 697-3368
2245   SOUTHERN APPARATUS SERVICES      500 INDUSTRAIL PARKWAY                         WEST MONROE        LA   71291        (318) 396-1738   (318) 396-0083
2246   SOUTHERN CALIFORNIA SCIENTIFIC   LABORATORY EQUIP SALES & SERV                  Orange             CA   92868-1026   (714) 939-1168   (949) 752-5451
2247   SOUTHERN COLORADO CLINIC         2002 LAKE AVE                                  PUEBLO             CO   81004        (719) 560-7041   (719) 564-0122
2248   SOUTHERN NEW HAMPSHIRE MED CTR   8 PROSPECT STREET                              NASHUA             NH   3061         (603) 577-2310   (603) 577-5632
2249   SOUTHERN OCEAN COUNTY HOSPITAL   1140 RT. 72 WEST                               MANAHAWKIN         NJ   08050-2499   (609) 978-8900   (609) 978-3036
2250   SOUTHERN REGIONAL MEDICAL CTR    11 UPPER RIVERDALE RD S.W.                     RIVERDALE          GA   30274        (770) 991-8346   (770) 991-8325
2251   SOUTHERN REGIONAL MEDICAL CTR    11 RIVERDALE ROAD S.W.                         RIVERDALE          GA   30274        (770) 991-8606   (770) 991-8325
2252   SOUTH-LAND CARBON PRODUCTS       P O BOX 170799                                 BIRMINGHAM         AL   35217        (205) 841-8799   (205) 841-3092
2253   SOUTHWEST ELECTRIC CO *          P O BOX 82639                                  OKLAHOMA CITY      OK   73148        (405) 632-8343   (405) 632-8399
2254   SOUTHWEST FABRICATORS (dba)      PACIFIC MARINE SHEET METAL CO                  SPRING VALLEY      CA   91978        (619) 415-1000   (519) 415-1001
2255   SOUTHWEST GENERAL HOSPITAL       7400 BARLITE BLVD                              SAN ANTONIO        TX   78224        (210) 921-3512   (210) 921-3508
2256   SOUTHWESTERN GEN HOSPITAL        1221 N. COTTON STREET                          EL PASO            TX   79902        (915) 496-9640   (915) 496-9629
2257   SOUTHWESTERN SUPPLY              3543 OLD CONEJO RD SUITE 104                   NEWBURY PARK       CA   91320        (805) 375-7562   (805) 375-7561
2258   SPARTECH PLASTICS                14263 GANNET STREET                            LA MIRADA          CA   90638        (800) 557-4337   (714) 523-1863
2259   SPECIALTY TOOL SERVICE           2420 ATLANTIC AVE                              RALEIGH            NC   27604        (919) 833-5903   (919) 833-8704
2260   SPECS HEALTHCARE COMPANIES       4101 POWER INN ROAD                            SACRAMENTO         CA   95826-4355   (916) 454-1234   (916) 455-1234
2261   SPECTROFUGE OF FLORIDA           P.O. BOX 140308                                GAINSVILLE         FL   32614        (352) 373-1543   (352) 486-6631
2262   SPECTRUM CLUBS, INC              840 APOLLO ST. SUITE 100                       EL SEGUNDO         CA   90245        (310) 727-9300   (310) 727-9388
2263   SPEED ELECTRIC MOTOR CO          P O BOX 603                                    HATTIESBURG        MS   39403        (601) 583-0388   (601) 583-7369
2264   SPENCO MACHINE & MFG             27556 COMMERCE CENTER DRIVE                    TEMECULA           CA   92590        (951) 699-5566   (951) 699-8116
2265   SPINDLE REPAIR SERVICES          418 8TH ST. S.E. UNIT C 11                     Loveland           CO   80537        (970) 667-0060   (970) 667-5006
2266   SPINDLER CONSTRUCTION CORP       P O BOX #3225                                  LOGAN              UT   84323        (435) 753-0722   (435) 753-0728
2267   SPOKANE POWER TOOL               801 E. SPOKANE FALLS BLVD                      SPOKANE            WA   99202        (509) 489-4202   (509) 483-2037
2268   SPRING & BUCKLEY, INC.           45 BURRITT ST.                                 NEW BRITAIN        CT   6050         (860) 224-2451   (860) 827-0077
2269   SRG GLOBAL, INC                  P O BOX 486                                    RIPLEY             TN   38063        (731) 635-3421   (731) 635-9702
2270   ST JOSEPH MEDICAL CENTER         ATTN: JOHN \ BIOMEDICAL                        STOCKTON           CA   95204        (209) 461-5484   209-461-5035
2271   ST. ANTHONY HOSPITAL             2801 St. Anthony Way                           PENDLETON          OR   97801        541/278-2622     541/278-3683
2272   ST. ANTHONY MEDICAL CENTER       PO BOX 6087                                    Rockford           IL   61125        815-395-5221     A/P 815-395-5086
2273   ST. ANTHONY'S MEDICAL CENTER     10016 KENNERLY ROAD                            SAINT LOUIS        MO   63128        (314) 525-1000   (314) 525-1804
2274   ST. BARNABAS NURSING HOME        2175 QUARRY ROAD                               BRONX              NY   10457        (718) 960-3900   (718) 960-3894
2275   ST. CATHERINE'S OF SIENA HOSP    P.O. BOX 1080                                  ROCKVILLE CENTRE   NY   11571-1080   (516) 705-2900   (516) 705-2921
2276   ST. CHARLES MERCY HOSPITAL       P.O. BOX 1689                                  TOLEDO             OH   43603        (419) 698-7511   (419) 698-7247
2277   ST. ELIZABETH MEDICAL CENTER     2209 GENESEE STREET                            UTICA              NY   13501        (315) 798-8239   (315) 798-8241
2278   ST. ELIZABETH'S HOSPITAL         1200 GRANT BLVD. WEST                          WABASHA            MN   55981        (651) 565-4531   (651) 565-5623
2279   ST. FRANCIS HEALTH SYSTEM        400-45TH STREET                                PITTSBURGH         PA   15201        (412) 622-4745   (412) 688-3332
2280   ST. FRANCIS MEDICAL CNTR         PO BOX 40289                                   SANTA BARBARA      CA   93103        (805) 962-7661   (805) 568-5860
2281   ST. FRANCIS MEDICAL Ctr/Trento   ATT: Catholic Health East a/p                  Newtown Square     PA   19073        (609) 599-5019   (609) 599-6242
2282   ST. JOHN MEDICAL CENTER          1923 SOUTH UTICA AVE.                          TULSA              OK   74104        (918) 744-2178   (918) 744-2791
2283   ST. JOHN'S HEALTH CENTER         attn: Account Payable                          Santa Monica       CA   90404        (310) 829-8035   (310) 315-6173
2284   ST. JOHN'S HEALTH SYSTEM         2020 JACKSON STREET                            ANDERSON           IN   46016        (765) 646-8278   (765) 646-8380
2285   ST. JOHN'S MEDICAL SUPPLY        3328 S. NATIONAL AVENUE                        SPRINGFIELD        MO   65807        (800) 842-3044   (417) 820-9408
2286   ST. JOSEPH'S HEALTH CENTER       667 EASTLAND AVE                               WARREN             OH   44484        (330) 480-3688   (330) 480-2928
2287   ST. JOSEPH'S HOSPITAL            3001 W M.L.K. BLVD.                            TAMPA              FL   33607        (813) 870-4083   (813) 870-4965
2288   ST. JOSEPH'S HOSPITAL            1204 E. 6TH STREET                             HUNTINGBURG        IN   47542        (812) 683-6474   (812) 683-6485
2289   ST. JOSEPH'S HOSPITAL            525 COUCH AVE                                  KIRKWOOD           MO   63122        (314) 966-1500   (314) 822-6350
2290   ST. JOSEPH'S HOSPITAL            703 MAIN STREET                                PATERSON           NJ   7503         (973) 754-2175   (973) 754-4534
2291   ST. JOSEPH'S HOSPITAL            555 E. MARKET ST.                              ELMIRA             NY   14901        (607) 733-6541   (607) 737-7003
2292   ST. JOSEPH'S HOSPITAL            P.O. BOX 9070                                  PARIS              TX   75461        (903) 737-3252   (903) 737-3910
2293   ST. JOSEPH'S HOSPITAL            611 ST JOSEPH'S AVE                            MARSHFIELD         WI   54449        (715) 389-5438   (715) 389-3999
2294   ST. JOSEPH'S HOSPITAL            2661 COUNTY HWY I                              CHIPPEWA FALLS     WI   54729        (715) 726-3320   (715) 726-3579
2295   ST. JOSEPH'S HOSPITAL-NJ         703 MAIN STREET                                PATERSON           NJ   7503         (973) 754-2181   (973) 754-4534
2296   ST. JOSEPHS WAYNE HOSPITAL       224 HAMBURG TURNPIKE                           WAYNE              NJ   7470         (973) 942-6900   (973) 389-4051
2297   ST. LAWRENCE-TROY, LLC           32399 MILTON AVE                               MADISON HEIGHTS    MI   48071-1418   (248) 585-7733   (248) 585-7979
2298   ST. LOUISE REGIONAL HOSPITAL     2105 FORREST AVET                              SAN JOSE           CA   95128        (408) 848-8638   (408) 848-8670
2299   ST. LUKE'S HEALTH SYSTEMS        P.O. BOX 5870                                  KANSAS CITY        MO   64171        (816) 932-2516   (913) 317-7837
2300   ST. LUKE'S HOSPITAL              ATT: ACCOUNTS PAYABLE                          SIOUX CITY         IA   51104        (712) 279-3111   (712) 279-7967
2301   ST. LUKE'S MEDICAL CENTER        REPAIR ANALYSIS DEPT/CIC CORP                  COLLEGE STATION    TX   77842-3006   (626) 797-1141   (626) 797-8545
2302   ST. LUKE'S/ROOSEVELT             555 WEST 57TH ST. / 19 FLR                     NEW YORK           NY   10019        (212) 523-2666   (212) 523-7476
2303   ST. MARY MEDICAL CENTER          1050 LINDEN AVE.                               LONG BEACH         CA   90813        (562) 491-9029   (562) 491-7929
2304   ST. MARY MEDICAL CENTER          3333 N. SEMINARY STREET                        GALESBURG          IL   61401        (309) 344-3161   (309) 344-9494
2305   ST. MARY REGIONAL MED CTR        PO BOX 7025                                    APPLE VALLEY       CA   92307        (760) 242-2311   (760) 946-8724
2306   ST. MARY'S HEALTH CENTER         100 ST MARY'S MED PLAZA                        JEFFERSON CITY     MO   65101        (573) 761-7000   (573) 635-6762
2307   ST. MARY'S HOSPITAL              ATT: ACCOUNTS PAYABLE                          ROGERS             AR   78758        (501) 936-2904   (501) 619-3386
2308   ST. MARY'S MEDICAL CENTER        PO BOX 7591                                    SAN FRANCISCO      CA   94120        (650) 261-2840   (650) 367-9478
2309   ST. MARY'S R.M.C.                ATT: ACCOUNTS PAYABLE                          RUSSELLVILLE       AR   72801        (501) 964-9269   (501) 964-9485
2310   ST. MICHAELS MEDICAL CENTER      268 DR. MARTIN LUTHER KING JR.                 NEWARK             NJ   7102         (973) 877-5592   (973) 877-5696
2311   ST. PATRICK HOSPITAL             P.O. BOX 4587                                  MISSOULA           MT   59806        (406) 329-5862   (406) 329-5680
2312   ST. PATRICK'S HOSPITAL           PO BOX 3401                                    LAKE CHARLES       LA   70602        (318) 491-7504   (318) 430-4300
2313   ST. PETER'S HOSPITAL             2475 BROADWAY                                  HELENA             MT   59601        (406) 442-2480   (406) 447-2586
2314   ST. RITAS MEDICAL CENTER         730 WEST MARKET STREET                         LIMA               OH   45801        (419) 226-9390   (419) 226-9835
2315   ST. VINCENT'S HOSPITAL           810 ST. VINCENT'S DRIVE                        BIRMINGHAM         AL   35205        (205) 939-7114   (205) 930-2159
2316   ST. VINCENT'S M.C.-LA, CA        2131 WEST THIRD STREET                         LOS ANGELES        CA   90057        (213) 484-5538   (213) 484-7678
2317   ST. VINCENT'S MERCY MED CTR      2213 CHERRY ST                                 TOLEDO             OH   43608        (419) 251-2054   (419) 251-6111
2318   STAAR SURGICAL COMPANY           1911 WALKER AVENUE                             MONROVIA           CA   91016        (626) 303-7902   (626) 303-0233
2319   STACY TOOL & SUPPLY              4112 E GRANT RD                                TUCSON             AZ   85712        (602) 881-4545   (602) 881-3969
2320   STAN HOUSTON EQUIPMENT CO *      501 S MARION RD                                SIOUX FALLS        SD   57106        (605) 336-3727   (605) 336-7860
2321   STANDARD ELECTRIC CO***          P O BOX 5289                                   SAGINAW            MI   48603-0289   (989) 892-3571   (989) 892-9686
2322   STANDARD STEEL, LLC              500 NORTH WALNUT STREET                        BURNHAM            PA   17009        (717) 248-4911   (717) 248-2575




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       Name                             Includes Plaintiff's suggested addresses                                            phone            Fax
2323   STANDARD STRUCTURES INC          P O BOX K                                      SANTA ROSA         CA   95402        (707) 544-2983   (707) 544-2994
2324   STANISLAUS CNTY SHERIFF CORONE   939 OAKDALE RD.                                MODESTO            CA   95355        (209) 567-4500   (209) 567-4555
2325   STANLEY ELECTRIC MOTOR CO        1520 EAST MINER AVENUE                         STOCKTON           CA   95205-4592   (209) 464-7321   (209) 464-3836
2326   STANS WESTSIDE AUTO ELEC         1927 N HWY 97                                  SAPULPA            OK   74066        (918) 224-8832   (918) 224-4670
2327   STAR ELECTRIC MOTOR SERVICE      1760 S MAIN ST                                 LEBANON            OR   97355        (541) 258-3298   (541) 259-3299
2328   STAR SUPPLY CO                   1606 N COLORADO                                SAN ANTONIO        TX   78201        (210) 734-5394   (210) 732-2675
2329   STAR TRAC BY UNISEN, INC.        14410 MYFORD ROAD                              IRVINE             CA   92606        (800) 486-4736   (714) 838-6286
2330   STAR VALLEY HOSPITAL             BOX 579                                        AFTON              WY   83110        (307) 886-5829   (307) 886-5282
2331   STARK ELECTRIC MOTOR, INC        510 FOLTS ROAD                                 HERKIMER           NY   13350        (315) 866-3319   (315) 866-3495
2332   STARK'S VACUUM CLEANER SLS & S   107 NE GRAND AVENUE                            PORTLAND           OR   97232        (503) 232-4101   (503) 235-9723
2333   STATEWIDE ELECTRIC               P O BOX 440                                    CASPER             WY   82602-0440   (307) 265-2567   (307) 234-6738
2334   STEEL STRUCTURES INC             37 W INDUSTRIAL ROAD                           WASHINGTON         UT   84780        (801) 628-9365   (801) 628-9381
2335   STEPHEN ADKINS                   388 S. ADDISON STREET                          FLORENCE           SC   29501        (843) 537-8247   (843) 537-8810
2336   STEPHENS MEMORIAL HOSPITAL       200 S. GENEVA                                  BRECKENRIDGE       TX   76424        (254) 559-2241   (254) 559-6537
2337   STERIS CORP/AMSCO                P.O. BOX 13620                                 ERIE               PA   16514        (814) 870-8228   (814) 870-8400
2338   STERLING MACHINERY CO, INC       P O BOX                                        MENA               AR   71953        (479) 394-4248   (479) 394-5254
2339   STEWARTS ELECTRIC MOTOR WORKS    8951 TRUSSWAY BLVD                             ORLANDO            FL   32824        (407) 859-1837   (407) 859-2584
2340   STOCKERS STARTERS                780 LA ROCHI WAY                               EL CAJON           CA   92019        (619) 593-0319   (619) 593-0381
2341   STOCKYARD MEDICAL                1624-2 S. SAN MARCOS                           SAN ANTONIO        TX   78207        (210) 281-0806   (210) 281-0820
2342   STONE MACHINERY TOOL & SPLY      4812 KIDRON ROAD                               KIDRON             OH   44636        (330) 857-0224   (330) 857-0228
2343   STONER ELECTRIC,INC              dba ADVANCED ENTRY SYSTEMS                     PORTLAND           OR   97222        (503) 462-5200   (503) 659-2765
2344   STONEWALL JACKSON HOSPITAL       1 HEATLH CIRCLE                                LEXINGTON          VA   24450        (540) 458-3143   (540) 458-3144
2345   SUBURBAN GENERAL HOSPITAL        2701 DeKALB PIKE                               NORRISTOWN         PA   19401        (610) 278-2064   (610) 278-2892
2346   SUBURBAN MEDICAL LAB             111 STOWE AVE.                                 CUYAHOGA FALLS     OH   44221        (330) 929-7992   (330) 315-0316
2347   SULLIVAN HOME HEALTH SVCS.       ATT: ACCOUNTS PAYABLE                          GILLESPIE          IL   62033        (217) 839-3228   (217) 839-2282
2348   SULZER EMS INC                   EMS INC/EQUIP MAINT SER                        PHOENIX            AZ   85009        (602) 258-8545   (602) 252-5414
2349   SULZER GRAYSON INC (SM DIV)      315 CURTIS AVENUE                              Pasadena           TX   77502        (713) 473-4404   (713) 473-2444
2350   SUMMERSVILLE MEMORIAL HOSP.      400 FAIRVIEW HEIGHTS RD.                       SUMMERSVILLE       WV   26651        (304) 872-2891   (304) 872-2080
2351   SUMMIT MEDICAL CENTER            350 HAWTHORNE AVE                              OAKLAND            CA   94609        (510) 869-8662   (510) 869-8667
2352   SUN HEALTH                       13049 N. 103RD AVE.                            SUN CITY           AZ   85351        (602) 977-7211   (623) 879-5549
2353   SUN MOUNTAIN TECHNOLOGIES        ATTN: ACCOUNTS PAYABLE                         KALISPELL          MT   59901        (406) 756-9131   (406) 756-9133
2354   SUNBELT RENTALS INC * (ALL)      P O BOX 410928                                 CHARLOTTE          NC   28241        (803) 578-5814   (803) 578-5813
2355   SUNCOAST HOSPITAL                2025 INDIAN ROCKS RD.                          LARGO              FL   33774        (727) 581-9474   (727) 587-7618
2356   SUNKIST GROWERS                  616 E. SUNKIST STREET                          ONTARIO            CA   91761        (909) 933-2292   (909) 933-2076
2357   SUNRISE MEDICAL                  2842 n. business park avenue                   fresno             CA   93727        (559) 292-2171   (303) 218-4969
2358   SUNS TOOLS                       10631 BEACH BLVD                               STANTON            CA   90680        (714) 821-5651   (714) 821-5757
2359   SUNSHINE PLASTICS                1600 GAGE ROAD                                 MONTEBELLO         CA   90640        (800) 527-9229   (323) 721-7837
2360   SUNSTON EQUIPMENT INC            14133 E FREEWAY DRIVE                          SANTA FE SPRINGS   CA   90670        (562) 802-9778   (562) 802-7157
2361   SUPERCARE MEDICAL SUPPLY         16017 VALLEY BLVD                              CITY OF INDUSTRY   CA   91744        (626) 854-2283   (626) 854-2290
2362   SUPERIOR AUTOMATION              6300-C SAN IGNACIO AVENUE                      SAN JOSE           CA   95119        (408) 227-4898   (408) 227-4899
2363   SUPERIOR BIOMEDICAL SVC          ATT: ACCOUNTS PAYABLE                          SUNRISE            FL   33351        (954) 572-9140   (954) 572-9763
2364   SUPERIOR DISTRIBUTION CNTR INC   1142 S FIRST ST                                TURLOCK            CA   95381        (209) 667-7051   (209) 667-8208
2365   SUPERIOR ELECTRIC MOTOR SVCE     4622 ALCOA AVENUE                              VERNON             CA   90058        (323) 583-1040   (323) 583-9266
2366   SUPERIOR EQUIP SOLUTIONS LLC     7039 E SLAUSON AVE                             LOS ANGELES        CA   90040        (323) 722-7900   (323) 726-4700
2367   SUPERIOR SCIENTIFIC INC          201 S RAYMOND AVE                              ALHAMBRA           CA   91801        (626) 281-5588   (626) 281-5959
2368   SUPERIOR SURFACE SOLUTIONS       P O BOX 410474                                 KANSAS CITY        MO   64141        (816) 471-5227   (816) 471-3998
2369   SUPERIOR TOOL & REPAIR           1430 N 27TH AVENUE                             PHOENIX            AZ   85009        (602) 272-9211   (602) 272-9228
2370   SURGICAL OPTICS                  12229 SW 53RD STREET SUITE 304                 COOPER CITY        FL   33330        (954) 680-4031   (954) 680-4032
2371   SURGIQUIP INC                    2020 JOHANNA DRIVE                             HOUSTON            TX   77055        (800) 821-3005   (713) 957-8355
2372   SUTTER MED CTR - SANTA ROSA      3325 CHANATE RD.                               SANTA ROSA         CA   95404        (707) 576-4684   (707) 576-4559
2373   SVI INTERNATIONAL, INC           155 HARVESTORE DRIVE                           DeKALB             IL   60115        (815) 748-0213   (815) 748-0215
2374   SWEDISH AMERICAN HEALTH SYS      P.O. BOX 1625                                  ROCKFORD           IL   61110-0125   (815) 489-4600   (815) 968-9844
2375   Swedish Covenant Hospital        5145 N. California Avenue                      Chicago            IL   60625        (773) 878-8200   (773) 878-1543
2376   SWEET'S / LINCARE                PO BOX 1438                                    TULARE             CA   93274        (888) 453-2228   (559) 688-5175
2377   SWITCHGEAR SOLUTIONS, INC *      2540 N. JACKRABBIT AVENUE                      TUCSON             AZ   85745        (520) 622-1294   (520) 622-8998
2378   T & N ELECTRIC CO                4012 NEELY DRIVE SOUTH                         PINE BLUFF         AR   71603        (870) 534-8161   (870) 534-1988
2379   T. E. A. M. SUPPLY, INC          P O BOX 2178, AIRPORT BELLWAY                  HAZELTON           PA   18201        (570) 455-4920   (570) 455-3595
2380   T2R - T SQUARED R                739 N COUNTY ROAD 23H                          LOVELAND           CO   80537        (970) 635-9100   (970) 635-9300
2381   TAMPA ARMATURE WORKS, INC        P O BOX 3381                                   Tampa              FL   33601-3381   (813) 621-5661   (813) 425-0831
2382   TAOS RENTAL & SALES              44 STATE ROAD 522                              EL PRADO           NM   87529        (505) 758-3333   (505) 758-5849
2383   TAP TOOL REPAIR, INC             10313 LAKEVIEW AVE SW,                         LAKEWOOOD          WA   98499        (253) 441-2177   (253) 441-2315
2384   TARTAN SUPPLY COMPANY, INC       3250 N 126TH ST., STE. 1                       BROOKFIELD         WI   53005        (262) 781-2770   (262) 781-2208
2385   TAW MIAMI SERVICE CENTER*        P O BOX 3381                                   TAMPA              FL   33601        (305) 884-1717   (305) 884-8136
2386   TAYLOR RENTAL                    3531 Route 38                                  MT LAUREL          NJ   8060         856-235-6117     (856) 235-3341
2387   TAYLOR RENTAL                    3531 Route 38                                  CANANDAIGUA        NY   14425        (716) 396-0031   (716) 396-0038
2388   TAYLOR RENTAL CENTER             114 LONG POND RD                               PLYMOUTH           MA   2360         (508) 746-8899   (508) 747-6099
2389   TAYLOR RENTAL CENTER *           221 SPRINGFIELD ST                             AGAWAM             MA   1001         (413) 786-4433   (413) 786-7658
2390   TAYLOR RENTAL/RENTAL ASSOC.      10520 SO. 700 EAST                             SANDY              UT   84070        (801) 571-2292   (801) 571-0267
2391   TAYLOR TOOLS                     5045 PARIS STREET                              DENVER             CO   80239        (303) 371-7667   (303) 371-7669
2392   TD COMPLETE MEDICAL              20 SOUTH HAVANA STE 202                        AURORA             CO   80012        (303) 365-1500   (303) 365-1501
2393   TEAZE OF CALIFORNIA INC/BORDER   9701 BELL RANCH DRIVE                          SANTA FE SPRINGS   CA   90670        (562) 944-8995   (562) 946-9728
2394   TECH KNOWLEDGE ASSOCIATES        1 CENTERPOINTE DR., SUITE 200                  LA PALMA           CA   90623        (714) 735-3810   (714) 735-3747
2395   TECHNITROL, INC                  W129 N10930 WASHINGTON DR                      GERMANTOWN         WI   53022        (262) 512-7700   (262) 512-1226
2396   TECHNOLOGY IN MEDICINE           115 WATER STREET                               MILFORD            MA   1757         (508) 830-2525   (508) 830-2661
2397   TED QUALITY SERVICE              850 MEADOWVIEW CROSSING                        WEST CHICAGO       IL   60185        (630) 876-0299   (630) 876-0347
2398   TEDS ELECTRIC SERVICE            102 11TH ST WEST                               BILLINGS           MT   59102        (406) 259-6418   (406) 259-4606
2399   TEETS ELECTRIC INC               27 N. FULTON STREET                            SANDUSKY           MI   48471        (810) 648-9111   (810) 648-9116
2400   TELCO ELECTRIC, INC              2906 4TH STREET NW                             ALBUQUERQUE        NM   87107        (505) 345-2426   (505) 345-6454
2401   TELEDYNE TECHNOLOGIES, INC*      TELEDYNE BROWN ENGINEERING                     HUNTSVILLE         AL   35807-7007   (256) 726-1103   (256) 726-1912
2402   TEMPLE ELECTRIC MOTOR SV, INC    2121 N.W. 2ND AVENUE                           FAIRBAULT          MN   55021        (507) 334-6989   (507) 333-2997
2403   TENACORE HOLDINGS INC.           1525 E. Edinger Ave.                           Santa Ana          CA   92705        714-444-4643     866-536-9387
2404   TENSION ENVELOPE CORP *          40750 COUNTY CENTER DR                         TEMECULA           CA   92591        (951) 326-3226   (951) 296-0512
2405   TERMINAL SUPPLY COMPANY, INC     P O BOX 1253                                   TROY               MI   48099-1253   (248) 362-0790   (248) 362-0824
2406   TERRACE DRUGS                    4626 WARM SPRINGS RD.                          COLUMBUS           GA   31909        (706) 561-5168   (706) 561-8039
2407   TEXAS BIOMEDICAL                 2628A ALCOTT LANE                              AUSTIN             TX   78748        (512) 280-0719   (512) 280-0719
2408   TEXAS ELECTRIC EQUIPMENT         P O BOX 1378                                   LA PORTE           TX   77572-1378   (281) 479-6086   (281) 479-0215




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       Name                             Includes Plaintiff's suggested addresses                                            phone            Fax
2409   TEXAS ELECTRICAL MACH*(TEMC)     5517 Dorbrandt St.                             Houston            TX   77223        713-924-5929     713-924-5102
2410   TEXAS ELECTRICAL MACHINERY CO.   721 TEXAS AVENUE (77590)                       Texas City         TX   77592        (409) 945-4403   (409) 945-5219
2411   TEXOLLINI                        2575 EL PRESIDIO STREET                        CARSON             CA   90810        (310) 537-3400   (310) 537-3500
2412   THE CHAIR DOCTORS                PO BOX 7057                                    SANTA MARIA        CA   93456        (888) 933-4920   (805) 937-1524
2413   THE CHARLES MACHINE WORKS        P O BOX 66                                     PERRY              OK   73077        (580) 336-4402   (580) 572-3509
2414   THE CHILDREN'S HOSPITAL          ACCOUNTS PAYABLE/BOX B015                      AURORA             CO   80045        (720) 777-1234   (720) 777-6360
2415   THE DESIGN TEX GROUP             200 VARICK STREET, 8TH FLOOR                   NEW YORK           NY   10014        (201) 917-7709   (201) 917-7737
2416   THE DUTRA GROUP                  2350 KERNER BLVD., SUITE 200                   San Rafael         CA   94901        (415) 258-6876   (415) 721-2133
2417   THE GSI GROUP, INC               1004 E. Illinois St.                           ASSUMPTION         IL   62510-0020   0                (217) 226-4435
2418   THE HOME MEDICAL STORE           P.O. BOX 16269                                 LUBBOCK            TX   79410        (806) 793-3040   (806) 793-4750
2419   THE MEDICAL STORE                8305 GARDEN ROAD                               RIVIERA BEACH      FL   33404        (561) 840-7800   (561) 863-0066
2420   THE MEDICAL WAREHOUSE            1031 E MOUNTAIN ST, BLDG 307                   KERNERSVILLE       NC   27284        (336) 803-2516   (336) 996-3178
2421   THE MEMORIAL HOSPITAL            P.O. BOX 5001                                  NORTH CONWAY       NH   03860-5001   (603) 356-5461   (603) 356-3996
2422   THE MENDING SHED                 1735 S. STATE ST.                              OREM               UT   84097        (801) 225-8012   (801) 225-9297
2423   THE MILL REPAIR CO               6211 ROYALTON, STE A                           HOUSTON            TX   77081        (713) 665-0032   (713) 665-0030
2424   THE NEW SIOUX CITY IRON WKS*     310 S FLOYD BLVD                               SIOUX CITY         IA   51101        (712) 293-0274   (712) 255-8870
2425   THE SEATING CENTER               820 RESEARCH DRIVE SUITE 4                     PALM SPRINGS       CA   92262        (760) 327-3378   (760) 327-7365
2426   THE SPECIALTY HOSP OF HOUSTON    709 MEDICAL CENTER BLVD.                       WEBSTER            TX   77598        (281) 332-3322   (281) 332-0411
2427   THE STANDING COMPANY             1520 N. MICHIGAN AVE                           SAGINAW            MI   48602        (517) 752-7733   (517) 752-8686
2428   THE TOOL GUY                     1509 S MILTON ROAD                             FLAGSTAFF          AZ   86001        (520) 774-4053   (520) 774-4053
2429   THE TOOL HOUSE*                  BOX 80759                                      LINCOLN            NE   68501        (800) 279-2658   (402) 476-0049
2430   THE TOOL SHED                    654 MALTMAN DR - SUITE B                       GRASS VALLEY       CA   95945        (530) 477-1185   (530) 477-7316
2431   THE W/M DISPLAY GROUP/           A UNIT OF WIREMASTER, INC                      CHICAGO            IL   60609        (773) 254-3700   (773) 254-3188
2432   THE WISE CO, INC                 458 CASTLEBERRY STREET                         PIGGOTT            AR   72454        (901) 388-0155   (901) 373-8283
2433   THERAP-EASE, INC.                181 M SUMMER STREET / PO BOX Q                 KINGSTON           MA   2364         (781) 585-4626   (781) 582-1552
2434   THERMAX INC                      5385 ALPHA AVE                                 RENO               NV   89506        (702) 358-0888   (702) 972-4809
2435   THIBODEAUX ELECTRIC SERVICE      10107 PREJEAN HWY                              LAWTELL            LA   70550        (337) 543-2362   (337) 543-6465
2436   THOMAS BOWHAY MD                 PO BOX 329                                     SUTTER CREEK       CA   95685        (209) 267-1181   (209) 267-1640
2437   THOMASON HOSPITAL                ATTN: FISCAL SVCS DEPT A/P                     EL PASO            TX   79995-9159   (915) 521-7885   (915) 521-7888
2438   THOMPSON INDUSTRIAL SUPPLY*      P O BOX 1299                                   RANCHO CUCAMONGA   CA   91729-1299   (909) 941-8881   (909) 945-3802
2439   THOR SALES CO INC                P O BOX 924                                    PARAMOUNT          CA   90723        (562) 531-8100   (562) 531-1356
2440   TIFT GENERAL HOSPITAL            PO BOX 747                                     TIFTON             GA   31793        (912) 386-6174   (912) 386-7787
2441   TIGERTEK INDUSTRIAL SERVICES     P O BOX 5097                                   EDEN               NC   27289        (336) 623-1717   (336) 623-1725
2442   TIME RENTAL SLS-SVC              925 NORTH MAIN                                 LOGAN              UT   84321        (801) 752-8652   (801) 752-8673
2443   TIME TOOL & EQUIPMENT RENTAL     908 RODEO ROAD                                 NORTH PLATTE       NE   69101        (308) 534-9370   (308) 534-9374
2444   TINO'S ELECTRIC                  1309 AVENUE G                                  DEL RIO            TX   78840        (830) 774-6700   (830) 775-2017
2445   TITAN CONSTRUCTION SUPPLY        250 EDISON WAY                                 RENO               NV   89502        (775) 351-2201   (775) 351-2205
2446   TOBIN MACHINE TOOL SERVICES      4028 Elwood Ave.                               PALMDALE           CA   93552        818-939-5255     (818) 285-2679
2447   TOM BLACK SERVICE CENTER         3960 PROSPECT AVE STE F                        YORBA LINDA        CA   92886        (714) 579-0901   (714) 579-0135
2448   TOM'S AUTO BODY & REPAIR         1918 KALANI STREET                             HONOLULU           HI   96819        (808) 832-1866   (808) 832-7868
2449   TOM'S WHEELCHAIR REPAIR          118 BROADWAY SUITE # 540                       SAN ANTONIO        TX   78205        (210) 223-7878   (210) 223-0078
2450   TONY DOCTOR WHEELCHAIR           401 HAWKINS AVE.                               RONKONKOMA         NY   11779        (631) 467-3400   (631) 467-3408
2451   TOOL HOSPITAL *                  9950 SO 134TH STREET                           OMAHA              NE   68138        (515) 282-3323   (515) 282-3832
2452   TOOL HOSPITAL **                 ATTN: ACCOUNTS PAYABLE                         Omaha              NE   68138        (800) 333-5220   (402) 592-5406
2453   TOOL HOUSE RENTAL INC            1700 UTICA AVE                                 BROOKLYN           NY   11234        (718) 743-6336   (718) 743-6337
2454   TOOL MART                        154 MARR ST                                    WENATCHEE          WA   98801        (509) 664-6606   (509) 664-6606
2455   TOOL MART, INC **                2750 AUTO PARK WAY , Suite 13                  ESCONDIDO          CA   92029        (760) 471-4800   (760) 471-4967
2456   TOOL MEDIC                       2400 E BASIN, UNIT 2                           PAHRUMP            NV   89060        (775) 751-9933   (775) 751-9964
2457   TOOL MEDIC                       17938 S E STARK                                PORTLAND           OR   97233        (503) 674-2517   (503) 674-2517
2458   TOOL PRO, INC                    4214 OAKWOOD AVENUE                            HUNTSVILLE         AL   35810        (256) 539-5604   (256) 534-3306
2459   TOOL REPAIR & SHARPENING         1401 N MARINE BLVD                             JACKSONVILLE       NC   28540        (910) 455-3437   (910) 455-4661
2460   TOOL REPAIR CENTER               1751 VILLA STONE DRIVE SUITE A                 SAN JOSE           CA   95125        (408) 295-8150   (408) 295-6842
2461   TOOL REPAIR SERVICE - TRS        23824 ANDREW RD #104                           PLAINFIELD         IL   60585        (815) 609-8941   (815) 609-8943
2462   TOOL SERVICE CO INC              P O BOX 801123                                 ACWORTH            GA   30101        (404) 524-4249   (770) 908-8082
2463   TOOL SERVICE INC                 4495 W. SUNSET RD                              LAS VEGAS          NV   89118        (702) 734-9161   (702) 734-8330
2464   TOOL SMITH CO INC *              P O BOX 2384                                   BIRMINGHAM         AL   35201        (205) 323-2576   (205) 250-7888
2465   TOOL SUPPLY INC                  713 WEST ELEVENTH                              COFFEYVILLE        KS   67337        (620) 251-0528   (620) 251-7225
2466   TOOL TECH POWER TOOL SERV        P O BOX 14612                                  FORT WORTH         TX   76117        (817) 428-7611   (817) 656-3506
2467   TOOL TIME **                     2713 W. BURBANK BLVD                           BURBANK            CA   91505        (818) 841-2800   (818) 841-6501
2468   TOOL TIME RENT-ALL, INC          1440 SOUTH STEPHENSON AVE                      IRON MOUNTAIN      MI   49801        (906) 776-8665   (906) 776-8665
2469   TOOL TOWN LLC                    1440 CORAL RIDGE DRIVE #118                    CORAL SPRINGS      FL   33071-5433   (318) 329-2929   (318) 329-2988
2470   TOOL WAREHOUSE, INC ***          9 LINCOLN AVE. S.E.                            SAINT CLOUD        MN   56304-0821   (320) 253-7150   (620) 253-5905
2471   TOOL WISE                        403C CLEVELAND ST                              MUSCATINE          IA   52761        (563) 288-2646   (563) 288-2646
2472   TOOLKRAFT PARTS                  P O BOX 80777                                  SPRINGFIELD        MA   1108         (413) 737-7331   (413) 737-1526
2473   TOOLS & HYDRAULICS, INC          910-C CREEKSIDE ROAD                           Chattanooga        TN   37406        (423) 622-8282   (423) 629-0125
2474   TOOLS N MORE                     6537 SOUTHERN BLVD SUITE 4                     WEST PALM BEACH    FL   33413        (561) 689-8349   (561) 689-9252
2475   TOOMEY ASSOCIATES, INC           1100 Russell Rd.                               Westfield          MA   01086-0577   800-762-5192     (413) 568-0066
2476   TOP MASTER, INC                  2844 ROE LANE                                  KANSAS CITY        KS   66103        (913) 492-3030   (913) 492-3096
2477   TOPEKA ELECTRIC MOTOR REPAIR     605 SW Lane St.                                TOPEKA             KS   66606        785-233-4750     (785) 233-2586
2478   TOTAL HOMECARE                   312 SANFORD DRIVE                              MORGANTON          NC   28655        (828) 438-1939   (818) 433-9421
2479   TOTAL MAINTENANCE MANAGEMT       320 HARMON AVENUE                              LEBANON            OH   45036        (513) 228-2345   (513) 228-2346
2480   TOTAL RENTAL CENTER ****         2480 E HUNTINGTON DR                           FLAGSTAFF          AZ   86004        (928) 779-0677   (928) 779-5668
2481   TOTAL TOOL & EQUIPMENT SV INC    200 N 12TH ST                                  ESCANABA           MI   49829        (906) 786-7242   (906) 786-1006
2482   TOWN & COUNTRY RENTAL INC        5289 SOUTHERN BLVD                             WEST PALM BEACH    FL   33415        (561) 686-0602   (561) 686-5183
2483   TRAMCO                           11323 30TH AVE WEST                            EVERETT            WA   98204        (206) 347-3030   (206) 3471034
2484   TRANSPO INDUSTRIES, INC          20 JONES STREET                                NEW ROCHELLE       NY   10801        (914) 636-1000   (914) 636-1282
2485   TRC (SATELLITE DIALYSIS EAST)    P.O. BOX 1554                                  TACOMA             WA   98401        (405) 258-8720   (650) 968-4185
2486   TRI CITY MAINTENANCE & REPAIR    40 W 165 FABYAN PKWY                           Elburn             IL   60119        (630) 262-8296   (630) 262-8297
2487   TRI COUNTY POWER TOOL INC        4597 PEARL ROAD                                CLEVELAND          OH   44109        (216) 398-6120   (216) 398-6121
2488   TRI COUNTY RENTALS               1730 WINCHESTER AVE                            MARTINSBURG        WV   25401        (304) 267-2973   (304) 267-2974
2489   TRI COUNTY TOOL REPAIR CENTER    P O BOX 22844                                  CHARLESTON         SC   29413-2844   (843) 554-9005   (843) 554-5974
2490   TRI MOTOR & MACHINERY CO., INC   24460 S HWY 99E                                CANBY              OR   97013        (503) 266-6838   (503) 263-3864
2491   TRI STATE TOOL & HOIST           707 S. ELLSWORTH AVE                           SALEM              OH   44460        (330) 332-3500   (330) 332-3510
2492   TRI STATE TOOL DIST.             807 N MAIN ST                                  LONGMONT           CO   80501        (303) 772-3269   (303) 772-6109
2493   TRIANGLE FASTENER CORP           508 HACKEL DRIVE                               MONTGOMERY         AL   36117        (334) 270-8800   (334) 270-0331
2494   TRI-CITIES KIDNEY CENTER         552 N. COLORADO, STE 200                       KENNEWICK          WA   99336        (509) 783-7196   (509) 783-0570




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       Name                             Includes Plaintiff's suggested addresses                                            phone            Fax
2495   TRI-CITY MEDICAL CENTER          4002 VISTA WAY                                 OCEANSIDE          CA   92056        (760) 940-7711   (760) 940-7260
2496   TRI-COUNTY ELECTRIC              P O BOX 791                                    MABANK             TX   75147        (903) 887-2009   (903) 887-2009
2497   TRIMAR HOLLYWOOD, INC            19255 VANOWEN STREET                           RESEDA             CA   91335        (818) 342-0100   (818) 342-0147
2498   TRIMARK FEDERIGHI DESIGN INC     3423 REGATTA BLVD                              RICHMOND           CA   94804-4594   (510) 236-2800   (510) 236-2959
2499   TRIMOUNT CORP                    327 PASSAIC AVE                                FAIRFIELD          NJ   7004         (973)575-5606    (973) 575-0196
2500   TRINITY GENERAL HOSPITAL         P.O. BOX 1229                                  WEAVERVILLE        CA   96093        (530) 623-1182   (530) 623-4501
2501   TRINITY HEALTH EAST              ATTN: ACCOUNTS PAYABLE                         TROY               MI   48007-7052   (248) 489-6313   (248) 488-1409
2502   TRINITY MEDICAL CENTER WEST      380 SUMMIT AVE.                                STEUBENVILLE       OH   43952        (740) 283-7472   (740) 283-7620
2503   TRIPLE M MOBILITY**              10878 WESTHEIMER ROAD 275                      HOUSTON            TX   77042        (281) 391-4466   (713) 972-0803
2504   TRIPLE T ENTERPRISES             3903 JENNIFER PLACE                            HOMER              AK   99603        (907) 235-2169   (907) 235-2922
2505   TROPICAL CONSTRUCTION SUPPLY     18412 PAULSON DRIVE                            PORT CHARLOTTE     FL   33954        (941) 743-5863   (941) 255-0411
2506   TROY-CSL LIGHTING                14625 EAST CLARK AVENUE                        CITY OF INDUSTRY   CA   91745        (626) 336-4511   (626) 660-4266
2507   TRUDRIL SALES & SERVICE INC      23561 RIDGE ROUTE DRIVE STE. F                 LAGUNA HILLS       CA   92653        (949) 585-1400   (949) 585-1401
2508   TRUMBULL MEMORIAL HOSPITAL       1350 E. MARKET STREET                          WARREN             OH   44481-1710   (330) 841-9011   (330) 841-9060
2509   TUALITY COMMUNITY HOSP           P.O. BOX 309                                   HILLSBORO          OR   97123        (503) 681-1878   (503) 681-1924
2510   TULLAR ELECTRIC MOTOR SERVICE    5441 Marshall St.                              Arvada             CO   80002        (303) 458-0824   (720) 855-8439
2511   TURBIVILLE INDUSTRIAL ELEC.      511 FIFTH AVENUE                               BELLE FOURCHE      SD   57717        (605) 892-3976   (605) 892-4527
2512   TURBO & DIESEL INJECTION CO      3760 WEST MORRIS STREET                        INDIANAPOLIS       IN   46241        (317) 247-7373   (317) 247-5652
2513   TURNUPSEED ELECTRIC SVCE INC     PO BOX 26                                      TULARE             CA   93275        (559) 686-1541   (559) 686-4454
2514   TWIN CITY HOSPITAL               819 N. FIRST STREET                            DENNISON           OH   44621        (740) 922-2800   (740) 922-6945
2515   TWIN EAGLES, INC                 13231 E 166TH STREET                           CERRITOS           CA   90703        (562) 803-3488   (562) 803-3391
2516   TYCO ELECTRONICS DIVISION/ *     RAYCHEM JUAREZ                                 HARRISBURG         PA   17105        (717) 986-7653   (717) 986-7259
2517   TYLER MEMORIAL HOSPITAL          ATT: ACCOUNTS PAYABLE                          TUNKHANNOCK        PA   18657        (570) 836-2161   (570) 836-4569
2518   TYSTAR CORPORATION               7050 LAMPSON AVENUE                            GARDEN GROVE       CA   92841        (310) 781-9219   (310) 781-9438
2519   U S HYBRID, CORP                 445 MAPLE AVENUE                               TORRANCE           CA   90503-3807   (310) 212-1200   (310) 212-1102
2520   U S RENTALS                      511 E SCHOOL STREET                            VISALIA            CA   93292        (209) 627-5112   (209) 733-0371
2521   U S RENTALS                      16363 D ST                                     VICTORVILLE        CA   92392        (619) 245-3458   (619) 726-7761
2522   U S RENTALS                      240 W VISTA WAY                                VISTA              CA   92083        (619) 726-7200   (619) 726-7761
2523   U S RENTALS *                    1581 CUMMINS DRIVE SUITE 155                   MODESTO            CA   95358        (209) 544-9000   (209) 544-6756
2524   U S TOOL GROUP                   100 WOOSTER HEIGHTS RD                         Danbury            CT   6810         (203) 797-5449   (203) 797-5735
2525   U.S. CONTINENTAL MARKETING INC   1001 POMONA ROAD                               CORONA             CA   92882        (909) 808-8888   (909) 808-9999
2526   U.S. EQUIPMENT CO                8311 SORENSEN AVE.                             SANTA FE SPRINGS   CA   90670        (800) 255-4731   (562) 236-0197
2527   U.S. MEDICAL, INC.               4701 IRONTON STREET                            DENVER             CO   80239        (303) 371-0236   (303) 371-1768
2528   UCI MEDICAL CENTER               101 CITY DRIVE                                 ORANGE             CA   92868        (714) 456-5366   (714) 456-7993
2529   UCI SALES INC                    P O BOX 085508                                 RACINE             WI   53408        262-639-1225     262-639-6670
2530   UCLA CLINCAL ENGINEERING BH939   731 CHARLES E. YOUNG DR. S.                    LOS ANGELES        CA   90095-1526   (310) 794-6991   (310) 794-6796
2531   UCLA MEDICAL CENTER              10833 LE CONTE AVE                             LOS ANGELES        CA   90095        (310) 206-8545   (310) 794-9642
2532   UCLA-ACCOUNTS PAYABLE            10920 WILSHIRE BL. - 5TH FLOOR                 LOS ANGELES        CA   90024-6502   (310) 825-5699   (310) 825-5725
2533   UCSD MEDICAL CENTER              P O BOX 33268                                  SAN DIEGO          CA   92163-3268   (858) 657-6412   (858) 534-7194 AP
2534   UMASS MEMORIAL HEALTH CARE       CROTHALL FACILITIES MGMT                       Wayne              PA   19087        (508) 856-5601   (508) 856-8644
2535   U-MASS MEMORIAL HLTHCARE         281 LINCOLN STREET                             WORCESTER          MA   1605         (508) 793-6327   (508) 792-8012
2536   UMASS MEMORIAL/Hahnemann Campu   281 LINCOLN STREET                             WORCESTER          MA   01605-2192   (508) 334-5456   (504) 334-8021
2537   UNICAL 145 INC                   680 S. Lemon Ave., #680                        CITY OF INDUSTRY   CA   91789        909-348-1923     909-958-8091
2538   UNICCO GOVERNMENT SERVICES       245 S. FETTERLY AVE., RM #1239                 LOS ANGELES        CA   90022        (323) 780-2381   (323) 881-6637
2539   UNIFIED HEALTHCARE               14565 VALLEY VIEW AVE. STE. M                  SANTA FE SPRINGS   CA   90670        (562) 404-8052   (562) 407-2834
2540   UNION HOSPITAL                   659 BOULEVARD                                  DOVER              OH   44622        (330) 343-3311   (330) 364-0863
2541   UNITED ELECTRIC SUPPLY           48 EMPIRE DR                                   BELLEVILLE         IL   62220        (618) 233-4424   (618) 233-0003
2542   UNITED HOSPITAL CENTER           P.O. BOX 1680                                  CLARKSBURG         WV   26302        (304) 624-2345   (304) 624-2541
2543   UNITED RENTALS NORTHWEST, INC    2911 EAST FREMONT STREET                       STOCKTON           CA   95205        (209) 948-9500   (209) 948-8157
2544   UNITED/RICHTER ELECTRIC MOTOR    106 MICHIGAN AVE                               BUFFALO            NY   14204        (716) 855-1945   (716) 852-2589
2545   UNIV HLTH SYS EASTERN CAROLINA   P.O. BOX 6028                                  GREENVILLE         NC   27834        (252) 482-8451   (252) 482-6274
2546   UNIV MEDICINE/DENTISTRY N.J.     P.O. BOX 2686                                  NEW BRUNSWICK      NJ   08903-2686   (973) 972-7282   (973) 972-6926
2547   UNIV MICHIGAN CIVIL & ENVI ENG   1351 BEAL AVE. RM 181                          ANN ARBOR          MI   48109        (734) 763-5686   (734) 763-2275
2548   UNIV OF COLORADO HOSPITAL        P.O. BOX 6504                                  DENVER             CO   80045-0504   (303) 372-6461   (303) 372-6099
2549   UNIV OF MINNESOTA V.T.H.         1365 GORTNER AVE.                              ST. PAUL           MN   55108        (612) 625-5702   (612) 625-0293
2550   UNIV OF NEW MEXICO               UNM BUSINESS CENTER, STE2400                   Albuquerque        NM   87131-001    (505) 277-1137   (505) 277-1028
2551   UNIV PHYSICIANS PRACTICE GROUP   146 W. PARK DRIVE SUITE 9G                     KINGSPORT          TN   37660        (423) 246-7931   (423) 246-1906
2552   UNIV. TEXAS-M.D. ANDERSON C.C.   PO BOX 301401                                  HOUSTON            TX   77230-1401   (713) 792-7350   (713) 792-7448
2553   UNIV.OF PENNSYLVANIA             3800 SPRUCE STREET                             PHILADPHIA         PA   19104        (215) 898-7871   (215) 898-0719
2554   UNIVERSAL HOSPITAL SERVICES      7700 FRANCE AVE SOUTH STE 275                  EDINA              MN   55435        (614) 342-6172   (614) 418-9466
2555   UNIVERSAL NDT, INC.              1844-F WEST ELEVENTH STREET                    UPLAND             CA   91786        (909) 946-3049   (909) 946-5491
2556   UNIVERSAL REPAIR SHOP INC        1611 BOYLSTON AVE                              SEATTLE            WA   98122        206-322-2726     206-322-2126
2557   UNIVERSITY HEALTH SERVICES       1350 WALTON WAY                                AUGUSTA            GA   30901        (706) 774-8833   (706) 774-5059
2558   UNIVERSITY MED CNTR-L.V.         1800 WEST CHARLESTON BLVD                      LAS VEGAS          NV   89102        (702) 383-2729   (702) 383-2426
2559   UNIVERSITY OF ARIZONA MED CTR    BILL TO: BANNER HEALTH                         PHOENIX            AZ   85062        (520) 694-6062   (520) 694-4040
2560   UNIVERSITY OF CT. MED CNTR       ATT: ACCOUNTS PAYABLE                          FARMINGTON         CT   6032         (860) 679-2954   (860) 679-2096
2561   UNIVERSITY OF FLORIDA            P.O. BOX 100114                                GAINSVILLE         FL   32610-0114   (352) 392-4700   (352) 846-0207
2562   UNIVERSITY OF IOWA MED INST      B002 MEDLAB                                    IOWA CITY          IA   52242        (319) 335-9842   (319) 335-9496
2563   UNIVERSITY OF MIAMI FLORIDA      1241 DICKINSON DRIVE                           CORAL GABLES       FL   33146        (305) 284-1764   (305) 284-4469
2564   UNIVERSITY OF VERMONT            280 EAST AVE                                   BURLINGTON         VT   5401         (802) 656-3255   (802) 656-8561
2565   UNIVERSITY OF WASHINGTON         PURCHASING DEPT BOX 351110                     SEATTLE            WA   98105-6203   (206) 685-2274   (206) 543-3854
2566   UNIVERSITY OF WASHINGTON         PO BOX 357180                                  SEATTLE            WA   98195        (206) 543-5580   (206) 543-8039
2567   UPC HEALTH NETWORK               3724 W. WISCONSIN AVE.                         MILWAUKEE          WI   53208        (920) 437-5855   (920) 431-7060
2568   UPLAND JANITORIAL SUPPLY/        LOCAL JANITORIAL & VACUUM SUP                  CAPISTRANO BEACH   CA   92624        (949) 489-8790   (949) 443-5309
2569   UPLIFT MOBILITY, INC.            1625 STARKEY RD.                               LARGO              FL   33771        (800) 237-8268   (813) 538-9306
2570   UPSON REGIONAL MEDICAL CENTER    801 W. GORDON ST.                              THOMASTON          GA   30286        (706) 647-8111   (706) 646-3158
2571   UPTIME ELECTRONICS INC/UEI       2520 PACIFIC PARK DR                           WHITTIER           CA   90601        (562) 692-7072   (562) 692-0166
2572   UPTOWN HOME MEDICAL              2820 E. ANDY DEVINE AVE                        KINGMAN            AZ   86401        (928) 753-2738   (928) 753-7649
2573   USA VENDOR CODE-LUTHHC           525 WEST BROWN ROAD                            MESA               AZ   85209        (602) 461-2402   (602) 461-2960
2574   USC KENNETH NORRIS JR. CANCER    1441 EASTLAKE AVE.                             LOS ANGELES        CA   90033        (323) 865-3660   (323) 865-0011
2575   USE ACCT # MMSMEM                5285 ELMORE RD.                                MEMPHIS            TN   38134        (901) 373-9225   (901) 388-7397
2576   USG CELINGS PLUS, LLC            6711 E. WASHINGTON BLVD                        COMMERCE           CA   90040        (323) 724-8166   (323) 724-8249
2577   V.A. MEDICAL CENTER              800 IRVING AVENUE                              SYRACUSE           NY   13210        (315) 476-7461   (315) 477-4849
2578   V.A. MEDICAL CENTER              3495 BAILEY AVE.                               BUFFALO            NY   14215        (716) 834-9200   (716) 862-6504
2579   VA HOSPITAL                      2101 ELM STREET NORTH                          FARGO              ND   58102        (701) 239-3734   (701) 237-2689
2580   VA MEDICAL CENTER                WAREHOUSE BLDG #5                              FORT LYON          CO   81038        (719) 384-3492   (719) 384-3493




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       Name                             Includes Plaintiff's suggested addresses                                           phone            Fax
2581   VA MEDICAL CENTER                1 FREEDOM WAY                                  AUGUSTA           GA   30904        (706) 733-0188   (706) 823-3956
2582   VA MEDICAL CENTER                1481 W. 10TH STREET                            INDIANAPOLIS      IN   46202        (317) 554-0000   (317) 554-0075
2583   VA MEDICAL CENTER                5500 AMRSTRONG ROAD                            BATTLE CREEK      MI   49015        (616) 966-5600   (616) 660-3014
2584   VA MEDICAL CENTER                718 SMYTH ROAD                                 MANCHESTER        NH   3104         0                (603) 626-6571
2585   VA MEDICAL CENTER                3710 SW U.S.VETERANS HOSP. RD                  PORTLAND          OR   97207        (503) 273-5080   (503) 220-3498
2586   VA MEDICAL CENTER                UNIVERSITY & WOODLAND AVE                      PHILADELPHIA      PA   19104        (215) 823-5829   (215) 823-4596
2587   VA MEDICAL CENTER                5001 N PIEDRAS STREET                          EL PASO           TX   79930-4211   (915) 564-6153   (915) 564-6109
2588   VA MEDICAL CENTER - L.B.         5901 EAST 7TH STREET                           LONG BEACH        CA   90822        (562) 826-5660   (562) 826-5824
2589   VA MEDICAL CENTER- LOMA LINDA    11201 BENTON STREET                            LOMA LINDA        CA   92357        (909) 825-7084   (909) 777-3258
2590   VA MEDICAL CTR - LITTLE ROCK     4300 W. 7TH STREET                             LITTLE ROCK       AR   72205        (501) 257-5458   (501) 257-5474
2591   VALLEJO ELECTRIC MOTOR SHOP      925 MAINE ST                                   VALLEJO           CA   94590        (707) 642-4315   (707) 552-7792
2592   VALLEY CHILDREN'S HOSPITAL       ATTN: ACCOUNTS PAYABLE                         MADERA            CA   93636-8761   (559) 353-3000   (559) 353-7078
2593   VALLEY ELECTRIC MOTOR SVCE       1500 S ALTA                                    GONZALES          CA   93926        (831) 675-3770   (831) 675-0317
2594   VALLEY ELECTRIC MOTORS           73192 EL PASEO DR                              TWENTYNINE PALM   CA   92277        (760) 367-7190   (760) 749-6478
2595   VALLEY MEDICAL SHOPPE, INC       146 NORTH 2ND EAST                             REXBURG           ID   83440        (208) 356-7913   (208) 356-9532
2596   VALLEY PRESBYTERIAN HOSPITAL     P.O. BOX 9102                                  VAN NUYS          CA   91409-9102   (818) 782-6600   (818) 902-5797
2597   VALLEY TOOL RENTALS / VTR INC    870 NORTH MCMURRAY RD                          BUELLTON          CA   93427-0098   (805) 688-7213   (805) 688-1148
2598   VALLEY TOOL REPAIR               7689 NAZARENE CHURCH RD                        BRIDGEWATER       VA   22812        (540) 828-3320   (540) 828-3320
2599   VALLEY WIDE SMALL ENGINE         VALLEYWIDE POWER EQUIPMENT                     Temecula          CA   92590        (951) 676-0567   (951) 693-0658
2600   VALU TOOL REPAIR                 2501 CRITTENDEN DR                             LOUISVILLE        KY   40217        (877) 513-8665   (502) 636-0798
2601   VANDENBERG MED-TECH INC.         6813 W. 167TH ST.                              TINLEY PARK       IL   60477        (708) 532-7050   (708) 532-2676
2602   VANDERBURGH COUNTY CORONERS      201 S MORTON AVENUE                            EVANSVILLE        IN   47713        (812) 435-5746   (812) 435-5727
2603   VELLA & DIXON SCIENTIFIC         3060 INDUSTRY ST SUITE 101                     OCEANSIDE         CA   92054        (760) 721-1401   (760) 721-1701
2604   VENCOR HOSPITAL - SAN DIEGO      1940 EL CAJON BLVD.                            SAN DIEGO         CA   92104        (619) 543-4500   (619) 294-4813
2605   VENCOR HOSPITAL (KANSAS CITY)    8701 TROOST AVE                                KANSAS CITY       MO   64131        (816) 995-2078   (816) 995-2094
2606   VENCOR HOSPITAL CORAL GABLES     5190 SW 8TH ST.                                CORAL GABLES      FL   33134        (305) 448-1585   (305) 648-3025
2607   VENCOR HOSPITAL- HOLLYWOOD       1859 VAN BUREN STREET                          HOLLYWOOD         FL   33020        (954) 920-9000   (954) 920-3028
2608   VERMILION RENTALS INC            635 E WILLIAMS                                 DANVILLE          IL   61832        (217) 442-5400   (217) 442-3761
2609   VERSATRON, INC                   511 GROVE STREET                               HEALDSBURG        CA   95448        (707) 473-9200   (707) 473-9300
2610   VEST INC.                        6023 ALCOA AVE                                 Los Angeles       CA   90058        323-581-8823     323-581-3465
2611   VETEQUIP                         PO BOX 10785                                   PLEASANTON        CA   94588        (925) 463-1828   (925) 463-1943
2612   VIA CHRISTI REG MED CNTR         929 NORTH ST FRANCIS                           WICHITA           KS   67214        (316) 268-5604   (316) 291-7469
2613   VIA CHRISTI REGIONAL MED CTR     929 N ST FRANCIS                               WICHITA           KS   67214        (316) 268-5419   (316) 291-7887
2614   VICTOR CORNELIUS, INC            400 W MAIN                                     EASTLAND          TX   76448        (254) 629-2626   (254) 629-1134
2615   VIKING FABRICATION SERVICES      210 NORTH INDUSTRIAL PARK DR                   Hastings          MI   49058        269-945-9501     269-945-9599
2616   VINCENT ELECTRIC INC             8383 BALDWIN STREET                            Oakland           CA   94621-1978   (510) 639-4500   (510) 639-4488
2617   VIRGINIA MASON MEDICAL CTR       P.O. BOX 900                                   SEATTLE           WA   98111        (206) 583-2217   (206) 223-1209
2618   VIRGINIA REGIONAL MED CNTR       ATT: ACCOUNTS PAYABLE                          VIRGINIA          MN   55792        (218) 741-3340   (218) 749-9597
2619   VISION DISTRIBUTING & ENGINEER   10941 W. MOHAWK PLACE                          BOISE             ID   83709        (208) 869-1122   (208) 368-2514
2620   VISION WEB OFFSET, INC           13930 N W 60 AVENUE                            Hialeah           FL   33014        (305) 433-6188   (305) 556-6590
2621   VOLLAND ELECTRIC                 75 Innsbruck Dr.                               Buffalo           NY   14227        716-656-9900     716-656-8899
2622   VOLUSIA CNTY MEDICAL EXAMINER    1360 INDIAN LAKE RD.                           DAYTONA BEACH     FL   32124-1001   (904) 258-4060   (904) 258-4061
2623   V-T INDUSTRIES, INC              1000 INDUSTRIAL PARK                           HOLSTIEN          IA   51025        (712) 368-4381   (712) 368-4634
2624   W A BENJAMIN ELECTRIC CO         1615 STAUNTON AVENUE                           LOS ANGELES       CA   90021-3188   (213) 749-7731   (213) 747-3904
2625   W W ELECTRIC MOTORS INC *        P O BOX 2405                                   Oshkosh           WI   54903        (920) 922-9200   (920) 324-3811
2626   W. A. FOOTE MEMORIAL HOSPITAL    205 N.E. AVE                                   JACKSON           MI   49201        (517) 788-4800   (517) 789-5957
2627   W.C.A. HEALTHCARE SERVICE        P.O. BOX 840                                   JAMESTOWN         NY   14702-0840   (716) 664-8190   (716) 487-1221
2628   W.H.HENKEN INDUSTRIES, INC       415 LILLARD RD.                                ARLINGTON         TX   76012        (817) 261-5566   (817) 261-5555
2629   WADDELL ELECTRIC MTR             375 N.E. BURNSIDE                              BEND              OR   97701        (541) 382-2068   (541) 382-2473
2630   WAECO SERVICE INC                18838 DIAGONAL ROAD                            LAGRANGE          OH   44050        (440) 355-8011   (440) 355-8013
2631   WAGNER & SON REPAIRS             535 W. MAIN STREET                             FRANKLIN          NC   28734        (828) 524-2560   (828) 524-6610
2632   WAKE FOREST UNIVERSITY           MEDICAL CENTER BLVD                            WINSTON-SALEM     NC   27157        (336) 716-1184   (336) 716-1184
2633   WALCO ELECTRIC                   10 AARON STREET                                FRAMINGHAM        MA   1702         (508) 872-3232   (508) 875-1862
2634   WALDEN INDUSTRIAL *              A FERGUSON ENTERPRISE                          HAMPTON           VA   23670-0406   (508) 777-2999   (508) 777-4931
2635   WALLA WALLA HOME MEDICAL         329 S. SECOND ST.                              WALLA WALLA       WA   99362        (509) 525-1066   (509) 522-2361
2636   WALLIES ENTERPRISES LLD          11598 EAST LAKEWOOD BLVD                       HOLLAND           MI   49424        (616) 392-1115   (616) 392-7270
2637   WALTON MOTORS & CONTROLS INC     1843 FLORADALE AVE                             SO EL MONTE       CA   91733        (626) 442-4610   (626) 444-3561
2638   WARDEN ELECTRIC CO               604 NORTH 7TH STREET                           PADUCAH           KY   42001        (270) 753-2016   (270) 442-7151
2639   WARFIELD ELECTRIC                1745 S BON VIEW AVE                            ONTARIO           CA   91761        (909) 947-7606   (909) 947-4257
2640   WASSEROTT'S                      PO BOX 195                                     LUZERNE           PA   18709-0195   (570) 287-2176   (570) 287-3046
2641   WATKINS & RIGGS                  7175 S. PINE AVE. SUITE C                      OCALA             FL   34480        (352) 873-4411   (352) 873-4422
2642   WAYNE ELECTRIC CO                1560 W ANAHEIM STREET                          LONG BEACH        CA   90813        (562) 432-0928   (562) 901-3198
2643   WAYNE MEMORIAL HOSPITAL          ATT: ACCOUNTS PAYABLE                          GOLDSBORO         NC   27534        (919) 731-6077   (919) 731-6951
2644   WAZEE COMPANIES, LLC**           2020 W BARBERRY PL                             DENVER            CO   80204        (800) 299-8658   (303) 623-2097
2645   WBCO ELECTRIC SERVICE            P O BOX 72                                     EUREKA            CA   95502        (707) 441-8710   (707) 441-8711
2646   WE RENT IT INC                   2616 BRANNON AVE                               ST LOUIS          MO   63139-1462   (314) 772-4227   (314) 772-5773
2647   WEATHERFORD HOSPITAL AUTHORITY   215 N. KANSAS STREET                           WEATHERFORD       OK   73096        (580) 772-5551   (580) 772-3185
2648   WEBER MACHINE & WELDING INC      P O BOX 31412                                  BILLINGS          MT   59107        (406) 245-7928   (406) 245-0996
2649   WELBORNE ELECTRIC CO             300 E CENTRAL                                  PONCA CITY        OK   74601        (580) 765-5408   (580) 765-0078
2650   WELCH INDUSTRIAL SUPPLY CO.      76 PRINCE STREET                               KINGSTON          NY   12402        (845) 338-0393   (845) 338-0569
2651   WELD SERVICE, INC                408 N INTERSTATE 45                            HUTCHINS          TX   75141        (972) 225-7080   (972) 225-7030
2652   WELDER SERVICE AND REPAIR        5975 N.E. 41ST                                 REDMOND           OR   97756-8720   (541) 548-8711   (541) 548-3951
2653   WELDERS SUPPLY & EQUIPMENT INC   aka MATHEWS & CO                               CHULA VISTA       CA   91911        (619) 575-4000   (619) 575-4009
2654   WELLMONT HEALTH SYSTEMS          P.O. BOX 659                                   KINGSPORT         TN   37662-0659   (423) 844-3604   (423) 844-3874
2655   WESCO                            P O BOX 3450                                   BORGER            TX   79008        (806) 274-5376   (806) 274-5686
2656   WESCO CONSTRUCTION & SPECIALTY   20100 S. WESTERN AVENUE                        TORRANCE          CA   90501        (310) 538-2958   (310) 771-0931
2657   WEST COAST DIALYSIS CENTER       3780 KILROY AIRPORT WAY #110                   LONG BEACH        CA   90806        (562) 435-3637   (562) 989-3016
2658   WEST COAST SHIP SUPPLY           1350 DAISY AVENUE                              LONG BEACH        CA   90813        (562) 435-5245   (562) 435-5265
2659   WEST COAST SWITCHGEAR, LLC       13837 BETTENCOURT ST                           CERRITOS          CA   90703        (562) 802-3441   (562) 802-3445
2660   WEST COAST TOOL SUPPLY, INC      1610 S GOLD                                    CENTRALIA         WA   0            (360) 736-3203   (360) 623-1567
2661   WEST ELECTRIC & MACHINE CO       8 WEST ELECTRIC DRIVE                          MORGANTOWN        WV   26508        (800) 439-4913   (304) 296-8202
2662   WEST JEFFERSON MEDICAL CTR       1101 MEDICAL CENTER BLVD                       MARRERO           LA   70072        (504) 349-1775   (504) 349-1774
2663   WEST L A TRAILER & EQUIP., INC   11700 SANTA MONICA BLVD                        LOS ANGELES       CA   90025        (310) 820-2525   (310) 820-3315
2664   WEST PACIFIC MEDICAL LAB         P.O. BOX 65187                                 LOS ANGELES       CA   90065-0187   (213) 254-9888   (213) 254-8808
2665   WEST PLAINS RENTAL               113 E THIRD STREET                             West Plains       MO   65775        (417) 256-0017   (417) 256-8844
2666   WEST SIDE ELECTRIC SUPPLY CO     1530 N LaFOX (ROUTE 31)                        SOUTH ELGIN       IL   60177        (847) 468-1000   (847) 468-1030




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       Name                             Includes Plaintiff's suggested addresses                                            phone            Fax
2667   WESTCHESTER MEDICAL CENTER       100 Woods Rd                                   WHITE PLAINS       NY   10605        914/681-4515     914/681-4804
2668   WESTERN BAPTIST HOSPITAL         C/O SERVICEMASTER MNGMNT                       PADUCAH            KY   42003        (502) 575-2653   (502) 575-2250
2669   WESTERN CASEWORK CORP            2720 E LONE MOUNTAIN ROAD                      NORTH LAS VEGAS    NV   89031        (702) 399-8794   (702) 399-6636
2670   WESTERN ENGINEERED SOLUTIONS     1911 REVERE DRIVE                              BISMARCK           ND   58501        (701) 258-1097   (701) 223-9116
2671   WESTERN INDUSTRIAL SUPPLY        11400 MARKON DRIVE                             GARDEN GROVE       CA   92641        (714) 896-0040   (714) 896-0430
2672   WESTERN MEDICAL CENTER           1025 S. ANAHEIM BLVD                           ANAHEIM            CA   92805        (714) 563-2882   (714) 687-4911
2673   WESTERN NEVADA SUPPLY CO.        950 S. Rock Blvd.                              Sparks             NV   89432        775-359-5800     775-359-4649
2674   WESTERN PACIFIC BOWLING & SUP    1216 W. GROVE AVENUE                           ORANGE             CA   92865        (714) 974-1733   (714) 974-2681
2675   WESTERN REHAB                    6200 GOODYEAR ROAD                             BENICIA            CA   94510        (800) 790-3339   (877) 752-4228
2676   WESTERN STATES TOOL & SUP        1950 ALPINE WAY                                HAYWARD            CA   94545        (510) 786-2004   (510) 786-1729
2677   WESTERN TOOL INC                 702 S CAMPBELL AVE                             TUCSON             AZ   85719        (520) 884-0504   (520) 623-9341
2678   WESTERN WOOD SUPPLY              17450 BLUE WATER CT.                           RIVERSIDE          CA   92503        (760) 480-2956   (760) 480-2997
2679   WESTGATE HOME HEALTH CARE        209 W. MAIN STEET                              HYANNIS            MA   2601         (508) 775-3339   (508) 775-7122
2680   WHATCOM ELECTRIC                 2021 TOLEDO STREET                             BELLINGHAM         WA   98229        360-734-7723     360-734-9328
2681   WHEELCHAIR 911, LLC              74 WERTSVILLE ROAD                             HILLSBOROUGH       NJ   8844         (917) 750-7830   (917) 336-0506
2682   WHEELCHAIR DEPOT                 315 MAIN ST. P.O. BOX 515                      W. SPRINGFIELD     MA   1090         (413) 736-0376   (413) 736-0377
2683   WHEELCHAIR PLACE                 2539 LARKSPUR LANE                             REDDING            CA   96002        (530) 223-7422   (530) 223-7426
2684   WHEELCHAIR SOURCE                4649 MR. LAUDO DR.                             SAN DIEGO          CA   92117        (858) 277-9505   (858) 277-9520
2685   WHEELCHAIR WIZARD                7325 PARKVALE WAY                              CITRUS HEIGHTS     CA   95621        (916) 729-8349   (916) 729-8347
2686   WHEELCHAIR WORKSHOP              2909 39TH AVE                                  LONG ISLAND CITY   NY   11101        (718) 472-5500   (718) 729-5349
2687   WHEELER ELECTRIC                 820 W FIRST                                    EUGENE             OR   97402        (541) 687-2121   (541) 344-7505
2688   WHEELS IN MOTION, INC.           317 E. MAIN STREET                             GRIFFITH           IN   46319        (219) 924-2547   (219) 924-1201
2689   WHITBECK LABORATORIES            1100 W. BACKUS AVE                             SPRINGDALE         AR   72764        (479) 756-9696   (479) 756-1271
2690   WHITE PLAINS HOSPITAL CENTER     DAVIS AVENUE AT EAST POST                      WHITE PLAINS       NY   10601        (914) 681-1021   (914) 681-1131
2691   WHITE PLAINS HOSPITAL CENTER     DAVIS AVE AT EAST POST RD.                     WHITE PLAINS       NY   10601        (914) 681-1131   (914) 681-2914
2692   WHITE TOOL & SUPPLY INC          3047 ATLANTIC AVE                              BROOKLYN           NY   11208        (718) 277-8844   (718) 277-8860
2693   WHITECROSS ENGINEERING           2400HOLLOWAY RD.                               LOUISVILLE         KY   40299        (502) 261-0700   (502) 261-0701
2694   WHITE'S SERVICE & SUPPLY, INC    2630 S W HUIEN STREET                          BURLESON           TX   76028        (817) 295-5588   (817) 295-7809
2695   WHITTEMORE ENTERPRISES, INC.     11149 ARROW ROUTE                              RANCHO CUCAMONGA   CA   91730        (909) 980-2452   (909) 989-9976
2696   WHITTEN MACHINE, INC             4770 SOUTH K STREET                            TULARE             CA   93274-7149   (559) 686-3428   (559) 686-2329
2697   WHITTON SUPPLY CO                P O BOX 2017                                   OKLAHOMA CITY      OK   73101-2017   (405) 236-5561   (405) 236-5595
2698   WICHITA ELECTRIC MOTOR SV        803 E SCOTT ST                                 WICHITA FALLS      TX   76301        (940) 766-0166   (940) 767-4611
2699   WIDNER ELECTRIC & IND INC        1124 N. COLUMBIA                               MILTON-FREEWATR    OR   97862        (541) 938-5518   (541) 938-6431
2700   WILKES REGIONAL MEDICAL CENTER   P.O. BOX 609                                   NORTH WILKESBORO   NC   28659        (336) 651-8120   (336) 651-8468
2701   WILLIAMS MEDICAL SUPPLY, INC.    1501 CHURCH STREET                             NASHVILLE          TN   37203        (615) 327-4931   (615) 321-5287
2702   WILLICK ENGINEERING COMPANY      12516 LAKELAND ROAD                            SANTA FE SPRNGS    CA   90670        (310) 946-4242   (310) 946-6014
2703   WINDHAM COMMUNITY HOSPITAL       112 MANSFIELD AVE                              WILLIMANTIC        CT   6226         (860) 456-6769   (860) 456-6120
2704   WINDS OF CHANGE                  30014-136TH STREET N.W.                        Princeton          MN   55371-3617   (763) 389-8901   (763) 389-8902
2705   WINEMA ELECTRIC INC              1335 SOUTH 6TH STREET                          KLAMATH FALLS      OR   97601        (514) 884-7798   (514) 884-0937
2706   WINKLE ELECTRIC COMPANY INC      P O BOX 6014                                   YOUNGSTOWN         OH   44501-6014   (330) 744-5303   (330) 744-1635
2707   WINONA RENTAL INC                113 WASHINGTON                                 WINONA             MN   55987        (507) 452-3151   (507) 452-0042
2708   WINSLOW RENTAL & SUPPLY INC      204 WILLIAMSTOWN-FREEDOM ROAD                  BERLIN             NJ   8009         (609) 767-5554   (609) 767-6919
2709   WINTER HAVEN HOSPITAL            200 AVENUE F, N.E.                             WINTER HAVEN       FL   33881-4193   (863) 293-1121   (863) 297-1729
2710   WIRE PRODUCTS OF HAWAII, INC *   BURKE HAWAII, INC                              HONOLULU           HI   96819        (808) 833-6602   (808) 836-7640
2711   WISMER & RAWLINGS ELECTRIC LTD   1616 KEBET WAY                                 BC                 CA   V3C 5W9      (604) 944-1117   (604) 944-1127
2712   WITT EQUIPMENT COMPANY           3186 CASS ROAD                                 TRAVERSE CITY      MI   49684        (616) 947-4078   (616) 947-2461
2713   WM. BOLTHOUSE FARMS, INC         7200 E. BRUNDAGE LANE                          BAKERSFIELD        CA   93307-3016   (661) 366-7205   (661) 366-7201
2714   WOBURN NURSING CENTER            P.O. NOC 490                                   WOBURN             MA   1801         (781) 994-3840   (781) 994-3879
2715   WODACK ELECTRIC                  4627-29 W HURON ST                             CHICAGO            IL   60644        (773) 287-9866   (773) 287-9867
2716   WOFFORD ELECTRIC & PUMP SUP      1300 AVENUE F                                  BAY CITY           TX   77414        (979) 245-4851   (979) 245-5040
2717   WOOD WERKS SUPPLY INC            1181 CLAYCRAFT RD                              COLUMBUS           OH   43230        (614) 575-2400   (614) 575-2882
2718   WOODBURY CLINICAL LAB            305 E. HIGH STREET                             LEBANON            TN   37087        (615) 443-7188   (615) 443-9979
2719   WOODCRAFT/LSA CONSTRUCTION INC   1311 KALANI STREET                             HONOLULU           HI   96817        (808) 841-9876   (808) 841-1234
2720   WOODLAND GOOD SAMARTIAN VILLAG   100 BUFFALO HILLS LANE                         BRAINERD           MN   56401        (218) 829-1429   (218) 829-4729
2721   WOODLAND MEMORIAL HOSPITAL       1325 COTTONWOOD ST.                            WOODLAND           CA   95695        (530) 662-4964   (530) 668-9764
2722   WORK FITTERS TOOL & SAFETY       1554 RIVERSIDE AVENUE                          FORT COLLINS       CO   80524        (800) 457-3687   (970) 482-9931
2723   WORKMAN INDUSTRIES               DIV OF CLASSIC PLYWOOD & LUMBE                 PARAMOUNT          CA   90723        (562) 633-1821   (562) 633-2410
2724   WORKRITE, INC                    9030 W SAHARA AVENUE #425                      Las Vegas          NV   89117        (818) 241-3682   (818) 559-5457
2725   WORLD ELECTRIC SUP/SONEPAR       569 STUART LANE                                JACKSONVILLE       FL   32254        (904) 378-4000   (904) 378-4054
2726   WORLDWIDE FITNESS, INC.          2735 WARDLOW ROAD                              CORONA             CA   92882        (909) 479-0095   (909) 479-0107
2727   WORLDWIDE MEDICAL INC.           P.O. BOX 11470                                 CHARLOTTE          NC   28220        (704) 525-5911   (704) 525-5315
2728   WRANGELL MEDICAL CENTER          PO BOX 1081                                    WRANGELL           AK   99929        (907) 874-7000   (907) 874-7122
2729   WRIGHT REPAIRS INC               207 N HARRISBURG ST                            GAS CITY           IN   46933        (765) 674-3300   (765) 674-1579
2730   WTS INC                          4000 COOLIDGE AVENUE, SUITE C                  BALTIMORE          MD   21229        (443) 543-0100   (443) 543-0546
2731   WW ELECTRIC MOTORS               P.O. BOX 2405                                  OSHKOSH            WI   54903        920-922-9200     920-922-9235
2732   XPEDX DIV OF INTERNATIONAL PA*   P O BOX 1337                                   HARRISBURG         PA   17105        (717) 612-3103   (717) 737-8574
2733   YAKIMA VALLEY MEMORIAL HOSP      2811 TIETON DRIVE                              YAKIMA             WA   98902        (509) 575-8148   (509) 574-5860
2734   YUKON-KUSKOKWIM HLTH CORP        PO BOX 287                                     BETHEL             AK   99559        (907) 543-6242   (907) 543-6474
2735   ZODIAC RENTAL*                   2131 S JASMINE                                 DENVER             CO   80222        (303) 692-0141   (303) 692-8122
2736   ZOETEK MEDICAL                   ATTN: ACCOUNTS PAYABLE                         VICTOR             NY   14564        (585) 671-7554   585-924-7564
2737   ZONNE INDUSTRIAL TOOL CO         8520 SORENSEN AVE #C                           SANTA FE SPRING    CA   90670        (562) 945-2951   (562) 945-4141
2738   Z-TRONIX INC                     6327 ALONDRA BLVD                              PARAMOUNT          CA   90723        (562) 808-0800   (562) 808-0807




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